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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2473
      Comment Submitted by Cindy Anonymous



                                                  Submitter Information
      Name: Cindy Anonymous


                                                      General Comment
      Why would you delay an asylum seekers work authorization?? That's ridiculous! These men, women, and
      children have escaped horrible, life-threatening situations and come to us for help. Let them work while they
      wait. We need more workers to fill the gap as our population ages and we give birth to less children. They need
      and want to support themselves! This is a win-win. Don't make it a lose - lose.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2474
      Comment Submitted by Lisa Splawinski, Legal Aid Society of Cleveland



                                                  Submitter Information
      Name: Lisa Splawinski


                                                      General Comment
      See attached file for comment submitted by The Legal Aid Society of Cleveland.



                                                            Attachments
      Comments opposing the elimination of the 30-day processing provision for asylum EADs 11.08.2019




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2475
      Comment Submitted by George Kanuck, Lowcountry Immigration Coalition



                                                  Submitter Information
      Name: George Kanuck
      Submitter's Representative: George Kanuck
      Organization: Lowcountry Immigration Coalition
      Government Agency Type: Local


                                                      General Comment
      As the Co-Chair of the Lowcountry Immigration Coalition of the Hilton Head, Bluffton, Beaufort County, South
      Carolina areas, we oppose this latest action by the Trump Administration to create even more despicable rules
      against the ability of asylum seekers to immediately attain an ability for work authorization. There are so many
      reasons that such a restriction has on this potential population, it is hard to describe or list. Not only is it counter-
      productive to asylum seekers by limiting their income and ability to fend for themselves, but it inhibits their
      acquiring health care, food, and housing for themselves and their families. What good would this policy achieve-
      -none but retrogressive, non-compassionate actions. Most important, it is simply a political, xenophobic dodge to
      restrict reasonable asylum-seeking individuals from wherever they may be from. This is further a short-sighted
      move that actually decreases taxable income and is inconsistent with what America stands for as a Nation.
      Shame on the Administration for even considering such negative, sick and limiting policies. Lastly, it looks like
      another Stephen Miller-created hell storm. Such a policy is Un-American.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2476
      Comment Submitted by Scott Pollock



                                                  Submitter Information
      Name: Scott Pollock


                                                      General Comment
      The proposal to eliminate 30 day EAD processing for asylum applicants is an invitation for the Government to be
      irresponsible and for the agency to not do its job. Applicants already are required to wait 5 months after filing for
      asylum to even apply for work authorization. It's during this time, as soon as the I-589 application is filed, that
      USCIS begins background checks. The 30 day rule was intended to prevent undue hardship to legitimate asylum
      seekers. If the agency can't determine in 6 months whether an application is fraudulent, or an applicant is a
      security risk, then it won't do so in 9 or 12 months, either. How does eliminating a mandated time frame ensure
      greater integrity of the asylum process or security for our Nation? It doesn't; rather it contributes to less security.
      The current rule has been in place for decades and it makes sense to keep it intact. We've accepted that a 5 month
      waiting period is a reasonable balance between the agency's need to investigate claims and an applicant's human
      need to seek employment while awaiting a decision on the asylum application.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2477
      Comment Submitted by Ysauro Munoz



                                                  Submitter Information
      Name: Ysauro Munoz


                                                      General Comment
      Please Support President Trumps Immigration Reform and Properly Vet all
      Immigrants to our country.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2478
      Comment Submitted by Shelley Wittevrongel



                                                  Submitter Information
      Name: Shelley Wittevrongel
      Address:
        1547 Quince
        Boulder, CO, 80304
      Email: witt@indra.com
      Phone: 303 916-8548


                                                      General Comment
      I am an immigration attorney with 25 years of experience who has represented many asylum applicants. The
      removal of the 30 day processing provision for asylum applicants seeking employment authorization is very
      harmful to these applicants and their families. An applicant seeking to obey laws and regulations in the United
      States already has to wait 180 days before he or she can work. For many asylum seekers working is essential for
      survival. Delaying approval of EAD's for an undetermined amount of time unnecessarily increases stress and
      hardship on people who are often already in trauma. Furthermore, legal working contributes to the U.S.
      economy.

      Shelley Wittevrongel




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2479
      Comment Submitted by Justin Sweeney



                                                  Submitter Information
      Name: Justin Sweeney


                                                      General Comment
      Work permits for people waiting asylum applications is already a needlessly difficult process. This
      administration claims immigrants use public resources for assistance and then denies them the very thing they
      need to work legally. Asylum seekers, at this point will have already waited AT LEAST 150 days to apply for
      the work permit and are more desperate than ever to get an EAD. It is common practice now too, to have ICE
      officers do a home-check in, ankle monitors that restrict travel to possible job opportunities and more and more
      ICE check ins at the local ICE office. All of this is intentionally trying to do deny asylum seekers the ability to
      work and make employing asylum seekers less desirable. This is a veiled attempt by this administration to make
      sure they don't have the $ to pay a lawyer to fight their case in the ever-changing and more difficult asylum law
      framework. This, again, is intentional as the sole purpose is to process these cases as quickly as possible, deny as
      many as we can and deport them back to their country as fast as humanly possible.

      These extremely vulnerable people, who are frequently uneducated and often do not speak English are given less
      time to find an attorney in continued removal proceedings than our own government takes to process a simple
      EAD application. We CAN and SHOULD do better. We should eliminate the 150 day waiting period, especially
      if the goal is to process these cases as quickly as possible, not be ADDING to the time before they will get their
      EAD!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2480
      Comment Submitted by Marshal Hyman



                                                  Submitter Information
      Name: Marshal Hyman


                                                      General Comment
      We should not force refugees into working illegally, because it is not humane, and because the government will
      lose the benefit of being able to tax them. Most of these people are more than happy to work and perform jobs
      that many American workers would not do. The rules that are in place were well thought out and there is no need
      to change in this way that punishes everyone.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2481
      Comment Submitted by Kathy Holmes



                                                  Submitter Information
      Name: Kathy Holmes


                                                      General Comment
      I do not believe you should change the rule with this outlandish deadline. I am against it.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2482
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I am a caseworker working with individuals seeking asylum. Asylum seekers want to work to be able to provide
      for themselves. If they are unable to work, they will be more likely to rely on state and federal benefits or other
      local resources due to inability to pay for their basic needs. They will also pay less taxes since they will not be
      able to work. If asylum workers are able to continue to receive work authorization, they will be able to pay for
      their basic needs and become self-sufficient, tax-paying members of society. They will be able to support their
      families and contribute to the community.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2483
      Comment Submitted by Bridget Crawford, Immigration Equality



                                                  Submitter Information
      Name: Bridget Crawford
      Submitter's Representative: Immigration Equality
      Organization: Immigration Equality


                                                      General Comment
      Dear Chief Deshommes,

      We strongly oppose the proposed changes to the 30-day processing time for asylum applicants who are seeking
      an employment authorization document through Form I-765. The proposed rule will have grave effects on our
      client base of lesbian, gay, bisexual, transgender, queer (LGBTQ) and HIV-positive asylum seekers. Most
      significantly, the proposed rule would prevent or needlessly delay our clients from attaining self-sufficiency and
      would deny them access to critical necessities, including food, shelter, medication, health insurance and health
      services.

      We, therefore, strongly urge that the proposed rule be withdrawn in its entirety and asylum seekers be allowed to
      apply for EADs concurrently with their asylum applications or, alternatively, that the current rule remain in
      effect, subject to the order in Rosario v. USCIS, No. C15-0813JLR (9th Cir. 2017), requiring DHS to comply
      with the 30-day deadline to adjudicate EAD applications.

      Please see the attached comment for a detailed analysis on the proposed rule and the reasons for our objection.

      Sincerely,
      Immigration Equality



                                                            Attachments
      Immigration Equality - Public Comment Filed Opposing the Removal of the 30-Day Processing Provision
                                                                                                               AR005041
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Submitted via www.regulations.gov

November 8, 2019

Ms. Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy, U.S. Citizenship and Immigration Services
Department of Homeland Security
20 Massachusetts Avenue NW
Washington, DC 20529-2140

   Re: Public Comment Filed Opposing the Removal of the 30-Day Processing Provision for
Asylum Applicant-Related Form I-765 Employment Authorization Applications, DHS Docket No.
USCIS-2018-0001, 84 F.R. 47148

         Dear Chief Deshommes:

    We write on behalf of Immigration Equality in response to the Department of Homeland
Security (“DHS”) Notice of Proposed Rulemaking (“proposed rule”) on the Removal of the 30-
Day Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization
Applications, DHS Docket No. USCIS-2018-0001, published in the Federal Register at 84 F.R.
47148 on September 9, 2019 (“Notice”). We strongly oppose the proposed changes to the 30-day
processing time for asylum applicants who are seeking an employment authorization document
(“EAD” or “work permit”) through Form I-765. The proposed rule will have grave effects on our
client base of lesbian, gay, bisexual, transgender, queer (“LGBTQ”) and HIV-positive asylum
seekers. Most significantly, the proposed rule would prevent or needlessly delay our clients from
attaining self-sufficiency and would deny them access to critical necessities, including food,
shelter, medication, health insurance and health services.

     We, therefore, strongly urge that the proposed rule be withdrawn in its entirety and asylum
seekers be allowed to apply for EADs concurrently with their asylum applications or, alternatively,
that the current rule remain in effect, subject to the order in Rosario v. USCIS, No. C15-0813JLR
(9th Cir. 2017), requiring DHS to comply with the 30-day deadline to adjudicate EAD applications.

    I.      Immigration Equality

    Immigration Equality is a national organization providing free legal services and advocacy for
LGBTQ and HIV-positive immigrants. In more than 80 countries, it is either a crime or profoundly
dangerous to be LGBTQ. Immigration Equality’s mission is centered around securing safety and
freedom for LGBTQ and HIV-positive individuals. Our in-house legal team and pro bono network



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of 130+ law firms in 150+ offices nationwide are currently providing legal representation to more
than 600 asylum seekers, including securing EADs for many of these individuals.

    Given our extensive experience, we understand at the most fundamental level the importance
of securing work authorization for our clients as quickly as possible. Without the ability to work,
our clients often are denied basic necessities, such as housing, food, medication and healthcare.
Not only are these necessities critical for survival, but they are essential for individuals to
effectively pursue their asylum claims.

     II.   The Proposed Rule Radically Changes the Regulatory Deadline to Adjudicate Work
           Permits

    Under the current system, asylum seekers must wait 150 days from the date they file an asylum
application before applying for an EAD (if the applicant has caused delays in their asylum case,
they must wait even longer). Pursuant to a regulation in place since 1994, USCIS is required to
adjudicate EAD applications within 30 days of receiving them. Nonetheless, USCIS routinely
failed to meet this deadline until July 2018, when a federal court hearing the case ordered the
government to comply with the deadline. See Rosario, No. C15-0813JLR. Since that time, USCIS
has adjudicated 99% of initial EAD applications within 30 days. Prior to the court’s ruling in
Rosario, USCIS adjudicated 47% of initial EAD applications within 30 days, an additional 31%
of applications within 60 days, and 22% of applications in more than 60 days. One of the “chief
purposes” of the 30-day deadline was “to ensure that bona fide asylees are eligible to obtain
employment authorization as quickly as possible.” (Notice at 47153, fn. 11.)

    The existing five-month wait period before applying for an EAD is already too long for asylum
seekers who need a way to support themselves while waiting for their claims to be adjudicated.
The delay is extremely burdensome, forcing many of our clients into homelessness, and making
access to food, clothing, medication and health services impossible. The proposed rule would
exacerbate this already precarious situation forcing asylum seekers to wait even longer before
applying for work permits. Notably, the actual wait time for an EAD is usually much longer than
six months because preparation of the underlying asylum application generally takes several
months before it is filed.

    Significantly, DHS has proposed no alternative timeline to the current 30-day deadline. DHS
considered a 90-day timeframe, which would have been three times the current period, but
ultimately rejected that idea removing the timeframe entirely. (Notice at 47166-47167.) This
suggests that the agency anticipates these applications will be significantly delayed.

    III.   The Proposed Rule Will Negatively Impact Immigration Equality Clients

    Immigration Equality’s client population is uniquely vulnerable. Many clients have endured
extreme violence in their countries of origin on account of their sexual orientation, gender identity


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and/or HIV status, and have fled to the United States with no financial resources or safety net to
speak of. Obtaining permanent legal status in the U.S. is a crucial lifeline, and the ability to work
while awaiting a determination on an asylum application is critical for survival. Simply put,
without an EAD, many of our clients cannot eat, cannot access transportation, cannot secure
housing and cannot access essential healthcare.

    Ninety-nine percent of our clients live at or below 250% of the poverty line when they are
accepted into our legal services program with a substantial portion living at or below the poverty
line. Forty-four percent are under the age of 30. Moreover, LGBTQ and HIV-positive individuals
often seek asylum in the United States as a result of persecution by their own families and
communities. Thus, our clients often cannot rely on family or community networks in the United
States for financial support the way some other asylum seekers do. Accordingly, it is crucial that
they have immediate means to support themselves.

    Studies show that asylum seekers who lack community support are likely to become
“homeless, live in overcrowded or unsafe conditions, and lack basic needs like food and clothing.”1
This has been true for many of our clients who, with the delay in securing an EAD under the
current scheme, routinely face homelessness and hunger. Moreover, homeless LGBTQ individuals
are particularly vulnerable to exploitation, trafficking, and underground economy risk. The
National Coalition for the Homeless reports that “LGBT individuals experiencing homelessness
are often at a heightened risk of violence, abuse, and exploitation compared with their heterosexual
peers. Transgender people are particularly at physical risk due to a lack of acceptance and are often
turned away from shelters; in some cases signs have been posted barring their entrance.”2

    Further, many health care exchanges require work authorization documents to quality. Thus,
our clients have medical needs that often go unmet due to lack of income and access to medical
insurance under the current rule. This situation will only worsen if the proposed rule takes effect.
For example:

               x      HIV treatment, known as anti-retroviral therapy, is prohibitively expensive. Having to
                      wait for work authorization for longer periods of time will hamper efforts by asylum
                      seekers living with HIV to access necessary medical treatment and medication. This is
                      not only devastating to the health of the individual, but could also have negative health
                      consequences on the community at large, as disruptions in HIV care and treatment—
                      especially resulting in reduced adherence or medication rationing—can lead to drug
                      resistant strains of HIV. In short, the proposed rule could have a ripple effect on public
                      health.
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1
  Human Rights First, Callous and Calculated: Longer Work Authorization Bar Endangers Lives of Asylum Seekers
and Their Families, (Apr. 29, 2019), https://www.humanrightsfirst.org/sites/default/files/Work_Authorization.pdf.
2
  National Coalition for the Homeless, LGBT Homelessness, https://nationalhomeless.org/issues/lgbt/ (last visited
Nov. 7, 2019).


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               x      Transgender clients who discontinue hormone therapy due to lack of financial
                      resources can experience severe health consequences. Hormone therapy “is a
                      medically necessary intervention for many transsexual, transgender, and gender-
                      nonconforming individuals with gender dysphoria.”3 However, it is expensive and
                      needs to be ongoing and closely monitored by healthcare professionals.4 Ceasing
                      treatment due to a lack of income and medical insurance can result in serious negative
                      physical and mental health outcomes.5

               x      Many of our clients faced extreme violence and trauma in their country of origin and
                      are in desperate need of mental health counselling services. These services are often
                      inaccessible to asylum applicants without income or acceptable identification
                      documents like an EAD.

    In addition, many of our clients arrive to the U.S. without recognized forms of identification
and cannot access social services without appropriate documents. An EAD is often the only form
of picture identification an asylee can provide to social services agencies to access the resources
they desperately need. It is also one of the few forms of travel documents permitted by TSA in
order to travel within the United States.6

    Federal law does not provide asylum seekers with public assistance, such as income, housing
or food assistance.7 While federal law permits states to provide state-funded benefits for asylum
seekers, this is entirely discretionary and only about half the states have extended any programs
providing benefits. Moreover, eligibility can be extremely limited.8

    It is a constant struggle for us to find social and medical service providers to fill the gap. The
need is simply too great for the available resources. As a result, many of our clients suffer
needlessly, with dire consequences for their health and well-being. This also has an impact on
their underlying asylum claims. For example, without income, clients do not have money for
transportation and miss appointments. Without housing, a consistent address and an ability to pay
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  World Professional Association For Transgender Health, Standards of Care for the Health of Transsexual,
Transgender, and Gender-Nonconforming People, 33 (2011),
https://www.wpath.org/media/cms/Documents/Web%20Transfer/SOC/Standards%20of%20Care%20V7%20-
%202011%20WPATH.pdf.
4
  Id. at 65.
5
  American Psychiatric Association, What is Gender Dysphoria, (Feb. 2016), https://www.psychiatry.org/patients-
families/gender-dysphoria/what-is-gender-dysphoria.
6
  Transportation Security Administration, Travel: Identification, https://www.tsa.gov/travel/security-
screening/identification (last visited Nov. 7, 2019).
7
  Human Rights First, supra note 1.
8
  Human Rights First, supra note 1.


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for phone service, attorneys have difficulty reaching clients and clients struggle to collect the
necessary evidence to support their claims. Without appropriate mental healthcare resources,
clients who have suffered severe trauma are retraumatized every time they discuss their
experiences with their attorneys.

       The timeframe under the current rule already causes hardship to our clients. The situation
will worsen considerably if the proposed rule takes effect as it may remove the ability to hold
USCIS accountable to any deadline.

    Our clients are resilient, resourceful and want to be self-sufficient. After obtaining work
authorization, they are successful and go on to be significant contributors to American society,
pursuing careers in business, education, healthcare, the arts, and activism, among others.

    For example, one of our clients is now a successful painter and graphic designer in New York
City. Another former client founded a full-service media company empowering communities
through storytelling. He also runs a refugee shelter. Yet another is an activist advocating for the
rights and needs of LGBTQ communities, while also working as a case manager at a community
health center and pursuing her political science degree as a full-time student. Another former client
is an entrepreneur and small business owner with an office on Fifth Avenue in Manhattan. In
short, our clients thrive when given the opportunity.

IV.      The Proposed Rule Is Costly and Is Not Supported by DHS’s Rationale

    By DHS’s own data estimates, the proposed rule change could result in $255.88 million to
$774.76 million in lost compensation for asylum seekers annually. (Notice at 47150). Revenue
losses to the federal government in the form of lost contributions to Medicare and social security
would “rang[e] from $39.15 million to $118.54 million” annually. Id.

   Notably, DHS’s estimates of costs rely on its assumption that without the 30-day deadline,
USCIS’ case processing timelines will return to what they were before the Rosario decision.
However, there is no guarantee. This assumption fails to account for asylum backlog that has
grown every year over the past five years, according to DHS, and is one of the primary reasons
DHS cites for wanting to eliminate the 30-day deadline.

    DHS claims that implementing the proposed rule will result in overall cost savings to the
agency in the form of fewer personnel needed to process EAD applications. However, DHS has
not estimated these personnel costs, nor has DHS estimated:

      - losses to businesses that currently employ asylum-seekers
      - losses to small businesses in asylum-seekers’ communities
      - losses to asylum-seekers’ family members and networks
      - losses to organizations that provide services to asylum-seekers


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     - losses to federal, state, and local governments in the form of loss income tax

The economic estimates and justification of the proposed rule are not backed up by the data and
warrant deeper analysis.

    DHS claims that it seeks to eliminate the 30-day processing deadline because the regulatory
deadline does “not provide sufficient flexibility” for the agency to address (1) the “increased
volume of affirmative asylum applications and accompanying Applications for Employment
Authorization”; (2) “changes in intake and EAD document production” over the last two decades;
and (3) “the need to appropriately vet applicants for fraud and national security concerns.” (Notice
at 47155). However, the changes the government identifies in intake and document production
have been in place for more than a decade and a half. (Notice at 47154, fn. 17). Similarly, the
additional fraud and national security vetting the government identified has been implemented
since September 11, 2001 and the creation of the Office of Fraud Detection and National Security
(FDNS) in 2004. (Notice at 47154-55). Despite the existence of these production and vetting
changes, USCIS has been able to comply for more than a year with the Rosario court’s order
requiring it process initial EAD applications in 30 days.

    With respect to Rosario, DHS says that in order to comply with the court’s order it has been
forced to “redistribute[] its adjudication resources,” and the proposed elimination of the 30-day
requirement would allow those redistributed resources to be reallocated, “potentially reducing
delays in processing of other applications, and avoiding costs associated with hiring additional
employees.” (Notice at 47150). As noted above, however, DHS has failed to include any
estimated costs of hiring additional employees so those number can be compared to the lost
revenue and income noted above.

        In support of the proposed rule, USCIS makes frequent reference to a rise in national
security threats as a reason to spend more time and resources on each decision. However, as noted
above, USCIS has been able to decide 99% of EADs within the 30-day timeframe over the past
year. Therefore, USCIS has proven its ability to vet requests in a timely fashion. Moreover, its
argument regarding increased threats serves only to prompt the need for a speedier process to
properly protect national security, rather than its request to delay the process further. This need for
a speedier process is further compounded by the fact that the EAD applicants are asylum-seekers
already residing in the United States. If vetting must be done to prevent security risks, then having
unvetted people in the U.S. subjected to a potentially indefinite review period seems contrary to
the department’s stated interests.

    V.   Conclusion

   For these reasons, DHS should immediately withdraw its current proposal, and allow for the
30-day EAD processing timeframe to remain in place or, alternatively, allow asylum seekers to
apply for an EAD concurrently with their asylum application. We urge DHS to dedicate its efforts


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to advancing policies that strengthen rather than undermine the ability of immigrants to support
themselves and their families in the future.

    Thank you for the opportunity to submit comments on the proposed rule. Please do not hesitate
to contact Bridget Crawford at bcrawford@immigrationequality.org to obtain further information.


Sincerely,

Bridget Crawford
Legal Director
Immigration Equality
40 Exchange Place, #1300
New York, NY 10005
212-714-2904




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                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2484
      Comment Submitted by Amy Lenhert



                                                  Submitter Information
      Name: Amy Lenhert


                                                      General Comment
      Stop the assault on asylum seekers! They should have the ability to work legally while pursuing their claims.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2485
      Comment Submitted by Yasmin Russell



                                                  Submitter Information
      Name: Yasmin Russell


                                                      General Comment
      A weapon seeking asylum in the United States is legal. This country committed that after it taking so long to get
      involved in WW2 and assist the Jewish community, we would not turn our backs to people again. Sometimes this
      country fails, but the goal was to always do better. Protect asylum seekers protections.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2486
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      The proposed elimination of the issuance of an initial employment authorization for asylum applicants is
      unnecessary and will lead to additional hardships as well as the loss of income to USCIS. Asylum applicants
      already must wait 150 days to apply for an employment authorization document. Eliminating the 30 day
      adjudication window is an attempt by the USCIS to overturn a lawsuit settlement agreement.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2487
      Comment Submitted by the Safe Passage Project



                                                  Submitter Information
      Name: Anonymous Anonymous
      Submitter's Representative: Safe Passage Project
      Organization: Safe Passage Project


                                                      General Comment
      See attached file.



                                                            Attachments
      Safe Passage Project Comment




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Via Federal e-Rulemaking Portal
https://www.regulations.gov/document?D=USCIS-2018-0001-0001

U.S. Citizenship and Immigration Services
Department of Homeland Security
20 Massachusetts Avenue NW
Mailstop #2140
Washington, D.C. 20529-2140

Re: Comment on Proposed Rule, “Removal of 30-Day Processing Provision for Asylum
Applicant-Related Form I-765 Employment Authorization Applications,” Docket No.
USCIS-2018-0001

November 8, 2019

To U.S. Citizenship and Immigration Services:

Safe Passage Project respectfully submits this comment to the Department of Homeland
Security’s Notice of Proposed Rulemaking on Removal of 30-Day Processing Provision for
Asylum Applicant-Related Form I-765 Employment Authorization Applications, DHS Docket
No. USCIS-2018-0001, issued September 9, 2019 (the “Proposed Rule”).

Safe Passage Project is a registered 501(c)(3) nonprofit corporation based in New York City. We
provide free lawyers to refugee and immigrant children in New York City and on Long Island
who face deportation back to life-threatening situations. Safe Passage Project was founded in
2006 at New York Law School and in 2013 fully incorporated as an independent nonprofit. Safe
Passage Project recruits, trains, and mentors volunteer attorneys to represent unaccompanied
minors in immigration court, before the U.S. Citizenship and Immigration Services (“USCIS”)
Asylum Office, and in New York Family Court. Without the legal services we provide, many of
these children would be unrepresented and unaware of the available options to legalize their
immigration status.

Our organization has a number of concerns about the Proposed Rule, including its impact on
local economies and its role as part of a systemic effort to exclude asylum seekers from the
United States. However, in light of our organization’s mission to provide legal services to
immigrant youth, we are focusing our comment upon the ways in which this Proposed Rule
harms children who have fled violence in their home countries to seek asylum in the United
States.




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   I.      Background

Safe Passage Project works with children from all over the world who are seeking asylum in the
U.S. Many of our clients are fleeing record levels of violence in the Northern Triangle of Central
America—El Salvador, Guatemala and Honduras. Children in these countries are often forcibly
recruited by criminal syndicates commonly referred to as “gangs.” They are forced to engage in
criminal activities or engage in violent acts, or forced to provide sexual services to gang
members. Children may also be targeted as members of families who are themselves targeted for
persecution on account of their race, religion, nationality, membership in a particular social
group or political opinion. In many regions, the government is well aware of the criminal activity
and does not protect the populace, and may in fact be benefitting from corrupt criminal
payments. In many cases, children flee these conditions on their own, and arrive at the border
unaccompanied by an adult family member. See, generally, e.g., Children on the Run:
Unaccompanied Children Leaving Central America and Mexico and the Need for International
Protection, United Nations High Commissioner for Refugees, available at
https://www.unhcr.org/about-us/background/56fc266f4/children-on-the-run-full-report.html.

In their searches for safety and security, many such children exercise their legal rights to apply
for asylum in the U.S. The asylum adjudication process can be very long; due to backlogs at
USCIS and congested dockets in the immigration courts, many of our clients wait many months,
or even years, for a decision. Asylum applicants whose cases have been pending for more than
150 days are eligible to apply for an employment authorization document (“EAD”). 8 C.F.R.
208.7(a)(1). Since 1994, a federal regulation has required USCIS to adjudicate EAD applications
from asylum seekers within 30 days of their receipt. Id. However, for years USCIS consistently
failed to meet that deadline, leading a federal court to order compliance in 2018. Rosario v.
USCIS, No. C15–0813JLR (W.D. Wash. July 26, 2018). Since then, USCIS has complied with
the 30-day deadline for most initial EAD applications. See Compliance Report, Rosario, No.
C15–0813JLR at 4 (Aug. 6, 2019), available at
https://www.americanimmigrationcouncil.org/sites/default/files/litigation_documents/nirp_v_usc
is_defendants_july_2019_compliance_report.pdf.

Now, the Department of Homeland Security (“DHS”) once again seeks to avoid the 30-day
deadline. This time, in an abuse of its regulatory authority, DHS aims to escape a court order
with which it does not want to comply by striking the underlying regulation from the law
entirely. On September 9, 2019, DHS published the Proposed Rule, which would remove
altogether the requirement that USCIS adjudicate asylum seekers’ EAD applications within 30
days of receipt. The Proposed Rule does not offer any new timeline for EAD processing, freeing
USCIS to significantly lengthen current processing times.

   II.     The Proposed Rule Harms Asylum-Seeking Children

Our organization stands in firm opposition to enactment of the Proposed Rule. Based upon our
extensive work with young asylum seekers, we know that the Proposed Rule poses a significant
threat to their health, their wellbeing, and their ability to prove their otherwise meritorious
immigration cases.



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           A. The Proposed Rule Threatens the Health and Safety of Asylum-Seeking
              Children

Our organization’s clients are young, but many of the 17 to 21 year olds do rely on work to
support themselves. Some lack sufficient financial support from their families, while others have
already completed their education and begun pursuing their own careers. For these young people,
the ability to work is essential to meeting basic needs for food, shelter, and clothing—needs that
do not subside just because their asylum applications are still pending. Currently, the 30-day
processing deadline ensures that they are able to work during many of the months and even years
they await asylum decisions. The deadline also offers predictability that allows them to make
advance, informed decisions about their jobs and their expenses.

Should the Proposed Rule be enacted, these young people will instead be at the mercy of a
delayed and unpredictable system. The Proposed Rule fails to replace the 30-day deadline with
any alternative timeframe. DHS reports that it considered a 90-day deadline—a change that
would still have lengthened asylum seekers’ waits by three times—but ultimately decided that
the deadline lacked “flexibility” and “would unnecessarily place operational constraints on
adjudicators.” See Proposed Rule at 47166–67. DHS appears to anticipate that EAD adjudication
wait periods will span more, than 90 days, and thus that some applicants’ waits for work
authorization will more than triple from their current lengths, potentially indefinitely.

For young people who have recently arrived in the United States, the difference between a 30-
day wait and an indefinite wait is drastic. Longer wait times threaten their ability to support
themselves and increase the chance that they will go hungry, become homeless, or be unable to
afford medicine they need to survive. Many young asylum seekers are especially vulnerable to
these dangers. Because they fled their home countries in extreme hurries, they are frequently
starting “from scratch” in the U.S. and have few resources here to support themselves through
long periods of unemployment. Moreover, while access to basic necessities is important for
everyone, it is especially crucial for young people, whose lifelong health and development can be
hindered by malnutrition, housing instability, and other consequences of financial insecurity.
See, e.g., Ajay Chaudry and Christopher Wimer, Poverty is not Just and Indicator: The
Relationship Between Income, Poverty, and Child Well-Being, Academic Pediatrics, available at
https://www.academicpedsjnl.net/article/ S1876-2859(15)00383-6/pdf.

Not only young people in search of their own employment will be impacted if the Proposed Rule
is enacted. Even our youngest clients, children who are too young for jobs themselves, will be
harmed, because many rely on the financial support of asylum-seeking parents or guardians who
will face the same delays. Infants and other very young children should not be made to bear the
burden of avoidable bureaucratic delays, especially when such delays endanger their health and
safety.

For older children, employment authorization documents are a prerequisite not only to legal
employment, but to many health and social services as well. The federal health insurance
marketplace, which most states use for insurance enrollment, requires asylum applicants who
over thirteen years old to have work authorization in order to qualify. Immigration Status and the
Marketplace, Healthcare.gov, https://www.healthcare.gov/immigrants/immigration-status; see


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also State Health Insurance Marketplace Types, 2019, Kaiser Family Foundation,
https://www.kff.org/health-reform/state-indicator/state-health-insurance-marketplace-types.
Some states who administer their own insurance marketplaces use the same EAD rules. See, e.g.,
Proof of Immigration Status or Lawful Presence, Covered California,
https://www.coveredca.com/documents-to-confirm-eligibility/proof-of-immigration-status-or-
lawful-presence. Young people in these states who cannot otherwise access insurance will be
forced to remain uninsured indefinitely as USCIS processes their EAD applications, at
tremendous risk to their health and safety.

Similarly, many state identification cards (“IDs”) are unobtainable without proof of work
authorization. IDs are necessary to navigating modern life, but they are also required by many
community service agencies, shelters, and social service programs. Without IDs, asylum seekers
will remain unable to access such services at a time of great vulnerability in their lives.

           B. The Proposed Rule Harms Young Asylum Seekers’ Access to Due Process
              Under the Law

The Proposed Rule endangers not only the health and wellbeing of asylum-seeking youth, but
also negatively impacts their access to due process under law. Children’s immigration cases do
not cease when they apply for asylum. They must continue to appear in immigration court,
prepare for their asylum interviews or hearings, and/or apply for alternative forms of relief, steps
that all require the assistance of an attorney. Although Safe Passage Project represents children
on a pro bono basis, not every child in the U.S. has access to free legal representation.
Unfortunately, the demand for pro bono attorneys far outmatches the supply. Many children and
families are forced to bear the cost of an immigration attorney, or proceed without advice of
counsel in a complex and time lengthy process. Delaying access to legal employment, and the
income it brings, hinders their ability to hire and pay the attorneys they need to effectively
pursue their cases. Additionally, because of their inexperience with immigration cases, pro se
respondents and applicants pose a greater burden to the immigration system and the adjudicators
within it.

Even for clients like ours who have access to pro bono attorneys, there are other costs inherent in
immigration cases. Children seeking immigration relief often must pay court filing fees. They
must also bear transportation costs in order to attend the court hearings, asylum interviews, and
legal meetings necessary to avoid removal. When young people cannot afford travel costs or
court fees because of lengthy waits for work authorization, they risk losing access to immigration
relief to which they are entitled.

The stakes are incredibly high for young people whose financial insecurity jeopardizes their
immigration outcomes. When children who qualify for relief cannot obtain it, they may be
removed from the U.S. and sent back to violence or even death.




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Conclusion

Removing the 30-day processing deadline for EAD applications threatens the health and safety
of children seeking asylum in the United States. In view of all of the foregoing, Safe Passage
Project affirms that the Rule as drafted would be harmful to our clients, vulnerable
unaccompanied immigrant youth who have fled persecution and who seek safety in the U.S.

Yours truly,


Alexandra Rizio
Managing Attorney
Safe Passage Project


Michelle Caldera-Kopf
Managing Attorney
Safe Passage Project


Katherine Fite
Equal Justice Works Fellow
Safe Passage Project




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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2488
      Comment Submitted by Anonymous Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I don't think we should be rushing people into the country without background checks just because the 30 day
      window is up. If we need more money to process people faster, then let's do that.




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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2489
      Comment Submitted by Michelle Hughes



                                                  Submitter Information
      Name: Michelle Hughes


                                                      General Comment
      Asylum is the right thing for the US to offer & awin/win scenario for seekers & our country as provider. Seekers
      need basic time & opportunity & assistance to become viable & to thrive in our nation. Please preserve or extend
      this valuable & necessary timeline for seekers. Thank you.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2490
      Comment Submitted by Anonymous Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      The removal of the 30-day processing provision for asylum applicants would do more harm than good. Asylees
      will lose wages, be at risk of homelessness, food insecurity, and human trafficking. The Trump administration
      has said it is working to reduce human trafficking--this move would increase that to an already vulnerable
      population.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2491
      Comment Submitted by Anonymous Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      If asylum seekers faced delays on the process of getting their EAD; it could leads to:
      lost of income and the ability to support themselves and their family, risk of homelessness, food insecurity.
      Inability to obtain a State ID and medical insurance.
      They become more vulnerable to be trafficked and exploited and the feelings of fear and desperation can affect
      their mental health.
      An employment authorization card and a social security card are required documents to access social services
      programs and community services agencies, to receive services, It is required to present some type of valid ID,
      proof of income and proof of residency, in most of the cases.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2492
      Comment Submitted by Richard Williams



                                                  Submitter Information
      Name: Richard Williams
      Address:
        410 Paula Way
        Woodland, CA, 95695
      Email: timmonswilliams83@gmail.com


                                                      General Comment
      As a citizen and former small business owner, I want to state that I feel asylum seekers should have the ability to
      support themselves as they wait an asylum decision. They should be able to work as soon as possible; this is
      humane and common sense. Thank you.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2493
      Comment Submitted by Christine Popp



                                                  Submitter Information
      Name: Christine Popp


                                                      General Comment
      I am an immigration attorney in Bloomington, Indiana. I practice exclusively immigration law. Around 1/3-1/2
      of my practice is asylum.

      Many of my clients have come to the US as students, scholars, or professors (or as family members of those
      individuals). Generally, because of their studies or scholarship, they are at risk of persecution by their
      governments should they return. In addition, by their activism and support of democratic principles, they are cut
      off from the very funds they need to survive. They are cut off from their scholarship opportunities. They are cut
      off from their families. They are in the US with no means of support.

      In the notice, USCIS makes frequent reference to a rise in national security threats as a reason to spend more
      time and resources on each decision. However, USCIS has reported that it has been able to decide over 99% of
      EADs within the 30-day timeframe for over the past year. Therefore, USCIS has proven its ability to adequately
      vet the amount of requests in a timely fashion. Moreover, its argument regarding increased threats serves only to
      prompt the need for a speedier process to properly protect national security, rather than its request to delay the
      process further. This need for a speedier process is further compounded by the fact that the EAD applicants are
      asylum-seekers already residing in the United States. If vetting must be done to prevent security risks, then
      having unvetted people in the U.S. subjected to a potentially indefinite review period seems contrary to the
      departments stated interests.

      Moreover, many of my clients have already been vetted by the Department of State in issuing their visas. These
      individuals support the United States and our values. They are fighting for their own countries to adopt those
      same values. Delaying a work permit solves no problem but causes many.

      Filing for the Work Authorization benefits my clients greatly. They are able to continue their studies because
      they are able to work to support themselves and pay their tuition dollars. However, longer delays would be
      harmful for these individuals. Many of them are on the cusp of having to drop out of school because they are cut
                                                                                                               AR005064
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      off from the very funding they need to continue their scholarship. Their activism has made them at risk. Their
      democratic principles have made them a target. They need to support themselves.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2494
      Comment Submitted by Todd Drezner



                                                  Submitter Information
      Name: Todd Drezner


                                                      General Comment
      Please keep the rule that requires the government to process work permit applications from asylum seekers
      within 30 days. The rule helps asylum seekers gain employments and avoid potential issues such as lack of
      housing, food insecurity, and lack of access to community services, among others. And it benefits society at large
      by helping asylum seekers to become productive members of a community that they may permanently join.
      Removing the rule would be punitive, cruel, and counter-productive. I urge you to keep it in place.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2495
      Comment Submitted by Ramon Urbano



                                                  Submitter Information
      Name: Ramon Urbano
      Address:
        37370 County Rd 24
        Woodland, CA, 95695
      Email: rurbano@earthlink.net
      Phone: 530 6620755


                                                      General Comment
      Asylum seekers should be able to work as soon as possible
      And not later than 30 days.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2496
      Comment Submitted by Michael Montesano



                                                  Submitter Information
      Name: Michael Montesano


                                                      General Comment
      If you don't allow them to work how will they avoid becoming a public charge?




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2497
      Comment Submitted by Javier Maldonado



                                                  Submitter Information
      Name: Javier Maldonado
      Address:
        8620 N. New Braunfels
        Ste. 605
        San Antonio, TX, 78217
      Email: jmaldonado.law@gmail.com
      Phone: 210-277-1603
      Fax: 210-587-4001


                                                      General Comment
      I urge you not to eliminate the 30-day requirement for USCIS to process applications for employment
      authorization filed by asylum seekers. Asylum seekers need a work authorization to provide for their families,
      some who were born in the US. The administrative inconvenience of complying with the 30-day requirement
      pales in comparison with the human suffering our Government will impose on asylum seekers. I am an
      immigrant myself and now a US citizen. I still believe that this country should and must do more for those who
      flee persecution in their home country.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2498
      Comment Submitted by Anonymous Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous
      Address: United States,
      Email: molly.coe@gmail.com


                                                      General Comment
      People seeking the protection of the United States often wait years and years for a decision on their asylum
      applications. There is no reason to force them to live in limbo, unable to find stable employment and acclimate to
      a new country. Asylum seekers are permitted under law to remain in the US while their cases are pending. Why
      wouldn't we want them to be able to start working as soon as possible? This change is not about agency capacity
      because USCIS is well-equipped to adjudicate applications for employment authorization in a month, as they do
      regularly for DACA renewals, which are considerably more complex matters. This change is clearly rooted in
      this administration's intent to increase barriers for refugees specifically, and part of a broader anti-immigrant
      agenda.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2499
      Comment Submitted by Ricka Long



                                                  Submitter Information
      Name: Ricka Long


                                                      General Comment
      To whom it may concern,
      Please DO NOT do away with the 30-day processing provision for Asylum seekers!! The people seeking refuge
      here have already waited 6 months to get to this point. Further delays in getting their EAD will only leave them
      no way to provide for themselves and thier families. This will put an increased burden on the US to provide for
      thier needs. Without the work authorization they will have no way to work for income. They will be unable to
      buy food or food for thier families. They will have no money for healthcare. They will not be able to pay for
      housing. As if all this is not bad enough they will be forced to find a way to survive making them vulnurale to
      abuse such as sex trafficking or prostitution. The delay in getting their EAD also deprives the US of income from
      the taxes to thier salaries.

      These are all facts, what about the morality?? Our nation has always stood for and been seen by other countries
      as a safe haven.

      How can we not live up to what we have always stood for as a nation. I would much rather be a nation who
      embraces others in need with compassion and empathy rather than walls and laws put in place to make it more
      difficult to even work.

      Please, Please do not remove the 30 day Processing Provision for Asylum Applicant Related Form I-765
      Employment Authorization Applications.
      Thanks, A concerned citizen!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2500
      Comment Submitted by Leslie Diaz



                                                  Submitter Information
      Name: Leslie Diaz


                                                      General Comment
      Asylum seekers are entitled to a process, and they need to work to support themselves and not become a burden
      to our society while their cases make it through the system. The 30-day deadline to adjudicate the work permit
      does not restrain the time to vet asylum seekers as they already have to wait five months before they can apply
      (which is in itself to discourage fraudulent filers who just want a work permit), but they are already being vetted
      during that time, so actually the government has six months to vet them. This is more than enough as all they are
      doing is checking some databases. Let's be human and stop sabotaging this critical process that makes America a
      beacon of hope for the rest of the world. We were all immigrants once too.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2501
      Comment Submitted by Melina Somoza



                                                  Submitter Information
      Name: Melina Somoza


                                                      General Comment
      I am an immigration attorney at a non-profit organization. I have seen first-hand the harmful impact that not
      having lawful permission to work can have on a family that is here to work hard and contribute to our country.
      Immigrants come here to flee from dangerous lethal conditions and come to work hard and build a better life for
      their families and for our country. They need work authorization and we need the taxes to build our social
      systems. Immigrants keep our country running.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2502
      Comment Submitted by Carol Anne Donohoe



                                                  Submitter Information
      Name: Carol Anne Donohoe
      Address:
        PO Box 12912
        Reading, PA, 19612


                                                      General Comment
      I urge USCIS not to remove the 30 day processing provision for I-765 applications for asylum seekers. The
      restrictions on employment for asylum seekers are already erroneous, making it difficult for them to support
      themselves and their families. To make them wait indefinitely for application processing goes against all this
      country once stood for when it welcomed immigrants. To delay work authorization is just another punishment
      inflicted by the current administration against legitimate asylum seekers. Asylum seekers should be able to work
      and contribute to the economy. They need attorneys to represent them and cannot secure one if they have no
      funds. Again, this is just another attempt to deter those from coming to the U.S. to seek asylum and will likely
      face a court challenge, wasting more taxpayer dollars.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2503
      Comment Submitted by Anonymous Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Do not remove the 30-day processing provision. Letting asylum seekers work legally while they wait for their
      decision helps everyone!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2504
      Comment Submitted by Robert Pauw



                                                  Submitter Information
      Name: Robert Pauw


                                                      General Comment
      The proposal to eliminate 30 day EAD processing for asylum applicants should be rejected. It simply allows
      USCIS to be irresponsible and for the agency to delay. Congress intended that asylum applicants should be
      eligible to get work authorization while they wait for a decision on their applications. Delaying and denying
      work authorization causes unjustified hardship and also causes unjustified loss of tax revenues.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2505
      Comment Submitted by Gabriela Lopez



                                                  Submitter Information
      Name: Gabriela Lopez


                                                      General Comment
      Let asylum seekers work. I am an immigration attorney who works daily with asylum seekers who suffer greatly
      when there is a lapse in their work authorization. Some lose their jobs others are put on leave until they receive
      their work permits. This can be devastating for their families who depend on their labor and income to survive.
      Moreover, the lack of ability to work and correlating lack of income also vastly increases the risk that people
      coming to the United States will become a public charge. The best way to keep folks employed and contributing
      to our communities is to allow them to work lawfully. Their employment equals tax dollars to the this country
      which can be used to pay to run our country.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2506
      Comment Submitted by Anonymous Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      We need to let asylum seekers work! It only makes sense so they can support themselves instead of depending on
      others.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2507
      Comment Submitted by Karen Hoffmann



                                                  Submitter Information
      Name: Karen Hoffmann
      Address:
        128 Chestnut St.
        Ste. 301A
        Philadelphia, 19106
      Email: karen@syrenalaw.com
      Phone: 4129164509


                                                      General Comment
      I am an immigration attorney representing many asylum seekers. I have seen firsthand how important having
      permission to work impacts their lives. People do not want to live in the shadows; they want to follow the proper
      procedures and regularize their status to the extent they are able. My clients are forced to work under the table
      until their card arrives because they need to provide for their families and put a roof over their heads. This makes
      them vulnerable to exploitation, including wage theft and even trafficking. Receiving their work card promptly
      ensures that they are able to find legitimate employment that respects their dignity.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2508
      Comment Submitted by Scott Emerick



                                                  Submitter Information
      Name: Scott Emerick
      Address:
        1601 Vine St
        Los Angeles, CA, 91356
      Email: Emrck68@yahoo.com
      Phone: 3238570034


                                                      General Comment
      Asylum seekers currently have to wait five months before they can apply for employment authorization - during
      this time the government is already running background checks. Eliminating this rule will allow the government
      to further abdicate its job and prevent legitimate asylum seekers from contributing to our country while their case
      is processed.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2509
      Comment Submitted by Holly Leon-Lierman, Asylum Seeker Assistance Project



                                                  Submitter Information
      Name: Holly Leon-Lierman


                                                      General Comment
      My name is Holly Leon- Lierman and I work passionately and emphatically to welcome asylum seekers to the
      DMV area in my role as Program Manager with the Asylum Seeker Assistance Project. I urge you to NOT move
      forward with this proposed rule change.

      The ability to work brings peace, a sense of belonging and a means to not only survive also thrive to the
      individuals and families with which we work. The ability to work is a human right.

      Asylum seekers would lose wages and benefits as a result of delayed entry into the U.S. labor force, straining
      their ability to support themselves and their families. USCIS admits that lost compensation to asylum applicants
      ranges from $255.88 million to $774.76 million in taxable income per year. The loss of income to asylum-
      seekers will cause an outsized amount of harm to this already-vulnerable community. A lack of income means
      not being able to afford food, housing, medical treatment, health insurance, or legal representation. Furthermore,
      individuals will be unable to secure a valid ID (needed for many social services) and be increasingly vulnerable
      to exploitation, trafficking, and underground economic risks. The lack of ability to work and correlating lack of
      income also vastly increase safety risks and vulnerability as well as compound trauma and limit worker's ability
      to contribute to their new society and community.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2510
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      USCIS has 30 days to process the EAD application ONLY AFTER the Asylum seeker has waited at least 5
      months from filing the Asylum Application. So that is actually 180 days to perform the background checks, or
      adjudicate the application itself.
      The issue is that EADs are taking more than 6 months to be processed in all cases, including family and
      employment based cases. If applicants are not allowed to work, they would become a risk or an additional
      burden. Unreasonable delays in adjudication is the culprit for the immigration crisis. USCIS does not usually
      abide by the timelines established in the law or the regulations. Eliminating the 30-day provision would only
      make it easier for the agency to further delay cases. Resulting in more backlog and extending the suffering of
      applicants. Justice delayed is justice denied.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2511
      Comment Submitted by Laura Lunn



                                                  Submitter Information
      Name: Laura Lunn


                                                      General Comment
      Have you ever fled your home afraid that you could never go back? Have you left behind everyone and
      everything you love because you were afraid if you didn't, you and your family would be murdered? Asylum
      seekers are in the United States because their former lives are over and they are here to rebuild in a safe
      community. The right to work to support themselves and their families is important to ensure they are safe and
      free from predatory employers who wish do inflict further harm on them. Providing a way to allow people to
      quickly work lawfully in the United States takes few resources, is good for our economy, protects people from
      the risk of human trafficking, and follows the moral compass set forth by the founders of the United States. For
      these reasons, the 30-day processing period should not be stripped from the regulations.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2512
      Comment Submitted by Neena Dutta



                                                  Submitter Information
      Name: Neena Dutta


                                                      General Comment
      It would be an incredible loss to the US for asylum seekers to not be able to secure employment authorization. If
      you want people to work legally, you must give work authorization in a timely manner.




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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2513
      Comment Submitted by Nick Chantiles, Asylum Seeker Assistance Project



                                                  Submitter Information
      Name: Nick Chantiles


                                                      General Comment
      I am the Employment Program Manager of the Asylum Seeker Assistance Project (ASAP), located in
      Washington, DC. As part of my job, I work daily with clients before, after and during their EAD application
      process to prepare for the U.S. workforce, and I can say unequivocally that removing the 30-day mandate for
      EAD authorization would be a cruel and demoralizing action against asylum seekers. Our clients are stuck in a
      horrific asylum proceeding backlog, with indefinite uncertainty and fear on when and if their case will be hear.
      Having an EAD issued is one of the only (if not the only) validating experiences most clients receive from
      USCIS during their entire asylum proceeding. People call me crying when they receive their EAD, expressing
      that they finally can see a future for themselves and a light at the end of what has been a very long, dark tunnel. It
      provides agency, hope, and the possibility of "the American dream" we are so fond of espousing. To take away
      the only consistent timeline from asylum seekers is to refuse to acknowledge their legal status and legitimacy.

      The number one thing clients waiting on their EAD tell me is that they long to contribute to society. Yes, the
      financial burden and insecurity of not being work authorized is terrible, but at the end of the day our clients want
      to add something positive to the United States. Many asylum seekers have been forced to flee their countries for
      espousing and promoting ideals that we in the United States hold dearly: democracy, liberty, and justice, and to
      be able to find new meaning through work. Moreover, we as a nation can benefit from these skilled and capable
      people. 62.84% of ASAP's clients hold degrees from recognized higher education institutions, almost double the
      percentage of American college graduates according to a 2017 census report, and almost all hold years (if not
      decades) of professional experience in their country of persecution. Denying individuals the ability to contribute
      to our nation weakens our ability to grow and flourish as the U.S. has done time and time again with various
      waves of immigration.

      So, what is the assumed benefit of this proposed ruling? Is it to reduce the backlog of pending asylum cases? The
      backlog is still at a standstill, despite the "first in, first out" policy, and there isn't substantial evidence to indicate
      this change would make any impact. Or, is it to continue handing off resources to ICE as they continue
      dismantling asylum at the border, to dismantle all support for asylum seekers, and to send a signal that the United
                                                                                                               AR005085
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      States is no longer the safe haven it was for our grandparents? I can't presume to know what the true intention is
      behind the proposed regulation, but I can say with absolute certainty that it is not with the wellbeing of asylum
      seekers.




                                                                                                               AR005086
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2514
      Comment Submitted by Matt Kriezelman



                                                  Submitter Information
      Name: Matt Kriezelman


                                                      General Comment
      It is important to have limits on the amount of time that USCIS can take to adjudicate a work permit. I would
      rather have people who are waiting in the US be able to lawfully work and find employment than to stay here
      and potentially require public services and benefits, putting an undue hardship on the social services of the areas
      in which they reside. They are already waiting at least 6 months to obtain employment authorization at this point.
      It is unclear what background checks are necessary prior to adjudicating a work permit that would require a
      longer processing time. These people are already checked when they first file their Asylum applications 5
      months before.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2515
      Comment Submitted by Andrea Carcamo, Center for Victims of Torture



                                                  Submitter Information
      Name: Andrea Carcamo
      Submitter's Representative: Torture Treatment Programs
      Organization: Center for Victims of Torture


                                                      General Comment
      See attached file(s)



                                                            Attachments
      Comment on EAD 30-day limit rule 2019 FINAL




                                                                                                               AR005088
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2515.html[9/15/2020 4:14:33 PM]
Submitted via Federal eRulemaking Portal

November 8, 2019

Department of Homeland Security (DHS)
U.S. Citizenship and Immigration Services (USCIS)
Samantha Deshommes, Chief, Regulatory Coordination Division, Office of Policy and Strategy

Re: Agency DHS, Docket No. USCIS-2018-0001- Public Comment Opposing the Proposed
Removal of the 30-Day Processing Provision for Asylum Applicant-Related Form I-765
Employment Authorization Applications. In the Federal Register at 84 F.R. 47148.

Dear Ms. Deshommes:

The five national torture treatment programs below respectfully submit this comment to oppose
the Department of Homeland Security’s Notice of Proposed Rulemaking on Removal of 30- Day
Processing Provision for Asylum Applicant- Related Form I-765 Employment Authorization
Applications, DHS Docket No. USCIS-2018-0001, issued September 9, 2019.

The proposed rule will be extremely detrimental to survivors of torture. It is yet another step by
the administration to punish asylum seekers for seeking refuge in the United States. In addition,
as torture survivors’ ability to work is key to their mental health and wellbeing, allowing USCIS
to delay the delivery of work authorizations to asylum seekers will obstruct their healing and
place them in further danger. Some may have no option but to seek work in the informal
economy.

For the reasons detailed in the comments that follow, DHS and USCIS should immediately
withdraw their current proposal and dedicate their efforts to advancing policies that safeguard
individuals fleeing persecution in their home countries.

Thank you for the opportunity to submit comments on this proposed rule. Please do not hesitate
to contact us with any questions or for further information.

Andrea Carcamo /s/                                           Scott Roehm /s/
Andrea Carcamo                                               Scott Roehm
Senior Policy Counsel                                        Washington Office Director
acarcamo@cvt.org                                             sroehm@cvt.org




                                                                                     AR005089
DETAILED COMMENTS in opposition to DHS, Docket No. USCIS-2018-0001. Public
Comment Opposing the Proposed Removal of the 30-Day Processing Provision for Asylum
Applicant-Related Form I-765 Employment Authorization Applications.

The five (5) undersigned Torture Treatment Programs welcome the opportunity to comment on
the proposed removal of the 30-day processing provision for Asylum applicant-related Form I-
765 Employment Authorization Applications, DHS Docket No. USCIS-2018-0001 (“the
proposed rule,” or “the rule”).

The signatory organizations seek to advance the knowledge, technical capacities and resources
devoted to the care of torture survivors living in the United States and act collectively to prevent
torture worldwide.

As experts in the provision of mental health to survivors of torture and other trauma, we are
intimately familiar with the profound effects that this proposed rule will have on our clients. It is
also of great concern to us that this rule is yet another step by the Trump administration to
disintegrate our asylum process.

   I.      Background

On September 9, 2019, the Department of Homeland Security (DHS) published a notice of
Proposed Rulemaking to remove the requirement that an application for Employment
Authorization Document (EAD) be processed within 30 days of receipt of the application by the
U.S. Citizenship and Immigration Services. The rule will also remove the provision allowing the
asylum seeker to submit a renewal of the EAD 90 days before the current authorizations expires.

Currently, asylum seekers whose asylum cases have been pending without a decision for at least
150 days are eligible to apply for an EAD (if the applicant has caused delays in their asylum
case, they must wait longer). Pursuant to a regulation in place since 1994, USCIS is required to
adjudicate the EAD application within 30 days of receiving it. One of the “chief purposes” of the
30-day deadline was “to ensure that bona fide asylees [and asylum-seekers] are eligible to obtain
employment authorization as quickly as possible.” (See p. 47153, fn. 11 of the Notice).

DHS explains that it seeks to eliminate the 30-day processing deadline because the regulatory
deadline does “not provide sufficient flexibility” to the agency to address (1) the “increased
volume of affirmative asylum applications and accompanying Applications for Employment
Authorization”; (2) “changes in intake and EAD document production” over the last two
decades; and (3) “the need to appropriately vet applicants for fraud and national security
concerns.” (See p. 47155 of the Notice).

The rules will result in lasting negative consequences for survivors of torture.




                                                                                       AR005090
    II.     This rule is another step by the administration to punish asylum seekers who
            come to the United States, and to deter others from trying

Through the establishment of policies, agreements, and dubious unilateral changes to well-settled
asylum law, it is clear that the Trump administration seeks to prevent individuals south of our
border from accessing the U.S. asylum process at all, much less actually obtaining asylum. These
actions for the backdrop to the proposed rule—which is just another step towards the
administration’s goals— include the following:

Changing asylum immigration law: The attorney general certified himself several immigration
court cases and decided them in a way that upends longstanding law. In overruling Matter of A-
B- and Matter of L-E-A-, the attorney general made it significantly more difficult for individuals
from Central America to win their asylum cases, since they largely rely on these two cases.

Zero Tolerance leading to Family Separation: The administration adopted a policy of
pursuing criminal charges against every individual who crossed the border outside of a port of
entry, then took children from the parents who were subjected to criminal proceedings. Family
separation was a cruel practice that traumatized both children and parents. It will have long
lasting consequences for asylum seekers and for the United States.1

Asylum Ban 1.0: In November 2018, the president issued a proclamation banning individuals
who enter the United States between ports of entry from asylum.2

Migrant Protection Protocols: Established in January 2019, this policy forces asylum seekers
to wait in dangerous Mexican border cities during the pendency of their cases. Besides placing
asylum seekers in danger, it undermines their ability to obtain assistance of counsel, greatly
diminishing their ability to win their case.3

Asylum Ban 2.0: In July 2019, the administration disqualified from asylum any individual who
transited through a third country before arriving at the United States southern border. This
disqualifies all but Mexican asylum seekers arriving at our southern border from asylum.4

Agreements with other countries: The Trump administration continues to attempt to enter into
“safe third country” agreements with countries that simply are not safe—from which people are

1
  https://www.cvt.org/AsylumFact4
2
  https://www.federalregister.gov/documents/2018/11/09/2018-24594/aliens-subject-to-a-bar-on-entry-under-
certain-presidential-proclamations-procedures-for-protection
3
  https://www.humanrightsfirst.org/sites/default/files/Delivered-to-Danger-August-2019%20.pdf
4
  https://www.federalregister.gov/documents/2019/07/16/2019-15246/asylum-eligibility-and-procedural-
modifications




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fleeing violence and persecution that these countries’ governments cannot, or will not,
effectively address—including El Salvador, Guatemala, and Honduras. These agreements would
essentially trap asylum seekers in the countries where they are being persecuted or are otherwise
at significant risk of harm.

   III.      The proposed rule will lead to significant delays, or even a full stop, in the
             provision of work permits to asylum seekers

DHS has proposed no alternative to the current 30-day rule for adjudication EADs. Although it
considered replacing the current rule with a 90-day limit (see p. 47166-47167 of the Notice),
instead DHS is proposing to remove a timeframe entirely, suggesting that the agency anticipates
these applications will at least be significantly delayed. Of greater concern, the absence of any
adjudication deadline permits—and given the context of the proposed rule as described in section
II above, implicitly incentivizes—USCIS not to provide EADs to asylum seekers at all.

   IV.       A delay or full stop in the grant of EADs to asylum seekers will have lasting and
             detrimental consequences to the health of survivors of torture and severe trauma

A delay in, or the elimination of, granting employment authorization to asylum seekers
(including survivors of torture and others who have suffered severe trauma) will harm them, in
particular their mental health. Clinicians who provide rehabilitation services to this population
explain why below:

Andrea Northwood, Director of Client Services at CVT states:

          For torture survivors who have fled for their lives into exile, the period of time between
          arriving in a country of refuge and obtaining asylum is one of extreme psychological
          vulnerability and fragility. This is when survivors are most at risk, most distraught by
          recent trauma and losses, and least supported: they lack adequate food, clothing, shelter,
          health care, social support, employment authorization, legal support and legal
          assistance. They usually have medical and psychological wounds from their torture that
          have not received any treatment. This often puts their lives literally at risk: they can
          present at our doors with life-threatening physical conditions and life-threatening
          psychological symptoms, including suicidality and torture-related flashbacks that result in
          dangerous activities such as walking into traffic or leaving shelter at night in a semi-
          conscious state.

          A delay in the grant of a work authorization will deliberately increase this period of
          extreme risk, which is both immoral and inhumane. This will have a direct and
          immediate harmful effect on the lives of our asylum-seeking clients, who are in this
          country legally while their claims are submitted and pending with the federal
          government. We believe such an inhumane measure is also a fundamental violation of



                                                                                       AR005092
          human rights, which include the right to seek asylum and the right to be free from
          torture. It punishes those who have come forward with honesty and presented their cases
          lawfully, making no distinction between cases with merit (in our case, this can include
          forensic evidence such as medical documentation of scars from torture) and the so-called
          frivolous claims the policy purports to address.

          In addition to the basic necessity of income in order to survive and support a family in
          danger back home, sitting around all day with nothing to do is described as a major
          stressor (at best) and even a cause of insanity (“going crazy”) by our asylum-seeking
          trauma survivors, as they use “keeping busy” and meaningful activity to distract
          themselves from involuntary, disturbing traumatic memories as well as profound sadness
          and loss. One of the first priorities of rehabilitation at CVT is to rebuild meaningful
          activity into the lives of asylum seekers by helping them with employment-readiness
          activities until their work permit arrives and, as soon as it does, employment itself. This
          is because this change alone produces a reduction in emotional distress and calms people
          down.

Ariel Zarate, MA, MSW, Survivors of Torture Clinical Case Manager at the IRC in
Denver states:

          Many of the torture survivors that the Survivor Wellness Center at IRC Denver supports
          are asylum seekers who want nothing more than to recreate safe, meaningful lives. They
          want to contribute to their community and to care for their families. They want to rebuild
          themselves, separate from the abuses they and their families have endured. Key to this is
          the ability to work. Work is more than a means to financial stability but an element of
          human dignity and a Universal Human Right.5

          For torture survivors, work is a path to reassert their humanity, to take back agency that
          was lost as they were tortured. When meeting with clients, the primary, consistent
          stressor is work. Second only to housing and food, work is what keeps clients up at night,
          and what triggers anxiety, depression and traumatic withdrawal.

                 “I am just sitting here like nothing; I don’t want to just sit; I want to do.”

          This sentiment is universal; as is the aversion to “hand – outs.”

                 “If I were not desperate, if I had another choice, I would never beg.”

         Beyond this, work is a way for survivors to buffer themselves against the intrusive,
         disruptive and dysregulating memories of their torture. Images of the ways that their
         bodies, minds and lives were damaged can be persistent and very distressing. Work gives


5
    UN General Assembly, Universal Declaration of Human Rights, 10 December 1948, Article 24.




                                                                                         AR005093
      survivors a goal and a focal point outside of these experiences. Work gives survivors
      hope.

Gwen V. Mitchell, PsyD Assistant Professor/Director of Field Placements MA International
Disaster Psychology (MAIDP) Graduate School of Professional Psychology University of
Denver also explains:

      I am concerned about the proposed changes to the statute on issuing work permits for
      asylum seekers. From a psychosocial and mental health perspective, work permits and the
      solidification of meaningful employment is an essential component to a recently arrived
      asylum seeker’s recovery and adjustment to the United States. The World Health
      Organization (WHO) defines “[t]he conditions in which people are born, grow, live, work
      and age” as social determinants of health. Work permits and the subsequent aftereffects of
      obtaining and sustaining gainful employment are an essential part of healing and recovery
      for the asylum seekers we work with.

The proposed rule would cause significant financial hardship to asylum applicants who are
unable to work and to those who depend on them financially, which in turn would destabilize
their basic needs, like health and housing. The proposed rule would also burden and stretch the
capacity of charities and non-profit service providers: if asylum-seekers are unable to obtain an
EAD in a timely manner, they are forced to rely on other forms of support, including
organizations that provide financial, housing, legal, or other forms of assistance.

Jordan N. Enger, MA, LPC Psychosocial Support and Survivors of Torture Clinical Care
Coordinator from the International Rescue Committee (IRC) in Denver states:

      My clients are survivors of torture as defined on the 18 U.S. Code §2340 which we use to
      determine eligibility and admission into our program at the International Rescue
      Committee in Denver, CO. Since starting the program in October 2018, there are
      approximately 42 survivors to whom we are providing biopsychosocial and legal support,
      most with pending asylum applications. Asylum seekers do not meet the criteria to receive
      temporary assistance through the government with medical issues, food, childcare or
      money for housing. The time our clients spend without a work permit causes significant
      stress for them. They are unable to find safe and sanitary housing, unable to cover their
      medical bills, unable to pay for groceries to support themselves and family members—and
      these compounding effects fill the days they cannot work with anxiety. Having a work
      authorization not only bridges asylum seekers with basic needs, but it also engages their
      minds, allowing them to feel as if they can regain control over their lives. A work
      authorization offers a sense of hope to asylum seekers, something that they may not have
      experienced since they were tortured and had to flee their home country. Clinically we
      have seen many clients become more isolated while awaiting work authorization, which is
      counter-productive when working toward wellness and holistic well-being. Having the



                                                                                     AR005094
     ability to be productive and financially independent initiates hopefulness, which matches
     with determination to build a safe opportunity to live for themselves and their family, and
     can lead to a stronger mental outlook and dedication to their community. I strongly
     encourage these benefits to be prioritized as they affect asylum seekers significantly as
     well as our community.

Amanda McDonald, Social Worker & Targeted Case Management Supervisor from the
Center for Victims of Torture (CVT) states that:

      Many clients are unable to provide for their own basic needs so many live couch to
      couch, on the floor of basements or in common rooms. Many only eat when they are
      offered meals resulting in minimal access to food. A lack of income means a lack of
      access to transportation so some are unable to take the bus to vocational services that will
      prepare them for work. CVT can bridge the gap by providing referrals to food shelves,
      and bus cards but unmet needs remain and many suffer in silence. Once clients receive a
      work permit some report feeling like they are safer here because they have a card that
      reflects their legal presence, which aids in sleep and stress reduction. Clients are
      motivated to work quickly and do. It has been astounding to me how eager clients are to
      work in mostly difficult, grueling roles as many first receive employment in manual labor
      at factories, restaurants, etc. Once clients are working they are able to discontinue use of
      CVT donated bus cards and food which contributes to their sense of independence and
      self-efficacy. Most notably to their mental health, it allows them to send money back
      home which often pays basic needs like food, rent and medical care for their children or
      relatives.

Caitlin Tromiczak LICSW-C, LCSWC, Health and Psychological Wellness Program
Manager, Creator & Facilitator of Torture Abolition and Survivors Support Coalition
(TASSC) Training Program TASSC International in Washington DC also states:

      At TASSC, we provide holistic services to support survivors of torture; many of whom
      are seeking asylum and struggling to create stability during the extensive process of
      waiting for interviews and court dates. While we offer support in the form
      of therapeutic services, cultural orientation, legal support, and career development, what
      we cannot do is provide financially for them. More importantly, we cannot restore in our
      clients the sense of dignity and self-worth that comes from being able to work for oneself.
      Although a great deal of our survivors bring impressive resumes with high levels of
      education and professional accomplishments, without a work permit they are unable to
      support themselves or contribute to society as they so desperately desire. Many basic
      necessities such as housing and food are provided by generous members of the
      community including religious and diaspora groups, however generosity has its limits and
      without the ability to work, our survivors are at extreme risk of homelessness, illness, and
      hopelessness. Some of our survivors have been waiting several years for their asylum



                                                                                    AR005095
       interview or court date and if they were unable to obtain a work permit the cost to their
       mental, emotional, and physical wellbeing would be severe. There is no psychological
       support we can offer to offset these detrimental effects of abject poverty. Access to a
       work permit is essential for survival.

A delay in obtaining, or the inability to obtain at all, a work permit could lead asylum seekers to
look for work in the informal sector of the economy, a decision that places already vulnerable
individuals at risk of re-victimization and exploitation. Laura Rambikur, LCSW from IRC
Arizona explains it best:

Laura Rambikur, LCSW & MDiv, Clinical Therapist, International Rescue Committee
Arizona:

       For our clients a job is more than just a way to earn money, it represents the restoration of
       human dignity and healing. It symbolizes the essence of American values: to be able to
       work, contribute to society, and participate as a member of the community. The proposed
       changes that were announced earlier in September that eliminate the requirement that
       USCIS process work permit applications for asylum seekers within 30 days of filing will
       have a detrimental impact on our asylum seeking communities. At best, this policy will
       paralyze asylum seekers. At worst, it has the potential to create a market for labor
       exploitation that will force asylum seekers to engage in harmful, unlawful, and risky
       forms of employment, which could endanger their legal claims. This policy hurts
       immigrants who are within the boundaries of the legal structures that exist in our current
       immigration system. Exploitation and abuse will be a direct result of this policy. Healing
       happens in stable environments when one is able to provide for oneself and when people
       are recognized not by their past trauma and suffering, but by their resiliency and ability to
       contribute, find meaning, and create a new identity.

Conclusion

The administration must abstain from implementing the proposed rule, which will continue to
harm the asylum system, asylum seekers generally, and survivors of torture specifically.


Sincerely,

Center for Survivors of Torture
Center for Victims of Torture
IRC, AZ
IRC Denver
TASSC




                                                                                      AR005096
                                                                                            As of: September 15, 2020
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                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2516
      Comment Submitted by Elizabeth Banks, Unitarian Uiversalist Church of Davis



                                                  Submitter Information
      Name: Elizabeth Banks
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        1437 El Capitan Street
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      Submitter's Representative: Garamendi
      Organization: Unitarian Uiversalist Church of Davis
      Government Agency Type: Local


                                                      General Comment
      I request that asylum seekers be allowed to work as soon as possible. This will benefit our country's economy as
      well as their well-being.




                                                                                                               AR005097
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2517
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I am an immigration attorney practicing in Oakland, California, and I represent asylum seekers and their families
      before USCIS, the Executive Office for Immigration Review, and the U.S. Courts of Appeals. The time that it
      takes my clients' cases to be adjudicated ranges from 45 days to over 10 years. For my client's cases that are
      pending for more than 180 days, this delay has been caused by changes in adjudicative priorities by USCIS.
      Many of my clients' cases are significantly delayed due to these changes, which put their applications at the back
      of the line when it had been, at some earlier time, at or near the front of the line. For other cases pending at the
      Executive Office for Immigration Review, the delay is caused by the extreme backlog of cases such that the time
      between hearings is often over 2 years. In other words, this delay has not been caused by my clients.

      I have seen firsthand how the prompt receipt of an Employment Authorization Document allows an asylum
      seeker to gain stability in the United States and, therefore, better present their case. Many of the adult asylum
      seekers that I represent are supporting themselves here in the United States, their children here in the United
      States, and their family abroad, who continue to live in fear and hiding. My clients are living here in the United
      States, they are in the process of regularizing their immigration status, and they are at the mercy of the
      government for how long they have to wait to have their claim decided. They should be allowed to have a valid
      work authorization as promptly as possible.

      Having a work authorization allows my clients to productively contribute to the Oakland and California economy
      while waiting for their meritorious claims to be granted. In addition, all of my clients are highly traumatized due
      to what they have suffered in their home country, and the ability to work allows them maintain community ties,
      which is beneficial to their mental health.

      Without a valid work authorization, my clients are at risk of being exploited in the labor market and not being
      paid for their work. An undocumented labor force only helps unscrupulous employers. In addition, when a client
      has a work authorization and a valid Social Security number, they will pay taxes which further supports the local,
      State, and Federal government.
                                                                                                               AR005098
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      Instability due to not being able to maintain lawful unemployment also effects my clients' to maintain stable
      housing. If a client is unable to maintain their housing, they will be unable to focus and present their cases. If
      there are children involved, maintaining housing means better health outcomes and education outcomes for my
      clients' children.

      I have seen firsthand how much my clients are suffering due to what happened to them or to their family in their
      home country. All of my clients wish to contribute to this country as soon as possible, they do not want to take
      benefits for which they are not eligible or be seen as a burden on our country. Promptly providing them with a
      work authorization will allow them to do that.

      If the government believes that it cannot adequately adjudicate initial work authorization applications within 30
      days, a better solution would be to allow the applicants to submit their application. The law requires asylum-
      seekers to wait 180 days before they can be granted authorization to work, and the application may be submitted
      after 150 days. If the government needs more time, a better solution would be allow asylum-seekers to submit
      their application sooner. Indeed, if asylum-seekers were allowed to submit their work authorization application
      with the initial filing, USCIS would have up to 180 days to process and properly vet each individual while
      reducing the risk of harm to each applicant.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2518
      Comment Submitted by Laura Buxbaum, Coastal Enterprises, Inc.



                                                  Submitter Information
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      Phone: 2075045873


                                                      General Comment
      See attached file(s) from Coastal Enterprises, Inc.



                                                            Attachments
      CEI Asylee proposed rule comment




                                                                                                               AR005100
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2519
      Comment Submitted by Maggie Morgan, Greater Boston Legal Services



                                                  Submitter Information
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      Email: mmorgan@gbls.org
      Phone: 6176031715
      Organization: Greater Boston Legal Services


                                                      General Comment
      See attached file(s)



                                                            Attachments
      Proposed Rule




                                                                                                               AR005103
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November 9, 2019

Submitted via www.regulations.gov

Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services, Department of Homeland Security
20 Massachusetts Avenue NW
Mailstop #2140
Washington, D.C. 20529-2140


RE: Opposition to Proposed Federal Rule “Removal of 30-Day Processing Provision for
Form I-765 (c) (8) Employment Authorization Applications,” CIS No. 2617-18
DHS Docket No. USCIS-2018-0001

Dear Ms. Deshommes:

The Immigration Unit of Greater Boston Legal Services (hereinafter “IU” or the “Immigration
Unit”) submits this comment in opposition to the Department of Homeland Security’s (hereinafter
“DHS”) Notice of Proposed Rulemaking on Removal of 30- Day Processing Provision for Asylum
Applicant- Related Form I-765 Employment Authorization Applications, DHS Docket No.
USCIS-2018-0001, issued September 9, 2019. We strongly oppose the proposed rule because of
the devastating financial and social consequences that our clients will face as a result of delayed
or stalled processing of their work authorizations if this rule goes into effect.

   I.      The Immigration Unit of GBLS

Greater Boston Legal Services, a nonprofit legal aid organization, is the primary provider of legal
aid in Massachusetts in matters including immigration, family law, housing, employment and
disability services. Each year GBLS provides assistance to more than 10,000 working-class
families and individuals in the Greater Boston area. GBLS traces its roots to the Boston Legal Aid
Society (BLAS), founded in 1900. BLAS primarily served immigrants and their families,
addressing a variety of legal matters. Throughout its history, GBLS has continued its commitment
to serving newly arrived immigrants as their families build their lives in the Boston area. More
than two decades ago, GBLS withdrew from federal Legal Services Corporation (LSC) funding so
as not to be constrained in our ability to serve eligible immigrant clients.




                                                                                    AR005104
The GBLS Immigration Unit serves approximately 1,000 individual immigrants each year,
primarily serving asylum seekers. The asylum seekers GBLS represents have fled from horrific
domestic violence, political violence, and other types of persecution and include unaccompanied
children, adults and families, and individuals pursuing their claims while detained. IU provides
individual representation to these asylum seekers before the U.S. Citizenship and Immigration
Services, the Immigration Courts, the Board of Immigration Appeals, and the Federal Courts of
Appeal. IU also assists all eligible asylum clients to apply for work authorization. We help a
large number of clients a year with asylum-related Employment Authorization Document (EAD)
applications.

In addition to asylum, we also provide individual assistance on a wide range of immigration
matters, including renewal of temporary protected status and deferred action for childhood
arrivals, family-based immigrant petitions, VAWA and U-Visa petitions and applications for
cancellation of removal. IU also engages in appellate and impact advocacy on critical
immigration issues affecting our clients and works with numerous community organizations to
provide policy education and community legal education.

   II.     The Proposed Rule

Currently, asylum seekers whose asylum cases have been pending without a decision for at least
150 days are eligible to apply for an EAD (if the applicant has caused delays in their asylum
case, they must wait longer). Pursuant to a regulation in place since 1994, USCIS is required to
adjudicate the EAD application within 30 days of receiving it. Nonetheless, USCIS routinely
failed to meet the deadline until July 2018, when a federal court hearing the case Rosario v.
USCIS, No. C15-0813JLR (W.D. Wash), ordered the government to comply with the
deadline. Since that time, USCIS has adjudicated 99% of initial EAD applications within 30
days. Prior to the court’s ruling, USCIS adjudicated 47% of initial EAD applications within 30
days, an additional 31% of applications within 60 days, and 22% of applications in more than 60
days. One of the “chief purposes” of the 30-day deadline was “to ensure that bona fide asylees
are eligible to obtain employment authorization as quickly as possible.” (See p. 47153, fn. 11 of
the Notice).

The proposed rule would make two changes. First, the proposed rule would remove the existing
regulatory requirement that U.S. Citizenship and Immigration Services (USCIS) grant or deny an
initial employment authorization application within 30 days of when the asylum seeker files the
Form I-765, Application for Employment Authorization (EAD application). Second, the proposed
rule would remove a provision requiring that an application for renewal be received by USCIS 90
days prior to expiration of the employment authorization.

   III.    Discussion

The proposed rule would have severe and immediate consequences for the asylum seekers whom
IU represents. The proposed rule change will permit DHS unlimited time to determine if and
when asylum seekers will be issued work authorization, during which time asylum seekers would
have no means of supporting themselves and be forced to wait indefinitely and survive on the
charity of others.




                                                                                    AR005105
Our clients seeking asylum often have to wait in the U.S. for years for their claims to be
adjudicated. For example, we have many affirmative asylum applicants, with cases before USCIS
who have been waiting more than four years before receiving asylum and numerous clients in
defensive proceedings before EOIR who have been waiting between one and five years for their
cases to be decided. The EADs that many of these clients received during the pendency of their
proceedings have served as a lifeline to allow them to support themselves and their families while
they wait for their claims of protection to be decided. The ability to work can be the difference
between self-sufficiency and devastation.

For example, client Irma (names have been changed to protect privacy) had fled horrific domestic
and sexual violence in Honduras with her young daughter. When they first arrived, they were
essentially homeless and lived in a variety of shelters. After filing for asylum and later receiving
an EAD, Irma was able to obtain full-time employment, which allowed her to move out of the
shelter, rent an apartment for her and her daughter and enroll in a training program to improve her
job prospects even further. Another client, Juan, arrived from Guatemala with nothing but a
suitcase after fleeing racially motivated harm in the wake of the Guatemalan Civil War. Though
penniless upon arrival, his receipt of an EAD led him to a full-time job in the roofing industry
which then led him to start his own business, which now employs other workers within
Massachusetts. Juan has been waiting seven years for his claim to be heard in Immigration Court
but in the meantime, he has been able to provide for his family, which now includes two, thriving
U.S. citizen children.

The asylum seekers whom our office represents, like Irma and Juan, come to the U.S. having fled
life-threatening harm and often have few financial or family resources within the United States.
Receiving timely work provides our clients with the tools to find safety and to improve their lives.
The benefits of an EAD pervade all aspects of life. Clients with EADs can apply for driver’s
licenses. They can open bank accounts. By obtaining a job, they can secure better healthcare. They
can hire attorneys to help them with various issues. They pay taxes to the government. The Rule
will only compound the devastating delays that our clients face and hinder their ability to rebuild
their lives and contribute their potential to society. DHS, which suffers backlogs in almost every
benefit category, will have no incentive to issue a prompt decision. Many of our EAD applicants
in other categories wait for months, or in some cases, years to receive their work authorization.
These delays greatly reduce their ability to support themselves, have adverse effects on their
children and family members, and prevent them from making full contributions to the U.S.
economy as they otherwise would.

Removal of the 30-day processing requirement will also adversely affect our organization as a
whole. Our organization has attorneys across many issue areas including housing and health law.
If a significant number of EADs take longer to adjudicate, more asylum-seekers will need
additional support, including housing and financial assistance. Our IU attorneys will find ourselves
having to devote more time to providing referrals for other forms of support, including
organizations that provide financial, housing, legal, or other forms of assistance. Attorneys
working in other units of GBLS will be forced to divert limited resources to meet the increased
and varied needs of our immigration clients, thus adversely affecting their current practice and
capacity to serve existing clients.




                                                                                     AR005106
Our clients pride themselves on their self-sufficiency and ability to overcome tough circumstances
through grit and resilience. Given a chance, most immigrants, certainly most of our clients, will
strive to become full, contributing members of society who support themselves and their families
through their own efforts. To create a situation which forces clients to rely on outside sources of
support, even as asylum seekers are largely barred from receiving public benefits, is needlessly
harmful to clients’ ability to secure productive lives for themselves and their children in the U.S
and also creates greater pressure on public and private resources. Further, depriving asylum seekers
of timely work authorization also deprives the U.S. economy of the financial and fiscal benefits
that these hard-working asylum seekers contribute and has a detrimental impact on the workforce.

DHS justifies the proposed rule by pointing to an increased need for flexibility due to 1) an
increasing volume of affirmative asylum applications; 2) “changes in intake and EAD document
production” over the last two decades; and (3) “the need to appropriately vet applicants for fraud
and national security concerns.” (See p. 47155 of the Notice). However, these justifications fail
to survive scrutiny. Changes in intake and document production began in 1997 and were fully
implemented by 2006. The fraud and national security concerns mentioned by DHS have been
implemented since September 11, 2001. Even with these purportedly burdensome concerns,
DHS has been able to comply with the Rosario court’s order requiring it process initial EAD
applications in 30 days, having admitted to processing 99% of EADs within the 30-day timeline.
If the agency requires additional documentation from the applicant, USCIS has the option of
sending a request for evidence (RFE) and pausing the 30-day timeframe clock until the requested
additional documentation is received. Further, in the event that DHS has security concerns over
an individual, the incentive should be to quickly vet the applicant rather than delay.

Such reasons as offered by DHS do not justify the removal of a timeline for processing of the
EADs for asylum applications. Fundamentally, DHS has proposed no alternative timeline for
processing the EADs. Although it considered tripling the timeframe to 90 days from 30 days,
DHS now proposes to instead remove the timeframe entirely, indicating that the agency
anticipates these applications being significantly delayed. These delays will have devastating
consequences for our clients who are applying for an initial EAD based on a pending asylum
application. These are some of the most vulnerable clients that we serve—they have fled severe
harm in their own countries and now seek to sustain themselves while they seek legal protection
in the United States. This proposed rule will make it much harder for them to do so and is
adverse to their interests.

For the foregoing reasons, the Undersigned respectfully request that the Department of
Homeland Security abandon the proposed rule immediately.

Sincerely,


Maggie Morgan
Greater Boston Legal Services
Immigration Unit




                                                                                     AR005107
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
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                                                                                            Posted: November 12, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2520
      Comment Submitted by Beth Strano



                                                  Submitter Information
      Name: Beth Strano


                                                      General Comment
      There is no good argument for removing humane timeframes for completing bureaucratic tasks which
      dramatically impact the survivability of families.

      Asylum seekers are already confronted with a tedious and prolonged asylum process, and are often asked to wait
      1-2 years before their hearings are completed. If we expect people to stay in the process, we must give them a
      legal path to working and supporting themselves during that time period, and we must ensure that all legal
      processes are held to reasonable time frames.




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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2521
      Comment Submitted by Beverly Oserow Rhodes



                                                  Submitter Information
      Name: Beverly Oserow Rhodes


                                                      General Comment
      I am an attorney in private practice in Lakewood, Colorado, concentrating my practice in the areas of US
      Immigration and Nationality law. I strongly oppose the proposed removal of the 30-day processing provision for
      asylum applicant Form I-765 employment authorization applications because these applicants already face
      extreme hardship by having to wait 150 days to even file the applications. Without authorization to work in the
      US while waiting for a decision in a pending asylum application, the applicant cannot legally support himself or
      herself and any family members dependent upon the applicant for support. There can be no other reason for
      allowing USCIS to delay processing asylum applicant work authorization applications except to penalize these
      applicants and to discourage them from pursuing asylum applications in the US. In the over 35 years I have been
      practicing in these areas of the law I have never seen our country implementing such punitive and plain mean
      policies. I have always believed that the US stands for freedom and for helping refugees around the world find
      safety and a place to thrive. The current policies in Washington are promoting the exact opposite types of
      treatment for those who need our help the most. Do not implement the proposed rule eliminating the 30 day
      processing requirement for employment authorization for asylum applicants.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2522
      Comment Submitted by Gordon Rohrbacker



                                                  Submitter Information
      Name: GORDON Rohrbacker


                                                      General Comment
      Do something please




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2523
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      The proposed rule only seeks to harm the very lives that seek solace from harm. This rule strives to restrict
      asylum seekers from being able to work and provide for themselves and any family member under their care.
      The delay in obtaining their work authorization will cause unnecessary hardship, including but not limited to:
      loss of food, risk of homelessness, lack of necessary programs that require a form of identification that is
      accessed through the work document, and instability in the lives of many who depend on this.
      It is imperative to retain the same framework as it provides work authorizations to individuals who seek a better
      life.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2524
      Comment Submitted by Nathaniel Damren



                                                  Submitter Information
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        Brooklyn, 11201
      Email: ndamren@bds.org
      Phone: 6467873277


                                                      General Comment
      People seeking asylum are legal immigrants, they need to be able to support themselves, and gainful employment
      is they way they do it. Depriving legal immigrants of work authorization will simply result in them working
      without authorization, which will in turn drive a great number of people into an underground economy that puts
      them at risk of exploitation and labor- and human-trafficking. President Trump is well aware of this reality, as he
      once hired a group of undocumented Polish laborers to perform construction work on the New York property
      that ultimately became Trump Tower, and likewise employed dozens of undocumented workers at his various
      golf clubs.

      But if the material reality confronting the wretched of the earth does not disturb anyone at U.S. Citizenship and
      Immigration Services, perhaps the fact that the agency itself acknowledges that this proposed rule will result in a
      significant loss of tax revenue will give some pause. According to agency estimates, the proposed rule is
      projected to result in a loss of tax revenue ranging from $39.15 million to $118.54 million per year on account of
      the fact that delayed work authorization will prevent asylum-seekers and their employers from contributing to
      Medicare and Social Security.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2525
      Comment Submitted by Roxana Muro



                                                  Submitter Information
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      Address:
        510 w 6th street
        Los angeles, CA, 90014


                                                      General Comment
      Applicants must wait 150 days before applying for a work permit. USCIS has been adjudicating work permits in
      30 days thereafter for decades.




                                                                                                               AR005113
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2526
      Comment Submitted by Michael Mehr



                                                  Submitter Information
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      Email: mike@mehrlaw.com
      Phone: 8314255757
      Fax: 831 425-5757


                                                      General Comment
      Please oppose this regulation. Asylee applicants should have EAD to support themselves.




                                                                                                               AR005114
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2526.html[9/15/2020 4:14:34 PM]
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                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d79-73uw
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2527
      Comment Submitted by Judith Bernstein-Baker



                                                  Submitter Information
      Name: Judith Bernstein-Baker
      Address:
        154 W. Hortter St
        Philadelphia, 19119
      Email: judibernsteinbaker@gmail.com
      Phone: 2152050991


                                                      General Comment
      I am strongly opposed to the elimination of the 30 rule in which an asylum applicant must received an approved
      EAD. The 30 day limit to approve employment authorization is essential to the well-being of asylum seekers,
      their children and to everyone. Since so many applicants are now single parents--particularly mothers--with
      children, they must have an EAD to support their family. Asylum seekers may not have any other family in the
      U.S. to support them. They must already wait 150 days to apply. This new rule is an attempt to overturn a court
      decision. Many countries provide benefits to asylum seekers; the U.S. does not and the least we can do is permit
      an asylum seeker, many of whom arrive with only the clothes on their backs, to work lawfully in the United
      States. Eliminating the 30 day adjudication time frame is nothing less than a punishment to those who seek
      protection.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2528
      Comment Submitted by Connie Sieracki



                                                  Submitter Information
      Name: Connie Sieracki
      Address:
        212 Guaymas Place
        Davis, Ca, 95616
      Email: Conniesieracki@comcast.net
      Phone: 5307501026
      Submitter's Representative: Giramandi


                                                      General Comment
      Asylum seekers and others awaiting hearings should be able to work immediately. To not allow them to work is
      ludicrous. What do you expect them to do? Beg on the streets?




                                                                                                               AR005116
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2529
      Comment Submitted by Kimberly Medina



                                                  Submitter Information
      Name: Kimberly Medina
      Address:
        308 Cherry Street
        Fort Collins, CO, 80521
      Email: kimbmedina@yahoo.com
      Phone: 9703081184


                                                      General Comment
      Please do not eliminate the 30 day processing rule for work permits for asylum seekers. Many women and
      children in my community have arrived seeking asylum. They need to be able to support themselves while they
      legally pursue their claim for asylum. The 30 day processing rule ensures that they will not wait longer than six
      months to obtain employment authorization. It is necessary for humanitarian reasons to relieve the stress on our
      communities and families while these parents are unable to work. It is necessary for economic reasons so that
      these families can support our economy while they wait for their asylum claim to be processed Access to
      employment authorization also allows asylum applicants to hire attorneys, doctors, therapists, etc.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2530
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      A fundamental policy behind allowing Asylum Seekers to receive work permits while having their cases pending
      is because these cases take an incredibly long time, by allowing applicants to work prevents them from having to
      resort to unlawful means for making a living, that be working under the table, or more nefarious purposes. Being
      able to pursue gainful employment, and pay into the system, rather than take from it.

      It also prevents asylum seekers from having to be a drain on the system by applying for public benefits to sustain
      themselves. Again, gainful employment opportunities allows them to pay into the system. It also keeps
      employers in line by ensuring that both employer and employee are compliant.

      Delaying Asylum Seekers from receiving work permits while their cases are pending defeats the whole purpose
      what the law intended to prevent.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2531
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Asylum seekers should be allowed to work




                                                                                                               AR005119
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2532
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      This proposal puts some of the most vulnerable applicants beore USCIS at even further risk for government
      abuse and neglect. Asylum applicants already have to wait 150 days before they can file an employment
      authorization document, so really that wait for them with the current 30 day deadline is 180 days without work
      authorization. This presents financial hardship for both the applicant and any dependent family members in an
      already uncertain and life-altering process. This period of time is more than reasonable for the agency to conduct
      sufficient background checks and screen for fraud. Any additional time allows USCIS the opportunity to delay
      the case, and would put asylum seekers at a disadvantage with no significant gain for the agency. The hardship
      USCIS feels to do their job in a timely manner is in no way comparable to an asylum applicant remaining unable
      to provide for a family or themselves, or receive any needed care as a result of trauma associated with their
      flight.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2533
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I believe losing tax revenue while promoting racism is ridiculous. I thought this was the land of the free. Not the
      land of the free(*).




      *some exceptions may apply




                                                                                                               AR005121
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2534
      Comment Submitted by Suzanne Susany



                                                  Submitter Information
      Name: Suzanne Susany


                                                      General Comment
      The 30 rule is a good rule and holds the government accountable. Asylum seekers have already been made
      accountable
      by the 150 day timeline [180 in case of a defensive application] to show their seriousness in applying. It is cruel
      to make
      these asylum seekers who have very little when they come into the country fleeing threats to their lives and
      dangers from
      persecution wait longer to be able to earn their living. The 30-day rule should be kept and enforced.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2535
      Comment Submitted by Michelle Lee



                                                  Submitter Information
      Name: Michelle Lee
      Address:
        20 Parkwood Street
        Albany, NY, 12208
      Email: fonanne@gmail.com
      Phone: 510-684-8982


                                                      General Comment
      People with pending asylum claims need to eat just like everybody else. If anything, we should make it easier for
      them to work so that they can do so to support themselves and contribute to our economy.




                                                                                                               AR005123
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2536
      Comment Submitted by Sarah Gardiner, Freedom for Immigrants



                                                  Submitter Information
      Name: Sarah Gardiner
      Address: United States,
      Email: sgardiner@freedomforimmigrants.org
      Phone: 2029750600
      Submitter's Representative: Sarah Gardiner
      Organization: Freedom for Immigrants


                                                      General Comment
      See attached file(s)



                                                            Attachments
      Freedom for Immigrants EAD Proposed Rule Change




                                                                                                               AR005124
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November 08, 2019
Submitted via www.regulations.gov

Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services, Department of Homeland Security
20 Massachusetts Avenue NW, Mailstop #2140
Washington, D.C. 20529 - 2140

Re: DHS Docket No. USCIS - 2018 - 0001 , RIN 16 15 - AC19 Comment in Response to
Proposed Rule making : Removal of 30 - Day Processing Provision for Asylum
Applicant - Related Form I - 765 Employment Authorization Applications

Dear Miss Deshommes:


I am writing on behalf of Freedom for Immigrants to express our strong opposition to the
proposed changes regarding the process time for work permits for asylum applicants
published in the Federal Register on September 9, 2019 (RIN 1615 - AC19; DHS Docket
No. USCIS - 2018 - 0001). The government seeks to remove the 30-day processing
requirement for a work authorization document (EAD). If finalized, this proposed rule
would allow U.S. Citizenship and Immigration Services (USCIS) to indefinitely delay the
adjudication of work authorization requests, resulting in widespread lack of access to
identification, employment opportunities, and essential services for asylum seekers, to the
detriment of both asylum seekers and U.S. citizen communities.

Freedom for Immigrants is a national non-profit dedicated to the abolition of mass
incarceration of immigrants.1 Our network of 4,500 volunteers visits immigrants in
Immigration and Customs Enforcement (ICE) detention centers throughout the country,
breaking the isolation and advocating for those detained. We also operate a national
hotline, which detained individuals can use free of charge to report abuses or request
support. Our post-release support programming matches those released from immigration
detention with the resources they need as their cases navigate through the court system.
In the policy arena, we support federal and state-level policies pushing back against the
expansion of immigration detention and promoting proven alternatives to detention.
Many of the impacted persons we serve are asylum seekers fleeing immense trauma from
their home countries.

Our comment will address the harm the proposed change to eliminate the current 30-day
EAD adjudication deadline will have to the communities we serve; the negative
economic impact of this proposed rule; and how increasing barriers to asylum-seekers’
ability to work runs counter to international laws and best practices.

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   https://www.freedomforimmigrants.org/




                                                                                AR005125
Harm to Asylum Seekers

Freedom for Immigrants serves asylum seekers both during their time in ICE detention
and after their release. Our post-release support services include matching asylum seekers
with sponsors and community-based resources as their cases work through the
immigration court system. Asylum-seekers released from detention, sponsors, and
community organizations report delays in obtaining employment authorization as one of
the biggest and most harmful challenges facing asylum seekers.

Subjecting asylums seekers to longer periods before obtaining work authorization puts
vulnerable people into a position of living in prolonged economic dependence, poverty,
or seeking unauthorized employment under the table, in turn rendering them more
susceptible to extortion and labor-rights violations. Asylum seekers are often dependent
upon EADs to serve as a primary form of identification, without which it is much more
difficult to open bank accounts, apply for a drivers’ license, and register for social
security numbers.

Freedom for Immigrants Community Accompaniment Coordinator Christina Hernandez
stated, “All asylum seekers that I have worked with look forward to the day when they
can begin working to help support themselves and their families. Asylum seekers become
increasingly vulnerable to exploitation, trafficking, and economic risks if there is a delay
the adjudication of work authorization requests.”

Prolonging the time needed to obtain an EAD will effectively force asylum seekers to
live a life of dependence, in the shadows of our society.

Economic Harm to U.S. Communities

In addition to the immediate harm to asylum seekers and their dependents, the proposed
rule would result in significant, negative economic impact for communities throughout
the United States.

By the Department of Homeland Security’s own estimates, delays in EAD authorization
under the proposed rule would result in approximately $775 in lost compensation
annually. This loss in income represents a compound loss in taxes that could be re-
invested in communities throughout the United States.

On November 8, New Jersey Attorney General Gurbir S. Grewal, California Attorney
General Xavier Beccer, and 17 other Attorney Generals, released a letter opposing the
proposed rule, highlighting the rule’s economic impact.2 In addition to loss in tax
revenue, the AGs highlighted that asylum seekers disproportionately fill jobs in several
key sectors, including home health care and agriculture. Without timely work
authorization for asylum seekers, these industries will struggle to fill necessary jobs. New
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https://oag.ca.gov/system/files/attachments/press-
docs/2019.11.08%20EAD%20Comment_States%20AG_Final.pdf




                                                                                 AR005126
Jersey Labor Commissioner Robert Asaro-Angelo commented, “This hurts our economy
by depriving the state of employment taxes, and our employers, who need a reliable
workforce to remain competitive.”

Participating AGs also highlighted that further restricting asylum seekers’ rights to work
will put a strain on state social services. Several states provide full-funded health care to
low-income children, regardless of immigration status. Minor dependents of asylum
seekers forced into poverty by restrictions on their right to work will therefore be more
reliant on state-funded social services, resulting in a strain on resources for all
communities.

Internationally Recognized Best Practices

The United Nations Convention relating to the Status of Refugees, which has been signed
by 147 countries, including the United States, explicitly protects the rights of refugees
and asylum seekers to obtain work and self-employment in host countries.3 This
protection for the right to refugees and asylum seekers to access employment draws from
internationally recognized rights to work.4 Increasing barriers to asylum seekers’ rights to
seek employment puts the United States at odds with our commitments under
international law.

Freedom for Immigrants supports community-based alternatives to detention as a cost-
effective and humane alternative to immigration detention. The International Detention
Coalition (IDC) is an international consortium of over 400 civil society organizations,
academics, and subject matter experts working with refugees, immigrants, and asylum
seekers impacted by immigration detention.5 In a 2015 study, the IDC explored the
efficacy of alternatives to detention (ATDs) throughout the world. The study found that
ATDs are significantly less costly than immigration detention and demonstrate a high rate
of compliance with immigration and legal requirements. At the same time, the study
identified several best practices crucial to ATD success, including the ability for program
participants to ensure that their basic needs are met.6 The ability to work is critical to
ensuring that asylum seekers can meet their basic needs.

Freedom for Immigrants believes that the ability for asylum seekers to work is critical to
ending our current system of mass incarceration of immigrants. In fiscal year 2018 alone,




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 “United Nations Convention relating to the Status of Refugees.” Articles 17 and 18.
https://www.unhcr.org/en-us/3b66c2aa10
 Asylum Access and Refugee Work Rights Coalition. “Global Refugee Work Rights Report.” 2014.
https://asylumaccess.org/wp-content/uploads/2014/09/FINAL_Global-Refugee-Work-Rights-Report-
2014_Interactive.pdf
 https://idcoalition.org/
 International Detention Coalition. “There Are Alternatives.” 2015. https://idcoalition.org/wp-
content/uploads/2015/10/There-Are-Alternatives-2015.pdf




                                                                                          AR005127
immigration detention cost the U.S. taxpayer $8.43 million dollars a day, or $3.076 for
the entire year.7

Conclusion

The proposed rule will have a devastating impact on asylum seekers, their dependents,
and local economics. Increasing barriers to asylum seekers' right to work will force
vulnerable people further into the shadows and render them more susceptible to
exploitation. This proposed runs counter to the United States’ long held values and
tradition of serving as a place of welcome and refuge to those fleeing harm. For these
reasons, we urge the Department of Homeland Security to withdraw the proposed rule.
Sincerely,




Sarah Gardiner
Policy Director
Freedom for Immigrants




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Benenson, Laurence. “Math of Immigration Detention, 2018 Update: Costs Continue to Multiply.”
National Immigration Forum. May 9, 2018. https://immigrationforum.org/article/math-immigration-
detention-2018-update-costs-continue-mulitply/
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2537
      Comment Submitted by Diane Chappell-Daly



                                                  Submitter Information
      Name: Diane Chappell-Daly


                                                      General Comment
      I write to comment on the proposed rule to remove the 30 day processing requirement for the employment
      authorization applications filed by asylum applicants. If this time limit on EAD processing is removed, asylum
      applicants will have to wait longer for the the ability to be self-supporting. They already have to wait until their
      asylum applications have been pending for 150 days. Without a time limit on EAD processing, the applications
      could be stalled for months. The applicants and their families would be at risk of food and housing insufficiency,
      and thus are likely to become dependent on government support for a longer period. If USCIS wants more time
      to allow for EAD processing, the agency could allow asylum applicants to file EAD applications at an earlier
      date, perhaps allowing applicants to file 90 days after filling their asylum applications. It is in the interest of all
      of us to allow asylum applicants to be self-supporting.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2538
      Comment Submitted by Stephanie Smith



                                                  Submitter Information
      Name: Stephanie Smith


                                                      General Comment
      I write to oppose the proposed change to remove the 30-day processing provision for Asylum applicants.

      Please note that this change will result in significant harm to asylum seekers and their families, including the
      possibility of food scarcity and insecurity, the inability to secure valid state-issued identification documents, the
      risk of homelessness, difficulties obtaining health care, and other vital services provided through employment.
      Particularly for children, food deprivation and fears about homelessness could have a lifelong traumatic impact.

      The USCIS justifies this proposed change with reference to a rise in national security threats posed by asylum
      seekers. However, even this stated reason would further the need for a more prompt adjudication time frame. If
      these applicants - who already reside in the U.S.- pose a security threat, the government should go about
      screening them within the current 30 day timeframe.

      One alternative to the proposed change would be to shorten the waiting time before asylum-seekers are allowed
      to submit their applications for work authorization. Allowing asylum-seekers to submit their applications earlier
      could allow the department to have more time to vet each individual while reducing the risk of harm to each
      applicant.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2539
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Asylum-seekers already wait many months to receive work authorization, which is detrimental to American-
      based businesses that would like to hire them and to our country's tax revenues. The additional wait time reads as
      punitive because it is entirely unnecessary and because it burdens US-based charities and immigrant
      communities who seek to provide food and shelter. There is no incremental benefit to the United States
      whatsoever.




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                                                                                            Received: November 08, 2019
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                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2540
      Comment Submitted by John Achatz



                                                  Submitter Information
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      Organization: Select or enter


                                                      General Comment
      See attached letter.



                                                            Attachments
      Comment on Reg Change re EADs 2019-11-08




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                                                                                          jachatz@denovo.org


                                                                                          November 8, 2019
Submitted online via the Federal eRulemaking Portal
Department of Homeland Security
U.S. Citizenship and Immigration Services
Office of Policy and Strategy
Chief, Regulatory Coordination Division
20 Massachusetts Avenue, NW
Washington, D.C. 20529-2140
Re:     Comments on Removal of 30-Day Processing Provision for Asylum
           Applicant-Related Form I-765 Employment Authorization Applications
        Docket Numbers:
        CIS No. 2617-18
        DHS Docket No. USCIS-2018-0001
Dear Sir or Madam:
I am a member of the Massachusetts bar who, in retirement, is volunteering as a legal services lawyer
representing asylum seekers. As a volunteer, I am not authorized to speak on behalf of my legal services
organization, so I submit these comments in my personal capacity. As a proud American I am appalled
by the proposed regulatory amendment.
In general, my asylum clients are people who have been severely persecuted – and even tortured – by
some of the most awful governments in the world. For those of my clients who applied for affirmative
asylum and received prompt interviews under the new LIFO procedure, the regulatory change makes no
difference. Their applications were adjudicated promptly. All were granted asylum and received
employment authorizations immediately.
For my other clients who did not get LIFO interviews because there are not enough asylum officers to
interview all new applicants, or who have been in the USCIS backlog for years, or who are in the
Immigration Court with hearings in 2020 or 2021 or 2022 or even no court date at all, the ability to get
employment authorization after 180 days is critical not only for their ability to be self-sufficient, but also
for their sense of personal worth and dignity. Having been persecuted in their home countries, they
should not be burdened with unnecessary delays and indignities in our country – my country.
I understand the motivation for the proposed change in regulations to be, in part, to discourage aliens
from filing frivolous asylum claims and then relying on the gaps caused by an overloaded asylum system
to stay in the United States and have lawful employment. I am not writing to defend those who have
meritless asylum claims.




                                                                                                AR005133
Department of Homeland Security
Comment on Docket No. USCIS-2018-001
November 8, 2019
Page 2


I am writing to say that asylum seekers should not be punished because USCIS and EOIR are
insufficiently funded and staffed to adjudicate on a timely basis the asylum claims of all asylum
applicants.
If USCIS and EOIR cannot hear asylum claims on a timely basis, the least that we as Americans can do is
assure that asylum seekers waiting for adjudications can legally find employment and support themselves
while waiting for their interviews and hearings.
Thank you for the opportunity to comment on the proposed amendment to the regulations.
Very truly yours,




                                                                                            AR005134
                                                                                            As of: September 15, 2020
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2541
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment

      Asylum applicants want and need to work-they are anxious to resume some semblance of normality.
      They are anxious to care for their families and need to work as they adjust to new environments.

      Time is of the essence as without work they have no income and fewer opportunities to participate in their new
      community.

      Asylum applicants often are willing to work in the most challenging circumstances-go to any workplace where
      jobs are difficult and/or dirty and you will find asylum applicants there. My own mother received care from
      compassionate women who were asylum applicants.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2542
      Comment Submitted by Amy Taylor, Make the Road New York



                                                  Submitter Information
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                                                      General Comment
      MRNY urges DHS to preserve the important 30-day processing period, which is critical to our clients, our staff,
      and our organization. Please find our full comment attached.



                                                            Attachments
      USCIS-2018-0001_MRNY Comment on Proposed Rule




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Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services, Department of Homeland Security
20 Massachusetts Avenue, NW
Mailstop #2140
Washington, D.C. 20529-2140


November 8, 2019


        Re:      Comments in Response to DHS’s Proposed Amendments to Regulations
                 related to processing times for initial asylum applicant’s applicants for
                 employment authorization, entitled “Removal of 30-Day Processing
                 Provision for Asylum Applicant-Related Form I-765 Employment
                 Authorization Applications,” dated Sept. 9, 2019
                 (DHS Docket No. USCIS-2018-0001, 44 F.R. 47148)


To Whom It May Concern:

       Make the Road New York (MRNY) respectfully submits this comment to the Department
of Homeland Security’s (DHS) Notice of Proposed Rulemaking on Removal of 30-Day
Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization
Applications, DHS Docket No. USCIS-2018-0001, issued September 9, 2019. MRNY opposes
the proposed rule to remove the 30-day processing period for initial employment authorization
applications for asylum applicants. MRNY urges DHS to preserve the important 30-day
processing period, which is critical for our clients, our staff, and our organization.

   I.         Make the Road New York and Interest in the Proposed Rule

       MRNY is a non-profit community-based membership organization with over 24,000
members dedicated to building the power of immigrant and working-class communities to
achieve dignity and justice through organizing, policy innovation, transformative education, and




                                                                                   AR005137
survival services. We have offices in five different parts of New York state: Bushwick,
Brooklyn; Jackson Heights, Queens; Port Richmond, Staten Island; Brentwood, Long Island; and
White Plains, Westchester County. Our survival services include legal assistance on
immigration, family law, housing law, and employment law issues. MRNY’s Immigration legal
team reaches thousands of immigrants each year, and represents immigrants in all types of
immigration cases, including both affirmative and defensive asylum applications.

        MRNY staff, as well, represents the communities that we serve. Our organization is
comprised of a workforce of 219 employees, including but not limited to U.S. citizens, lawful
permanent residents, DACA recipients, TPS holders, and asylum applicants. As recently as 2018,
our organization has relied on the 30-day processing rule for initial asylum applicants for hiring a
crucial position in our legal team. The following is an example of staff and organizational need
in the context of the 30-day rule:1

            Florencia: Florencia is an asylum applicant. She was a professional in her home country.
            She fled to the United States after being kidnapped due to her political opinion. In the
            United States, Florencia did not have work authorization. Because she did not have work
            authorization, she was forced to get a low-paying job to support herself and her minor
            children despite her education and skills.

            MRNY was looking to hire an open position in our legal department but was having
            difficulty finding a qualified candidate. MRNY wanted to hire Florencia but was unable
            to because of her lack of employment authorization. MRNY was unable to find other
            viable candidates. When Florencia informed MRNY that her application for employment
            authorization had been submitted to USCIS, MRNY interviewed Florencia and was able
            to offer her employment pending approval of her application, because of the 30-day
            processing times. Florencia’s assistance to MRNY clients has been invaluable. Had the
            processing time been longer, MRNY would have been unable to hire Florencia and would
            have been forced to hire an underqualified candidate to work in an important position
            providing legal services to MRNY clients.

      II.      Issue for Comment: DHS’s proposed elimination of regulatory provisions
               requiring adjudication of EAD applications within 30 days of filing for asylum
               applicants requesting an initial employment authorization document

        DHS proposes to eliminate the existing provisions at 8 CFR 208.7(a)(1), requiring USCIS
to adjudicate initial employment authorization applications under the (c)(8) (pending asylum
application) category within 30 days of the filing for Form I-765, Application for Employment
Authorization. See DHS Proposed Rules, 84 Fed. Reg. 47148. MRNY opposes the rule change.
The rule change cruelly places tens of thousands of immigrant families at risk of losing access to
crucial financial support for themselves and their families; limits asylum applicants’ abilities to
retain counsel and pay for necessary mental health services; and fails to provide a suitable
alternative to the 30-day processing period.

            Asylum applicants depend on access to employment authorization as the basis of their
1
    Name changed to respect privacy.




                                                                                       AR005138
ability to support themselves and their families and to reconstruct their lives after fleeing from
abuse. Asylum applicants comprise a uniquely vulnerable portion of the immigrant population in
the United States. By definition, an asylee is someone who will likely be persecuted in their
home country based on a protected basis: race, religion, nationality, political opinion, or
membership in a particular social group. 8 U.S.C. § 1101(a). Many of these applicants not only
fear persecution upon return, but have also experienced the worst forms of violence, torture, and
abuse before fleeing to the United States. Without employment authorization after they arrive in
the United States, asylum applicants remain vulnerable to exploitation and mistreatment by
employers and are prevented from integrating into their new communities.

    A. The proposed rule cruelly places tens of thousands of immigrant families at risk of losing
       access to crucial financial support for themselves and their families.

       When they are denied access to an employment authorization document (EAD), asylum
applicants are forced to choose between working without authorization in violation of laws—
frequently in abusive or exploitative work environments—or being unable to meet even their
most basic food and housing needs.

        Our clients without work authorization are regularly compelled to seek work in order to
survive and meet their basic needs. The New York City metropolitan area has among the highest
cost of living in the country. MIT’s “living wage calculator” estimates that a single person with
no children must work full-time earning higher than the minimum wage in order to make a living
wage. A single adult with a child needs to make more than twice the minimum wage for a living
wage.2 Without work authorization, our clients find that the jobs available to them are extremely
limited and that they are paid significantly less than a living wage. The precariousness of their
situation leads to severe abuses by employers.

        Our clients often find themselves unavoidably subject to exploitative or unsafe work
environments, because they need to work to support themselves but are unable to find better jobs
without an EAD. As recognized by DHS in 2015, “[w]ithout work authorization, [immigrants]
are more likely to work for employers who will hire them illegally, often at below-market wages,
thereby . . . . giving unscrupulous employers an unfair advantage.” Petition for a Writ of
Certiorari, United States, et al. v. State of Texas, et al., 2015 U.S. S.Ct. Briefs LEXIS 4243, at
*59-60 (Nov. 20, 2015). These unscrupulous employers often take advantage of employees’
concerns over their lack of employment authorization by paying far-below market wages and
harassing or intimidating these employees. In contrast, our clients with work authorization
regularly comment that they can support themselves through better, more stable and higher-
paying employment.

      The following examples represent just some of our clients’ dependence on authorized
employment.3

2
  MIT, “Living Wage Calculator for New York-Newark-Jersey City, NY,” available at:
https://livingwage.mit.edu/metros/35620.
3
  All names changed to preserve attorney-client confidentiality.




                                                                                     AR005139
x   Sandra: Sandra is an asylum applicant. She lives in Westchester County. She fled
    her home country with her young daughter in fear for their lives. They were
    detained at entry, and Sandra promptly applied for asylum. Sandra was unable to
    work upon arrival in the United States. She and her daughter stayed with a sibling,
    initially, who repeatedly threatened to throw both out in the street. They had no
    way to pay for housing and lived in fear of being thrown onto the streets. Unable
    to provide for their basic needs without work authorization, Sandra and her
    daughter were forced to have multiple discussions about risking their lives and
    returning to their home countries out of economic desperation.

    Lack of employment authorization not only resulted in a precarious housing
    situation and Sandra’s inability to pay for regular meals for herself and her
    daughter, it almost resulted in Sandra and her daughter being ordered removed
    due to their financial inability to attend their immigration court hearings. To
    attend immigration court, Sandra had to take the train from Westchester County to
    New York City. Without employment, Sandra was unable to pay for her
    transportation to immigration court. She had to beg and depend on third parties’
    willingness to lend her money to be able to attend her hearing.

x   Jane: Jane was an asylum applicant, who was later granted CAT. She was a victim
    of severe domestic violence at the hands of her partner in her home country. She
    tried fleeing, but her partner found her every time she moved. She tried calling the
    police to protect her, but they failed to respond. When Jane came to the United
    States, the friend she was staying with took a romantic interest in her. Jane did not
    want a romantic relationship with the man, but was dependent on him for her
    support and could not leave. Jane had little mobility because she could not work
    due to her pending application for employment authorization. It was not until Jane
    received her employment authorization that she was able to save money for her
    own housing, gain her independence and avoid her roommate’s sexual
    exploitation.

x   Emilio: Emilio is an asylum applicant. As a young child, he was abused and raped
    for being gay. When he was a teenager, he was raped by a family friend who
    viewed Emilio as effeminate. Emilio attend university, with the hope of becoming
    a lawyer and fighting for LGBTQ rights. Several members of a local gang
    identified Emilio and a friend as gay. Over a period of years, they repeatedly
    raped and tortured them. When Emilio’s friend threatened to call the police, he
    was killed in front of Emilio. Emilio fled to the United States in fear for his life.

    Emilio has applied for asylum, but lacks work authorization. He has been unable
    to find a well-paying job. And though he wants to study to be a paralegal in the
    United States, without work authorization, he cannot afford classes to continue his
    studies.



                                                                           AR005140
        By removing the 30-day adjudication period for initial (c)(8) employment authorization
applicants, DHS is forcing asylum seekers to continue in this precarious and unsustainable
situation, prone to frequent abuse.

    B. The proposed rule limits asylum applicants’ abilities to retain counsel and pay for
       necessary mental health service.

      The proposed rule limits asylum applicants’ abilities to pay for necessary services, such
as immigration counsel and mental health services.

                i.       Inability to Retain Counsel

        Without the opportunity for stable employment provided by an EAD, many asylum
applicants find themselves unable to retain and pay counsel to represent them in their cases
before the asylum office, immigration court, and Board of Immigration Appeals. TRAC reported
that in FY 2017, 20.6 percent of asylum seekers were not represented by counsel.4 Non-profit
legal service providers like MRNY are unable to represent every asylum seeker that comes
through our doors, often necessitating that an asylum applicant seek private counsel. However, it
is often impossible for asylum applicants to afford private attorneys without an approved
application for work authorization.

        Asylum seekers are an exceptionally vulnerable population who are forced to navigate a
legal system they often do not understand, in a language they cannot comprehend. Our
unrepresented clients regularly comment to us on their inability to understand their own
proceedings in immigration court, ICE Enforcement and Removal Operations check-ins, and
asylum interviews. Applicants depend on counsel for orientation, advice, strategy, and case
preparation. The lack of access to counsel makes it nearly impossible for an asylum applicant to
prepare and present their claim. In fact, an applicant represented by counsel is five times more
likely than an unrepresented individual to win their asylum claim.5

      The following examples represent just some examples of consults we have had that
demonstrate asylum applicants’ dependence on authorized employment.6

        x   Johana: Johana is an asylum applicant. Johana fled repeated threats of abuse and
            threats by government-backed forces because of her active membership in a political
            opposition party. Unable to afford private counsel, Johana filled out her asylum
            application with the help of a notario. Because she did not speak English, Johana was
            unable to understand or correct the asylum application that had been filled in for her,
            nor did she know to seek evidence beyond her affidavit. Johana’s case was denied for
            lack of credibility. The immigration court’s decision cited the lack of documents that
4
  TRAC, “Asylum Representation Rates Have Fallen Amid Rising Denial Rates,” available at:
https://trac.syr.edu/immigration/reports/491/.
5 TRAC, “Asylum Representation Rates Have Fallen Amid Rising Denial Rates,” available at:

https://trac.syr.edu/immigration/reports/491/.
6
  All names changed to preserve attorney-client confidentiality.




                                                                                            AR005141
           Johana submitted and could have easily presented to the court had she been advised
           and represented by counsel.

       x   Alicia: Alicia is an asylum applicant. She came to the United States fleeing domestic
           violence and death threats with her young children. When Alicia came to the United
           States, she had no support. Alicia attempted to retain non-profit services, but due to
           lack of capacity, was referred between multiple non-profit organizations. As Alicia
           was unable to secure work that paid well enough for her to afford a private attorney,
           she was unable to retain a private attorney. As she continued to search for a private
           attorney she could afford, Alicia was forced to represent herself at various master
           calendar hearings.

       x   Erfan: Erfan is an asylum applicant. He fled to the United States from his home
           country. He was detained at the border, passed a credible fear interview, and was
           released. He spent several months searching for pro bono representation and was
           unable to find it. He decided to hire a private attorney, but was unable to earn
           sufficient income to support himself and pay legal fees without work authorization.
           He was forced to borrow money to pay attorney’s fees for representation. When
           Erfan’s application was denied, he told his attorney he wanted to appeal. The attorney
           quoted an appeal fee to Erfan that was impossible for Erfan to pay. With the help of a
           non-profit, Erfan filed a notice of appeal pro se. He has been actively seeking new
           representation for over four months, but is unable to find representation. He is still
           paying installments for his prior attorney and lacks the financial resources to hire new
           counsel.

       By removing the 30-day adjudication period for initial (c)(8) employment authorization
applicants, DHS is creating a situation where asylum applicants find their ability to retain
counsel in danger.

               ii.    Lack of Access to Mental Health Services

        Access to mental health services is critical for many asylum applicants. Histories of
trauma, abuse, and persecution manifest in Post-Traumatic Stress Disorder, depression, anxiety
disorders. and other diagnoses of mental health disorders. Unfortunately, many of our clients’
daily struggle for subsistence compounds their mental health issues, while their lack of access to
employment authorization and well-paying jobs means that they cannot afford to pay for the care
they need. While community and non-profit organizations often seek to provide services and
counseling at low cost or free of charge, even low cost is often too much for an individual who
does not have work authorization and can barely cover their basic survival needs. Non-profit
capacity to provide free services is limited and unable to reach the growing need. As a result, our
clients’ PTSD and other mental health issues are not addressed, wreaking havoc on their lives
and inhibiting our clients’ abilities to process and present information about their past and
episodes of trauma to counsel, to the asylum office, and to the Executive Office for Immigration
Review.




                                                                                     AR005142
         The following examples represent the importance of authorized employment on the
ability to access mental health services.7

           x    Julian: Julian is an asylum applicant. From a very young age, he was beaten and
                sexually abused in his home country. The abuse continued into adolescence, when he
                came out as a gay man. Following his flight to the United States, Julian could not
                afford mental health services. Unable to cope with his history of trauma, he was
                forced to engage in self-medication – for example, with alcohol – in an attempt to
                escape his past.

           x    Gloria: Gloria is an asylum applicant. Gloria fled her home country after being raped
                and repeatedly attacked near her house. She reported the attacks and rape to the
                police, but the police did not investigate or provide protection. Gloria was diagnosed
                with PTSD and was receiving private therapy in her home country following her rape.
                Since receiving employment authorization, Gloria has been able to access mental
                health services on a sliding fee scale.

                Before receiving employment authorization, Gloria was unable to continue treatment
                in the United States. Instead, she was forced to work long hours in childcare
                following her arrival, which did not permit time off or sufficient income to pay for
                any amount of care. Though she requested help, various non-profits and community
                service providers informed her that they were at capacity and requested she wait six
                or more months for treatment.

                While searching for treatment, Gloria attempted to work with her immigration
                attorney to prepare her asylum application. At each interview with her attorney,
                Gloria became extremely upset and unable to continue. She and her attorney were
                forced to engage in much of their work over sporadic e-mail correspondence to
                provide Gloria with time and emotional space she needed to address each question.

       C. The proposed rule fails to provide a suitable alternative to the 30-day processing period.

        Under the proposed rule, DHS would unbind itself from the 30-day processing period
requirement, but the agency fails to propose or provide an alternative processing period. This
lack of proposed processing period is extremely concerning. As noted above, employment
authorization is necessary for asylum applicants’ subsistence, access to mental health services,
and access to counsel. Any delay in employment authorization, correspondingly decimates an
asylum applicant’s ability to retain counsel, access extremely necessary mental health services,
and provide for their most basic needs: shelter, clothing, and food.

        The lack of a proposed processing period is particularly concerning where DHS appears
to base its arguments on logical fallacy and lack of investigation. For example, instead of
7
    All names changed to preserve attorney-client confidentiality.




                                                                                        AR005143
providing a new processing period, DHS says that it “assumes. . . adjudications will align with
DHS processing times achieved in 2017,” and that it “intends to meet these timeframes.” 84 F.R.
47156. However, DHS likewise states that a large part of the reason for the need for additional
time is the “historic asylum backlog” and increased number of (c)(8) applications since 8 CFR
208.7(a)(1) was promulgated. 84 F.R. 47153. DHS fails to justify how it intends to comply with
even the unacceptable pre-Rosario processing times in light of the increased backlogs and the
historic correlation between increased applications and increased processing times.

         DHS additionally reports redistributing its workforce to comply with the 30-day period
following Rosario v. USCIS, No. C15-0813JLR (W.D. Wash). However, in the proposed rule,
DHS posits that it cannot meet the 30-day processing times through new hires, because any new
hires would require training and some applications would still require additional time for full
vetting. Relying on these unfounded assertions, DHS has failed to consider the cost of hiring
additional employees in order to promptly adjudicate these applications. 84 F.R. 47157. Such
failure to engage in even the most basic and logical investigation is unacceptable given the
potential harm to asylum applicants imposed by the proposed rule change.

        In short, DHS claims that it is unable to sustainably comply with the 30-day adjudication
period for initial (c)(8) EAD applications but fails to provide an alternative period. Instead it
provides a possible alternative goal based on a logical fallacy, and intentionally decided not to
fully investigate the cost associated with continued compliance with the 30-day deadline. For our
clients and other asylum applicants, every day without work authorization increases financial
instability and hurts their ability to support their most basic needs, retain counsel, or access
mental health services.

   III.      Conclusion

        MRNY urges DHS to preserve the important 30-day processing period, which is critical
to our clients, our staff, and our organization. We appreciate the opportunity to comment on the
proposed rule elimination.

          Sincerely,

          //s// Amy S. Taylor
          Amy S. Taylor
          Co-Legal Director
          Make the Road New York




                                                                                    AR005144
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2543
      Comment Submitted by Claire R. Thomas, New York Law School Asylum Clinic



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      Submitter's Representative: Claire R. Thomas
      Organization: New York Law School Asylum Clinic


                                                      General Comment
      See attached file(s)



                                                            Attachments
      NYLS Asylum Clinic Comments to DHS Docket No. USCIS 2018-0001 Asylum Seeker Employment
      Authorization Applications




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          November 8, 2019

          Submitted via www.regulations.gov

          Samantha Deshommes
          Chief, Regulatory Coordination Division
          Office of Policy and Strategy
          U.S. Citizenship and Immigration Services, Department of Homeland Security
          20 Massachusetts Avenue NW
          Mailstop #2140
          Washington, D.C. 20529-2140

          Re:        DHS Docket No. USCIS-2018-0001; Comments on proposed rulemaking
                     re: Removal of 30-day Processing Provision for Asylum Applicant-Related
                     Form I-765 Employment Authorization Applications

          Dear Ms. Deshommes:

                 The New York Law School Asylum Clinic respectfully submits this comment to the Department
          of Homeland Security’s Notice of Proposed Rulemaking on Removal of 30-Day Processing Provision
          for Asylum Applicant-Related Form I-765 Employment Authorization Applications, DHS Docket No.
          USCIS-2018-0001, issued September 9, 2019.

                   Our clinic represents immigrant clients and argues cases in the New York Immigration Court and
          before the Newark and New York Asylum Offices on behalf of refugees fleeing persecution in their
          home countries and seeking safety in the United States. We work closely with our clients to help them
          prepare their asylum applications based on horrific circumstances that have given them no choice but to
          flee to the United States. We trust that our clients will receive fair and humane treatment while pursuing
          their legal claims, including the opportunity to provide for themselves and their families.
                 We are writing to express our profound opposition to the Department of Homeland Security’s
          proposal to eliminate the 30-day processing requirement for asylum applicant-related employment
          authorization applications. We respectfully request that the proposed rule be rescinded and that the
          Department of Homeland Security reconsider its misguided attempt to deter asylum-seekers by imposing
          unwarranted obstacles to legal employment.

             I.      Our Clients Will Suffer Unjustified Harm as a Result of the Proposed Rule

              Our clinic represents vulnerable individuals who have been forced from their home countries to
          escape the threat of persecution. When they reach the United States, many of them have no family or
          community to support them. Without prompt authorization to pursue legal means of income, their access
          to food, housing, and medical treatment will be eroded. Our clients are already among the most


  New York Law School Legal Services, Inc. is a not-for-profit legal services corporation formed to support the clinical legal education programs at New York Law School.


                                                                                                                                           AR005146
vulnerable populations to exploitation and trafficking. Revoking their ability to work legitimately while
they exercise their legal right to request asylum will exacerbate these risks, exposing them to dangerous
situations similar to those from which they are fleeing. Many of our clients come to the United States
with small children who clearly cannot provide for themselves. For parents, the 30-day processing
requirement for EAD’s is critical to ensure they can put food on the table for their families without
relying on public benefits. Further, EAD’s enable our clients to obtain valid ID’s, which are required in
order to obtain a number of social services. If they cannot work and cannot obtain those services, they
will be left entirely without means to meet their basic human needs. Our clients come to the United
States seeking safety and hope. To strip them of the dignity drawn from providing for their families is to
repudiate our moral imperative to help those in dire need.

    One of our current clients, D, is a Honduran woman who fled to the United States with her daughter
to escape the terror her violent uncle inflicted on the females in her family. Once here, she then suffered
extraordinary abuse at the hands of her daughter’s father, from whom she was she was eventually able to
separate. As she waits for the BIA to hear her asylum appeal, she works as a server at a restaurant,
allowing her to provide for herself and her daughter. Regarding the value of having an EAD, D says,

       “It is important for me as an asylum seeker to have a work permit because I can work to get my
       children ahead. I have more opportunities to support them. I can have a Driver’s License. I can walk
       with more certainty that they cannot deport me.”

 II.      The proposed rule will force a number of our clients to become public charges.

    USCIS admits that delaying EAD authorization will cause lost compensation to asylum applicants
ranging from $255.88 million to $774.76 million in taxable income per year. Considering the
administration’s recent emphasis on deterring immigrants who may become a public charge, restricting
our clients’ ability to work legally is counterproductive. As the proposed rule provides no replacement
adjudication deadline, our clients will be left with no means of survival and thus, no other option but to
seek the minimal public benefits for which they are eligible. If the government does not wish to
financially support asylum seekers who are already present in the country, it must allow them to support
themselves legally, as our clients currently do.

III.      More efficient alternatives exist for adjudicating employment authorization applications
          that would inflict less harm on our clients.

    If USCIS needs more time to process work authorization applications from asylum seekers, there is a
simple solution. Rather than requiring our clients to wait until their asylum applications have been
pending 150 days to apply for work authorization, USCIS could allow them to do so after 120 days. This
would allow for a 60 day adjudication process without indefinitely postponing the ultimate receipt of an
EAD, as the proposed rule currently does. Removing the 30-day processing requirement without
providing any alternative deadline makes clear that USCIS expects adjudication of applications to be
extensively delayed. Leaving our clients dangling in the wind with no guarantee for when they can
expect to enter the United States workforce is not only irresponsible, it is inefficient.




                                                                                      AR005147
IV.    Conclusion

    The Proposed Rule sharply contradicts a basic principle of United States immigration law since our
nation’s earliest immigration statutes were passed: self-sufficiency as stated in §1601 of Title 8 of the
US Code. Self-sufficiency starts with promptly providing bona fide asylum applicants with employment
authorization within the processing time prescribed in the regulations. As USCIS is currently able to
process 99% of applications within the 30-day timeframe required by law, there is simply no basis to
suggest that the Service is incapable of prompt adjudication.

    If the crises of other nations have forced so many from their home countries that USCIS has
difficulty processing their requests for legal work opportunities, it must solve that problem with the most
responsible methods possible. Entirely removing any time restriction on the processing of asylum-
related work authorization applications indefinitely leaves our clients without any means of obtaining
food, housing, medical care, and childcare. In our highly developed, highly educated nation, it is absurd
to suggest that doing so is the most effective or efficient way to improve our immigration system. It
certainly is not the most responsible. For these reasons, we respectfully request that the proposed rule be
rescinded.

    Thank you for the opportunity to submit these comments. We appreciate your consideration. Please
do not hesitate to contact Professor Claire R. Thomas should you have any questions about our
comments or require further information.


Respectfully,


Kelly Keown
Law Student Intern
New York Law School Asylum Clinic


Claire R. Thomas, Esq.
Director, Asylum Clinic
New York Law School




                                                                                     AR005148
AR005149
AR005150
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7a-d8vf
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2544
      Comment Submitted by Norman Archer, Housing Works



                                                  Submitter Information
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      Email: n.archer@housingworks.org


                                                      General Comment
      See attached comment.



                                                            Attachments
      HousingWorks_Comment_Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765
      Employment Authorization Applications




                                                                                                               AR005151
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7a-a2xk
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2545
      Comment Submitted by Sarnata Reynolds, The Immigration Hub



                                                  Submitter Information
      Name: Sarnata Reynolds
      Address: United States,
      Email: sarnata@theimmigrationhub.org
      Phone: 4152607394


                                                      General Comment


      Submitted via http://www.regulations.gov

      November 8, 2019

      Samantha Deshommes, Chief
      Regulatory Coordination Division
      Office of Policy and Strategy,
      US. Citizenship and Immigration Services
      Department of Homeland Security
      20 Massachusetts Avenue NW, Mailstop #2140
      Washington, D.C. 20529

      RE: DHS Docket No. USCIS-2018-0001, RIN 1615-AC19
      Removal of 30-Day Processing Provision for Asylum Seekers Initial Employment Authorization Document
      Applications

      Dear Chief Deshommes:

      The Immigration Hub submits these comments in response to the Department of Homeland Securitys (DHS)
      Notice of Proposed Rulemaking (NPRM) entitled Removal of 30-day Processing Provision for Asylum
      Applicant-Related Form I-765 Employment Authorization Applications published on September 9, 2019.
                                                                                                               AR005153
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2545.html[9/15/2020 4:14:36 PM]
      The Immigration Hub is a national organization dedicated to advancing fair and just immigration policies
      through strategic leadership, innovative communications strategies, legislative advocacy and collaborative
      partnerships. The organization is comprised of former congressional staff, executive branch officials and
      immigration policy advocates with deep roots in advocacy and communications and decades of collective
      experience. We believe in an inclusive society where immigrants are able to thrive and contribute fully to their
      communities, and where America recognizes immigrants as intrinsic to our national identity and heritage.

      GENERAL COMMENTS

      Since 1994, the U.S. government has committed to issuing work permits to asylum seekers who are processing
      their cases before the Asylum Office and Executive Office for Immigration Review. This is good for our
      economy, as asylum seekers and refugees have higher labor force participation rates than U.S. citizens, and they
      become a net economic positive for the country within only 8 years of arrival. For asylum seekers, the ability to
      take up employment is key to regaining a sense of security as they recover from trauma, torture, and flight.
      Employment is also one of the most effective ways to support the integration of asylum seekers and their families
      because it facilitates their ability to become a part of a community and put down strong roots.

      The Trump administration has not provided any rational justification for changing the current process, and there
      are well-documented adverse consequences. Getting rid of the 30-day period for issuing work permits would
      both undermine the ability of asylum seekers to make economic contributions to their new country, and their
      security as they attempt to recover and integrate into their new communities. Therefore, DHS should withdraw
      the NPRM Removal of 30-day Processing Provision for Asylum Applicant-Related Form I-765 Employment
      Authorization Applications.

      Please see the attached document for arguments in support of this position.

      Thank you for the opportunity to submit these comments. We appreciate your consideration. Please do not
      hesitate to contact Sarnata Reynolds, Director of Policy for the Immigration Hub. at
      sarnata@theimmigrationhub.org should you have any questions about our comments or require further
      information.

      Sincerely,


      Sarnata Reynolds
      Director of Policy
      The Immigration Hub




                                                            Attachments
      EAD comments 11.8.19




                                                                                                               AR005154
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2545.html[9/15/2020 4:14:36 PM]
Submitted via http://www.regulations.gov


November 8, 2019
Samantha Deshommes, Chief
Regulatory Coordination Division
Office of Policy and Strategy,
US. Citizenship and Immigration Services
Department of Homeland Security
20 Massachusetts Avenue NW, Mailstop #2140
Washington, D.C. 20529

RE: DHS Docket No. USCIS-2018-0001, RIN 1615-AC19
Removal of 30-Day Processing Provision for Asylum Seekers’ Initial Employment
Authorization Document Applications

Dear Chief Deshommes:

The Immigration Hub submits these comments in response to the Department of Homeland
Security’s (DHS) Notice of Proposed Rulemaking (NPRM) entitled “Removal of 30-day
Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization
Applications” published on September 9, 2019.

The Immigration Hub is a national organization dedicated to advancing fair and just immigration
policies through strategic leadership, innovative communications strategies, legislative advocacy
and collaborative partnerships. The organization is comprised of former congressional staff,
executive branch officials and immigration policy advocates with deep roots in advocacy and
communications and decades of collective experience. We believe in an inclusive society where
immigrants are able to thrive and contribute fully to their communities, and where America
recognizes immigrants as intrinsic to our national identity and heritage.

GENERAL COMMENTS

Since 1994, the U.S. government has committed to issuing work permits to asylum seekers who
are processing their cases before the Asylum Office and Executive Office for Immigration
Review. This is good for our economy, as asylum seekers and refugees have higher labor force
participation rates than U.S. citizens, and they become a net economic positive for the country
within only 8 years of arrival. For asylum seekers, the ability to take up employment is key to
regaining a sense of security as they recover from trauma, torture, and flight. Employment is also
one of the most effective ways to support the integration of asylum seekers and their families
because it facilitates their ability to become a part of a community and put down strong roots.




                                                                                    AR005155
The Trump administration has not provided any rational justification for changing the current
process, and there are well-documented adverse consequences. Getting rid of the 30-day period
for issuing work permits would both undermine the ability of asylum seekers to make economic
contributions to their new country, and their security as they attempt to recover and integrate into
their new communities. Therefore, DHS should withdraw the NPRM “Removal of 30-day
Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization
Applications.”

ARGUMENTS

The 30-day processing provision undermines the economy and national security without
any policy justification.

USCIS does not beat around the bush. In proposing this rule change, the agency directly admits
that all levels of government will lose tax revenue as a result. Specifically, USCIS projects a loss
of $39.15 million to $118.54 million per year as a result of delays in the issuance of work
permits because asylum seekers and their employers will not be able to contribute to Medicare
and social security.

Over the last twelve months, USCIS has been able to decide over 99% of EADs within the 30-
day timeframe, including any research or other types of vetting that may be required before
issuance of the work permit. Yet, in this proposed rule change, USCIS asserts that it requires
more time and resources to make a decision on each case. This is nonsense. As USCIS admits,
the agency has been well able to adequately vet the amount of requests in a timely fashion. To
the extent the agency is concerned about the presence of threats among applicants for a work
permit, putting a priority on the faster processing of applications is a sounder policy response
than letting applications pend for months, or even years.

The 30-day processing provision undermines stability and the ability of asylum seekers to
integrate into their communities without any sound policy justification.

Asylum seekers seeking protection in the United States are often recovering from trauma and
earnest to regain dignity and stability for themselves and their families. Subjecting them to
indefinite waits for work permits would put this process of recovery and resilience on hold. In
the months or years asylum seekers were left waiting, they would essentially be losing wages
that would otherwise have been put to good use in local markets, community centers, housing
and rentals. Without an income source, asylum seekers and their families would not be able to
provide for themselves, a worst case scenario that undermines dignity and recovery. USCIS
admits that if this proposed rule were to go into effect, asylum seekers could lose between
$255.88 million and $774.76 million in taxable income per year.

PROPOSED ALTERNATIVE

Currently, the law requires that asylum seekers wait 180 days before being able to receive a work
permit. By regulation, asylum seekers cannot submit their application for work authorization
until their asylum applications have been pending for 150 days, which then requires that USCIS




                                                                                      AR005156
process applications for work permits within a 30-day timeframe. Instead of expanding the
processing time to address USCIS’ concerned that the 30-day timeframe is too big a challenge
for staff and resources, it could shorten the 150-day waiting period substantially. For example,
by permitting asylum seekers to file their work permit applications after 60 days, USCIS officers
would gain 120 days to review and process them, thereby creating more flexibility in their
schedules and a much more manageable workload. Even better, this approach would be a net
positive for local communities and the national economy, and it would support the recovery and
integration of these new Americans.

Thank you for the opportunity to submit these comments. We appreciate your consideration.
Please do not hesitate to contact Sarnata Reynolds, Director of Policy for the Immigration Hub.
at sarnata@theimmigrationhub.org should you have any questions about our comments or
require further information.

Sincerely,


Sarnata Reynolds
Director of Policy
The Immigration Hub




                                                                                   AR005157
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7a-x94b
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2546
      Comment Submitted by John Willshire, Greater Boston Legal Services



                                                  Submitter Information
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        Boston, ME, 02114
      Email: jwillshire@law.harvard.edu
      Phone: 617-515-3042


                                                      General Comment
      November 9, 2019

      Submitted via www.regulations.gov

      Samantha Deshommes
      Chief, Regulatory Coordination Division
      Office of Policy and Strategy
      U.S. Citizenship and Immigration Services, Department of Homeland Security
      20 Massachusetts Avenue NW
      Mailstop #2140
      Washington, D.C. 20529-2140


      RE: Opposition to Proposed Federal Rule Removal of 30-Day Processing Provision for Form I-765 (c) (8)
      Employment Authorization Applications, CIS No. 2617-18 DHS Docket No. USCIS-2018-0001

      Dear Ms. Deshommes:

      I am a Lecturer of Law at Harvard Law School and Lead Attorney at Greater Boston Legal Services. I submit
      this comment in opposition to the Department of Homeland Securitys (hereinafter DHS) Notice of Proposed
                                                                                                               AR005158
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2546.html[9/15/2020 4:15:12 PM]
      Rulemaking on Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765
      Employment Authorization Applications, DHS Docket No. USCIS-2018-0001, issued September 9, 2019. I
      strongly oppose the proposed rule because of the devastating financial and social consequences that our clients
      and other asylum seekers will face as a result of delayed or stalled processing of their work authorizations if this
      rule goes into effect.


      I. The Proposed Rule

      Currently, asylum seekers whose asylum cases have been pending without a decision for at least 150 days are
      eligible to apply for an EAD (if the applicant has caused delays in their asylum case, they must wait longer).
      Pursuant to a regulation in place since 1994, USCIS is required to adjudicate the EAD application within 30 days
      of receiving it. Nonetheless, USCIS routinely failed to meet the deadline until July 2018, when a federal court
      hearing the case Rosario v. USCIS, No. C15-0813JLR (W.D. Wash), ordered the government to comply with the
      deadline. Since that time, USCIS has adjudicated 99% of initial EAD applications within 30 days. Prior to the
      courts ruling, USCIS adjudicated 47% of initial EAD applications within 30 days, an additional 31% of
      applications within 60 days, and 22% of applications in more than 60 days. One of the chief purposes of the 30-
      day deadline was to ensure that bona fide asylees are eligible to obtain employment authorization as quickly as
      possible. (See p. 47153, fn. 11 of the Notice).

      The proposed rule would make two changes. First, the proposed rule would remove the existing regulatory
      requirement that U.S. Citizenship and Immigration Services (USCIS) grant or deny an initial employment
      authorization application within 30 days of when the asylum seeker files the Form I-765, Application for
      Employment Authorization (EAD application). Second, the proposed rule would remove a provision requiring
      that an application for renewal be received by USCIS 90 days prior to expiration of the employment
      authorization.

      It is very clear to me that the proposed rule will have a very severe and harmful affect on asylum seekers whom I
      and my office represents, as well as other asylum seekers throughout the U.S. The proposed rule change will
      permit DHS unlimited time to determine if and when asylum seekers will be issued work authorization, during
      which time asylum seekers will have no means of supporting themselves and be forced to wait indefinitely and
      survive on the charity of others. The harm caused will severely negatively affect their rights as asylum seekers
      under the Refugee Convention and persons under international human rights law (i.e. Convention of the Rights
      of Children and Covenant of Economic, Social and Cultural Rights). This
      For the foregoing reasons, I respectfully request that the Department of Homeland Security abandon the
      proposed rule immediately.

      Sincerely,


      John Willshire Esq.
      Lecturer on Law
      Harvard Immigration and Refugee Clinic at
      Greater Boston Legal Services
      197 Friend St.
      Boston, MA 02114
      jwillshire@law.harvard.edu




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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2547
      Comment Submitted by Michael Hethmon, Immigration Reform Law Institute



                                                  Submitter Information
      Name: Michael Hethmon
      Address:
        25 Massachusetts Ave. N.W.
        Suite 335
        Washington, DC, 20001
      Email: mhethmon@irli.org
      Phone: 202-232-5590
      Submitter's Representative: Michael Hethmon
      Organization: Immigration Reform Law Institute


                                                      General Comment
      Please see the attached public comment (6 pages) of the Immigration Reform Law Institute (IRLI).

      Summary: IRLI supports both proposed amendments to Employment Authorization Document (EAD) processing
      regulations for asylum applicants.

      The three broad operational reasons discussed in the NPRM for removing a hard 30-day processing deadline are
      clear, lawful, and reasonable: (1) growth in asylum application backlogs; (2) the centralization of EAD document
      production to improve fraud screening; and (3) the added burdens of national security background screenings.

      IRLI believes the agency has under-emphasized a fourth factor: the adverse effects of the injunction issued in
      Rosario v. USCIS. The collateral harm to Americas immigration enforcement system caused by this judicially-
      mandated redeployment of scarce and limited personnel and adjudication resources constitutes an independent
      and urgent justification for the NPRM.

      The proposed removal of the 90-day deadline for EAD renewals correctly recognizes that the streamlining
      authorized under the 2017 AC21 Final Rule is adequate to identify and restrict automatic renewals for applicants
      whose asylum requests have been denied.

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                                                            Attachments
      DHS USCIS_IRLI Public Comment_30-Day Processing Provision for Asylum-Related EADs_FINAL_11-8-
      2019




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25 Massachusetts Avenue, NW              November 8, 2019
Suite 335
Washington, DC 20001
202.232.5590 | 202.464.3590(fax)
www.irli.org                             Samantha Deshommes
                                         Chief, Regulatory Coordination Division
Board of Directors                       Office of Policy and Strategy
Hon. Elizabeth A. Hacker (Ret.)          U.S. Citizenship and Immigration Services
Hon. Mahlon F. Hanson (Ret.)
Jeffrey R. Parkin                        Department of Homeland Security
Daniel A. Stein
                                         20 Massachusetts Ave. NW
Executive Director                       Washington, DC 205290-2140
& General Counsel
Dale L. Wilcox1
                                         VIA Federal eRulemaking Portal
Director of Litigation
Christopher J. Hajec2
                                         DHS Docket No. USCIS-2018-0001: Public Comment of
Senior Counsel
Michael M. Hethmon3                      Immigration Reform Law Institute Regarding Removal of 30-Day
Ralph L. Casale4                         Processing Provisions for Asylum Applicant-Related Employment
Staff Counsel                            Authorization Applications
Mark S. Venezia5
Lew J. Olowski6
                                         Dear Chief Deshommes:
Director of Attorneys
United for a Secure America
Lorraine G. Woodwark7                           The Immigration Reform Law Institute (IRLI) respectfully
Of Counsel                               submits this public comment to the United States Citizenship and
John M. Miano8
                                         Immigration Service (USCIS) in response to the agency’s notice of
                                         proposed rulemaking (NPRM) published in the Federal Register. 84
Founded in 1986, the Immigration
Reform Law Institute (IRLI) is a         Fed. Reg. 47148 (Sept. 9, 2019).
public-interest legal education and
advocacy law firm dedicated to                  IRLI is a non-profit public interest law organization that exists
achieving responsible immigration
policies that serve national             to defend individual Americans and their local communities from the
interests.
                                         harms and challenges posed by mass migration to the United States,
IRLI is a supporting organization
of the Federation for American
                                         both lawful and unlawful. IRLI works to monitor and hold accountable
Immigration Reform.
                                         federal, state, and local government officials who undermine, fail to

1 Admitted
                                         respect, or fail to comply with our national immigration and citizenship
           in DC & IN
2 Admitted in DC & PA

3 Admitted in DC & MD                    laws. IRLI also provides expert immigration-related legal services,
4 Admitted in DC, VA, MD, NY, & CT

5 Admitted in DC & VA                    training, and resources to public officials, the legal community, and the
6 Admitted in DC & MD

7 Admitted in CA only; DC bar pending,
                                         general public.
under supervision by Dale L. Wilcox
8
  Admitted in DC, NJ, & NY




                                                                                                   AR005162
                                                              DHS Docket No. USCIS-2018-0001
                                                                         IRLI Public Comment
                                                                                       Page 2


       Summary
       IRLI supports both proposed amendments to Employment Authorization Document (EAD)
processing regulations for asylum applicants.
       The three broad operational reasons discussed in the NPRM for removing a hard 30-day
processing deadline are clear, lawful, and reasonable: (1) growth in asylum application backlogs;
(2) the centralization of EAD document production to improve fraud screening; and (3) the added
burdens of national security background screenings. IRLI believes the agency has under-
emphasized a fourth factor: the adverse effects of the injunction issued in Rosario v. USCIS. The
collateral harm to America’s immigration enforcement system caused by this judicially-mandated
redeployment of scarce and limited personnel and adjudication resources constitutes an
independent and urgent justification for the NPRM.
       The proposed removal of the 90-day deadline for EAD renewals correctly recognizes that
the streamlining authorized under the 2017 AC21 Final Rule is adequate to identify and restrict
automatic renewals for applicants whose asylum requests have been denied.


       Comments and Analysis
       IRLI supports the decision of the Department of Homeland Security to amend 8 C.F.R.
208.7 (“Employment Authorization”). The NPRM would remove the existing requirements in
clauses 208.7(a)(1) and 208.7(d), respectively, that: (1) a request for an employment authorization
document (EAD) submitted by an applicant for asylum be granted or denied by USCIS within 30
days from the filing date of the employment authorization request; and (2) that an application for
renewal be submitted no later than 90 days prior to expiration of the existing request. 84 Fed. Reg.
47148, 47170. The NPRM would amend USCIS regulations in full compliance with the procedures
prescribed in 8 U.S.C. §1158(d)(2). By this process the agency has provided the fullest notice-and-
comment opportunity available under the Administrative Procedure Act for amendments of
regulations. See 5 U.S.C. § 553.
       The analysis by the agency as to the need for the proposed rule change, its legality, and the
reasonableness of the proposed amendments is persuasive. No statutory impediment exists to
repeal of either the 30-day processing deadline or the 90-day renewal application deadline. The




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INA is clear that while DHS must authorize an “alien granted asylum” (emphasis added) to
“engage in employment in the United States and provide the alien with appropriate endorsement
of that authorization,” 8 U.S.C. § 1158(c)(1)(B), an “applicant for asylum” is “not entitled to
employment authorization,” 8 U.S.C. § 1158(d)(2). Congress delegated sole discretion to the
Secretary of DHS to provide such authorization “under regulation,” but imposed a time limitation
on the exercise of that discretion, whereby “an applicant who is not otherwise eligible for
employment authorization shall not be granted such authorization prior to 180 days after the date
of filing of the application for asylum.” Id.
       The agency persuasively describes three significant factors that have imposed major
operational strains on the EAD issuance process: (1) the massive growth in both defensive and
affirmative asylum applications and adjudication backlogs, which has “grossly outpaced Service
Center Operations resources,” 84 Fed. Reg. 47154; (2) the Department of Homeland Security’s
ongoing conversion to centralized application processing and production of tamper-resistant
documents; and (3) the expansion in national security-driven vetting requirements since the 9/11
attacks, id. The NPRM describes in convincing detail the operational basis for “extended
adjudication and processing times for cases with potential eligibility issues discovered during
background checks” that did not occur when the current 30-day deadline was implemented in 1994.
84 Fed. Reg. 47155.
       However, there is a fourth factor whose adverse impact is not adequately conveyed in the
NPRM executive summary: The scale of litigation-driven disruption to USCIS’ management of
its skilled force of EAD application reviewers. A federal district court in Seattle, Washington
granted ongoing nationwide injunctive relief to a class of EAD applicants represented by several
anonymous aliens. See Rosario et al. v USCIS, C15-813-JLR, Doc. Nos. 127 (Sealed Order) and
128 (Judgment by Court) (W.D. Wa July 26, 2018). In Rosario, the Seattle district court evidently
compelled rigid literal compliance by USCIS with 8 C.F.R. § 208.7(a)(1)—the 30-day EAD
processing deadline for asylum applicants--notwithstanding any of the agency’s equally
compelling need to delegate limited personnel or resources to the adjudication of numerous other
immigration benefit and relief applications. 84 Fed. Reg. 47153.




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       The diversion of resources ordered by the Rosario court is impacting the status of millions
of non-citizens, in large part lawfully-admitted non-immigrants, whose good-faith compliance
with our nation’s immigration laws ought to afford them priority in the allocation of limited agency
adjudication resources. The entire case file—an essential part of the record on which the NPRM
is based—remains (upon the motion of anonymous aliens) sealed and inaccessible for review by
the public. Such secrecy undermines the intent and effectiveness of the APA. IRLI finds this
opacity particularly harmful to the Secretary’s core duties of “enforcement of … laws relating to
the immigration … of aliens” and “to control and guard the boundaries and borders of the United
States against the illegal entry of aliens … .” 8 U.S.C. §§ 1103(a)(1), (5), 84 Fed. Reg. 47149
(citing § 1103(a)). This unexplained (to the public) judicial intrusion into a field of long-standing
executive prerogative is sufficiently adverse to the public interest to independently constitute good
cause for the NPRM.
       It is notable that the special interests and voluntary agencies (VOLAGs) who oppose the
NPRM have not argued that it is ultra vires or in any way an abuse of agency regulatory authority.
Rather, they simply complain that it is unfair to deny applicants the automatic access to
employment and its benefits that Congress purposely limited only to successful asylees. For
example, the Florence Immigrant and Refugee Rights Project claims in its comment that “the right
to seek safety and protection in the United States is unequivocal.”
       That premise is simply untrue. Asylum is a discretionary grant by a generous nation. 8
U.S.C. § 1158(b)(1)(A). Commenters like the Florence Project or the Church World Service liken
U.S. asylum law to a commons, where the public goods of legal residence can be exploited without
limits, regardless of its ultimate unsustainability. “Decreasing access to the tools that allow asylum
applicants to meet their basic needs … is undercutting that fundamental right [to protection in the
United States].” Public comments of Florence Project, at 3.
       Prior to the ongoing judicial micro-management of USCIS’ limited adjudication resources
under the Rosario injunction, the agency reports that it has been able to process less than half of
all EAD applications from asylum applicants within the 30-day deadline. 84 Fed. Reg. 47156.
However, 78% of EAD applications were completed within 60 days. Id. The concerns alleged by




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commenters that “EAD applications from asylum seekers will be delayed indefinitely” are thus
false. Public comments of the Florence Project, at 3.
       Some commenters suggested that the solution is for USCIS to significantly expand its
workforce to hire and train additional employment authorization adjudicators and dedicate them
to processing EADs for asylum applicants. See, e.g., public comments of Church World Service,
at 1 (“DHS does not appear to be interested in hiring additional officers to deal with the backlog
….”). What these proposals ignore is Congress’ mandate that USCIS benefits processing costs
must be funded through user fees. See 8 U.S.C. § 1158(d)(3), 8 U.S.C. § 1356.
       Fees are not currently collected to process EADs for asylum applicants. But as the NPRM
notes, earlier this year President Trump directed DHS to proposed new regulations to impose fees
to cover the cost the cost of adjudicating applications. 84 Fed. Reg. 47149 (citing Presidential
Memorandum for the Attorney General and Secretary of Homeland Security on Additional
Measures to Enhance Border Security and Restore Integrity to Our Immigration System (April 29,
2019)). IRLI believes that the agency should not be compelled to arbitrarily adhere to a rigid and
disruptive processing deadline for “guaranteed” 30-day asylum EAD processing, unless and until
user-provided fee revenue is available to fully fund the needed dedicated agency personnel and
resources.
       Elimination of the 90-Day Renewal Application Deadline
IRLI does not oppose the second proposed amendment, to eliminate the current 90-day EAD
renewal application deadline. As the NPRM explains, the 2017 AC21 Final Rule amended 8 CFR
274a.13 to provide for the automatic extension of valid existing EADs up to 180 days for a variety
of renewal applicants. 84 Fed. Reg. 47150.
       IRLI believes the three pre-conditions in the 2017 Rule for automatic extension eligibility
will adequately ensure that renewal applications are not automatically granted to applicants whose
asylum applications since have been denied. Namely, these are the preconditions that the request:
(1) is properly filed before the expiration date; (2) is based on the same status classification as the
expiring EAD; and (3) is pursuant to a status classification that does not require adjudication of an
underlying application or petition.




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Respectfully submitted,

Immigration Reform Law Institute

By Michael M. Hethmon, Senior Counsel




                                   AR005167
                                                                                            As of: September 15, 2020
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2548
      Comment Submitted by Shaleen Morales



                                                  Submitter Information
      Name: Shaleen Morales


                                                      General Comment
      Delays in asylum seekers getting their work authorization (Employment Authorization Document or "EAD")
      approval can lead to:
      - Lost income to the asylum seeker and their family
      - Food insecurity
      - Inability to secure a valid ID. A work permit and a social security number (SSN) are often necessary
      requirements to applications for a state ID.
      - Risk of homelessness/housing insecurity
      - Inability to access health insurance (most state ACA health exchanges require a SSN and work authorization
      materials to qualify)
      - Vulnerability to exploitation, trafficking, and underground economy risks
      - Lack of access to community service agencies, shelters, and social service programs (many of whom require
      some form of valid ID, proof of residency, or proof of income)
      - Loss of ability to support themselves and their families, and
      - Feelings of fear, desperation, and overall mental health concerns.

      The proposed change puts millions at risk. First, the rule change affects the most vulnerable populations. Asylum
      seekers need help and assistance so they are able to contribute to our community. Asylum seekers would lose
      wages and benefits as a result of this delay putting a strain on them, their families and the U.S. community.
      USCIS admits that lost compensation to asylum applicants ranges from $255.88 million to $774.76 million in
      taxable income per yer. This puts people at risk to exploitation, trafficking, and underground economic risks. The
      lack of ability to work and correlating lack of income also vastly increases the risk for asylum seekers to become
      a public charge.

      Second, the government would lose tax revenue as a result. USCIS projects a loss of $39.15 million to $118.54
      million per year because a delay in work authorization will ultimately prevent asylum seekers and employers
      from contributing into the system the U.S. government is attempting to "protect."
                                                                                                               AR005168
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      Additionally, the law is currently written to require asylum seekers to wait 180 days before they may be granted
      authorization to work. They are permitted to submit their application after 150 days, giving USCIS the 30-day
      timeframe in question to process the requests. If USCISs goal is to have more time to process each request in
      order to increase flexibility and free up resources to work on other applications, then it could easily shorten the
      waiting time before asylum-seekers are allowed to submit their application. If USCIS feels that a 60-day
      timeframe would be more beneficial, then it may allow applications to be submitted after 120 days, rather than
      150. Allowing asylum-seekers to submit their applications earlier could allow the department to have up to 180
      days to process and properly vet each individual while reducing the risk of harm to each applicant.

      Finally, USCIS has reported that it has been able to decide over ((% of EADs within the 30-day timeframe for
      over the past year. USCIS has proven its ability to adequately vet the amount of requests in a timely fashion. The
      need for a speed process is compounded by the fact that EAD applicants are people already residing in the U.S. If
      vetting must be done to prevent security risks, then having people unvetted living in the U.S. is contrary to the
      department's states interests.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2549
      Comment Submitted by Jaime Langton



                                                  Submitter Information
      Name: Jaime Langton


                                                      General Comment
      Currently asylum seekers are not eligible to receive employment authorization unless their application has been
      pending for 180 days or more. Asylum seekers can apply for employment authorization at the 150 day mark. If
      DHS is truly concerned about fraud and/or security and wants to eliminate the 30 day processing requirement,
      why not also make it possible to submit the application for employment authorization sooner? For example, if
      DHS needs 60 days to review biometrics, it could also allow asylum seekers to apply for employment
      authorization at 120 instead of 150 days. It is also important to remember that giving employment authorization
      has no bearing on the merits of a person's asylum claim. It is an ancillary benefit to the application. Further,
      delaying employment authorization has nothing to do with, as others have commented, "securing borders." Also,
      it is important to keep in mind that, if asylum seekers are allowed to accept employment, they will also be paying
      taxes. USCIS admits that it projects a loss of revenue in the amount of $39.15 million to $118.54 million because
      delayed employment authorization will also prevent asylum seekers and their employers from contributing to
      medicaid and social security. Finally, thee national security argument seems tenuous considering USCIS also
      reported that it was able to adjudicate roughly 99% of these employment authorizations within 30 days as
      required by law last year. It is unclear why then now need additional time when they claim they adjudicated
      almost all employment authorization applications within the required timeframe last year.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2550
      Comment Submitted by Deborah Dyson



                                                  Submitter Information
      Name: Deborah Dyson


                                                      General Comment
      I am a retired immigration lawyer. During my practicing days, I represented many asylum seekers, mostly in
      immigration court; since retiring almost five years ago, I have volunteered with various nonprofits, representing
      people before the Asylum Office. In my experience, asylum seekers are amazingly resilient & resourceful
      people: needing to get out of home countries that were no longer safe for them, they made it here somehow, and
      they are making it here somehow. And they don't expect much, just the security that was lacking at home and an
      opportunity to get by - to provide for their kids and contribute to their communities. Why wouldn't we want them
      to be authorized to work as soon as possible and for as long as it takes to decide their claims? I don't remember
      ever meeting an asylum seeker who had a big bank account to rely on - they need to work. Delaying work
      authorization forces them to work illegally to survive, and that means they are vulnerable to exploitation. The
      paperwork for work authorization is not elaborate, not particularly burdensome. The government should be
      obliged to process work authorization within 30 days; long delays are gratuitously cruel and totally counter-
      productive.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2551
      Comment Submitted by Emily Correll



                                                  Submitter Information
      Name: Emily Correll


                                                      General Comment
      This particular change does not seem to make sense. The asylum seekers I have known want to be self-
      supporting as soon as they can. This seems to fly in the face of the need to have people working to be self-
      supporting as soon as possible. The immigrants I know want to work hard at whatever jobs are available to them.
      This would seem to contradict the need to keep people off public assistance.




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      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2552
      Comment Submitted by Dave Powell



                                                  Submitter Information
      Name: Dave Powell
      Address:
        CA,
      Email: davep0456@yahoo.com


                                                      General Comment
      I feel that any new delays i the issuance of work permits creates special financial herd ships on people who are
      emigrating to the USA.

      The sooner people can receive a work permit, the sooner they can obtain employment and the sooner they can be
      assimilated into our culture




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2553
      Comment Submitted by Francis Johnson



                                                  Submitter Information
      Name: Francis Johnson
      Address:
        7-8 Rolling Hills
        Lenox, MA, 01240
      Email: frankj0609@gmail.com
      Phone: 7818013494


                                                      General Comment
      Dear Sirs and Madams:

      I am contacting you regarding the proposed regulation that would eliminate the 30-day deadline within which
      U.S. Citizenship and Immigration Services is required to adjudicate requests for employment authorization by
      applicants for political asylum. I wish to state my unqualified opposition to such regulation.

      I was a U.S. immigration officer with the former Immigration and Naturalization Service for 15 years. I then
      practiced U.S. immigration law with a small immigration firm, during which time I served for ten years as an
      adjunct faculty member with an accredited and long-established law school, teaching Immigration Law. After 29
      years, I retired from the practice of law two years ago, although I continue to represent an asylum-seeking family
      from Central America on a pro bono basis. The primary client is the mother of two young children; Mom has an
      employment authorization document, duly issued by USCIS. Without the ability to work, this woman would
      simply not be able to support her family. She is a taxpayer. And, for what it's worth, she works as a hotel
      housekeeper in a large metropolitan area, a job few American citizens care to take.

      The proposed regulation to do away with the 30-day time period to adjudicate EAD requests by asylum seekers
      is wholly unwarranted. It appears to yet another way for this Administration to restrict and discourage lawful
      immigration to teh United States. And let's not forget that political asylum is a lawful means of immigration.

      Sincerely,

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      Francis E. Johnson
      Lenox, MA 01240




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2554
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      This is an absurd proposal. Humane reasons aside, 1. USCIS admits that all levels of government will lose tax
      revenue as a result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per
      year because delayed work authorization will prevent asylum seekers and their employers from contributing to
      Medicare and social security. 2. USCIS has reported that it has been able to decide over 99% of EADs within the
      30-day timeframe for over the past year. Therefore, USCIS has proven its ability to adequately vet the amount of
      requests in a timely fashion. This is yet another attempt by the Trump administration to act in xenophobic
      manner and it is disgusting.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2555
      Comment Submitted by Kathryn Thornton, Ropes & Gray LLP



                                                  Submitter Information
      Name: Kathryn Thornton
      Address:
        Washington, DC,
      Email: kathryn.c.thornton@gmail.com


                                                      General Comment
      Dear Ms. Deshommes,

      I, through my employer Ropes & Gray LLP, have provided pro bono legal services to indigent asylum seekers.
      For all of these clients, we submitted Employment Authorization Document (EAD) applications. I submit these
      comments in opposition to the Proposed Rule Removal of 30-Day Processing Provision for Form I-765 (c)(8)
      Employment Authorization Applications (Sep. 9, 2019), DHS Docket No. USCIS-2018-0001 (hereinafter, the
      Rule). The Rule would eliminate the requirement that DHS adjudicate initial requests for employment
      authorization by asylum applicants within 30-days of filing.

      The Rule will have significant and long-lasting negative effects on the ability of my asylum clients to support
      themselves and their loved ones while they are waiting for their claims to be heard. By definition, an asylum
      seeker is an individual who has suffered grave harm, including torture and sexual violence on account of a
      statutory protected ground, and who flees his or home country with very few possessions and little support or
      financial resources. Asylum seekers turn to the U.S. for a safe haven and protection. This rule to eliminate the
      30-day processing time for work authorization will undermine asylum seekers abilities to sustain themselves.
      The proposed rule change will allow DHS to have unlimited time to decide if and when asylum seekers will be
      issued work authorization, during which time asylum seekers would have no means of supporting themselves and
      be forced to wait and survive on the charity of others. The Rule will only compound the devastating delays that
      many asylum seekers face. DHS, which suffers backlogs in almost every benefit category, will have no incentive
      to issue a prompt decision.

      Further the Rule is not in the economic interest of the United States which benefits greatly from the contributions
      of refugees and asylum seekers. It compounds the impact of the already lengthy 180-day waiting period before
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      asylum seekers are eligible for work authorization and is unnecessary given that DHS has shown itself capable of
      near complete compliance with the 30-day adjudication requirement. DHSs argument that the proposed rule is
      due in part to fraud concerns is contradictory since DHS should want to expedite EAD determinations and
      quickly vet applications, as it currently does, to detect and investigate any concerns about applications rather than
      create extensive delays.


      Sincerely,
      Kathryn C. Thornton




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2556
      Comment Submitted by Elizabeth Foydel, International Refugee Assistance Project



                                                  Submitter Information
      Name: Elizabeth Foydel
      Submitter's Representative: Elizabeth Foydel
      Organization: International Refugee Assistance Project


                                                      General Comment
      see attached



                                                            Attachments
      IRAP Comment - DHS Docket No. USCIS-2018-001 - Asylum EAD - 8 Nov 2019




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 Samantha Deshommes
 Chief, Regulatory Coordination Division
 Office of Policy and Strategy
 U.S. Citizenship and Immigration Services, Department of Homeland Security
 20 Massachusetts Avenue NW
 Mailstop #2140
 Washington, D.C. 20529-2140


 DHS Docket No. USCIS-2018-0001
 84 F.R. 47148


       Re: Notice of Proposed Rulemaking and Request for Comment on Removal of 30-Day
     Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization
                                                        Applications


 November 8, 2019


 To Whom It May Concern:


 The International Refugee Assistance Project respectfully submits the following comments to the
 Department of Homeland Security’s Notice of Proposed Rulemaking and Request for Comment on
 Removal of 30-Day Processing Provision for Asylum Applicant-Related Form I-765 Employment
 Authorization Applications, DHS Docket No. DHS-2018-0001, 84 F.R. 47148, issued September 9,
 2019.


 Interest in the Proposed Rule


 The International Refugee Assistance Project (IRAP) provides comprehensive legal services to
 refugees and displaced persons. Since our establishment, we have provided legal assistance to
 thousands of displaced persons seeking legal pathways from conflict zones to safe countries. IRAP
 provides pro bono legal representation, legal advice, and expert referrals to refugees all over the
 world.



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 IRAP’s goal is to ensure that available services and legal protections go to those who are most in
 need. Our clients include LGBTI individuals, religious minorities subject to targeted violence,
 survivors of sexual and gender-based violence, children with medical emergencies for which local
 treatment is not available, and interpreters being hunted down by the Islamic State, militias, and
 the Taliban in retaliation for their work with the United States and NATO. Our clients also include
 individuals who are seeking asylum in the United States and individuals in the United States who
 are seeking family reunification with members of their family still outside of the country.


 Department of Homeland Security Notice


 On September 9, 2019, the Department of Homeland Security (DHS) published a Notice of
 Proposed Rulemaking (“NPRM”) on Removal of 30-Day Processing Provision for Asylum Applicant-
 Related Form I-765 Employment Authorization Applications (“the Rule”), DHS Docket No. USCIS-
 2018-0001, in the Federal Register at 84 F.R. 47148.1


 The Rule would remove the existing regulatory requirement that U.S. Citizenship and Immigration
 Services (USCIS) grant or deny an initial employment authorization application within 30 days of
 when the asylum-seeker files the Form I-765, Application for Employment Authorization (EAD
 application). The Rule would also remove a provision requiring that an application for renewal be
 received by USCIS 90 days prior to expiration of the employment authorization.2


 Currently, asylum-seekers whose asylum cases have been pending without a decision for at least
 150 days, not including “any delays caused or requested by the applicant,” are eligible to apply for
 an EAD.3 Pursuant to 8 CFR 208.7(a)(1), a DHS regulation in place for more than two decades,
 USCIS is required to adjudicate initial EAD applications within 30 days of when the applicant files a


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 Form I-765.4 One of the “chief purposes” of the 30-day deadline was “to ensure that bona fide
 asylees are eligible to obtain employment authorization as quickly as possible.”5


 However, USCIS routinely failed to meet this required timeframe until July 2018, when a federal
 court ordered the government to comply in Rosario v. USCIS (“Rosario”).6 In FY 2017, prior to the
 Rosario ruling, the government adjudicated 47% of initial EAD applications within 30 days, an
 additional 31% of applications within 60 days, and 22% of applications in more than 60 days.7
 Since the Rosario ruling, the government has adjudicated 99% of initial EAD applications within 30
 days.8 If USCIS requires additional documentation from an applicant, the agency can send a
 request for evidence (RFE), which in turn pauses the clock on the 30-day timeframe.9


 Although DHS has been able to process these applications within the 30-day timeframe post-
 Rosario, DHS says that in order to comply with the court’s order it has been forced to
 “redistribute[] its adjudication resources,” and the proposed elimination of the 30-day
 requirement would allow those redistributed resources to be reallocated, “potentially reducing
 delays in processing of other applications, and avoiding costs associated with hiring additional
 employees.”10


 The Rule would not only remove the 30-day timeline for adjudicating EAD applications, but also fail
 to substitute any timeframe at all. Although USCIS has been able to adjudicate nearly 100% of
 applications within the 30-day timeframe following the court’s mandate in Rosario, indicating that

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 the agency is capable of adjudicating under the 30-day deadline, DHS decided to “propose[] to
 remove any processing timeframe”11 at all, because “[m]aintaining any adjudication timeframe for
 this EAD would unnecessarily constrict adjudication workflows.”12


 Whatever time the agency takes for processing is in addition to the at least 150 days an asylum-
 seeker must already have waited on their pending asylum application in order to be eligible to
 legally work in the United States.


 In the NPRM, DHS estimates the cost of the proposed rule change as $255.88 million to $774.76
 million annually in lost compensation to asylum applicants and $39.15 million to $118.54 million
 annually in losses to the federal government in the form of lost contributions to Medicare and
 Social Security.13 DHS does not estimate many other potential costs, including losses to businesses
 that currently employ asylum-seekers, losses to asylum-seekers’ families and networks, losses to
 organizations that provide services to asylum-seekers, and losses to federal, state, and local
 governments in the form of lost income tax.


 The proposed Rule would likely significantly delay many asylum-seekers’ work authorization, and
 fails to provide appropriate explanation for the change, consider reasonable alternatives, or
 consider the full impact of the Rule on a variety of stakeholders. The Rule would prevent people
 already traumatized by the persecution they fled in their country of origin from being able to fulfill
 subsistence needs and to access healthcare, legal counsel, and drivers’ licenses. If these asylum-
 seekers are unable to provide for themselves and their families, the charities and organizations
 that provide aid and/or services to them will likely be forced to raise additional resources to meet
 the increased demand for their services. If asylum-seekers are delayed in entering legal
 employment, cities, states, and the federal government could lose significant annual tax revenue,
 and private businesses will experience financial losses when they cannot find labor for positions
 that asylum-seekers would have filled. Pushing more asylum-seekers into the shadow economy
 will also obstruct the Department of Labor from fulfilling its mission. USCIS has already


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 demonstrated its ability to adjudicate these work authorization applications in a timely manner,
 and should continue applying a 30-day timeframe.


         I.   The proposed Rule will delay, likely for a substantial amount of time, adjudication of
               initial EAD applications from asylum-seekers.


 The NPRM recognizes that the proposed Rule will delay adjudication of initial EAD applications
 from asylum-seekers, and assumes that the pre-Rosario 2017 adjudication timeframes would
 apply.14 In other words, the Notice suggests that after waiting a minimum of 150 days to file an
 EAD application, the majority of asylum-seekers’ applications would not be adjudicated until an
 additional 60 days had passed and nearly one-quarter of EAD applications would still be pending
 for more time still – i.e., after the asylum-seeker had waited for a total of 210 days (150 + 60).15


 While even based on the agency’s estimates, the proposed Rule would result in substantial
 processing delays, the agency underestimates the extent of the delay likely to result from the Rule.
 First, as the agency notes, “the number of initial [asylum] applicants and renewals has risen
 sharply over the last five years” in conjunction with the increase in applications for asylum.16
 Nonetheless, the agency assumes that going forward, the rate of initial EAD applications will stop
 increasing and flatline – based only on speculation about the impact of various asylum-related
 policies.17


 The agency makes contradictory statements regarding the current pipeline of EAD applications
 and likely outcome if the proposed Rule is adopted. On the one hand, DHS proposes this role
 because it faces “a historic asylum application backlog, which in turn increases the numbers of
 applicants eligible for pending asylum EADs.”18 On the other hand, the NPRM states that
 “USCIS...assumes that if this proposed Rule is adopted, adjudications will align with DHS
 processing times achieved in FY 2017 (before Rosario v. USCIS court order),”19 even though the
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 agency states that the volume of applications has significantly increased from FY 2017. The agency
 considered and rejected an alternative 90-day timeframe on the basis that 90 days “would not
 provide USCIS with the certainty and flexibility it needs,”20 suggesting that the agency anticipates
 taking significantly longer than 30 days to process applications for work authorization.


 Even if the number of initial EAD applications were to flatline, processing times would remain the
 same only if USCIS devoted the same number of personnel hours to processing, and there is no
 indication in the NPRM that it would do so. Indeed, as the USCIS Ombudsman noted in her 2019
 Report to Congress, the number of agency “production hours” spent on EAD adjudication has
 been steadily declining since FY 2016.21 The last time DHS eliminated a processing deadline (the
 90-day processing deadline for most EAD applications), processing times surged, with
 approximately half of applications requiring more than 90 days to adjudicate and a substantial
 percentage requiring more than 9 months.22 This delay came despite the fact that USCIS stated
 when the deadline was eliminated that it “remained ‘committed to the current 90-day processing
 goal’” and “would be ‘unable to adjudicate applications within 90 days in only a small percentage
 of cases.’”23 Notably, the increasing processing delays mostly predated the Rosario decision in the
 final quarter of FY 2018 and thus were unrelated to any reallocation of agency resources in
 response to the court order.24


 Because the agency underestimates the amount of processing delays likely to result from the
 proposed Rule, its cost calculations are incorrect, understating even those costs that the NPRM
 estimates to asylum-seekers and to the federal government.




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     II.   The agency’s stated purposes fail to explain its proposed rule change.


 As an initial matter, DHS explains its reasons for proposing the rule change as follows: (1) “the
 increased volume of affirmative asylum applications and accompanying Applications for
 Employment Authorization,” (2) “over two decades of changes in intake and EAD document
 production,” and (3) “the need to appropriately vet applicants for fraud and national security
 concerns.”25 Each of these reasons fails to explain the proposed rule change.


 To the extent the agency is concerned about the growing number of asylum applications and
 accompanying EADs, eliminating the 30-day timeframe will only increase the burden on the
 agency. It will necessarily increase the backlog confronting the agency, which will cause each
 application to take longer to process, as the USCIS Ombudsman explained in her 2019 Report to
 Congress, which noted the “‘domino’ impact” that an increasing backlog can have on processing
 times, “lead[ing] to each [application] taking longer to process.”26 The Ombudsman noted that
 USCIS has suffered from insufficient EAD staffing for years, and even before the July 2018 Rosario
 decision, “it was apparent that USCIS did not have sufficient staff to handle the volume in some of
 the I-765 adjudication lines (perhaps all adjudication lines)” and “[p]rocessing times had already
 slowed in all I-765 categories.”27


 Indeed, USCIS’ own data shows that just as the number of EAD applications was growing in FY
 2017, the amount of hours agency staff spent adjudicating EAD applications was substantially
 declining. Specifically, the number of hours the agency spent on adjudicating EAD applications
 (“production hours”) dropped by more than 10 percent in FY 2017,28 just as the number of EAD
 applications increased by nearly 10 percent.29 The number of production hours declined again in

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 FY 2018.30 Unsurprisingly, the result has been “a marked increase in the percentage of
 unadjudicated filings in inventory pending 3 months or longer since 2016” – even before the
 Rosario court’s order.31 It is little wonder that the USCIS Ombudsman identified “insufficient
 staffing” as one of the “main factors” leading to growing processing times for EAD applications,32
 and the Ombudsman recommended that the agency “[a]ugment USCIS’ staffing resources to
 enable [the agency] to devote more production hours to EAD processing,” and specifically advised
 against “simply realign[ing] existing staffing resources” given the existing backlogs.33


 Second, while DHS states that “over two decades of changes in intake and EAD document
 production” have made the 30-day deadline from March 1997 untenable,34 the only intake and
 production changes identified in the NPRM were introduced in January 199735 – before the 30-day
 adjudication deadline was codified in the regulation. Those changes were then “fully
 implemented” 13 years ago in 2006.36 There is no indication that USCIS struggled to adjudicate
 applications in the mid-2000s after the changes were fully implemented. Nor is there any
 indication that DHS or USCIS struggled to meet their “core mission” after the changes were fully
 implemented. Indeed, centralizing application filing locations and card production would logically
 appear to maximize efficiency and decrease processing time, and the agency does not explain why
 the contrary result would be expected. And, of course, since the Rosario order in July 2018, the
 agency has succeeded in processing 99% of applications within the 30-day timeframe,37
 demonstrating that it is capable of doing so if it devotes sufficient resources.


 Third, while the agency claims that it “has been unable to meet the 30-day processing timeframe
 in certain cases due to changes to the agency’s vetting procedures and increased background
 checks,” the only changes it identifies were implemented in response to the September 11, 2001

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 attacks38 – nearly 20 years ago. The only changes the agency identifies that are associated with
 specific dates are the creation of the Application Support Centers; the creation of the Office of
 Fraud, Detection and National Security; and the Homeland Security Presidential Directive – all of
 which occurred 15 years ago in 2004.39 As above, there is no indication that USCIS struggled to
 adjudicate applications in the mid-2000s after the changes were fully implemented, or that DHS or
 USCIS struggled to meet their “core missions” after the changes were fully implemented. And, as
 above, the agency has processed 99% of applications within the 30-day timeframe ordered by the
 Rosario court, and has not alerted the court to any unique problems posed by completing security
 vetting within that timeframe.


 Notably, the USCIS Ombudsman’s 2019 Report to Congress included a 15-page section devoted to
 challenges USCIS was facing with “timely adjudication” of EAD applications, and the section failed
 to identify any issues resulting from intake and production changes or security and vetting
 changes.40 Rather, the Ombudsman identified processing delays as the result of insufficient
 staffing, increased volume of EAD applications, and problems with the data management system,
 the latter of which have since been “solved” by a long-planned conversion of the database in
 February 2018 which provided “immediate relief in terms of time-savings on EAD adjudications.”41


     III.   The agency has failed to consider reasonable alternatives to the proposed Rule.


 The agency does not consider reasonable alternatives to address the stated concerns motivating
 the proposed Rule. For example, the agency could:




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                          A. Hire more officers and introduce a stop-clock for applications referred
                               to the Background Check Unit and the Service Center Fraud Detection
                               Operation.


   First, the agency failed to consider the most obvious alternative to the proposed Rule and that
   which USCIS’ own Ombudsman strongly recommended in the 2019 Report to Congress:
   augmenting staff to enable more production hours to be devoted to EAD processing.42 The USCIS
   Ombudsman’s Report recommending augmenting staffing was published in July 2019, but the
   NPRM fails to even acknowledge USCIS’ own Ombudsman’s recommendation, let alone address
   why it did not consider hiring more officers. Rather, the NPRM states that while USCIS “could hire
   more officers,” it has failed to estimate such costs.43


   To the extent the agency addresses hiring at all, its analysis fails to explain why it did not consider
   this reasonable alternative. The agency notes that hiring “would not immediately and in all cases
   shorten adjudication timeframes” given that “additional time would be required to onboard and
   train new employees” and “for certain applications, additional time is needed to fully vet an
   applicant, regardless of staffing levels.”44 With respect to the first point about immediacy of the
   solution, it is hard to imagine that the rulemaking process – which at a minimum requires drafting
   the NPRM and undertaking the necessary agency and inter-agency reviews, a 60-day comment
   period, time to review and consider the comments, and a 60-day period before the final rule can
   go to effect – is any faster than hiring and onboarding new officers. As to the second point about
   vetting, the agency does not explain why it did not consider the simple option of adding a stop-
   clock for the small percentage of applications45 referred to the Background Check Unit (BCU) and
   Service Center Fraud Detection Operation (CFDO), akin to the stop-clock currently in place for
   applications that require Requests for Evidence (RFEs). Just as a Request for Evidence pauses the
   30-day processing timeframe until additional documentation is received,46 a new stop clock for


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   BCU and CFDO referrals could pause processing from the time of referral until additional
   information is received from BCU and/or CFDO.


                          B. Eliminate the current 150 day period asylum-seekers currently must
                               wait before filing their EAD applications.


   As discussed in the Maine Business Immigration Coalition’s comment,47 to the extent the agency is
   motivated by a concern about having more time to adjudicate applications, another reasonable
   alternative would be to eliminate the current regulation-imposed waiting period for asylum-
   seekers to file their initial EAD applications. By statute, asylum-seekers would remain ineligible for
   an EAD until their asylum cases had been pending for at least 180 days, but USCIS would then
   have 600% more time to adjudicate initial EAD applications – including those that required
   additional vetting.


       IV.   As a result of the increased time-frame for adjudication of their work authorization
              applications, vulnerable asylum-seekers will be unable to meet their basic needs and
              the demands of their U.S. asylum cases.


   Extended periods of unemployment leave asylum-seekers unable to provide for themselves and
   their families – and create additional obstacles to accessing healthcare, obtaining legal counsel for
   their asylum applications, and obtaining drivers’ licenses. Without the ability to work legally,
   asylum-seekers may also be forced to turn to the shadow economy, where they are at risk of
   exploitation and further trauma.


   As one IRAP client currently seeking asylum has said, waiting for work authorization is “a really
   crazy time when you have no source of income, how about your medical situation? your food? the
   place you'll live?” Our client stated that if she did not have someone helping her, “I would end up



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   in the streets. If you don't have work authorization or an ID from the government, basically
   nobody recognizes you as a real person here.”


                 A. Asylum-seekers delayed in entering the workforce will be unable to afford
                      food and shelter for themselves and their families.


   DHS notes in proposing the Rule that the lost compensation to asylum applicants could range
   from $255.88 million to $774.75 million annually,48 but a figure alone cannot capture the
   magnitude of such loss of income to asylum-seekers who have already been unable to work for at
   least 180 days, and often since they fled their country of origin.


   Forced to flee to escape persecution, asylum-seekers must abandon – usually abruptly – their
   homes, possessions, and livelihoods. What savings they have might be used to finance the journey
   to a safe country, leaving many with little to live on when they arrive.49 Until an asylum-seeker is
   either granted asylum or work authorization, they are eligible for few, if any, social service benefits
   in the United States.50


   Every day without work thus renders asylum-seekers less able to afford basic necessities like
   housing, transportation, and food for themselves and their families. Without proof of a stable
   income, asylum-seekers have difficulty finding a landlord willing to rent them housing. Already
   living with the trauma of what they have fled, asylum-seekers – including children, the elderly, and
   those living with disabilities or serious health conditions – are especially vulnerable to the fresh
   trauma of extreme poverty in the United States, from food insecurity to homelessness.


   A Human Rights Watch report describes the case of Khaled, an asylum-seeker who was unable to
   afford stable housing and had to try to find a place to sleep in bus stations and airports with his

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   wife and two young children. Another asylum-seeker in the report, Maria, was forced to bounce
   between the homes of distant relatives with a child and a newborn baby, dependent upon them
   for shelter and having to move when a relative became fed up with providing for her and her
   children.51


   Lack of a fixed address or transportation can also obstruct asylum-seekers from receiving
   notification of, and being present at, immigration court dates52 – and missing those court dates
   can jeopardize their asylum cases. When an asylum-seeker fails to appear at any immigration
   court hearing, the immigration judge can order them removed in absentia – meaning that they
   could be deported to their country of origin, despite having passed a credible fear interview
   demonstrating their fear of being persecuted if returned to their country, rather than remaining in
   the United States with an opportunity to finish presenting their case for asylum.53


                 B. Asylum-seekers will be unable to access necessary physical and mental
                      healthcare.


   So long as their work authorization is delayed, asylum-seekers can access neither employer-
   sponsored health insurance plans, nor self-financed healthcare, nor most government-funded
   social and medical benefits in the United States.54




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   According to data analysis by the United States Census Bureau published in 2017, employer-based
   health insurance covered 55.7% of the U.S. population for some or all of the calendar year.55
   Without employment, an asylum-seeker cannot obtain health insurance through the workplace,
   and, without an income, will typically be unable to purchase private health insurance or cover the
   cost of healthcare out-of-pocket. Asylum-seekers only become eligible to access affordable
   healthcare through Marketplace coverage, for example, only if they are (a) granted employment
   authorization or (b) under the age of 14 and have had an asylum application pending for at least
   180 days.56 With some exceptions for certain populations, such as children or pregnant persons,
   asylum-seekers with pending cases do not qualify for state or federal health benefits apart from
   urgent emergency room care.57


   Asylum-seekers are often in serious need of physical and mental healthcare on a non-emergency
   basis, due to the trauma experienced in their home countries as well as to harsh conditions and
   further trauma they may have experienced on their journeys to the United States. From physical
   injuries and malnutrition to post-traumatic stress disorder, a variety of healthcare needs can fall
   outside the scope of the emergency coverage asylum-seekers are able to obtain until they receive
   work authorization. For example, Abdul, a asylum-seeker included in a Human Rights Watch
   report, had been brutally beaten in his home country in Bangladesh, but had only seen a doctor
   once since arriving in the United States because he could not work and so could not afford
   treatment for a serious arm injury from the beating.58


   The inability to legally work, moreover, can in and of itself exacerbate existing mental and
   emotional health problems. Asylum-seekers who wish to be self-sufficient, productive members of
   their communities are blocked from employment that would allow them to do so. A Human Rights
   Watch report documents the experiences of asylum-seekers who felt a loss of dignity,
   independence, and worthiness, and who experienced increased depression and anxiety when left

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   without anything to occupy their time as they waited for work authorization.59 Josiane, an asylum-
   seeker and rape survivor, told Human Rights Watch that not being able to work for years while her
   asylum application was pending “‘kills you emotionally...Just sitting on your own, one year, two
   years, three years, five, doing nothing, just sitting there, kills you. I was so depressed.’ ”60 The same
   report quoted Dr. Joanne Ahola, a psychiatrist and the medical director of the Weill Cornell Center
   for Human Rights, as stating that work may be the “‘most important thing’” in rehabilitating
   traumatized asylum-seekers, as it gives them a sense of purpose and a “‘distraction from thinking
   about traumatic experiences.’ ”61


                 C. Asylum-seekers will have extreme difficulty obtaining the legal representation
                      they need to navigate their asylum cases – which could lead to deportation
                      back to life-threatening danger in their countries of origin.


   Without an income, asylum-seekers are unable to pay for what is likely the most outcome-
   determinative factor in their U.S. asylum case: legal representation. The Transactional Records
   Access Clearinghouse at Syracuse University analyzed U.S. immigration court records and found
   that the odds of gaining asylum are five times higher for asylum-seekers with legal representation.
   Without representation, “the deck is stacked against an asylum seeker. Statistically, only one out of
   every ten win their case.”62 Furthermore, demand has significantly outpaced supply, leaving an
   increasing proportion of asylum-seekers unable to obtain representation even under existing
   work authorization regulations.63


   The stakes in an asylum case can be literally life-or-death: a successful asylum case wins safety in
   the United States, while a negative decision results in deportation back to the country of origin, in
   which the applicant had faced persecution. As a past president of the American Immigration
   Lawyers Association has noted, the time and difficulty of preparing an asylum case relates not to
   the strength of the case, but to the difficulty of accessing evidence to meet the particular and
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   specific standards of U.S. asylum law.64 In addition to the complexity of U.S. immigration law,
   language barriers65 and experiences of trauma add layers of difficulty to asylum-seekers accessing
   a full and fair consideration of their asylum cases. Delaying work authorization prevents asylum-
   seekers from accessing the legal assistance they need to navigate their case.66


                 D. Without work authorization, asylum-seekers in several states will be unable to
                      obtain state-issued identification, including a driver’s license, and to access
                      transportation.


   In several states, asylum-seekers must show their employment authorization documentation –
   and/or have a social security number, for which they would need employment authorization – to
   apply for an official state identification card or driver’s license.67


   Access to official identification is often required to access social services, including shelters.68
   According to a survey conducted by the National Law Center on Homelessness and Poverty on
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   photo ID barriers after the September 11, 2001 terrorist attacks in New York – after which more
   shelters began implementing a photo ID requirement – 54.1% of homeless persons in a given
   month were denied access to shelter or housing services due to lack of photo identification.69


   In New York City, for example, there is a “right to shelter,” according to which the city “provides
   temporary emergency shelter to every man, woman, and child who is eligible for services, every
   night.”70 But local shelters require submission of identification documents, such as a “benefits card
   from public assistance, a green card, driver’s license, government ID, passport or visa, or an
   employment ID with a picture” or “[i]f you do not have a photo ID, other identification can include
   a birth certificate, social security card, Medicaid card or pay stub.”71 An asylum-seeker without
   work authorization is generally ineligible for public assistance from which they would get a
   benefits card or Medicaid card; will not have a green card, an employment ID, a social security
   card, or pay stub; may not have fled to the U.S. with a passport or birth certificate, and will have
   difficulty obtaining those from their country of origin; and, as noted above, can also be blocked
   from obtaining a U.S. driver’s license or other form of state-issued identification without being
   able to show work authorization documents.


   Access to transportation via a driver’s license is critical for asylum-seekers with pending
   applications, who jeopardize their cases if unable to show up at every court hearing – and the
   immigration court in question may be far away from their place of residence and/or difficult to
   access via public transportation.




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                 E. If unable to work legally, financially desperate asylum-seekers may turn to
                      exploitative shadow economy employment.


   Unable to legally work but in need of wages to meet the needs outlined above, asylum-seekers
   may turn to work in the shadow economy, which presents dangers of its own.72 The type of work
   may be legal, but engaging in it without work authorization puts an asylum-seeker at the mercy of
   their employer. National and international media have documented the abuses experienced by
   immigrant workers in industries ranging from agriculture73 and seafood processing74 to live-in
   domestic help.75


   Under threat of being reported to immigration authorities and put at risk of deportation,
   immigrants are often underpaid and mistreated. This includes verbal and physical abuse, wage
   theft, and unsafe working conditions. The power imbalance between employee and employer
   encourages abusive and exploitative relationships.76 As the Organisation for Economic Co-
   operation and Development has noted, “exploitation can be more extreme the more vulnerable
   the workers”77; asylum-seekers are especially vulnerable due to the trauma they have already
   experienced and the risk of being deported back to a country that is not just their country of
   origin, but also the country where they are at serious threat of persecution.




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        V.   Increased need from asylum-seekers who cannot work will strain the capacity of
              organizations and charities providing them with shelter, food, and legal services.


   If asylum-seekers are delayed in entering the workforce and unable to financially support
   themselves, they will be dependent on others - particularly privately- or government-funded
   organizations and charities - to meet their needs for shelter, food, legal representation, etc.


   The increased demand for assistance will strain the capacity of entities that are often already
   underfunded and stretched thin.


   Shelters, for example, are already beyond capacity in many places in the country. In Arizona,
   “[n]onprofit groups that operate shelters for migrant families near Arizona's border with Mexico
   are full and over-capacity.” The mayor of one Arizona city issued an emergency declaration this
   year after the number of asylum-seeking families in need of shelter being released by U.S.
   Customs and Border Protection exceeded available housing and resources.78 Media reported on
   shelters, churches, and volunteers stepping in to help families who, after presenting themselves at
   the southern border to request asylum, “had nowhere to spend the night” and “did not have bus
   tickets, money or functioning phones.”79 In Maine, the city of Portland struggled to find longer-
   term housing for hundreds of asylum-seekers in its overflowing emergency shelters and Governor
   Janet Mills issued an emergency rule change to the state’s General Assistance Program making
   asylum-seekers eligible for food, housing, and medical care vouchers.80


   Non-profit and state funded legal service providers also face demand much greater than supply
   for pro bono legal aid in U.S. immigration proceedings. Major legal aid centers and bar
   associations around the country, including for the New York Bar and the District of Columbia Bar,
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   have already noticed an increased demand in recent years.81 With fewer asylum-seekers able to
   afford private immigration attorneys, more asylum-seekers will turn to pro bono legal assistance.


   If asylum-seekers are delayed in receiving work authorization, many will turn to these sources of
   free assistance – and organizations and charities, already inundated and now struggling to meet
   increased demand, will bear the burden of responding to more requests and finding new or
   increased sources of funding to meet increased costs. Notably, the NPRM failed to even attempt
   to estimate the significant costs to community organizations of the proposed Rule.


       VI.   The Rule has not sufficiently considered its significant economic impacts, including
              loss of tax revenue at multiple levels of government and financial loss to businesses
              that employ asylum-seekers.


   Although the Department of Homeland Security’s proposal acknowledges economic costs to other
   stakeholders, the proposal fails to calculate properly, if at all, costs like loss of tax revenue at the
   local, city, and state levels and costs to private U.S. businesses.


   The agency’s assessment of economic impact is rooted in its calculation of lost compensation to
   asylum-seekers, an estimated $225.88 million to $774.76 million annually. However, DHS is
   probably underestimating the lost compensation figures – for instance, by assuming minimum
   wage compensation and that recipients of work authorization “would not have been in the labor
   force long, and would thus not be expected to earn relatively high wages”.82


   Upwardly Global, a national organization that has extensive experience assisting asylum-seekers
   and asylees who have secured work authorization in finding employment, challenges these
   calculations. Upwardly Global has noted that its program participants “arrive in the U.S. with
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   college degrees or technical certification from their home countries; half bring experience in
   STEM, healthcare, or finance fields. The above-average salaries they command after securing an
   EAD illustrate the premium that U.S employers place on their skills and experience.”83 Asylum-
   seekers who have completed the organization’s job-coaching, networking, and skill-building
   programs “earn an average of $54,875 annually, significantly higher than the national annual
   mean wage of $51,960,” and several of its program alumni earn salaries in the six figures,
   suggesting that “DHS estimates of the [Rule’s] wage and tax impacts are likely low.”84


   Moreover, even if one assumes a minimum wage to calculate the lower bound of the range of lost
   compensation to asylum-seekers, the agency has utilized the only $8.25 per hour in its
   calculations, which it describes as “prevailing minimum wage.” DHS states that “without solid a
   priori information we believe that providing a range with the lower bound relying on the prevailing
   minimum wage is justifiable.” However, as DHS itself notes, “many states
   have their own minimum wage, and, even within states, there are multiple tiers.”85 Currently, 28 of
   50 U.S. states, plus the District of Columbia, have minimum wages greater than the $8.25 utilized
   by the agency in its calculations, suggesting that DHS has underestimated even the lower bounds
   of compensation to asylum-seekers by assuming too low a compensation rate.86


                 F. The Rule fails to fully account for significant lost annual tax revenue at the
                      city, state, and federal levels.


   The DHS Notice states that “[i]t is difficult to quantify income tax losses because individual tax
   situations vary widely.”87 However, just as DHS estimated lost compensation to asylum-seekers
   and lost contributions to employment tax programs due to delay in asylum-seekers entering the


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   workforce,88 DHS can also fully consider the concomitant tax losses – particularly given that the
   losses could be in the millions of dollars, and would impact government at local, state, and federal
   levels.


   DHS calculates, based on its figures for lost compensation to asylum-seekers, the Rule would lead
   to a significant 15.3% loss to the federal government from other major employment tax programs,
   particularly Medicare and social security.89 The agency estimates that these employment tax
   losses to the federal government would range from $39.15 million to $118.54 million annually,
   plus “additional federal income tax losses not estimated here.”90


   These significant employment tax losses suggest that annual income tax loss at multiple levels of
   government could also be significant, and DHS makes no attempt to calculate these annual losses.
   Moreover, the greater the lost compensation to asylum-seekers, the greater the lost tax revenue
   and losses to employment tax programs. If, as Upwardly Global and the Maine Business
   Immigration Coalition have stated, DHS’s calculations of lost compensation are too low, then DHS
   has also accounted for or considered the full scope of lost tax contributions, including both
   employment tax losses and income tax losses.


                  G. The Rule would cause significant financial loss to businesses that rely on
                      asylum-seekers’ skills and labor.


   Delaying work authorization decisions will negatively impact companies that “would have hired
   the asylum applicants had they been in the labor market earlier”.91 DHS estimates that, “if
   impacted companies are able to easily find reasonable labor substitutes for the positions the
   asylum applicant would have filled, they will bear little or no costs,” and that if, conversely, these
   companies are unable to find reasonable labor substitutes, then the Rule’s estimated maximum




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   cost is $774.16 million annually – the agency’s calculation of maximum lost annual compensation
   to asylum-seekers.92


   However, if DHS has underestimated lost compensation to asylum-seekers, then the potential
   financial repercussions for private businesses are also larger than projected. Moreover, impacted
   companies are unlikely to “easily find reasonable labor substitutes.” Upwardly Global notes that in
   its experience working with 50 employers across the country, “asylum seekers often occupy hard-
   to-fill jobs in the U.S. workforce” and that half of its program participants, including asylum-
   seekers, “come to the U.S. with backgrounds in the STEM and healthcare fields, industries with
   well-documented worker shortages.”93


   The Maine Business Immigration Coalition, a coalition of Maine businesses, chambers of
   commerce, and associations, has stated that “[i]mmigrants are critical to Maine’s ability to have a
   strong economy,” as they are a “significant source of newcomers who stem our state’s population
   decline” at a time when “Maine’s labor shortage is reaching a crisis point, hindering business
   growth and causing some businesses to contract.” The Coalition also noted that in its experience
   with asylum-seekers in the state, the asylum-seekers “are highly educated, are eager to work, and
   have skills that Maine’s employers and economy need[sic].”94


   Asylum-seekers often fill positions that others in the United States either cannot or will not fill.
   Many business sectors rely heavily on the labor of immigrants, including asylum-seekers. These
   sectors range from agriculture and meatpacking to healthcare.95 Asylum-seekers may come with
   credentials that are in short supply in the U.S. workforce, and often bring special skill sets or
   experiences that make them uniquely qualified to perform certain work. For instance, asylum-

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   seekers may have linguistic skills in languages uncommon in the United States or knowledge of
   cultures not widely present here; their own lived experiences may give them the appropriate
   background and sensitivity to work with other individuals who have experienced some type of
   trauma. If credentials are in shortage or skills are rare, then by definition a company will bear the
   costs of a difficult search to fill that position – or bear the costs of not being able to fill their labor
   need at all.



   VII.    DHS has not considered the negative impact on other U.S. government agencies,
            such as the Department of Labor.


   If asylum-seekers are delayed in receiving work authorization, some will be forced to turn to
   shadow economy employment to support themselves and their families. Anxiety and panic among
   undocumented workers about the immigration status and possible deportation prevents
   Department of Labor (DOL) subagencies like the Wage and Hour Division and the Occupational
   Safety and Health Administration from fulfilling their mandate to enforce employment laws,
   especially with regards to vulnerable immigrant workers.


   In a Guardian report from 2017, multiple current and former DOL employees said that anti-
   immigrant policies and rhetoric had “caused panic among exploited undocumented workers
   across industries, preventing labor officials from conducting investigations and enforcing
   employment laws.” One DOL employee described how these workers were “‘not just refusing to
   talk to us. They’re running away from us,’” when describing what happened when DOL
   investigators arrived at a worksite. These employees refused to speak with DOL officials, even
   when DOL officials clearly identified themselves, and even refused to accept back wages, out of
   fear of immigration consequences including deportation – a situation corroborated by internal
   DOL emails reviewed by the Guardian. According to the same sources, the Wage and Hour Division
   of the DOL is receiving fewer complaints from workers.96


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   Reduced complaints and inability to follow through on violations of, and therefore to enforce,
   labor laws, have led to what two DOL sources described as an atmosphere of low morale and
   frustration within the agency, which empowers abusive employers to exploit very vulnerable
   populations. This “threatens to disrupt a key function of the labor department, which is supposed
   to operate independently from immigration authorities.”97 Longer wait times for work
   authorization will lead to more asylum-seekers pursuing unauthorized employment – and asylum-
   seekers, who come to the United States fleeing persecution and often mortal danger in their
   countries of origin – are especially likely to fear the immigration consequences of engaging with
   any branch of the U.S. government. The Rule will therefore exacerbate challenges to core DOL
   functions, a consequence that the Notice of Proposed Rulemaking has not considered.


   Conclusion


   For the above reasons, IRAP strongly recommends that the Department of Homeland Security
   withdraw the portion of the Rule that would eliminate the 30-day for processing timeframe for
   USCIS to adjudicate initial Applications for Employment Authorization by asylum-seekers.


   Thank you for your time and consideration.


   Sincerely,




   Elizabeth Foydel
   Deputy Policy Director
   International Refugee Assistance Project
   One Battery Park Plaza, 4th Floor
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2557
      Comment Submitted by Diane Legomsky.



                                                  Submitter Information
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        BLOOMINGTON, IN, 47401
      Email: diane.legomsky@gmail.com
      Phone: 8128222778


                                                      General Comment
      The new proposed rule on removing the 30-day deadline in which asylum applicants must receive their
      employment authorization will further harm asylum seekers and will leave them open to great victimization.
      If an asylum seeker does not have work authorization, s/he cannot always find an agency or private person to
      take care of their needs. Some cities have agencies/charities/churches that will give them money or vouchers for
      rent and food, but only for so long, and not long enough to hold out for work authorization. As a result, they
      often work "under the table" -- the work is grueling, long hours, and pay less than minimum wage. They are still
      homeless and hungry, despite having done everything possible to fend for themselves.

      Think, also, about their children. The asylum seekers are running from unimaginable danger and harm, from
      gangs to hunger to persecution. They have made the treacherous trek to the U.S., choosing not to reside in
      Mexico because of dangers there equal in severity to those in their home country. What will happen to their
      children? Will they be taken away because the parents are seen as "neglectful", even though they are simply
      without funds or other resources?

      The U.S. does have the resources to help them. Considering all the NGO's and the private individuals in this
      country, can we honestly say that we are "out of room" or "out of money"? We cannot. Does the U.S. have a
      moral obligation to allow these individuals in need to seek employment? We do. Are these individuals taking
      jobs away from U.S. citizens? They are not. These jobs have been left unfilled.

      Given the extremely high increase in various applications ranging from citizenship to asylee status to visas to
      green cards, USCIS is taking in sufficient funds to hire more staff and thus process work authorization
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      applications much more quickly. Increasing our homeless population by refusing to let these individuals seek
      honest work will not help our country, and will further burden our municipalities, upon whom the cost of
      homelessness falls.

      There is no good reason to delay the work authorization applications, and only harm. This applies in moral,
      religious, economic, and political ways. Please rethink this policy.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2558
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Eliminating the 30-day EAD processing for asylum applicantsa rule that has been in place for decadesis an
      invitation for government irresponsibility, and for the agency to not do the job they were funded to do. If the
      government wants to eliminate this rule, then if must eliminate the money that it gave to the agency for this
      purpose. Keeping that money, and not doing the job is theft! Moreover, the governments allegations that it seeks
      to do this to respond to national security and fraud concerns are false. Background checks begin immediately
      upon filing of the asylum application. After filing, applicants wait 5 months before they can apply for a work
      permit. Checks are generally completed by the time asylum applicants file for a work permit. Having worked for
      DHS for nearly two decades, I can attest to the fact that background, identity, and security checks are done online
      through various databases; and can be done fairly quickly. Eliminating this rule will NOT make our Nation safer.
      In fact, it wont do anything other than encourage many agency employees to not do their jobs. An agency who in
      6 months cant determine the identity of an applicant, or whether the person is a security risk, or if the application
      is fraudulent is inept; and will never be able to do the job regardless of how much time its given. The mandated
      30-day timeframe actually INCREASES security by forcing the agency to do its job quickly, and allows it to take
      immediate action if it finds that an applicant is a security risk. Eliminating the 30-day period DECREASES
      security because it will allow individuals who may be a threat, or may have fraudulent applications to remain in
      our country for a longer period of time. Between the 5-month waiting period to apply, and the 30-day issuance
      period, asylum applicants already wait 6 months before work authorization is granted them. That is more than
      enough time for the agency to conduct the investigations it needs.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2559
      Comment Submitted by Veronica Rossini, Tent Partnership for Refugees and National Immigration Forum



                                                  Submitter Information
      Name: Veronica Rossini
      Organization: Tent Partnership for Refugees and National Immigration Forum


                                                      General Comment
      Please see letter attached.



                                                            Attachments
      Comment on Removal of 30-Day Processing Provision 110819




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2560
      Comment Submitted by Nitza Ben-Yehuda



                                                  Submitter Information
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      Phone: 310-659-8811
      Fax: 310-659-9601


                                                      General Comment
      This proposed rule will increase the number of homeless people on our city streets and cause the government a
      substantial loss in tax revenue..




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2561
      Comment Submitted by Elissa Steglich



                                                  Submitter Information
      Name: Elissa Steglich


                                                      General Comment
      Timely work authorization is vital to the well-being of asylum seekers, their families, and their communities. As
      an immigration practitioner, I have witnessed deteriorating service from USCIS. Without deadlines, the agency
      fails to adjudicate critical applications. The 30-day deadline is necessary to ensure administrative accountability.
      USCIS has no reason to seek this change other than to turn its back on our country's citizens in waiting. I
      strongly object to the proposed change.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2562
      Comment Submitted by Jessica DeLoureiro



                                                  Submitter Information
      Name: Jessica DeLoureiro
      Address:
        MA,


                                                      General Comment
      I am deeply disturbed about this proposed regulation and I adamantly oppose it. I work with asylum seekers in
      Massachusetts, and an Employment Authorization document ("work card") is essential to an asylum seeker's
      ability to sustain and support themselves during the lengthy, often years-long, process. Removing their ability to
      obtain an Employment Authorization document within thirty days of processing only further isolates and hinders
      asylum seekers as they attempt to assimilate into the United States, provide for themselves, and rebuild their
      lives.

      Asylum seekers are already required to wait 150 days after filing their asylum application before they can even
      apply for an Employment Authorization document. Removing the 30 day processing time will cause even further
      delays. In many other categories of applications for Employment Authorization documents, we are currently
      seeking 6-9 months delays (and in some cases, even longer delays). To permit asylum seekers, some of the most
      vulnerable immigrants in the United States, to wait longer delays is cruel and unnecessary. Asylum seekers are
      already incredibly vulnerable in that they are fleeing for their lives and seeking safety in the United States;
      moreover, they often lack sufficient identification documents and do not have familial ties to support them as
      they seek safety. Their Employment Authorization document allows them some stability during this incredibly
      difficult period. This proposed regulation only creates additional road blocks against asylum seekers, and for no
      cause.

      Additionally, delays in employment authorization can lead to:

      1) Lost income to the asylum seeker and their family
      2) Food insecurity
      3) Inability to secure a valid ID. A work permit and a social security number (SSN) are often necessary
      requirements to applications for a state ID.
                                                                                                               AR005213
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      4) Risk of homelessness/housing insecurity
      5) Inability to access health insurance (most state ACA health exchanges require a SSN and work authorization
      materials to qualify)
      6) Vulnerability to exploitation, trafficking, and underground economy risks
      7) Lack of access to community service agencies, shelters, and social service programs (many of whom require
      some form of valid ID, proof of residency, or proof of income)
      8) Loss of ability to support themselves and their families
      9) Feelings of fear, desperation, and overall mental health concerns

      There is also a national security issue here - a speedier process to adjudicate employment authorization properly
      protects our national security. Adding additional delays to the process threatens our security.

      Finally, this proposed regulation is unreasonable. if USCIS's goal is to have more time to process each request in
      order to increase flexibility and free up resources to work on other applications, then it could easily shorten the
      waiting time before asylum-seekers are allowed to submit their application. If USCIS feels that a 60-day
      timeframe would be more beneficial, then it may allow applications to be submitted after 120 days, rather than
      150. Allowing asylum-seekers to submit their applications earlier could allow the department to have up to 180
      days to process and properly vet each individual while reducing the risk of harm to each applicant.

      I wholeheartedly oppose this regulation to add more roadblocks against asylum seeker's ability to sustain
      themselves.




                                                                                                               AR005214
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2563
      Comment Submitted by Brynne O'Neal, Asylum Access



                                                  Submitter Information
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        Oakland, CA, 94607
      Email: brynne.oneal@asylumaccess.org
      Phone: 1.510.891.8700
      Submitter's Representative: Brynne O'Neal
      Organization: Asylum Access


                                                      General Comment
      Asylum Access is a global organization that promotes refugee work rights around the world. We provide legal
      services to help refugees receive work authorization and advocate for refugee work rights in Latin America,
      Asia, and Africa. Our expertise shows that when refugees can rebuild their lives, nations thrive. We oppose the
      removal of the 30-day deadline for USCIS to adjudicate work authorization requests.

      As an organization that has worked with governments around the world to increase the realization of refugee
      work rights, we are disturbed to see this attempt to roll back work rights for refugees in the United States. Every
      country should be making it easier and faster for refugees to work in the formal economy, not adding delays.
      Self-sufficiency is very important to our clients. Refugees struggle to survive and rebuild their lives when they
      are forced to wait for years to gain work authorization. We have seen countries benefit when they allow refugees
      to support themselves and their families during their time in the country, whether they end up staying
      permanently or not.

      In this comment, we will provide evidence that promptly providing work authorization to asylum-seekers
      benefits refugees and host countries. Refugees with work authorization create jobs, fill gaps in the economy, pay
      taxes, and spend money in the local economy. Refugees without authorization are vulnerable to exploitation,
      abuse, and human trafficking. This regulation risks leaving refugees without work authorization for months or
      years longer than the current deadline. It should not be enacted.

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      See our full comment in the attached file.



                                                            Attachments
      Asylum Access Comment on Removal of 30 Day Work Authorization Deadline




                                                                                                               AR005216
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Asylum Access Comment on Removal of 30- Day Processing Provision for Asylum Applicant

Asylum Access is a global organization that promotes refugee work rights around the world. We
provide legal services to help refugees receive work authorization and advocate for refugee
work rights in Latin America, Asia, and Africa. Our expertise shows that when refugees can
rebuild their lives, nations thrive. We oppose the removal of the 30-day deadline for USCIS to
adjudicate work authorization requests.

As an organization that has worked with governments around the world to increase the
realization of refugee work rights, we are disturbed to see this attempt to roll back work rights for
refugees in the United States. Every country should be making it easier and faster for refugees
to work in the formal economy, not adding delays. Self-sufficiency is very important to our
clients. Refugees struggle to survive and rebuild their lives when they are forced to wait for
years to gain work authorization. We have seen countries benefit when they allow refugees to
support themselves and their families during their time in the country, whether they end up
staying permanently or not.

In this comment, we will provide evidence that promptly providing work authorization to asylum-
seekers benefits refugees and host countries. Refugees with work authorization create jobs, fill
gaps in the economy, pay taxes, and spend money in the local economy. Refugees without
authorization are vulnerable to exploitation, abuse, and human trafficking. This regulation risks
leaving refugees without work authorization for months or years longer than the current
deadline. It should not be enacted.

Data shows the benefits of work authorization

When refugees participate in formal labor markets, they contribute to host economies and
communities in a variety of ways. A 2016 report by Philippe LeGrain -- the most comprehensive
study available on how refugees contribute to host countries -- found that refugees “help create
jobs, raise the productivity and wages of local workers, lift capital returns, stimulate international
trade and investment, and boost innovation, enterprise and growth.”1 More specifically, the
study found that “investing one Euro in welcoming refugees can yield nearly two Euros in
economic benefits within five years.” This is a result of the unique dividends refugees provide,
including their ability to fill gaps in economies, their tendency to repay debt through contribution
to social welfare, and their propensity to start businesses which then employ locals.

Importantly, refugees can only unlock these and other economic benefits if their work rights are
respected and protected. Without these rights, refugees are unable to start businesses, pay
taxes, and have more limited interactions with the local economy. Below is a summary of
positive outcomes associated with formalized refugee economic inclusion.

Refugees fill gaps in the economy. A recent study by the Center for Global Development shows
that, when given the right to work, refugees fill gaps that make businesses more productive and
stimulate industries. Lower-skilled refugee workers can make space for host workers to work in


1Legrain, P. (2016). Refugees Work: A Humanitarian Investment that Yields Economic Dividends. Tent.
Available at: http://www.opennetwork.net/wp-content/uploads/2016/05/Tent-Open-Refugees-
Work_V13.pdf




                                                                                        AR005217
higher-paying and higher-skilled jobs.2 Higher skilled refugee workers can provide
complementary skills to native workforces; even economies with high unemployment often have
shortages in occupations requiring specific skills.3

Refugees create jobs. Refugees and migrants are known for their entrepreneurial spirit: after all,
40% of Fortune 500 companies are founded by immigrants and refugees, or their children.4 In
Turkey, the largest refugee-hosting country in the world, Syrian refugees reportedly provide a
living for at least 7% of their Turkish compatriots through the businesses they have started.5 In
Kampala, Uganda, refugee business-owners’ employees are 40% Ugandans, outnumbering any
other nationality by far.6 Further research shows that refugee entrepreneurs develop financial
networks between their own businesses and other suppliers in the region using contacts from
their community or from past business experience.7 These expanded networks lead to further
market expansion and job creation.

Refugees who work in the formal economy spend more and pay taxes, benefiting host
countries. Many refugees work informally in countries where they have no formal work rights; as
a result, governments lose out on tax revenue. In addition, refugees without legal status or the
legal right to work consume less than those who are documented. A study in the US showed
that undocumented immigrants in the US consumed about 40 percent less than documented
immigrants, probably due to their unstable situation and lack of access to financial services.8
In addition, of course, they are likely to earn less when they have such a precarious
Status.

Providing workplace protections for refugees reduces abuse, exploitation, human trafficking,
smuggling and forced labor for everyone. When refugees have no legal right to work, they are
susceptible to exploitation without any means of redress. Unscrupulous employers may even
prefer to hire refugees knowing that they can withhold pay and abuse their workers with no
consequences; such practices negatively affect native workers as well as the image of the
country as a whole. Refugees are particularly at risk of human trafficking due to their lack of
legal status and the risky journeys they have to take as a result of forced displacement, among



2 Clemens, M., Huang, C. and Graham, J. (2018). The Economic and Fiscal Effects of Granting Refugees
Formal Labor Market Access. Tent/Center for Global Development. Available at: https://www.tent.org/wp-
content/uploads/2018/10/TENT_LMA_Policy-Brief.pdf.
3 Legrain, id.
4 Anderson, S. (2011). “40 Percent of Fortune 500 Companies Founded by Immigrants or Their

Children.” Forbes. Available at: https://www.forbes.com/sites/stuartanderson/2011/06/19/40-percent-of-
fortune-500-companies-founded-by-immigrants-or-their-children/#2f92f2644a59.
5 Hurriyet Daily News (2019). Welcoming refugees, Turkey now reaps economic benefits. Available at:

http://www.hurriyetdailynews.com/welcoming-refugees-turkey-now-reaps-economic-benefits-146208.
6 Betts, A., Bloom, L., Kaplan, J. and Omata, N. (2014). Refugee Economics: Rethinking Popular

Assumptions. Humanitarian Innovation Project, University of Oxford. Available at:
https://www.rsc.ox.ac.uk/files/files-1/refugee-economies-2014.pdf.
7 Omata, N. (2018). “Refugees’ engagement with host economies in Uganda”. Forced Migration

Review 58: pp. 19-21. Available at: https://www.fmreview.org/economies/omata.
8 Dustmann, C., Fasani, F. and Speciale, B. (2017). “Illegal Migration and Consumption Behavior

of Immigrant Households.” Journal of the European Economic Association 15(3), pp. 645-691.
Available at: https://academic.oup.com/jeea/article-abstract/15/3/654/3054461?redirectedFrom=fulltext.




                                                                                        AR005218
other reasons.9 Formal integration into the workforce reduces the likelihood refugees will fall
victim to trafficking.

In addition, without the legal right to work, refugees are forced to find any means to support
themselves and their families. Thus, greater potential exists for refugees to be exploited and
drawn into shadow economies including drug trafficking and other crimes.10 Granting the right to
work thus provides not only economic, but also security benefits for host countries.

Job creation, the filling of gaps in host economies, increased spending and tax revenue,
reduced exploitation and abuse, and a myriad of other benefits can only be realized if formal
work rights are granted to refugees. Delaying work authorization delays these benefits and hurts
refugees.

This regulation opens the door to unacceptable delays

With increasing backlogs in asylum decisions, refugees can end up waiting for years for an
asylum ruling. Removing the 30-day deadline opens the door to refugees waiting months or
years for work rights. USCIS has shown itself capable of meeting the 30-day deadline.
Refugees who need to support themselves cannot wait any longer. They should be allowed to
start contributing to the U.S. economy as soon as possible. The government must not enact this
rule.




9 Wilson, A.P. (2011). “Trafficking risks for refugees.” Third Annual Interdisciplinary Conference on
Trafficking. Available at:
https://digitalcommons.unl.edu/cgi/viewcontent.cgi?article=1003&context=humtraffconf3
10 Venugopal, G. (2018). “Asia Refugee Policy Analysis.” XChange. Available at: http://xchange.org/asia-

refugee-policy-analysis/.




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                                                                                            As of: September 15, 2020
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2564
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      The proposed change to the 30 day regulation is vindictive and must NOT be instituted. I work with asylum
      seekers who have been hurt and tortured in unspeakable ways. They have sacrificed everything to make the
      journey to the US where they have heard we respect human rights.

      These people typically come with only the clothes on their back. Some do not know a soul in the US. Some have
      worked along the way to subsidize their trip here. In most cases they are willing to do the jobs citizens do not
      want, such as working in slaughter houses and chicken processing plants. These are things we take for granted.
      Someone must do this work so we can enjoy our ridiculously low prices on beef, pork and chicken.

      These people need the meager hand up that the 30 day regulation gives them. It really is not asking much. Please
      keep the regulation the way it now stands.




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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2565
      Comment Submitted by Bitta Mostofi, NYC Mayor's Office of Immigrant Affairs



                                                  Submitter Information
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        New York, NY, 10007
      Email: yfarhang@moia.nyc.gov
      Phone: 646-634-8631
      Organization: NYC Mayor's Office of Immigrant Affairs
      Government Agency Type: Local
      Government Agency: NYC Mayor's Office of Immigrant Affairs


                                                      General Comment
      See attached file(s)



                                                            Attachments
      FINAL Comment re EAD Asylees 11.8.19-CSB Signed (002) (002)




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                                    THE CITY OF NEW YORK

                                       OFFICE OF THE MAYOR

                                       NEW YORK, N.Y. 10007


BITTA MOSTOFI
COMMISSIONER
OFFICE OF IMMIGRANT AFFAIRS



November 8, 2019



Via electronic submission

RE:     Removal of 30-Day Processing Provision for Asylum Applicant-Related Form I-765
        CIS No. 2617-18; DHS Docket No. USCIS-2018-0001


Dear Chief Samantha Deshommes,

        The City of New York (“the City”) through its Mayor’s Office of Immigrant Affairs
(“MOIA”) and Department of Social Services (DSS) submits this comment to oppose the
Department of Homeland Security’s (“DHS”) proposed rule entitled “Removal of 30-Day
Processing Provision for Asylum Applicant-Related Form I-765,” which was published in the
Federal Register on September 9, 2019 (“Proposed Rule”).1 The Proposed Rule joins a slew of
attacks on the asylum application process, such as the Migrant Protection Protocol and the Third
Country Transit Bar.2 The Proposed Rule would remove the regulation that requires USCIS to
adjudicate initial work authorization applications filed by individuals with pending asylum
applications within 30 days. In so doing, the rule would further disadvantage an already
vulnerable population, and would create an economic ripple effect that would harm families,
employers, and businesses. This would result in severe negative consequences for asylum
seekers in New York City – not only for them, but also for their families, including U.S. citizen
children. As a result, the rule will significantly harm the social and economic wellbeing of the
City.
        When a person files an I-589 application for asylum and withholding of removal, the
pending application confers eligibility to apply for an employment authorization document


1
  Removal of 30-Day Processing Provision for Asylum Applicant-Related Form I-765, 84 Fed. Reg. 47148
(proposed Sept. 9, 2019).
2
  See comment in opposition to Asylum Eligibility and Procedural Modifications (8/15/2019).

                                                                                                       1

                                                                                             AR005222
(“EAD”), ie. a work permit, following a 150 day waiting period.3 Under the current regulatory
framework, after the person waits 150 days and files for the work permit, USCIS generally has
an additional 30 days to adjudicate the application, and since July 2018, USCIS has been under
court order to comply with this 30 day deadline.4 Eligibility for employment authorization is
essential to an asylum seeker’s economic self-sufficiency because asylum seekers often wait
months or years for adjudication of their asylum cases. The current requirement that USCIS
adjudicate work authorization applications in 30 days is intended to limit the amount of time
asylum seekers are delayed from obtaining work authorization and achieving economic stability.
        Removing the 30-day processing provision for those with pending asylum applications
would delay adjudications of work authorization applications. While currently, an individual
seeking asylum has to wait a total of 180 days to obtain work authorization, DHS anticipates that
under the Proposed Rule, USCIS adjudication processing times would be roughly equivalent to
those in FY 2017. DHS reported that in FY 2017 less than 50% of applications were adjudicated
within the 30-day timeframe and 22% of applications were not adjudicated within 60 days.5
Authorizing a return to these types of delays will exacerbate the already dire financial
circumstances facing many seeking asylum. For example, in some cases, City residents could be
left with no means of supporting themselves for more than 210 days. This would be a drastic
departure from longstanding policy and the recent court order in Rosario v. USCIS.6
        New York City is proud to be a city that so many immigrants call home, and recognizes
that asylum seekers awaiting employment authorization may be in need of support from the
social safety net in the form of emergency food and shelter. Instead of working to expedite the
process, so that asylum seekers can support themselves and their family members, the Proposed
Rule would further delay their eligibility to enter the work force and may necessitate further
reliance on the emergency social safety net the City provides.
        The City may also suffer a loss in tax revenue as a result of the implementation of the
Proposed Rule. DHS’s own estimate is that the nationwide effect of lost compensation to asylum
applicants could be significant—between $255.88 million and $774.76 million. The loss of
compensation to asylum-seekers who are delayed in entering the job market may translate into
lost income tax and other revenue to local governments like New York City.
        For these reasons, the City strongly opposes the Proposed Rule, and calls upon DHS to
withdraw it.

    1. The Proposed Rule departs from prior agency policy without reasonable basis

        On September 9, 2019, DHS published the Proposed Rule in the Federal Register. The
Proposed rule would amend regulations to remove the requirement of USCIS to adjudicate initial
EAD applications for pending asylum applicants within 30 days. Generally, when a person files
for asylum affirmatively, USCIS has jurisdiction over the application, and when a person files
defensively in the context of removal proceedings, EOIR has jurisdiction.7 Currently, an

3
  8 USC § 1158(d)(2); 8 CFR § 208.7(a)(1); 8 CFR § 274a.12(c)(8); 8 CFR § 274a.13(d).
4
  Rosario v. USCIS, No. 2:15-cv-00813-JLR (W.D. Wash.), appeal pending, NWIRP v. USCIS, No. 18-35806 (9th
Cir.).
5
  These adjudication processing delays would be on top of the 150 waiting period to seek work authorization.
6
  Id.
7
  8 C.F.R. § 208.2; see also USCIS Affirmative Asylum Procedures Manual (2016) at 68 (“The USCIS Asylum
Division has jurisdiction to adjudicate the asylum application filed by an alien physically present in the U.S., unless
and until a charging document has been served on the applicant and filed with EOIR, placing the applicant under the




                                                                                                      AR005223
individual applying for asylum in either posture may submit an initial EAD application at any
point after 150 days have elapsed since the date either USCIS or EOIR received their asylum
application, if no delays have been caused by the applicant.8 USCIS must then adjudicate the
EAD application within 30 days of the date of filing.9 The current rule recognizes the economic
hardship faced by asylum seekers during the asylum application process, and it enables them to
work lawfully while they wait for their cases to be decided, if their cases are delayed more than
180 days through no fault of their own.10
        For context, prior to 1994, asylum applicants could apply for an EAD at the same time
they applied for asylum. In 1994, the then-Immigration and Naturalization Service (INS)
promulgated a regulation to “streamline the adjudication of asylum applicants” and also “restrict
employment authorization to applicants for asylum…whose claims have been pending more than
150 days.”11 This rule provided that asylum applicants could apply for work authorization after
their applications were pending for 150 days and that the INS would adjudicate those
applications within 30 days. In making this change, the agency was aware that “applicants with
pending asylum claims will wait longer than required at present to receive employment
authorization” and envisioned that “few applicants would ever reach the 150-day point.”12 In this
version of the rule, a provision was made for an interim EAD if an adjudication was not made
within 30 days.13 However, in 1997, the agency removed the provision that permitted interim
EADs if an application was not adjudicated within 30 days.14 One of the “chief purposes” of the
30-day deadline, as part of the larger regulatory amendments issued in January 1995, was “to
ensure that bona fide asylees are eligible to obtain employment authorization as quickly as
possible,”15 The focus on expediency was reinforced by how the agency described the proposed
rule: “The INS will adjudicate these applications for work authorization within 30 days of
receipt, regardless of the merits of the underlying asylum claim.”16 Courts have interpreted this
elevation of the 30-day deadline above the merits of the underlying asylum claim to reflect that
the balance of equities has been struck in favor of adhering to the deadline so that applicants can
obtain employment authorization.17
        The rationale of the then-INS in selecting 150 days was because it was a period “beyond
which it would not be appropriate to deny work authorization to a person whose claim has not



jurisdiction of Immigration Court.”) (emphasis added); id. at 69 (“Jurisdiction remains with EOIR until proceedings
have been terminated or the applicant departs from the U.S.”).
8
  8 CFR § 208.7(a)(1).
9
  8 CFR § 208.7(a)(1); see 8 U.S.C. § 1158(d)(2).
10
   8 C.F.R. § 208.7(a)(1), 1208.7(a)(1); see also 8 U.S.C. § 1158(d)(2). (CHECK CITES)
11
   Rules and Procedures for Adjudication of Applications for Asylum or Withholding of Deportation and for
Employment Authorization (Proposed Rule), 59 Fed. Reg. 14,779, 14,779 (Mar. 30, 1994); see also Rules and
Procedures for Adjudication of Applications for Asylum or Withholding of Deportation and for Employment
Authorization (Final Rule), 59 Fed. Reg. 62,284 (Dec. 5, 1994).
12
   59 Fed. Reg. at 14,780.
13
   59 Fed. Reg. at 14,785.
14
   Inspection and Expedited Removal of Aliens; Detention and Removal of Aliens; Conduct of Removal
Proceedings; Asylum Procedures (Proposed Rule), 62 Fed. Reg. 444, 464 (Jan. 3, 1997); Inspection and Expedited
Removal of Aliens; Detention and Removal of Aliens; Conduct of Removal Proceedings; Asylum Procedures
(Interim Rule), 62 Fed. Reg. 10,312, 10,340 (Mar. 6, 1997)
15
   See Rosario (citing 62 Fed. Reg. at 10,318 (1997)).
16
   See Rosario (citing 50 Fed. Reg. at 14,780 (1994)).
17
   See Rosario (citing 50 Fed. Reg. at 14,780 (1994)).




                                                                                                   AR005224
been adjudicated.”18 The purpose of promulgating the 30-day deadline on top of that 150-day
waiting period was to cabin what was already—in the agency’s view—an extraordinary amount
of time to wait for work authorization. Despite the clear position of the then-INS, that 180 days
was already an “extraordinary” amount of time to wait for work authorization, DHS now states
that this Proposed Rule is necessary because they allege that the 30-day adjudicatory timeframe
is no longer realistic or feasible. Capitulating to USCIS’ supposed inability to comply with the
30-day adjudicatory timeframe is not only contrary to the clear purpose of the regulation’s
creation, it is also not accurate. In 2018, the United States District Court of the Western District
of Washington ruled in favor of a class of immigrants and ordered USCIS to comply with their
30-day adjudicatory timeframe.19 Since the Rosario Court ordered USCIS to comply with the 30-
day adjudicatory timeframe, DHS reports that over 99% of the work authorizations for
individuals with pending asylum applications have been processed within the 30-day timeline.20
This demonstrates that USCIS is more than capable of processing these applications within the
regulatory timeframe. DHS argues that USCIS should not have to comply with this timeframe
and should be allowed to process applications in a timeframe closer to its Fiscal Year 2017 rates,
which DHS states, is the “baseline” for USCIS’ performance. In FY 2017 (the year prior to
Rosario), USCIS, by its own admission, adjudicated less than 50% of work authorization
applications within 30 days.
         DHS argues that those adjudication timeframes are an accurate depiction of the time
USCIS needs to adjudicate EAD applications because of the need for additional vetting of
applications that raise security and fraud concerns. However, according to the text of the
Proposed Rule, in FY 2017, 53% of applications were not adjudicated within the 30-day
timeframe, but only 19% of the total number of applications required “additional vetting.” In
addition, 3% of the total number of applications required additional vetting and were still
processed in 30 days. That means that at most, only 16% of the total number of applications that
were not adjudicated within 30 days were the result of “additional vetting,” leaving the other
37% of applications not adjudicated within the 30-day timeframe unexplained. Furthermore,
DHS defines “additional vetting” as cases that either needed to be sent to the Background Check
Unit (BCU) and the Center Fraud Detection Operations (CFDO) or where USCIS sent out a
request for more evidence (RFE). When USCIS issues an RFE, the regulatory clock counting the
30 days stops for that application, meaning that the time from when the RFE is issued until the
time USCIS receives the additional information is not counted towards the 30-day timeframe.21


     2. DHS’s own Ombudsman provides alternative recommendations

        Asylum seekers are a vulnerable population having fled persecution in their home
countries, and having made the perilous journey to the United States to seek refuge. Inexplicably,
rather than working to make the asylum process more efficient and effective for those fleeing
persecution, our federal government continues to attack the process that gives these people a

18
    50 Fed. Reg. at 14,780.
19
   Rosario v. USCIS, No. 2:15-cv-00813-JLR (W.D. Wash.), appeal pending, NWIRP v. USCIS, No. 18-35806 (9th
Cir.).
20
   https://www.americanimmigrationcouncil.org/sites/default/files/litigation_documents/nirp_v_uscis_defendants_jul
y_2019_compliance_report.pdf.
21
    8 C.F.R. § 103.2(b)(10)(i).




                                                                                                  AR005225
pathway towards safety and stability. This Proposed Rule comes at a time when immigrants
passing through third countries are being denied the ability to apply for asylum regardless of the
merits of their claims, and where asylum seekers are being forced to wait in Mexico while their
asylum applications are processed.22 This Proposed Rule would further contribute to the already
hostile environment for immigrants, particularly those applying for asylum. While the
administration has claimed these changes are necessary due to limited resources, this justification
does not withstand scrutiny. Rather than continuing to create barriers for asylum applicants, DHS
should follow the advice of its own Ombudsman, who provided a number of viable solutions to
DHS’ concerns around USCIS compliance with the 30-day time frame.
        DHS’s 2019 annual report outlines three main challenges with initial EAD application
processing times: increased filing volume, technological challenges, and insufficient staffing.23
USCIS reports that technology problems significantly hampered EAD processing times. Between
approximately September 2017 and February 2018, the data management system the NBC uses
to process EADs (CLAIMS 3) operated more slowly than usual.24 The DHS Ombudsman
recommended that USCIS: hire more staff, accelerate the incorporation of the Form I-765 into
eProcessing, implement a public education campaign, and improve the process around
resubmissions of Form I-765 due to “service error.”25 The City believes that in lieu of the
Proposed Rule, that DHS should take the advice of its own Ombudsman and make the changes
outlined above. Furthermore, it should be noted that in FY 2018, EAD receipts filed by
individuals who were granted or were seeking asylum accounted for only 18% of the total
number of EAD receipts. 26 USCIS’ inability to adequately adjudicate work authorization
applications is not created by the batch of work authorizations addressed by the Proposed Rule,
and as such, this problem will not be solved by delaying these adjudications further. DHS should
continue to work with USCIS to make their adjudicatory process more efficient, so that work
authorizations across all categories, including those coming from individuals with pending
asylum applications, can be adjudicated within the regulatory guidelines set out by DHS.


     3. Conclusion

       For the reasons articulated above, we call upon DHS to withdraw the Proposed Rule and
continue to work towards compliance with its 30-day adjudicatory timeframe.



Sincerely,




22
   See Asylum Eligibility and Procedural Modifications, EOIR Docket No. 19–0504; A.G. Order No. 4488–2019
(7/16/2019); Migrant Protection Protocols Implementation Memo,
https://www.dhs.gov/sites/default/files/publications/19_0129_OPA_migrant-protection-protocols-policy-
guidance.pdf, (1/25/2019).
23
   https://www.dhs.gov/sites/default/files/publications/dhs_2019_ombudsman_annualreport_verified.pdf
24
   https://www.dhs.gov/sites/default/files/publications/dhs_2019_ombudsman_annualreport_verified.pdf
25
   https://www.dhs.gov/sites/default/files/publications/dhs_2019_ombudsman_annualreport_verified.pdf
26
   USCIS annual report




                                                                                             AR005226
Bitta Mostofi
Commissioner
NYC Mayor’s Office of Immigrant Affairs




Steven Banks
Commissioner
Department of Social Services, HRA-DHS




                                          AR005227
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7a-e281
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2566
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Asylum seekers should be allowed to work as soon as possible. It both contributes to our economy, and allows
      them to begin creating the connections necessary to succeed.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2567
      Comment Submitted by Julia Tempesta



                                                  Submitter Information
      Name: Julia Tempesta
      Address:
        21 Colborne Rd.
        Brighton, MA,


                                                      General Comment
      I oppose Proposed Rule "Removal of 30-Day Processing Provision for Form 1-765(c)(8). Immigrants make
      America great!

      Sincerely,

      Julia Tempesta




                                                                                                               AR005229
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2567.html[9/15/2020 4:15:14 PM]
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2568
      Comment Submitted by Ryan Garrett



                                                  Submitter Information
      Name: Ryan Garrett
      Address: United States,
      Email: rgarr0066@gmail.com
      Phone: 815-793-4838


                                                      General Comment
      To Whom It May Concern,

      My name is Ryan Garrett, and I am a Concerned Citizen of the United States of America. I am a legal assistant
      who works to assist immigration attorneys in their day to day functions. I have been at this job for almost two
      years now. In my time here, I have grown a deep respect for the immigrants of this country who face immense
      hardship to be here. I have worked closely with Asylum Seekers in this job and met countless clients who have
      needed our services to file their asylum application. I can tell you that one thing is the same between all of the
      Asylum Seekers I assist: FEAR. They are afraid, and rightfully so. Many are running from those that wish to
      persecute them, many of them who have shown proof that they would not survive 6 months if they were forced
      to return because of their beliefs or their choices. No one should have to live like that, and we fight everyday to
      ensure that doesnt happen.
      So, when I hear that they want to remove the 30 -Day Processing Provision for Asylum Applicants, frankly, it
      pisses me off. These people have done everything the government has asked them to do, while being in a
      constant state of fear. They have even waited months without any remedy to not being able to work, and many of
      them have experienced financial hardship. All they ask for is the opportunity to support themselves while the
      government adjudicates their case. To tell them that we cannot adjudicate at least this in 30 days and would
      basically putting them in purgatory, is wrong. USCIS has been adjudicating about 99 percent of these cases in 30
      days currently. They can do it and they should be held to a high bar, especially when in many cases where we are
      deciding if someone lives or someone dies. I understand that this may seem dramatic, but I would argue that my
      statements, in many cases hold horribly true.
      I would encourage you to understand that this decision would lead to lost income for families seeking asylum
      and innocent people will suffer. There will be an increase in food insecurity, risk of homelessness, and a loss of
      access to community service agencies that could otherwise assist them. All because we are annoyed by deadlines.
                                                                                                               AR005230
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      We will also lose tax revenue from Asylum Seekers who would otherwise be working, a consequence that
      frankly makes me question whether much thought has been put into this proposal. I ask that you please consider
      your decision carefully and keep in your heart that there are real people at stake here. People, not just
      immigrants. People I believe we should be proud to protect and who will ultimately make this country a more
      rich place. But we must stand strong in our effort to help them, and hold ourselves to the highest bar, even if it
      difficult because I know in my heart that is the right thing to do. Please do not remove the 30 day deadline.
      Thank you.

      Sincerely,

      Ryan Garrett




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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Tracking No. 1k3-9d7a-gd3g
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2569
      Comment Submitted by Jean Bruggeman, Freedom Network USA



                                                  Submitter Information
      Name: Anonymous Anonymous
      Submitter's Representative: Jean Bruggeman
      Organization: Freedom Network USA


                                                      General Comment
      Freedom Network USA opposes this rule change as it would be harmful to human trafficking survivors seeking
      protection in the US, as explained in the attached.



                                                            Attachments
      AsylumEADProcessingRuleCommentFNUSA




                                                                                                               AR005232
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November 8, 2019

Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services, Department of Homeland Security
20 Massachusetts Avenue NW
Mailstop #2140
Washington, D.C. 20529-2140

RE: DHS Docket No. USCIS-2018-0001, 84 F.R. 47148

To Whom It May Concern:

Freedom Network USA (FNUSA) respectfully submits this comment to the Department of
Homeland Security’s Notice of Proposed Rulemaking on Removal of 30- Day Processing
Provision for Asylum Applicant- Related Form I-765 Employment Authorization Applications,
DHS Docket No. USCIS-2018-0001, issued September 9, 2019.

FNUSA, established in 2001, is a coalition of 68 non-governmental organizations and individuals
that provide services to, and advocate for the rights of, trafficking survivors in the United
States. Our members include survivors themselves as well as former prosecutors, civil
attorneys, criminal attorneys, immigration attorneys, and social service providers who have
assisted thousands of trafficking survivors. Together, our members provide services to over
2,000 trafficking survivors each year. 1

FNUSA is opposed to the DHS proposal which would delay the issuance of EADs for asylum
seekers. FNUSA and our members support survivors from throughout the world who come to
the US to seek protection from human trafficking. They have been abused and exploited by
family members, neighbors, and government officials. They have been persecuted and suffered
retaliation when they have attempted to flee the exploitation. They have been denied their
freedom, safety, and income. Access to employment is a key element in their physical and
psychological recovery.

Considering DHS’ own reports that it is now deciding over 99% of EADs within the 30-day
processing timeline, it is clear that DHS is generally able to address fraud and security concerns
within the current timeframe and process. Therefore, there is no justification to compounding


1
 Freedom Network USA 2018 Member Report, available at
https://freedomnetworkusa.org/app/uploads/2018/04/FRN-Member-Report-Digital-FINAL.pdf.




                                                                                         AR005233
                                                                                               2



the severe harm already suffered by trafficking survivors and others seeking protection from
the US.

I can be reached at jean@freedomnetworkusa.org if you have any questions or need any
further information or explanation.


Sincerely,



Jean Bruggeman
Executive Director
Freedom Network USA




                                 www.freedomnetworkusa.org                        AR005234
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7a-ecqm
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2570
      Comment Submitted by Esther Yoo



                                                  Submitter Information
      Name: Esther Yoo


                                                      General Comment
      I oppose the removal of the 30-day processing provision for asylum applicant-related Form I-765 Employment
      Authorization Applications. The EAD is crucial to helping asylum seekers support themselves in this country.
      Without the EAD, one of my asylum clients had to receive local and state benefits to survive. As soon as he
      received his EAD, he got a job that was appropriate for his level of education and training. His company was also
      located in an area that had a severe shortage of people qualified for his position, so both sides benefited. He no
      longer receives any public benefits, and he is fully self-sufficient. Prolonging the process of receiving an EAD
      will only harm a vulnerable population as well as our communities.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2571
      Comment Submitted by Julie Anonymous, Catholic Community Services



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      My name is Julie and I am the program manager for an outreach program with Catholic Community Services
      working with homeless adults and families in King County. This regulation will cause asylum seekers to not be
      able to afford food and likely face homelessness, which we see a lot of in our outreach program. Please do not
      pass this regulation taking away protection from those seeking asylum.




                                                                                                               AR005236
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2572
      Comment Submitted by Benjamin Brooks, Whitman-Walker Health



                                                  Submitter Information
      Name: Benjamin Brooks
      Submitter's Representative: Benjamin Brooks
      Organization: Whitman-Walker Health


                                                      General Comment
      Whitman-Walker Health (WWH or Whitman-Walker) submits these comments in response to the Notice of
      Proposed Rulemaking (NPRM or Notice) Removal of 30-Day Processing Provision for Asylum Applicant-
      Related Form I-765 Employment Authorization Applications, filed September 9, 2019, 84 Fed. Reg. 47148.
      Whitman-Walker Health opposes the portion of the proposed rule removing regulatory requirements to
      adjudicate employment authorization applications within 30 days because it will have negative impacts on our
      clients by creating further delays and barriers to employment authorization, is counter to public policy, and the
      analysis in the NPRM is insufficient. Whitman-Walker is not opposed to the portion of the rule removing the
      provision requiring that the application for renewal must be received by USCIS 90 days prior to the expiration of
      the employment authorization. See attached for our complete comments.




                                                            Attachments
      WWH Comments on Updated Recommendations 2019




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                       UNITED STATES OF AMERICA
         BEFORE THE DEPARTMENT OF HEALTH AND HUMAN SERVICES
             CENTERS FOR DISEASE CONTROL AND PREVENTION

Proposed Update of                                           )
the CDC’s 2006 Revised Recommendations for HIV               )      Docket No. CDC-2019-0069
Testing of Adults, Adolescents, and Pregnant Women           )
in Health-Care Settings                                      )

       Whitman-Walker Health (Whitman-Walker or WWH) submits these comments in

response to the Centers for Disease Control and Prevention’s August 26, 2019 notice, 84 Fed.

Reg. 45495, regarding updating the Recommendations for HIV Testing of Adults, Adolescents,

and Pregnant Women in Health-Care settings.

                 INTEREST AND EXPERIENCE OF WHITMAN-WALKER HEALTH

       Whitman-Walker Health is a Federally Qualified Health Center serving greater

Washington, DC's diverse urban community, including individuals who face barriers to

accessing care, and with a special expertise in HIV care and serving lesbian, gay, bisexual,

transgender and questioning/queer (LGBTQ) populations. We empower all persons to live

healthy, love openly, and achieve equality and inclusion. WWH services include primary

medical care, HIV and LGBTQ specialty care, mental health care, substance use disorder

treatment services, psychosocial support, early intervention services, public benefits and

insurance navigation, nurse-focused case management, HIV and STI screening, legal services,

youth programs, and two onsite pharmacies – one in Northwest DC and one in Southeast DC.

WWH has achieved Level 3 Patient Centered Medical Home accreditation from the National

Committee for Quality Assurance. Our team provides high quality, affirming health care to more

than 20,700 individuals annually and is the medical home to more than 10,000 patients. The

center has five sites and a team of more than 280 highly educated and practically experienced

staff. Our diverse patient populations include African Americans; Latinx individuals; gay and


                                                 1
                                                                                     AR005238
bisexual men and lesbian and bisexual women; individuals with substance use disorders; and

low-income and homeless individuals.

       Whitman-Walker has been a nationally recognized leader in HIV treatment and

prevention for almost four decades. In calendar year 2018, we provided health care to 3,505

people living with HIV. We serve more than 25% of the District of Columbia’s reported HIV-

positive population, many of them low-income or members of otherwise underserved

communities. Eighty-three percent of our patients living with HIV are virally suppressed – a

success rate much higher than the national and DC averages for people living with HIV, and

comparable to the success rate for Ryan White-funded programs.

       Whitman-Walker’s Medical, Behavioral Health and Community Health Departments

have been at the forefront of HIV education and prevention since the earliest days of the

epidemic. In 2018, we provided rapid HIV tests to 8,849 individuals, and our walk-in Sexual

Health and Wellness clinics, which offer STI and HIV testing, served 1,719 individuals. In

2018, our STI testing program diagnosed approximately 9% of the new HCV cases, 27% of the

new cases of primary and secondary syphilis; more than 18% of the new cases of gonorrhea; and

more than 9% of the new cases of chlamydia in the District of Columbia. Whitman-Walker also

has more than 1,000 patients on PrEP, and has instituted a low-barrier “PrEP clinic” to make it

easier for individuals who would benefit to start and remain adherent to the therapy.

       WWH has been conducting clinical research since 1987, when the first HIV treatments

were being tested. Our studies investigate new ways to prevent or treat diseases in our

community, particularly infectious diseases. Our research priorities also include new treatments

for opioid addiction, the health and wellness priorities of LGBTQ youth, and improving HIV

prevention and treatment for sex workers. WWH’s current research studies include the search




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for a cure for HIV, clinical trials that test the long term effects of HIV treatments on cardiac

health and cognitive impairment, and the safety and efficacy of treatments for people living with

HIV who use opioids; as well as behavioral studies that look at such topics as disease prevention

and medical adherence for special populations at elevated risk of HIV acquisition, such as

transgender women and young men of color who have sex with men.

                  COMMENTS ON UPDATING HIV TESTING RECOMMENDATIONS

        The recent data from the 2019 Annual HIV, Sexually Transmitted Infections (STIs),

Hepatitis, and Tuberculosis (TB) Surveillance Report for the District of Columbia indicates

increased rates of STI infections among adults aged 55 or over.1 Rates of STIs are an indicator

of risk of HIV exposure and transmission. We recommend, based on epidemiological

information and evolving understandings of the sexual habits of older adults, that CDC

recommendations should be updated to include recommendations for annual HIV

screening for adults older than 64. To remove the potential for provider and patient potential

bias, we believe annual screening is indicated for all sexually active people, regardless of age.

The stereotype that older adults are not sexually active is not only inaccurate; it jeopardizes the

public health and the health of individual older persons, and their sexual partners, by reducing

the likelihood that they will be diagnosed and treated.

        The CDC should strengthen the language of recommendations for annual screenings for

people “at high risk for HIV.” The current recommendations defines high risk as people living

in high prevalence areas and people in high prevalence populations, defined by a diagnostic yield

of more than 1 per 1000 patients screened. The current recommendations do not align with



1
 Annual Epidemiology & Surveillance Report: Data Through December 2018. Washington, DC: District of
Columbia Department of Health; HIV/AIDS, Hepatitis, STD, & TB Administration, 2019. Accessed 10/28/19 at
https://dchealth.dc.gov/publication/hahsta-annual-epidemiology-surveillance-report-2019.


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provider and patient understanding of what constitutes high risk. That is, providers and patients

routinely fail to classify themselves or their patients as “at high risk of HIV acquisition.” The

language should be changed to more accurately reflect provider and patient expectations of

“high risk” populations or locations to encourage more frequent screenings. The CDC

should take care to find destigmatizing language that accurately describes the risk portfolio of

people in high prevalence areas and populations and reflects general expectations. The

recommendations should be effective at motivating patients to receive HIV testing and should

assist providers in recognizing when patients are indicated for HIV prevention services.

Similarly, we recommend that the CDC strengthen the language of recommendations for

HIV screenings for people seeking treatment for STIs. While the language of the current

recommendations is clear, providers are not routinely following CDC guidelines. The language

of the recommendations should be updated to be more aligned with provider and patient

expectations to encourage more frequent screenings for HIV based on diagnosis of or exposure

to STIs.

       Finally, we note that the third-generation Rapid HIV test presents substantial benefits in

some healthcare settings and non-clinical settings where it is difficult to link patients to care.

Rapid-HIV tests are highly reliable at detecting HIV antibodies in people exposed to HIV for

longer than 3 months, which is efficacious for those with infrequent testing. Results are

available with 20 minutes, facilitating anonymous HIV clinics by reducing the barriers to follow-

up with patients after testing. Third-generation Rapid HIV tests allow clinicians to link newly

diagnosed people with care and treatment quickly. They provide peace of mind for people with

potential exposures to HIV, and provide an opportunity for clinicians to link people to HIV

prevention modalities like PrEP. The current language includes language that supports the use of



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rapid HIV tests. We comment that the updated recommendations should strengthen the

language recommending the use of third-generation Rapid HIV tests. In particular, we

comment that the language regarding Rapid HIV tests should be moved to the

“recommendations” section instead of the “additional considerations” section.

                                             CONCLUSION

       Whitman-Walker appreciates this opportunity to provide information on updates to the

CDC HIV testing recommendations. Please feel free to contact us if we can be of assistance in

any other way.

Respectfully submitted,




Benjamin Brooks, JD, MPH, Assistant Director of Policy
Daniel Bruner, JD, MPP, Senior Director of Policy
Juan Carlos Loubriel, Director of Community Health and Wellness

WHITMAN-WALKER HEALTH
1377 R Street, NW
Washington, DC 20009

October 28. 2019




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                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2573
      Comment Submitted by Jillian Kong-Sivert



                                                  Submitter Information
      Name: Jillian Kong-Sivert
      Address:
        5412 W Maldonado Rd
        Laveen, AZ, 85339
      Email: Jkongsiv@gmail.com
      Phone: 6022371214


                                                      General Comment
      Completing an affirmative or defensive application for asylum is a daunting task. Finding an attorney or
      advocate to help is also a daunting task. The difficulties of doing so may already eat up many months of effort.
      On top of that, waiting five months in order to ask for work permission is a tremendous hardship. If we take
      seriously that he person has left a bad situation on an emergency basis (And this is the case even if it turns out
      that the persecution/ torture claimed is not cognizable under the law), then our law already asks that person to
      live off of the charity of others for nigh on a year before we grant permission for that person to begin
      contributing. Having jumped through all of these legal hurdles, it is just simply cruel not to allow this person
      who has already been vetted and demonstrated compliance with out rules to wait any longer than absolutely
      necessary for that permission. Conversely, if the goal is to dissuade the cynical exploitation of our asylum and
      human rights protections, then making work permits harder to obtain perversely hurts only those people who do
      not have the luxury of strategizing their preferred forum and abusing our visa system.




                                                                                                               AR005243
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                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7b-r21r
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2574
      Comment Submitted by Alisa Kaufman



                                                  Submitter Information
      Name: Alisa Kaufman


                                                      General Comment
      I am a former Deputy District Attorney and former Asylum Officer. The Office of Chief Counsel recruited me to
      work in deportation because of my commitment to the law and my abilities. In other words, I'm not a bleeding
      heart liberal. I am, however, very aware of the hardships asylum applicants suffer when they are doing their best
      to follow the law and cannot lawfully work to support themselves and their families. The One Year Bar was
      created to deter asylum seekers from using the process to obtain work permits without having valid asylum
      claims. This goal is met by the current status of the law and regulations. Elimination of the 30 day regulation
      places greater hardships on people who have already suffered so much that they have left everything and
      everyone behind. Even if they are able to have family members with them, they are isolated in a new culture. I
      believe they should get work permits sooner, rather than later. Allowing an asylum applicant to work benefits the
      US because applicants often take jobs US citizens don't want to do. Work also provides support and structure to
      an applicant's life, which benefits his or her mental health. Processing a work permit within 30 days is therefore
      not only good for our economy, it is also the humane and moral action to take.

      I am also aware that DHS regularly violates its own regulations. So to eliminate this regulation will exacerbate
      an already erratic adjudication process. I suggest that some of the money allocated for enforcement, which is so
      much more than ICE needs, be directed to USCIS to provide more staffing for more effective processing of
      applications. You could easily eliminate much of the economic waste at ICE (I have personally seen ICE buy
      new computers and other furnishings just to use up funds to avoid losing the money in the future) and have
      enough funds left over to process EADs more timely.




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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2575
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      We do not want to do anything that discourages folks who are willing and able to work from working.
      This goes against everything this country was built on.




                                                                                                               AR005245
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                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7b-lh2k
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2576
      Comment Submitted by Shannon Minter, National Center for Lesbian Rights



                                                  Submitter Information
      Name: Shannon Minter


                                                      General Comment
      The National Center for Lesbian Rights is pleased to submit comments in response to the Department of
      Homeland Securitys (DHS) Notice of Proposed Rulemaking (NPRM) on Removal of 30-Day Processing
      Provision for Asylum Applicant Related Form I-765 Employment Authorization Applications, DHS Docket No.
      USCIS-2018-0001; 84 F.R. 47148. DHS justifications for issuing the proposed rule are arbitrary and capricious
      and do not outweigh the harm the rule will unnecessarily cause to LGBT survivors of severe persecution. DHS
      proposal through this NPRM to eliminate the 30-day processing provision will severely disadvantage survivors
      of persecution and abuse such as our clients. We therefore strongly oppose DHS proposed rule and instead urge
      you to maintain the 30-day adjudication deadline currently required by the regulations. Our complete comments
      are in the attached PDF document. We look forward to your detailed feedback on these comments.



                                                            Attachments
      NCLR Comment Removal of 30 Day Processing




                                                                                                               AR005246
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2576.html[9/15/2020 4:15:14 PM]
November 8, 2019

Submitted via www.regulations.gov

Samantha Deshommes, Chief
Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services
Department of Homeland Security

Re: Comments in Response to Proposed Rulemaking: Removal of 30- Day Processing Provision for
Asylum Applicant - Related Form I-765 Employment Authorization Applications, DHS Docket No.
USCIS-2018-0001; 84 F.R. 47148

Dear Chief Deshommes,

The National Center for Lesbian Rights is pleased to submit the following comments in response to
the Department of Homeland Security’s (DHS) Notice of Proposed Rulemaking (NPRM) on Removal
of 30-Day Processing Provision for Asylum Applicant – Related Form I-765 Employment
Authorization Applications, DHS Docket No. USCIS-2018-0001; 84 F.R. 47148.

   I.   Introduction

The National Center for Lesbian Rights is a national legal organization committed to advancing the
civil and human rights of lesbian, gay, bisexual, and transgender (LGBT) people and their families
through litigation, legislation, policy, and public education. Through our Immigration Project, we
have successfully represented hundreds of LGBT asylum-seekers in the U.S. in their immigration
proceedings. Our clients have fled persecution and abuse because of their sexual orientation and
gender identity including forced conversion therapy, sexual assault and rape, and attempts to kill or
seriously injure them, at the hands of homophobic or transphobic members of society, law
enforcement and other government representatives, and even their own families.

Most of our clients are severely traumatized and indigent, and have limited support systems for
assistance with basic life necessities like housing and healthcare while awaiting employment
authorization from United States Citizenship and Immigration Services (USCIS). Currently,
regulations require USCIS to adjudicate an asylum applicant’s initial application for an Employment
Authorization Document (EAD) within 30 days of filing. 8 CFR 208.7(a)(1). DHS’ proposal through
this NPRM to eliminate this requirement will severely disadvantage survivors of persecution and
abuse such as our clients. We therefore strongly oppose DHS’ proposed rule and instead urge you
to maintain the 30-day adjudication deadline currently required by the regulations.



                                                                                       AR005247
    II. DHS’ Justifications for Issuing the Proposed Rule are Arbitrary and Capricious and Do not
           Outweigh the Harm the Rule will Unnecessarily Cause to LGBT Survivors of Severe
           Persecution

            A. The Proposed Rule is Arbitrary and Capricious

DHS asserts that eliminating the 30-day EAD adjudication period is necessary to make USCIS’ fraud
detection efforts more effective. Yet, USCIS is already permitted to take more time for EAD
processing, by requesting additional documents from an applicant where deemed necessary, for
example, where fraud is suspected. The proposed rule cannot, therefore, be justified on this basis
and is arbitrary and capricious.

            B. Delaying EADs will Further Harm Traumatized LGBT Survivors of Persecution

Under the proposed rule, asylum seekers could be forced to wait for EADs indefinitely, with no
recourse or end in sight. While DHS considered replacing the 30-day adjudication timeframe with
90-days, the current proposed rule provides no timeframe at all, such that significant delays could
be the new norm facing asylum seekers.

Asylum applicants who have endured severe trauma are in desperate need of resources to rebuild
their lives. Many LGBT survivors have little or no support network in the U.S. they can rely on for
life’s necessities, and will face significant financial hardship. This includes the chronic threat or lived
reality of homelessness, and the hunger and health problems that accompany it.

Furthermore, asylum applicants are ineligible for federal public assistance. With their ability to earn
income delayed or worse - effectively foreclosed, survivors will be unable to access much-needed
mental and physical health services. If pro bono or low-cost legal services are unavailable where a
survivor lives, they will be unable to pay for a lawyer. Survivors’ cases are complex, and
representation often means the difference between safety or being returned home to face
additional violence or even death.

Keeping survivors in poverty further compounds trauma, prolongs or delays healing, and prevents
them from integrating into society, depriving communities of their contributions and productivity as
members of the work force. Transgender people of color, who are a significant number of NCLR’s
clients, are particularly vulnerable to factors that drive poverty. i Subjecting them to potentially
indefinite wait times for an EAD creates an additional barrier to employment, a key factor in
avoiding poverty.

LGBT people already face discrimination and harassment from employers at significant levels. ii LGBT
immigrants may feel less able to report or oppose discrimination because they depend on their
particular employer for survival. Asylum seekers without employment authorization may be forced
to participate in the ‘shadow economy’ in order to survive, and are at the mercy of unscrupulous
employers. In addition to discrimination or harassment, employees may face withheld wages, less




                                                                                            AR005248
pay than originally agreed to, demands to work very long hours, abusive conditions, and threats and
incidents of violence at work. Working without authorization may also jeopardize asylum claims.

Work authorization for asylum applicants simultaneously facing domestic violence in the US can
literally mean the difference between life or death. LGBT people experience domestic violence at
equal or higher rates to heterosexual people.iii Close to 100% of survivors of domestic violence
report suffering financial abuse.iv Almost all of NCLR’s clients are survivors of domestic violence and
abuse. Denying or delaying an asylum-seeker’s ability to find legitimate work gives their abusers a
powerful tool of abuse and control, and is directly contrary to the purpose of the Violence Against
Women Act, which has been codified in U.S. immigration law, and reauthorized numerous times by
Congress.v

           III. The Proposed Rule Poses a Burden for NCLR

If USCIS’ EAD adjudication timeframe is no longer in effect as proposed by DHS, asylum seekers’
need for longer-term non-legal assistance will increase. This will put an additional burden on NCLR
staff’s capacity to effectively meet the needs of current and future clients who will now need more
help avoiding homelessness and hunger while waiting for work authorization.

           IV. Conclusion

Keeping asylum seekers in a state of poverty while waiting for their claims to be heard will not deter
them from escaping life-threatening persecution at home. Furthermore, the current 30-day EAD
adjudication timeline does not compromise the effectiveness of USCIS’ current fraud detection
measures. The proposed rule is simply unnecessary and confers minimal, if any, benefit for the
government, while punishing survivors who already endure chronic economic instability and for
which taxpayers and communities ultimately pay the price. We urge DHS to abandon the proposed
rule and maintain the current 30-day regulatory timeframe for initial asylum seeker EAD processing.

We look forward to your detailed feedback on these comments. Please contact me at
sminter@nclrights.org or 415-392-6257 for additional information.

Respectfully,




Shannon Minter
Legal Director


iNational Center for Transgender Equality (2016) The Report of the 2015 U.S. Transgender Survey.
https://transequality.org/sites/default/files/docs/usts/USTS-Full-Report-Dec17.pdf




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 The Williams Institute. (2011) Documented Evidence of Employment Discrimination & Its Effects on
ii

LGBT People.
http://williamsinstitute.law.ucla.edu/wp-content/uploads/Sears-Mallory-Discrimination-July-20111.pdf

  National Center for Injury Prevention and Control of the Centers for Disease Control and Prevention.
iii

(2013) The National Intimate Partner and Sexual Violence Survey: 2010 Findings on Victimization by
Sexual Orientation. http://www.cdc.gov/violenceprevention/pdf/nisvs_sofindings.pdf. See also, Brown,
Taylor N.T. and Herman, Jody L., Intimate Partner Violence and Sexual Abuse among LGBT People: A
Review of Existing Research (2015) https://williamsinstitute.law.ucla.edu/wp-content/uploads/Intimate-
Partner-Violence-and-Sexual-Abuse-among-LGBT-People.pdf.

ivSee, e.g., Postmus, J. L., Plummer, S. B., McMahon, S., Murshid, N. S., & and Mi Sung Kim, M. S.
(2012). Understanding economic abuse in the lives of survivors. Journal of Interpersonal Violence,
27(3),411–430, Adams, A, Sullivan,C, Bybee, D, & Greeson, M. (2008), Development of the scale of
economic abuse. Violence Against Women, 13, 563-588.

vCongressional Research Service The Violence Against Women Act (VAWA): Historical Overview,
Funding, and Reauthorization (2019) https://fas.org/sgp/crs/misc/R45410.pdf




                                                                                          AR005250
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7b-ckko
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2577
      Comment Submitted by Benjamin Brooks, Whitman-Walker Health



                                                  Submitter Information
      Name: Benjamin Brooks
      Submitter's Representative: Benjamin Brooks
      Organization: Whitman-Walker Health


                                                      General Comment
      Whitman-Walker Health (WWH or Whitman-Walker) submits these comments in response to the Notice of
      Proposed Rulemaking (NPRM or Notice) Removal of 30-Day Processing Provision for Asylum Applicant-
      Related Form I-765 Employment Authorization Applications, filed September 9, 2019, 84 Fed. Reg. 47148.
      Whitman-Walker Health opposes the portion of the proposed rule removing regulatory requirements to
      adjudicate employment authorization applications within 30 days because it will have negative impacts on our
      clients by creating further delays and barriers to employment authorization, is counter to public policy, and the
      analysis in the NPRM is insufficient. Whitman-Walker is not opposed to the portion of the rule removing the
      provision requiring that the application for renewal must be received by USCIS 90 days prior to the expiration of
      the employment authorization. See attached for our complete comments.



                                                            Attachments
      Comments of WWH on DHS Notice of Proposed Rule Revising Regulations on Time limits for adjudicating
      EAD applications




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file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2577.html[9/15/2020 4:15:15 PM]
                  BEFORE THE UNITED STATES DEPARTMENT OF
         HOMELAND SECURITY, AND UNITED STATES CITIZENSHIP AND
                              IMMIGRATION SERVICES
Removal of 30-Day Processing Provision for Asylum Applicant- ) [DHS Docket No.
Related Form I-765 Employment Authorization Applications     ) USCIS 2018-0001]

            Submitted via Federal eRulemaking Portal: http:// www.regulations.gov.

       Whitman-Walker Health (WWH or Whitman-Walker) submits these comments in

response to the Notice of Proposed Rulemaking (NPRM or Notice) “Removal of 30-Day

Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization

Applications,” filed September 9, 2019, 84 Fed. Reg. 47148.

       Whitman-Walker Health opposes the portion of the proposed rule removing regulatory

requirements to adjudicate employment authorization applications within 30 days because it will

have negative impacts on our clients by creating further delays and barriers to employment

authorization, is counter to public policy, and the analysis in the NPRM is insufficient.

Whitman-Walker is not opposed to the portion of the rule removing the provision requiring that

the application for renewal must be received by USCIS 90 days prior to the expiration of the

employment authorization.



                    EXPERTISE AND INTEREST OF WHITMAN-WALKER HEALTH

       Whitman-Walker Health is a community-based, Federally Qualified Health Center

(FQHC) offering primary medical care and HIV specialty care, community health services and

legal services to residents of the greater Washington, DC metropolitan area. WWH has a special

mission to the lesbian, gay, bisexual and transgender members of our community, as well as to

all Washington-area residents of every gender and sexual orientation who are living with or

otherwise affected by HIV. In calendar year 2018, more than 20,000 individuals received health




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                                                                                     AR005252
services from Whitman-Walker. Given our commitment to caring for everyone in the

community and the demographics of the Washington, DC metropolitan area, a substantial

number of our health care patients are foreign-born, and many of them have filed for various

forms of immigration relief.

       Since the mid-1980s, Whitman-Walker has had an in-house Legal Services Department.

Because of our commitment to holistic health care, which includes addressing the legal and

social determinants of health (and ill-health), for more than three decades our in-house Legal

Services Department attorneys and legal advocates, with the assistance of hundreds of volunteer

attorneys throughout the area, has provided information, counseling, and representation on a

wide range of immigration-related services to WWH patients, to individuals living with HIV,

and to foreign-born lesbian, gay, bisexual and transgender (LGBT) individuals and families. We

have a robust immigration practice, particularly for LGBT individuals seeking asylum or other

relief from removal under our immigration laws. Many of our clients come to the U.S. fleeing

persecution in their countries of birth because of their sexual orientation or gender identity.

Many of our clients seeking asylum are isolated and ostracized from family support systems and

as a result are alienated and unable to access community and family supports due to experiences

of homophobia and transphobia.

       Although our patients and clients come from every income level, substantial numbers are

lower-income. Because of the difficult circumstances in which they have come to the U.S. – for

instance, fleeing persecution in their countries of birth – many if not most of our immigration

clients and foreign-born health care patients have limited means, particularly until their

employment authorization documents are received and they are able to make new lives for

themselves and becoming fully contributing members of our society.




                                                  2
                                                                                       AR005253
                              COMMENTS ON THE PROPOSED RULE

      THE PROPOSED RULE WILL HARM OUR PATIENTS, CLIENTS, AND OUR ORGANIZATION

        The changes in the proposed rule that eliminate the regulatory requirement that

applications for employment authorizations be decided within 30 days will have major negative

impacts on our clients by creating further delays and barriers to employment. It is extremely

important for asylum applicants to receive employment authorization as expeditiously as

possible. The cost to our clients and patients by delays in employment authorization are harmful

beyond the lost wages. They limit access to health insurance and, therefore, limit access to

health care – which not only threatens them personally but also jeopardizes the public health.

They also perpetuate housing insecurity. They keep individuals whose cases are still being

adjudicated from becoming contributing members of society, forcing them to continue to live in

poverty and face the ill health resulting from the chronic stress attendant to these conditions.

        The proposed rule will limit access to health insurance for asylum applicants, limiting

their access to preventive healthcare services and increasing the risk of bankruptcy and poverty.

Employment authorization documents provide access to employment and the potential for

employer sponsored health insurance. Additionally, the statutory requirements of the Affordable

Care Act (ACA) have been interpreted to limit access to the ACA exchanges to asylum

applicants 180 days after submitting their application for asylum. (45 C.F.R. § 155.2; 77 FR

18310 (March 27, 2012)) The Centers for Medicare & Medicaid rely on the employment

authorization document as proof of eligibility for enrolling in an exchange plan.1




1
 HealthCare.gov, Immigration documentation types, accessible via
https://www.healthcare.gov/immigrants/documentation/


                                                      3
                                                                                      AR005254
        In addition to the proposed rule’s negative impact on asylum seekers, the rule will

negatively impact safety-net providers, including Whitman-Walker. As an FQHC, we are a

community-based organization that provides services to all ages, regardless of their ability to

pay. We use our valuable resources operating programs assisting our clients in navigating the

public benefit and private insurance systems across Virginia, Maryland, and Washington, DC.

Shifting patients to employer-sponsored insurance coverage, or coverage purchased on the

exchanges created by the Affordable Care Act is essential to our fiscal sustainability and the

good stewardship of our resources. Access to insurance on the ACA exchange is contingent on

employment authorization documents. By increasing delays in employment authorizations, the

proposed rule would limit access to healthcare; harming both asylum applicants and the

organizations that serve them.

                       THE PROPOSED RULE IS COUNTER TO PUBLIC POLICY

        This proposed rule is counter to the government’s objectives of personal responsibility

and fiscal sustainability. Employment authorizations allow for asylum applicants to begin to

build self-reliance and to contribute to the communities where they live.

        The proposed rule is detrimental to the Government’s goals of reducing fraud, identity

theft, and human trafficking. By increasing the wait times for employment authorizations, the

government will increase the number of people who, in desperation, may resort to working with

false documents, working without documents, or of being trafficked into exploitative labor

situations.

        Delaying employment authorizations will likely increase vulnerability to labor

trafficking. This is particularly true for LGBT asylum applicants, who are especially vulnerable

to all forms of trafficking because LGBT immigrants are often without support from family




                                                 4
                                                                                     AR005255
networks, due to family rejection and societal animus. Many LGBT asylum applicants flee

persecution in their country of origin, only to find themselves homeless in the United States after

family members refuse to accept them. Prolonged joblessness exacerbates their dire

circumstances and places them at extremely high risk of labor trafficking by predatory criminals.

The timely processing and issuing of asylum-pending work authorization documents is a crucial

step towards ensuring the safety and well-being of an already vulnerable population.



                        THE ANALYSIS OF THE PROPOSED RULE IS INSUFFICIENT

       The OMB’s regulatory guidance requires that proposed rules provide enough information

for agencies and the public to determine the costs and benefits of proposed regulatory changes.

(OMB, Circular A-4, 2003) The OMB recognizes that the distribution between those who pay

the costs and receive the benefits is an essential part of the analysis required for proposed rules.

The DHS’ NPRM fails to fulfill these regulatory requirements to provide information on the

distribution of costs and benefits by failing to estimate their own costs of complying with

existing regulations.

       DHS completed an analysis of the economic harms to immigrants and small businesses,

but has not estimated their own costs. (84 Fed. Reg. 47149) Without determining the level of

funding necessary to meet their regulatory and court-ordered adjudicatory deadlines, the public

and the government do not have the information necessary to determine the costs or benefits of

this proposed rule. Failing to consider the costs of complying with existing regulations and court

orders is particularly callus as the majority of the costs; hundreds of millions of dollars of lost

wages, decreased productivity, and tax losses, fall to asylum seekers, who are some of the most

vulnerable and precarious members of our communities. (84 Fed. Reg. 47150)




                                                  5
                                                                                        AR005256
        The cost analysis in the NRPM demonstrates that changing the regulations to remove the

30-day processing requirements for employment authorizations for asylum applicants will result

in immense harm to communities of asylum applicants and is detrimental to the Federal

Treasury. Without additional information, we cannot analyze if the 30-day requirement is

reasonably set to balance the immense harm to asylum applicants of delaying employment

authorization and the identification checks that USCIS must undergo to issue the authorizations.

        Additionally, we find DHS’ arguments of necessity wholly unconvincing. The NPRM

cites additional security requirements instituted since 9/11 as the cause of their need for

additional processing times. (84 Fed. Reg. 47154) We find this unconvincing because USCIS

has met its I-765 processing requirements for 99% of applicants for April, May, and June of

2019, during which they received applications equal to or above the elevated rates they cite as

reason for the regulatory change.2



         REMOVING THE 90-DAY EAD RENEWAL REQUIREMENT IS BENEFICIAL TO OUR PATIENTS

        We support removing the duplicative and burdensome 90-day filing requirement for

renewal of EAD for asylum applications. The proposed regulatory change brings the regulations

in agreement with existing policies and reduces barriers to accessing employment for asylum

applicants by instituting a less stringent regulatory scheme.




2
 United States Citizenship and Immigration Services (USCIS) I-765 - Application for Employment Authorization
Eligibility Category: C08, Pending Asylum Initial Permission to Accept Employment Completions by Processing
Time Buckets FY15 - FY19 (Through June 30, 2019) Aggregated by Fiscal Year and Month available at
https://www.americanimmigrationcouncil.org/sites/default/files/litigation_documents/nirp_v_uscis_defendants_july
_2019_compliance_report.pdf


                                                       6
                                                                                                AR005257
                                          CONCLUSION
       Thank you for this opportunity to submit comments. We would be happy to provide any
additional information that might be helpful.
Respectfully submitted,




Benjamin Brooks, Assistant Director of Policy
Daniel Bruner, Senior Director of Policy
Denise Hunter, Senior Staff Attorney
Connor Cory, Staff Attorney

WHITMAN-WALKER HEALTH
1377 R Street NW, Suite 200
Washington, DC 20009

November 8, 2019




                                                7
                                                                              AR005258
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7b-7grj
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2578
      Comment Submitted by Margaret Baker on behalf of South Bay People Power



                                                  Submitter Information
      Name: Margaret Baker
      Address:
        861 Vista Way
        Chula Vista, CA, 91911
      Email: mbakerdrph@gmail.com


                                                      General Comment
      On behalf of South Bay People Power, I am writing in strong opposition to the proposed change to the rule
      change regarding removal of the 30-day processing provision for asylum applicants using Form I-765 for
      Employment Authorization Applications.

      South Bay People Power is a non-partisan, proactive group of residents of San Diego County who live near the
      US-Mexico international border. We are dedicated to promote policies and practices that reflect the values of
      justice, fairness and civil rights and to encourage civic engagement among all members of our diverse
      community.

      This proposed elimination of the rule that has been working well for our country and the asylum-seekers as well
      is absolutely cruel and senseless. We demand that the rules stand as they have been operating, to avoid further
      confusion and cruelty to individuals who are willing to work, pay taxes, support their families and community,
      and follow the law. To eliminate the 30-day rule will create chaos, increase the backlog of cases, and prevent
      individual asylum-seekers and their families from participating lawfully in the economy and from caring for
      themselves.

      We challenge the misguided proponents of such a rule-change to answer the following questions:
      1) How can you ensure that the application process will not end up in a bottle-neck with an indefinite
      bureaucratic backlog of cases?
      2) How can you ensure a fair process for individuals and the advocates and sponsors of asylum-seekers who are
      hanging on by a thread, trying to follow the rules and get a chance to work in a timely and predictable manner?
      3) Why in the world would you propose changing a process that IS WORKING for individual asylum-seekers as
                                                                                                               AR005259
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      well as for the local communities?
      4) How do you expect law-abiding asylum-seekers from supporting themselves, their families and participating
      in the economy if the 30-day rule has been eliminated?
      5) Will there be alternative means of support available for families seeking asylum and the nonprofit agencies
      trying to facilitate and support their efforts to seek asylum in the United States, as is their RIGHT!?

      Since October of 2018, I and other members of South Bay People Power have been volunteering to receive
      asylum-seekers when they are released by ICE and Customs and Border Patrol in San Diego County. We have
      heard their stories of abuse, terror and escape from their countries of origin. We have tried to ease the immediate
      needs for shelter, food and medical care upon their release from detention; and have also helped them cope with
      the distress, confusion and additional pain due to their experiences while in custody of the immigration system.
      We are appalled at their stories of abuse and mistreatment.

      Once the asylum-seekers have identified the families who will sponsor them, our concern and support doesn't
      end. We try to help them with everything from material needs of food, clothing, diapers, housing, transportation,
      medical care, and legal representation. But no matter what we do to support them, it will not be enough! They
      arrive at our border with nothing... but their desire to live free from fear... but to LIVE. They all need and deserve
      the ability to EARN a living.

      The loss of income to asylum-seekers will cause an unreasonable about of harm to this already-vulnerable
      community. The lost wages and benefits will not only strain their ability to support themselves and their families,
      but will result in lost compensation an estimated $255.88 million to $774.76 million in TAXABLE INCOME per
      year (according to USCIS estimates). USCIS admits that all levels of government will lose tax revenue as a result
      of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per year because of
      delayed work authorization will prevent asylum seekers and their employers from contributing to Medicare and
      social security. This lost tax revenue for our government is absurd!

      For these reasons, plus the fundamental value of providing a haven for asylum-seekers, we vehemently oppose
      the rule change. We see it as part of this administration's effort to make the United States a hostile destination for
      individuals fleeing persecution in their countries of origin. We will continue to protest abhorrent efforts such as
      the third-country transit bar, the proposed wide-sweeping public charge rule, and the institution of the so-called
      (and CRUEL!) Migrant Protection Protocols. By removing the ability of asylum-seekers to gain meaningful
      employment within a short and predictable timeframe, the current administration effectively turns asylum seekers
      into the very public charges it seeks to exclude. Additionally, this policy change would make the work
      authorization process more predictable and inefficient by removing the ability to hold USCIS accountable to any
      deadline.

      As community members in the southern California border region MOST impacted by the admission of asylum-
      seekers, we demand NO CHANGE to the current rule!




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                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
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                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2579
      Comment Submitted by Emily Leung, Justice Center of Southeast Massachusetts



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                                                      General Comment
      See attached file(s)



                                                            Attachments
      Justice Center of Southeast MA - Public Comment DHS Docket No. USCIS-2018-0001




                                                                                                               AR005261
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JUSTICE CENTER OF SOUTHEAST MASSACHUSETTS LLC
                      Subsidiary of South Coastal Counties Legal Services, Inc.
                      Serving Southeastern Massachusetts, Cape Cod & Islands

Submitted via www.regulations.gov

November 8, 2019

Regulatory Coordination Division, Office of Policy and Strategy
U.S. Citizenship and Immigration Services
Department of Homeland Security
20 Massachusetts Avenue NW
Washington, DC 20529-2140

Re: Docket ID USCIS-2018-0001-0001- Public Comment Opposing Proposed Removal of
30-Day Processing Provision for Asylum Applicant-Related Form I-765 Employment
Authorization Applications, FR Doc. 2019-19125 Filed 9-09-19; 84 FR 47148, 47148-47170
To Whom It May Concern:
       We are writing on behalf of the Justice Center of Southeast Massachusetts in response to
the Department of Homeland Security’s (DHS, or the Department) Notice of Proposed
Rulemaking (NPRM or proposed rule) to express our strong opposition to the removal of the 30
day processing provision of the Form I-765 for asylum applicants, USCIS Docket ID 2018-0001-
0001, published in the Federal Register on September 9, 2019.
        The Justice Center of Southeast Massachusetts, a subsidiary of South Coastal Counties
Legal Services, provides free civil legal services to indigent and elderly individuals in our
service area. We serve communities in Plymouth, Bristol, Dukes, Nantucket, and Barnstable
Counties, as well as residents of the towns of Avon and Stoughton. Our mission is to achieve
equal justice for the poor and disadvantaged through community based legal advocacy. The
Justice Center of Southeast Massachusetts provides civil legal services in the areas of housing,
family law, education, immigration, and benefits. We serve immigrants, citizens, and mixed
status families in each of our practice areas. Our immigration practice serves low-income
individuals applying for asylum who would be adversely affected by the proposed removal of the
30 days processing provision for their Employment Authorization Documents.
        We object to the removal of the 30 day processing provision as it would create an
additional and undue burden on our asylum seeking clients, many of whom have arrived to the
United States in vulnerable positions and have already had to wait months to apply for work
authorization. We fear that without this deadline in place, adjudication times could be extended
indefinitely, leaving our clients without a way to support themselves and their families. Rather
than removing the 30 day processing rule, we would advocate that DHS, and its component
agency USCIS, look into alternative and internal ways to reduce the backlog and processing
inefficiencies, first and foremost by hiring additional employees, an alternative that was not



                                                                                    AR005262
given sufficient analysis in this proposed rule. The removal of the 30 day deadline is estimated to
cost between $295 and $893 million a year in lost compensation and income taxes because
asylum seekers who want to work will not be able to, showing that the proposed rule is not only
economically wasteful but also cruel from a humanitarian perspective.
    I.      The proposed changes will place a significant and unnecessary burden on
            asylum seekers as it will result in longer EAD adjudication wait times.
        Asylum seekers already must wait at least 180 days without employment authorization
and with the proposed rule change that time period could become indefinitely long. Under the
proposed rule change there will be no incentive for USCIS to complete the EAD processing for
asylum applicants in a timely manner. USCIS assumes without providing justification that they
will be able to process applications in the same amount of time as they did in FY 2017 with the
removal of the 30 day processing rule, but they provide no evidence that the can meet these
processing times. This intention to meet FY 2017 timeframes is contradicted by the “Growth of
Receipts and Backlog” under III.1 “Background and Discussion of Proposed Rule.” This section
specifically cites the increase in EAD applications and growing asylum backlog as major causes
of delays in adjudication. The affirmative asylum backlog as of March 12, 2018 stood at
317,395, and from 2013 to 2017 USCIS reports a 417.43% increase in initial EAD applications
from those with pending asylum cases.
        Concluding that 2017 processing timeframes are plausible without addressing the
trending increase in applications is an assertion that is not supported by data. No data from 2018
or 2019 is included in this proposed rule, yet the data exists and demonstrates generally that
adjudication times have increased for most immigration applications from FY 2017-FY 2018 and
from FY 2018-FY 2019. Processing times for EAD applications, not including DACA
applicants, increased from 3.1 months to 4.2 months from FY 2017- FY 2018, and then from 4.2
months to 4.5 months for FY 2018- FY 2019. Processing times have also increased for:
adjustment of status for asylees and refugees, adjustment of status for family members,
employment-based adjustment of status, naturalization, T-Visa applications, U-Visa applications,
petitions for alien relatives, applications for a travel documents, refugee/asylee relative petitions,
TPS applicants and others.1 With backlogs across the board and a steady upward trend of
adjudication times, an assumption of FY 2017 adjudication levels is not reasonable and simply
not based in fact.
        Even if USCIS could maintain the timeframes from FY 2017, that still leaves more than
half of applicants with EAD applications that are not processed in the 30 day time period, and
22% of applicants waiting over 60 days. As will be addressed below, asylum seekers already
face an extreme burden with the current waiting times. A rule that opens them up to lengthier
waiting periods is unnecessary. As part of the Rosario2 class action ruling, USCIS was ordered to
submit status reports indicating compliance with the 30-day adjudication requirement.3 In

1
  United States Customs and Immigration Services “Historical National Average Processing Time for All USCIS
Offices” (August 31, 2019) https://egov.uscis.gov/processing-times/historic-pt
2
  Rosario v. USCIS, Case No. C15-0813JLR (W.D. Wash. July 26, 2018).
3
  Id.




                                                                                               AR005263
December 2018, DHS reported adjudicating 96.3% of asylum-seekers’ initial applications for
employment authorization within 30 days, and an average rate of 92.7% for the first quarter of
2018, demonstrating that USCIS is capable of completing applications in accordance with
Rosario when the proper resources are directed towards it.4 While DHS asserts that it cannot
divert these resources in the long term because it pulls resources from other priorities and time
sensitive matters, it fails to provide any details about which other priorities are being impacted
and how those matters compare with the long standing rule that has recognized the particular
vulnerabilities of asylum seekers. Removing the 30-day timeframe is going to allow resources to
be diverted away from the adjudication of EAD’s for asylum seekers and thus will increase
processing times that will likely be slower than the FY2017 numbers due to the increase in
applications and the backlog, and the overall slow down in USCIS processing times.
        Asylum seekers are a vulnerable population that typically left their home countries under
duress and may not have family or community to assist them in the United States. Without the 30
day processing requirement, asylum seekers could be left without legal authorization to work for
well over 180 days. Federal law already prohibits asylum seekers from accessing most federally
funded social benefits like SNAP or SSI, making work authorization one of their only means of
economic survival.5 Because asylum seekers come to the United States fleeing persecution and
violence, they often lack familial ties and community to aid in supporting them during the 180
day window within which they cannot receive an EAD. Prolonging this already lengthy
processing time would leave many of them dependent on unknown others (nonprofits,
community organizations, etc.), directly contradicting DHS’s recent emphasis on immigrant self
sufficiency.6 Issuing work permits in a timely manner is the most effective way for asylum
seekers to not need government or community provided financial assistance.
        Additionally, because asylum seekers also do not have a right to free legal counsel,
should they want to be represented in their asylum case, they would have to pay legal fees.
Studies show that the most important factor in asylum cases is representation in court, with those
retaining representation being 3 times more likely to receive asylum.7 The inability to apply for
an EAD for 150 days, coupled with the removal of the 30 day processing requirement, could
leave asylum seekers without the ability to work for a much longer period of time, thus
undermining their ability to seek proper legal representation for their cases.

4
  American Immigration Council “Court Decision Ensures Timely Adjudication of
Employment Applications Filed by Initial Asylum Applicants” (March 27, 2019) available at
https://www.americanimmigrationcouncil.org/sites/default/files/practice_advisory/court_decision_ensures_timely_a
djudication_of_employment_applications_filed_by_initial_asylum_applicants.pdf
5
  U.S.C., 2009, http://www.law.cornell.edu/uscode/text/8/1611 (accessed November 6, 2013), Title 8, Section
1611(a)
6
  US Department of Homeland Security “DHS Announces New Proposed Immigration Rule to Enforce Long-
Standing Law that Promotes Self-Sufficiency and Protects American Taxpayers” (September 22, 2018) available at
https://www.dhs.gov/news/2018/09/22/dhs-announces-new-proposed-immigration-rule-enforce-long-standing-law-
promotes-self
7
  Andrew Schoenholtz, Jaya Ramji-Nogales, Philip G. Schrag “Refugee Roulette: Disparities in Asylum
Adjudication”, 60 Stan. L. Rev. 295 (2007) available at
https://scholarship.law.georgetown.edu/cgi/viewcontent.cgi?article=2914&context=facpub




                                                                                                AR005264
        Some asylum seekers suffer from mental and physical health issues as a result of
persecution and violence in their home countries. Without employment authorization they cannot
even purchase health care under the ACA, deterring them from going to a hospital or medical
center. Without the ability to work, applicants may become more socially and economically
isolated from the communities they live in. Dr. Joanne Ahola, a medical of the Weill Cornell
Center for Human Rights and the Research Institute Without Walls, says “Work may be the
single most important thing in rehabilitating traumatized asylum seekers.” Furthermore she says
that the purpose of a job can give an asylum seeker can also dually function as a “distraction
from thinking about traumatic experiences.8
       Prolonging adjudications of EADs indefinitely, as the removal of the deadline could
cause, may spur asylum seekers to work unauthorized by virtue of survival. This leaves them
vulnerable to exploitation by employers who know the asylum applicant is not authorized to
work. Undocumented immigrant workers tend to lack bargaining power and will not complain
about workplace disputes or wage theft out of fear of employer retaliation. It is estimated that 2.4
million immigrant workers in the 10 largest states lose 48 billion annually to wage theft.9
        Furthermore, there have been reports that the administration is seeking to lengthen the
waiting period even more, up to one year, before allowing asylum seekers to apply for
employment authorization, which would further exacerbate all the issues raised herein.10 DHS
references this proposed changed to EAD eligibility for asylum seekers in the current proposed
rule as a mitigating factor in determining the potential costs of the current regulation, but fails to
provide a reasonable basis for changing the eligibility framework for asylum seekers to gain
employment authorization.


    II.     In past regulations, the reasoning behind the 30 day deadline was clearly stated.
        Asylum seekers are the only class of applicants that have deadlines on EAD processing
times. As described in the class action Rosario v. USCIS, there has been a focus on expediency
for asylum seekers since the regulatory amendments of January 1995. The 30 day deadline was
put into place to “ensure that bona fide asylees are eligible to obtain employment as quickly as
possible,” (62 FR at 10318). INS also chose the 150 day waiting period specifically saying
“ideally…few applicants would ever reach the 150 day point” (59 FR 14779, 14780). The
average wait time for adjudication of asylum applicants from FY 2017 to FY 2019 is about 701




8
  Human Rights Watch, At Least Let Them Work: The Denial of Work Authorization and Assistance for Asylum
Seekers in the United States, (November 12, 2013) ISBN: 978-1-62313-0749, available at
https://www.refworld.org/docid/5285fc0c4.html
9
  Michael Felsen, M. Patricia Smith, Wage Theft is a Real National Emergency, The American Prospect, (March 5
2019) https://prospect.org/power/wage-theft-real-national-emergency/
10
   Julia Ainsley, Trump Administration Weighs Restricting Asylum-Seekers from Working, NBC News, November 4,
2019, available at https://www.nbcnews.com/politics/donald-trump/trump-administration-weighs-restricting-
asylum-seekers-working-n1076146




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days.11 In this proposed rule, DHS recognizes the legislative history of the 30 day rule in III.1
“Elimination of 30 Day Processing Timeline” and the subsequent footnote 11. However stating
that the reasoning behind the 30 day deadline is “outdated” and that it is “untenable
notwithstanding its humanitarian goals” simply disregards the original intent of the deadline. The
legislative history is clear in that humanitarian goals are of the utmost importance in EAD
adjudications for asylum seekers. Asylum seekers still face many of the same vulnerabilities
they did in 1995 independent of the number of asylum seekers present and independent of the
backlog. While INS could not have predicted the current immigration system backlogs we see in
2019, their reasoning in the regulatory amendments still holds. 150 days is already too long and
the 30 day deadline on EADs should be used as a safe-guard to ensure that applicants are not
without work authorization for more than 180 days.


        III.   Inefficiencies in USCIS EAD processing practices do not warrant a rule change
               and DHS has failed to fully consider a clear alternative.
        The report does not calculate the cost of hiring additional USCIS workers to speed up
processing times and address the backlog, despite the fact that the cost of this alternative is
presumably available to the organization in its hiring information and historical hiring practices.
The report states that, “Hiring more officers would not immediately and in all cases shorten
adjudication timeframes because (1) additional time would be required to onboard and train new
employees and (2) for certain applications, additional time is needed to fully vet an applicant,
regardless of staffing levels.” To address the first reasoning, once employees are on boarded and
trained, they would be able to adjudicate applications and reduce the number in the backlog. The
report does not provide any information to suggest that the time taken to onboard new employees
would be so great as to not affect the backlog of applications in the long run. To address the
second, the report does not define nor state how many applications fall into the category of
“certain” applications. Even if 50% of the applications require additional time, reducing delays
in the other 50% is still reducing the backlog and expediting the process for half of the
applicants. Adding staff members to the Background Check Unit or the team responsible for
fraud detection would reduce the time needed to process even those applications that are flagged
for additional measures. Additionally, DHS fails to provide any data to demonstrate that
additional time would be required, “regardless of staffing level,” though it makes this assertion in
the rule. DHS’ own data demonstrates that a 30 day processing window, only 3 percent of the
cases required additional vetting, while 42% did not and within the 60 day processing window,
only 10 percent of applications required additional vetting, while 68% did not. The data
demonstrates that the issue of additional vetting is a minority issue and that proper staffing may
be able to resolve these problems as the Rosario class has been able to demonstrate adjudications
of over 90% of cases within 30 days. Therefore, DHS’ reasoning for not engaging in analysis of
hiring more employees is flawed and they have failed to demonstrate a reasonable basis for the

11 11
     TRAC Immigration “Average Time Pending Cases Have Been Waiting in Immigration Courts as of September
2019” (accessed November 11, 2019) available at
https://trac.syr.edu/phptools/immigration/court_backlog/apprep_backlog_avgdays.php




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rule changes, which by their own calculation will be harmful to asylum seekers, their
communities, businesses, the government, and the overall economy.
          Furthermore, DHS fails to sufficiently consider potential alternatives to their proposal of
entirely eliminating any processing time requirements on EADs for asylum seekers. DHS in
analyzing a potential alternative 90 day processing time for asylum EADs states that it did not
propose that alternative because “it would not provide USCIS with the certainty and flexibility it
needs to fulfill its core mission.” DHS does not indicate how the alternative hinders its ability to
fulfill its core mission nor do they indicate what agency mission is being potentially being
fulfilled. Thus they fail to provide a reasonable basis for not considering this alternative more
completely. Once again their own data indicates that they would likely be able to process 92% of
applications within 90 days, without having to divert resources from other functions, thus, it
seems very likely that they could meet this timeframe with a minimal increase of resources, an
analysis that they refuse to engage in. Due to this rule’s disregard of the clear alternative and the
relevant factors associated with it, it violates the Administrative Procedures Act. The agency
failed to consider “an important aspect of the problem” which is staffing levels at USCIS.12 We
strongly urge that alternatives to removing the 30 day processing rule are given the analysis they
deserve and that appropriate analysis of the cost and impact of additional staffing be conducted.
     IV.     The cost-benefit analysis understates costs and does not provide sufficient
             analysis of the benefits.
        It is in the economic interest of the United States to provide work authorization in a
timely manner. Researchers found that during the 10 years between 2005 and 2014, refugees and
asylees here from 1980 onwards contributed $63 billion more to government revenues than they
used in public services.13 Refugees and asylees also engage in entrepreneurial projects and
employment at a much higher rate that US born citizens, creating small businesses and thus jobs
that drive growth in the US economy.14
        The cost estimates USCIS has provided for this proposed regulation are incomplete and
understated. The proposed rule explicitly says that “it does not include additional costs to
businesses for lost profits and opportunity costs or the distributional impacts for those in an
applicant’s support network.” Search costs and opportunity costs to businesses, while difficult to
determine on the macro economic level that would be required by this report, are not
insignificant and should not be treated as such. There is a huge cost to those in the support
network of the asylum seeker which is also ignored. The analysis does not address the financial
burden that would be placed on the families of asylum seekers or community organizations that
would have to support them if adjudication times are delayed. The rule acknowledges that it


13
   Julie Hirschfeld Davis and Somini Sengupta “Trump Administration Rejects Study Showing Positive Impact of
Refugees” The New York Times, (September 18, 2017) available at
https://www.nytimes.com/2017/09/18/us/politics/refugees-revenue-cost-report-trump.html
14
   National Immigration Forum “Immigrants as Economic Contributors: Refugees Are a Fiscal Success Story for
America” (June 14, 2018) available at https://immigrationforum.org/article/immigrants-as-economic-contributors-
refugees-are-a-fiscal-success-story-for-america/




                                                                                                 AR005267
“could decrease disposable income of families” but then subsequently concludes that “the
benefits of the action justify the potential financial impact on the family.” The families of asylum
seekers may not have a disposable income and to make that assumption ignores a key cost.
Furthermore, the description of the benefits does not clearly demonstrate that it will “justify” the
potential impact on families. By DHS’ own estimates the upper bounds of potential costs of the
change to the US economy are upwards of $800 million dollars annually (lost wages and tax
losses), which are the costs prior to considering additional burdens that DHS fails to calculate
(opportunity cost and search cost to employers, strain on asylum seekers’ networks). The cost
estimates that have been provided are likely understated, especially given that DHS is estimating
costs based on adjudication times of FY2017, and as DHS has failed to even calculate many of
the costs, yet the potential benefits of the proposed rule are minimal at best and certainly do not
justify the costs.
        The benefits of the proposed rule are either not calculated, or lacking in analysis and
detail. No quantitative benefits are calculated for a rule that has a quantitative cost of $255.88
million in lost wages and $39.15 million in employment tax loss annually at the low end. These
minimum projected costs do not even include the potential opportunity costs, search costs, and
costs to family and support networks. The qualitative benefits of the proposed rule are: reduced
opportunity costs to the federal government, having more time to address fraud and national
security concerns, providing up to date processing time information to applicants, reduced
adjudication time for other applications, not having to hire additional employees to meet the 30
day deadline required by Rosario, and the “end [of] future litigation over the 30-day adjudication
timeframe.” The reduced opportunity costs to the government are not estimated or described.
The amount of potentially fraudulent applications is not estimated or described, nor is the
additional time it takes the adjudicate those. The monetary benefits of not having to hiring
additional workers is not described or estimated. And as has been discussed above in Part I.,
there is no evidence provided to suggest that removing adjudication standards is going to speed
up the adjudication process. Finally, listing an end of litigation and compliance with Rosario as a
benefit to the proposed rule goes against case law. Motor Vehicle Manufacturers Association v.
State Farm Insurance, states that an agency rule is arbitrary and capricious if the “the agency has
relied on factors which Congress has not intended it to consider.”15 Noncompliance with a
regulation and potential future litigation cannot be the factors that Congress intended USCIS to
consider in the creation of this proposed rule.
        Additionally, the high cost of this rule violates Executive Order 13771 on “Reducing
Regulation and Controlling Regulatory Costs.” The executive order states in Section 3(a) that,
“Beginning with the Regulatory Plans (required under Executive Order 12866 of September 30,
1993, as amended, or any successor order) for fiscal year 2018, and for each fiscal year
thereafter, the head of each agency shall identify, for each regulation that increases incremental
cost, the offsetting regulations described in section 2(c) of this order, and provide the agency’s
best approximation of the total costs or savings associated with each new regulation or repealed
regulation.” The offsetting regulations in this order are to be eliminated to decrease costs and

15
     Motor Vehicle Manufacturers Association v. State Farm Insurance 463 U.S. 29, 42-44 (1983)




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thus offset “any new incremental costs associated with new regulations”. This rule clearly
violates Executive Order 13771 as it has estimated costs between $295 and $893 million dollars
to the US economy (plus additional tax revenue loss and uncalculated costs), with no quantitative
economic benefits estimated. No offsetting regulations were identified nor were subsequent
offsetting costs estimated.16
       Again, because this proposed rule failed to take into account or fully analyze many
relevant factors related to the costs and benefits of removing the 30-day timeframe, it violates the
APA.
     V.     This rule is built around an unfounded assumption of fraudulent activity by
            asylum seekers and national security concerns.
        This report consistently uses “fraud” as a catch all term for processing inefficiencies.
USCIS mentions the need to “allow sufficient time to address national security and fraud
concerns, and to maintain technological advances in document production and identity
verification” while at the same time discussing the anti-fraud measures that are already built into
the EAD adjudication process. These added security measures and technological advances were
implemented over a decade ago and have been a part of the EAD adjudication process well
before the increase in the backlog of applications in recent years. USCIS established the Fraud
Detection and National Security Directorate in 200417 and USCIS has been working on
automation of immigration benefits and digitizing the processes since 2005.18 If there are
inefficiencies in the technology or in fraud detection, removing adjudication standards is not
going to solve those inefficiencies. As discussed above, USCIS has demonstrated that it is able to
adjudicate over 90% of applications in 30 days, while maintaining its document production and
identify verification measures. While we acknowledge that the security related processes for
EAD applications need to remain in place, USCIS needs to address delays in these processes
themselves instead of just removing standards. The majority of EAD applications are not
fraudulent, so therefore proposing a rule change based on a minority of applications does not
truly address the backlog.
        DHS cites the events of September 11, 2001 and the increased vetting procedures and
safety checks that resulted from it, as a cause of their inability to meet the 30-day deadline.
However, none of the individuals involved in the 9/11 attacks were asylum seekers. In fact
nearly all were on tourist or business visas and would not have been entitled to apply for work




16
   Executive Order 13771 “Presidential Executive Order on Reducing Regulation and Controlling Regulatory Costs”
(January 30, 2017) available at https://www.whitehouse.gov/presidential-actions/presidential-executive-order-
reducing-regulation-controlling-regulatory-costs/
17
   Donald K. Hawkins, , “Privacy Impact Assessment for the Fraud Detection and National Security Directorate”,
Department of Homeland Security, (December 16, 2014)
(https://www.dhs.gov/sites/default/files/publications/privacy-pia-uscis-fdns-september2015.pdf
18
   Office of the Inspector General, “USCIS Automation of Immigration Benefits Processing Remains Ineffective”,
(March 9, 2016) https://www.oig.dhs.gov/assets/Mgmt/2016/OIG-16-48-Mar16.pdf




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authorization documents. Utilizing 9/11 as an example of the need for increased vetting of
asylum seekers is a clear attempt to invoke fear while distorting the facts.19
        DHS has provided no evidence that fraud and security concerns are one of the reasons
that adjudication times have not been able to be maintained as these changes have been in effect
for 15 or so years. Fraud and national security seem to be reasons invoked by DHS with no
corresponding data and if in fact the processing time issues are the result of increased receipts, a
simple increase in resources would solve the issue, rather than removing standards entirely.
     VI.    This proposed rule demonstrates continued political bias towards Central
            American asylees.
         Central American immigrants to this country have historically faced political bias and
continue to do so under the current administration. It is estimated that from 1981 to 1990, over a
million Guatemalans and Salvadorans came to the United States fleeing violence in their home
countries. The Reagan administration tended to characterize them as “economic migrants” and
many were pressured into agreeing to “voluntarily return” to their home countries. In 1984,
asylum approval ratings for Guatemalans and Salvadorans were under 3%.20 In 1985 a group of
religious organizations filed a class action lawsuit alleging that US Immigration was engaging in
discriminatory practices. The case, American Baptist Churches v. Thornburgh, which typically
gets referenced as the ABC settlement agreement, ultimately was approved by federal court in
January of 1991. It ordered reconsideration of over 250,000 asylum applications by members of
the class action and also included stipulations regarding adjudication of EAD applications for
members. If EAD applications were not adjudicated within 60 days, class members automatically
were entitled to work authorization.21
       This 30 day deadline removal would disproportionately harm the growing group of
Central American asylum seekers, showing that the political bias continues to the present day.
From FY 2016 to FY 2017 asylum seekers from the Northern Triangle countries of El Salvador,
Guatemala, and Honduras increased by 25% and are still on the rise.22 Additionally, in FY 2018
Guatemala and El Salvador were the 2nd and 3rd largest countries of origin respectively for
received affirmative asylum applications led only by Venezuela.23 The Trump administration has
shown time and time again their hostility towards Central American immigrants through policy
and verbal comments. This administration is responsible for the “third country” asylum ban,
which prohibited immigrants from applying for asylum if they were unable to show they applied

19
   Robert Farley, “9/11 Hijackers and Student Visas”, (November 24, 2015) available at
https://www.factcheck.org/2013/05/911-hijackers-and-student-visas/
20
   Susan Gzesh “Central Americans and Asylum Policy in the Reagan Era” Migration Policy Institute (April 1,
2006) available at https://www.migrationpolicy.org/article/central-americans-and-asylum-policy-reagan-era
21
   Am. Baptist Churches v. Thornburgh, 760 F. Supp. 796, 805 (N.D. Cal. 1991)
22
   Maureen Meyer, Elyssa Pachico, “Fact Sheet: U.S. Immigration and Central American Asylum Seekers”, WOLA
(February 1, 2018) available at https://www.wola.org/analysis/fact-sheet-united-states-immigration-central-
american-asylum-seekers/
23
   Jie Zong, Jeanne Batalova, and Micayla Burrows, “Frequently Requested Statistics on Immigrants and
Immigration in the United States”, Migration Policy Institute, (March 14, 2019) available at
https://www.migrationpolicy.org/article/frequently-requested-statistics-immigrants-and-immigration-united-
states#Refugees




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in every other country they went through en route to the United States. This ban vastly reduces
the number of individuals that will be able to apply for asylum at the US border, and
disproportionately harms Central Americans asylum seekers and refugees who will invariably
have to transmit through a third country to reach the US border.24 Another Trump Administration
policy called the Migrant Protection Protocols also disproportionately harms Central American
immigrants. Individuals who cross into the US over the US-Mexican border without proper
documentation “may be returned to Mexico and wait outside of the U.S. for the duration of their
immigration proceedings, where Mexico will provide them with all appropriate humanitarian
protections for the duration of their stay.”25 Since the program began in January 50,000 asylum
seekers and migrants have been forced to wait in dangerous border towns, many of them
belonging to vulnerable populations such as pregnant women, LGBTQ persons, and those with
serious medical issues. There are already over 340 public reports of rape, kidnapping, torture,
and other violent attacks in these border towns. The majority of those sent to wait in Mexico are
from Cuba, El Salvador, Guatemala, Honduras, Nicaragua, and Venezuela, again showing
further animosity towards this group of migrants.26
         Animus is not a proper basis for a proposed rule or rule change and thus is in violation of
the Administrative Procedures Act. Additionally, racial and country of origin motivated animus
is in violation of the equal protection clause of the Fourteenth Amendment, which further renders
this rule unconstitutional.
     VII.   Conclusion

        This proposed rule that would result in the elimination of the 30-day processing time of
EAD applications for asylum seekers will have wide reaching adverse effects. Our asylum
seeking clients need the ability to work in order to provide for themselves and their families and
any delay in the length of time that they cannot do so is an undue burden. Removing the deadline
goes against the original intention of the rule which was to adjudicate asylum applicant’s EADs
as quickly as possible due to their vulnerability. If the 30-day deadline is removed, there is little
evidence to support that processing times will not be delayed even longer due to the backlog and
the steady increase in processing times for all immigration related applications. The cost-benefit
analysis understates costs, estimates an economic drain on the US economy of over $250 million
dollars minimum on an annual basis, and is in direct violation of Executive Order 13771, the
Administrative Procedures Act, and the Fourteenth Amendment. The clear alternative of hiring
additional workers was not addressed or given sufficient analysis and the assumption of a high
number of fraudulent applications is not supported by data. Therefore this proposed rule appears
to be designed to further political bias against Central American asylum seekers, and asylum
seekers more generally. For all these reasons, we urge DHS not to implement the proposed

24
   Department of Homeland Security, Department of Justice, EOIR, U.S. Citizenship and Immigration Services,
Asylum Eligibility and Procedural Modifications, 84 Fed. Reg. 33829 (July 16, 2019).
25
   Department of Homeland Security “Migrant Protection Protocols” (January 24, 2019) available at
https://www.dhs.gov/news/2019/01/24/migrant-protection-protocols
26
   Human Rights First, “Orders from Above: Massive Human Rights Abuses Under
Trump Administration Return to Mexico Policy”, (October 2019)
https://www.humanrightsfirst.org/sites/default/files/hrfordersfromabove.pdf




                                                                                                AR005271
change to the processing of employment authorization documents for asylum seekers. We further
request that the agency and any other reviewing agency consider the contents of our citations
(including any articles that are linked to in our footnotes) together with our comments.



Sincerely yours,

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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2580
      Comment Submitted by Janessa B



                                                  Submitter Information
      Name: Janessa B


                                                      General Comment
      We need to retain the 30-day deadline for approving asylum seekers' work permits. Donald's proposed
      elimination is simply unethical and uncalled for. Allowing asylum seekers the dignity of work benefits our
      society as well as their lives and eases their assimilation.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2581
      Comment Submitted by Julian Gross



                                                  Submitter Information
      Name: Julian Gross


                                                      General Comment
      Please keep the 30-day deadline -- it's only fair, and it will help our system run smoothly! Don't let everyone get
      stuck in an endless bureaucratic backlog!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2582
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      As an Immigration Attorney, I worked with asylum seekers every day. They are one of the most vulnerable
      groups to enter the United States, They are forced to leave their home countries because their lives are at risk and
      their government is unable or unwilling to protect them. They often come with very little. Having a work permit
      allows them to support themselves and their families during the processing of their asylum applications. This
      processing can take many years due to the backlog in the immigration court that has only been exacerbated by
      this administration's policies of re-calendering previously closed cases and not allowing Immigration Judges to
      manage their own dockets through continuances, administration closure, or termination of cases. Asylum seekers
      would lose wages and benefits as a result of delayed entry into the U.S. labor force, straining their ability to
      support themselves and their families. USCIS admits that lost compensation to asylum applicants ranges from
      $255.88 million to $774.76 million in taxable income per year. The loss of income to asylum-seekers will cause
      an outsized amount of harm to this already-vulnerable community. A lack of income means not being able to
      afford food, housing, medical treatment, health insurance, or legal representation. Furthermore, individuals will
      be unable to secure a valid ID (needed for many social services) and be increasingly vulnerable to exploitation,
      trafficking, and underground economic risks. The lack of ability to work and correlating lack of income also
      vastly increases the risk that people coming to the United States will become a public charge.

      Furthermore, the United States benefits from this group working. USCIS admits that all levels of government
      will lose tax revenue as a result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54
      million per year because delayed work authorization will prevent asylum seekers and their employers from
      contributing to Medicare and social security.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2583
      Comment Submitted by Bridget Ott



                                                  Submitter Information
      Name: Bridget Ott
      Address:
        Phoenix, AZ, 85048
      Email: bridgetott1014@gmail.com


                                                      General Comment
      The employment authorization card is very important. It allows asylum seekers to work and contribute to the
      economy. It serves as a federal ID. There are only positive benefits of the EAD card. Delaying the time it takes
      for an asylum seeker to get this card severely hinders an individuals ability to work, attain self sufficiency, and
      get off of public benefits.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2584
      Comment Submitted by Stacey Simon, IMPRINT



                                                  Submitter Information
      Name: Stacey Simon
      Email: ssimon@wes.org
      Organization: IMPRINT


                                                      General Comment
      See attached file(s)



                                                            Attachments
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2585
      Comment Submitted by Morgan Weibel



                                                  Submitter Information
      Name: Morgan Weibel


                                                      General Comment
      As an attorney who represents survivors of gender-based violence as they seek asylum, I know how critical it is
      that they have access to the employment authorization our nation has promised to them. Without it every day
      further endangers individuals who are sometimes financially dependent on abusers and entraps them in
      dangerous relationships. It is our duty to ensure our government can meet it's own promises to vulnerable
      individuals who are seeking safety here. An essential part of that protection starts with access to legal work and
      we need to ensure that we are providing that to them.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2586
      Comment Submitted by Jordan Cunningham



                                                  Submitter Information
      Name: Jordan Cunningham
      Address:
        140B Hanson Street
        Wellington, Wellington, New Zealand, 6021
      Email: Jordanbrookscunningham@gmail.com


                                                      General Comment
      Asylum seekers need to have efficient access to earn a living and by removing the rule that they must be given
      the work Visa in the 30 day window means the government can continue to draw out the process, putting these
      people in an incredibly challenging position. If USCIS can do these in the 30 day window currently, they must
      continue to do so. I am firmly opposed to this proposed change. Do not allow USCIS to become even less
      efficient at their job.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2587
      Comment Submitted by Michael Karr



                                                  Submitter Information
      Name: Michael Karr


                                                      General Comment
      Keep the 30 day rule for EADs. Asylum seekers needs to work while there cases are being processed




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2588
      Comment Submitted by Youman, Madeo & Fasano, LLP



                                                  Submitter Information
      Name: Anonymous Anonymous
      Organization: Youman, Madeo & Fasano, LLP


                                                      General Comment
      Asylum-seekers leave their homes and flee their countries for a myriad of reasons. Whether it is political
      violence, racially-motivated mistreatment, abuse due to gender or sexual orientation, or some other iteration of
      base human cruelty, these individuals somehow find the strength and courage to uproot themselves and often
      their families as well to escape the unimaginable situations in which they find themselves. To find safety,
      asylum-seekers often must leave behind most of the trappings of the life they had led in their home countries
      belongings abandoned, homes deserted, jobs forgone, assets lost. Yet asylum-seekers who come to the United
      States for refuge do so willingly because they know, or at least believe, that here they will find a reprieve from
      the danger and pain they experienced, and will be enabled to rebuild their lives and support themselves while
      making their claims for asylum. This fundamental desire will not be possible if the Department of Homeland
      Security amends the federal regulations and eliminates the 30-day adjudication rule for asylum applicants work
      authorization applications.

      As an inherently vulnerable class of people, asylum-seekers are put at a substantially higher risk when, having
      come to this country with little more than the clothes on their backs, their ability to legally work here is
      unreasonably and substantially delayed. Without the work authorization to which they are entitled as asylum
      applicants, these individuals who have already suffered greatly are forced to suffer further by losing access to the
      income that provides them stability and security. It is neither logical nor humane to intentionally subject these
      individuals to higher chances of food insecurity, homelessness, and emotional distress when doing so would
      create broader and more sweeping societal repercussions. The entire purpose of providing work authorization to
      asylum applicants was to ensure that they had the means to work and provide for themselves as quickly as
      possible a goal in service of both the countrys economy and the dignity of the asylum applicants themselves. See
      62 FR 10312, 10318. Removing the 30-day adjudication rule flies in the face of the intent of this provision.

      This unnecessary regulatory change would also constitute a self-inflicted wound to our economic output. The
      text of the proposed rule itself concedes that hundreds of millions of dollars worth of economic activity would be
                                                                                                               AR005283
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      interrupted by the implementation of this rule. Moreover, both the federal and state governments would loss
      access to the associated tax revenue. It is wholly irrational to bemoan the finite capacity of the government to
      process work authorization applications and then successively implement a change that will further deprive it of
      the financial resources it requires.

      This issue is not a frivolous diversion of partisanship or politics. Rather, it goes to the core of our fundamental
      understanding of good government and American ideals. It is incumbent upon the federal government to exercise
      the power with which it has been vested in a responsible, productive, and efficient manner and in furtherance of
      the people it serves. Moving forward with the elimination of the 30-day adjudication rule for asylum applicants
      work authorization applications would represent a rejection of this sacred duty.

      Respectfully submitted by Youman, Madeo & Fasano, LLP




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2589
      Comment Submitted by Cindy Schlosser



                                                  Submitter Information
      Name: Cindy Schlosser


                                                      General Comment
      I was born and raised on a farm, where working means survival, and family and community are also central to
      that survival. If one member of the community cannot work because of illness, a farming accident, etc., others
      have their back. This is the way of life in rural America. Our American values of caring for others and supporting
      people's right to support themselves through hard work needs to extend to all people in need, regardless of where
      they were born.

      I have interviewed, worked, and lived with hundreds of asylum seekers from all over the world over the past 10+
      years. Asylum seekers are human. They come to us seeking safety from horrors that many people living in the
      U.S. cannot imagine. All human beings deserve to seek safety. Eliminating the 30-day deadline for adjudicating
      work permits for asylum seekers sends a message that we will not allow their flight from violence to safety. This
      rule is shameful to me, as someone who grew up believing in the need to care for one another, regardless of who
      they are or where they come from.

      What strikes me about rules like this that receive strong support among people who typically express care and
      concern for others, is that the majority of people I have met who are fleeing to us for safety often share their
      same values of hard work, family, and care for others. No - we absolutely should not place further barriers in
      front of people who need safety and way to support themselves and their families into safety. No to eliminating
      the 30-day deadline.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2590
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous
      Address:
        Mendocino, 95460


                                                      General Comment
      I feel that asylum seekers should be able to work and support themselves as soon as possible. We certainly need
      them and they will benefit from having the work.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2591
      Comment Submitted by Sofia Deak



                                                  Submitter Information
      Name: Sofia Deak


                                                      General Comment
      This proposed rule is so detrimental to local businesses here in San Diego. Many large hotels and restaurants rely
      on asylum seekers with an EAD to ensure sufficient operations and staff numbers, and these delays are
      unnecessary and prevent employable adults from contributing to their community. Additionally, having asylum
      seekers unnecessarily waiting around for EAD makes them susceptible to dangerous or predatory or illegal
      employment options. It is unfair and unhealthy for local community members as well as those who are new to an
      area and requesting asylum, and hurts the economy as well as negatively impacts family well-being, including
      for children, to allow these delays to go into effect.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2592
      Comment Submitted by Karen Anderson



                                                  Submitter Information
      Name: Karen Anderson
      Address:
        2208 Muir Woods Pl
        Davis, 95616
      Email: bandk4@hotmail.com
      Phone: 9169473070


                                                      General Comment
      I strongly object to this proposed rule. Asylum seekers already have to wait 180 days before they can even apply
      for work authorization. Then processing and review can take another 30 days. Adding another delay to this
      already lengthy process is arbitrary and inhumane. We should be encouraging asylum seekers to seek work as
      soon as possible.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2593
      Comment Submitted by Diane Simon



                                                  Submitter Information
      Name: Diane Simon
      Address:
        633 Lake Terrace Circle
        Davis, CA, 95616
      Submitter's Representative: John Garamendi
      Government Agency Type: U.S. House of Representatives


                                                      General Comment
      Asylum seekers need to be allowed to work and support themselves as soon after they can apply to work as
      possible!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2594
      Comment Submitted by William Sharma-Crawford



                                                  Submitter Information
      Name: William Sharma-Crawford


                                                      General Comment
      There is no lawful enforcement reason to allow USCIS to delay processing of Asylum EAD's. They are not short
      handed, there is no crisis. This is simply a tactic to make seeking a lawful benefit as unpleasant as possible.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2595
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      These people come to get out of danger and start a new lufe.help them and review their case. Let them live not
      jeopardize their life bc they seek support from USA




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2596
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Asylum seekers need to receive Employment Authorization in a timely manner so that they can support
      themselves, or the United States will no longer be a beacon of freedom and refuge for the oppressed. The door to
      seeking asylum will be closed to all except the rich.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2597
      Comment Submitted by Ellen Fitzsimmons



                                                  Submitter Information
      Name: Ellen Fitzsimmons
      Address:
        3521 Pine Street
        Omaha, NE, 68105
      Email: elkafit@yahoo.com


                                                      General Comment
      I oppose any changes that would delay work permits for individuals lawfully seeking asylum. Constitutional and
      human rights are guaranteed to all people - wealthy or not. Delaying or denying work permits for individuals
      with pending asylum applications would make waiting for asylum adjudication impossible for all but the
      wealthy. Asylum should be available for all those seeking safety and freedom from persecution.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2598
      Comment Submitted by Kelly Morgan



                                                  Submitter Information
      Name: Kelly Morgan
      Address:
        338 Pawtucket Street
        Lowell, MA, 01854
      Email: kcmorgn@gmail.com


                                                      General Comment
      I am submitting this comment in my personal capacity to express my opposition to this proposed rule. I am an
      immigration attorney at a nonprofit legal aid organization in Massachusetts. The majority of my clients are
      women who are raising children on their own and who have survived domestic violence and/or sexual assault.
      Many are applying for asylum based on these forms of persecution.

      My asylum clients come to the United States committed to following the rules in place and obtaining protection
      from persecution through legal means. When I tell them that it will be a long time before they are authorized to
      work, they resign themselves to finding ways of surviving without working. Often this means relying on family,
      friends or community organizations that are already over burdened for shelter and food. The inability to work
      when they first arrive here is an incredible obstacle for all of my clients, yet they wait. Many of my clients do not
      even file their asylum applications until nearly a year after their entry into the United States, given the massive
      backlog in the immigration courts and delay in filing notices to appear. So for many, it is already at least a year
      and a half before they are able to begin contributing their skills and hard work to their new communities. Further
      delay will be incredibly detrimental to asylum seekers like my clients as well as their children.

      One of my clients is a lesbian from a country that criminalizes homosexuality, who was raped and rejected by her
      family when her sexuality became public. She was earning a PhD at the time. When she arrived in the United
      States, she was consumed by anxiety and eager to resolve her case as soon as possible. Knowing that pursuant to
      the USCIS "first in, last out" policy she could be scheduled for an interview immediately after filing, we waited
      months, while we collected extensive documentation of her persecution claim and while she worked with a
      therapist to be able to talk about her trauma. After filing, however, additional months dragged on, and she still
      was not scheduled for an interview, even once she put her name on the "short list." During this time, she
                                                                                                               AR005294
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      expressed feelings of extreme guilt for relying on community organizations for housing and food and being
      unable to give back despite her high level of education and her transferrable professional experiences. Unable to
      work, my client applied to a local university and was accepted into a graduate program, which she was only able
      to attend thanks to financial support from the community, because her EAD had still not arrived. As this client's
      story shows, the wait is already too long.

      Elimination of the current rule that requires EAD adjudication within thirty days would have harmful direct and
      indirect consequences. It will endanger families, overburden public community resources, and eliminate
      opportunities for asylum-seekers to share their skills and experience with their host communities. It will put
      people like my clients in an impossible position of having to choose between their safety and their basic needs.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2599
      Comment Submitted by Elizabeth Samelson



                                                  Submitter Information
      Name: Elizabeth Samelson


                                                      General Comment
      Ive just come back from a mission trip in Malawi providing clean protected water in far reaching villages. Our
      teams were met with generosity and acceptance and gratitude. I cant imagine how the asylum seekers must feel
      to the hostility of the USA. Here we are a nation of plenitude rooted and developed by immigrants. All of us
      come from an ancestory of immigrants. Its unjust to mistreat people that are escaping persecution, abuse, and
      poverty for a chance for a better life in America. They are asking for a chance. Instead they are facing
      exploitation, food insecurity, and inability to support their families because they cant get work permits. I cant
      imagine the fear and desperation they must feel.
      I dont support the change in this regulation. Humanity does not support this regulation.




                                                                                                               AR005296
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                                                                                            Received: November 08, 2019
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                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2600
      Comment Submitted by Brianna Krong



                                                  Submitter Information
      Name: Brianna Krong


                                                      General Comment
      I respectfully submit this comment to the Department of Homeland Securitys Notice of Proposed Rulemaking on
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications, DHS Docket No. USCIS-2018-0001 ("the Rule"), issued September 9, 2019.

      I urge USCIS to maintain the regulatory provision stating that the agency has 30 days from the date an asylum
      applicant files the initial Form I-765 to grant or deny that initial employment authorization application.

      Doing away with the 30 day deadline as proposed in the new Rule will lead to delays for asylum seekers in
      obtaining employment authorization, in violation of the current statutory and regulatory scheme. Under U.S. law,
      asylum seekers have a right to apply for employment authorization as soon as their cases have been pending for
      at least 150 days. The 30 day deadline allows asylum seekers to obtain employment authorization once 180 days
      have passed without a decision, as provided for in the Immigration and Nationality Act and its implementing
      regulations.

      This six month wait already causes immense hardship, as asylum seekers are not eligible for most forms of social
      welfare benefits, meaning that they must be self-reliant, as working is the only way they may support themselves.
      Eliminating the 30 day deadline will put asylum seekers at increased risk of homelessness, hunger, trafficking,
      and coercive employment practices. Delaying asylum seekers' ability to enter the workforce will also deprive our
      communities of the labor contributions that asylum seekers can provide with work authorization.

      USCIS must reject the Rule.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2601
      Comment Submitted by Madelane Suarez, Yolo Interfaith Immigration Network



                                                  Submitter Information
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      Phone: 5305749904
      Organization: Yolo Interfaith Immigration Network
      Government Agency Type: Federal
      Government Agency: DHS


                                                      General Comment
      First and foremost, it is not illegal to seek asylum in the U.S. The current policies about asylum seekers seem to
      treat these unfortunate individuals and their families as if they are criminals or are committing a crime just for
      seeking asylum. These people are FLEEING FOR THEIR LIVES, not on vacation to the U.S. or traveling
      thousands of miles on a whim. I believe they should be allowed to seek employment while awaiting their asylum
      hearings, without further delay. Even the current wait is untenable. Please allow these people to find work as
      soon as possible, so that they can support themselves and their families. I will be very happy when the current
      policies can be rolled back and we can once again be a more humane country.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2602
      Comment Submitted by Yasmin Voglewede



                                                  Submitter Information
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      Phone: 2109079736


                                                      General Comment
      I'm an immigration attorney and I've been in this type of business for over 12 years. 10 of those years were with
      Catholic Charities where I assisted victims of crime, refugees, and asylum applicants. My first case was with a
      young woman who had been stalked and raped by a man with connections to the police and government in her
      home country. When she came here, she was 8 months pregnant, penniless, and homeless. When she finally
      received her work permit, she thrived, and now her child is successful in school, and she is living free of fear.

      Asylum seekers come to this country to escape their persecutors. They come here with only the clothes on their
      back, and by denying them the opportunity to work, you are adding to that persecution. It's not going to keep
      people from coming here to look for safety. People will always come, and it's our responsibility as a nation of
      immigrants to be fair and welcoming, not cruel.

      The courts have already found that delaying a work permit is wrong. If you go through with delaying work
      permits, interested parties will sue, and the government will waste more tax payer money defending a case that
      was already settled.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2603
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      The proposal to eliminate 30 day EAD processing for asylum applicants is prudent for the Government to be
      responsible/verify Identification of foreign aliens, many of who are coming and using fake IDs; or tied to terror
      organizations and/or cells, and for the agency to do its job!

      While Applicants are required to wait 150 days after filing for asylum to apply for work authorization, huge
      backlogs due to our prosperity and job abundance-many are escaping solely for economic reasons and to obtain a
      social security number. are hige backlogs already burdening theIt's during this time, as soon as the I-589
      application is filed, that USCIS begins background checks. The 30 day rule as intended is to prevent fraudulent
      asylum seekers and for the public safety and benefit of our country. The alleged undue hardship to asylum
      seekers is outweighed by clearances and the safety to the American people as a whole. As the agency is already
      overburdened by some 1,000,000 pending applicants it is not feasible to determine in 6 months whether an
      application is fraudulent, or an applicant is a security risk. Once one is deemed wetted only then should we
      bestow privilege of EAD and Social. The 5 month waiting period is a reasonable balance between the agency's
      need to investigate claims and an applicant's human need to seek employment while awaiting a decision on the
      asylum application. Not all countries are technologically advanced, to vet a persons identification, many
      countries don't have proper record keeping protocols. Simply put, people come to our great country for economic
      reasons, and stay indefinitely after being ordered removed. EAD / Social is a privilege NOT a right!

      As the strongest economic superpower of the world it behooves us to 1st and far most insure the safety of our
      fellow American citizens, LPRs, foreign students, and the like. People are entering USA not because they have
      valid threats of past pr future persecution, but because of the money they can make here. Only perhaps 10% of
      asylums are approved for a reason by CIS and/or Immigration Court. Times have changed. After 9/11 the world
      is NOT the same. What worked 10 or 15 years ago cannot work in todays world of affairs.



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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2604
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I oppose removal of the 30 day process provision for asylum-seekers. Asylum seekers are people in need of
      urgent care and they dont need further roadblocks to create a better life for their families. Historically the
      American way is to open the doors forasylum-seekers and to allow them to go through a process that is fair.
      Please dont remove this 30 day process.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2605
      Comment Submitted by Harper Jean Tobin, National Center for Transgender Equality



                                                  Submitter Information
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      Address:
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        Washington, DC, 20036
      Submitter's Representative: Harper Jean Tobin
      Organization: National Center for Transgender Equality


                                                      General Comment
      See attached file.



                                                            Attachments
      USCIS EAD deadline comment 11 8 19




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Samantha Deshommes, Chief
Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services
Department of Homeland Security
20 Massachusetts Avenue NW
Mailstop #2140
Washington, D.C. 20529-2140

November 8, 2019

Re: Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765
Employment Authorization Applications; Proposed Rule (DHS Docket No. USCIS-2018-
0001)


The National Center for Transgender Equality (NCTE) submits the following comments in
opposition to the Department’s Proposed Rule, which would remove the 30-day processing
timeline for asylum-seekers’ applications for employment authorization (EAD).

Founded 2003, NCTE works to improve the lives of the nearly two million transgender people in
the United States and their families through sound public policy, public education, and
groundbreaking research. NCTE has worked with countless employers as well as local, state, and
federal agencies on equal employment opportunity (EEO) and other policies and enforcement
efforts. In 2015, NCTE conducted the U.S. Transgender Survey, the largest survey to date of
transgender people with nearly 28,000 respondents from all 50 states.

A very large number of transgender immigrants are asylum-seekers, fleeing often life-threatening
violence in countries around the world. NCTE regularly hears from asylum-seekers and
immigration attorneys who are struggling to meet their basic needs without work authorization
during the long pendency of their legal immigration claims. NCTE is not a social service
organization but we frequently hear from these individuals because they are not sure where to
turn, especially given the social stigma that still faces transgender people. NCTE tries to connect
individuals and their counsel whenever possible with information and resources concerning
social and legal services in their areas. We also regularly communicate with service providers
and attorneys looking for advice in serving asylum-seekers. Adherence to the 30-day timeline
long established by regulation helps address these needs, and would be exacerbated by its repeal.




                                                                                    AR005303
USCIS has failed to follow settled rulemaking requirements

Supreme Court precedents make clear that an agency must “pay[] attention to the advantages and
the disadvantages” 1 of adopting a regulation, and that an agency action may be arbitrary and
capricious if it “failed to consider an important aspect of the problem.2 Executive Orders 12866
and 13563 permit agencies to propose a rule only after conducting an accurate assessment of costs
and benefits, and after reaching a reasoned determination that the benefits outweigh the costs and
that the regulations are tailored “to impose the least burden on society.”3 Executive Order 12866
requires agencies to “assess all costs and benefits” and “should select those approaches that
maximize net benefits.” 4 Even those costs or benefits that are “difficult to quantify” are
“nevertheless essential to consider.”5

In addition, under the Administrative Procedure Act and binding Supreme Court precedent, when
an agency seeks to change regulations in a manner that departs from prior policy, the agency must
provide a “reasoned analysis for the change.” 6 Since the Department previously chose to
implement section 208(d)(2) of the INA through rulemaking, a reasoned analysis is required when
amending or repealing such regulation. An agency change in regulation should not be based on
solely a policy disagreement. Agencies have ample latitude to change existing policies; however,
when agencies change course, the presumption is “against changes in current policy that are not
justified by the rulemaking record.”7

As Justice Kennedy wrote in FCC v. Fox Television Stations, Inc.:

        Where there is a policy change the record may be much more developed because
        the agency based its prior policy on factual findings. In that instance, an agency’s
        decision to change course may be arbitrary and capricious if the agency ignores or
        countermands its earlier factual findings without reasoned explanation for doing
        so. An agency cannot simply disregard contrary or inconvenient factual
        determinations that it made in the past, any more than it can ignore inconvenient
        facts when it writes on a blank slate.8

This is particularly true with respect to section 208(d)(2) of the INA, where the existing rule was
the product of not one but two public comment periods drawing a large number of comments
from a variety of stakeholders. Thus, USCIS’s proposal to rescind the 1994 rule requires a
reasoned explanation for the change in the agency’s position, acknowledging the agency’s settled
course of action, its previous findings of fact and legal reasoning, and any reliance interests.

USCIS failed to consider important economic and non-economic costs

1
  Michigan v. EPA, 135 S.Ct. 2699, 2707 (2015) (emphasis in original).
2
  State Farm, 463 U.S. at 43.
3
  Exec. Order 13563 § 1(b)(2), 76 Fed. Reg. 3821 (Jan. 21, 2011); Exec. Order 12866 § 1(b)(11), 58 Fed. Reg. 51735
(Oct. 4, 1993).
4
  Exec. Order 12866, Regulatory Planning and Review (Sept. 30, 1993) (emphasis added).
5
  Exec. Order 12866 § 1(a) (1993).
6
  Motor Vehicles Mfrs. Ass’n v. State Farm Ins., 463 U.S. 29, 30 (1983).
7
  Id. at 42 (emphasis in original).
8
  556 U.S. at 537 (Kennedy, J., concurring in part and in judgment).




                                                                                                 AR005304
USCIS improperly fails to estimate or otherwise consider numerous potential economic and
noneconomic costs to this rule, including:

   x   Costs to businesses that currently employ asylum-seekers;
   x   Costs to small businesses patronize by asylum-seekers who would lose earned income;
   x   Economic and non-economic costs to asylum-seekers’ families, including financial
       hardships and potential impacts on housing and food security, nutrition, physical and
       mental health, and family relationships;
   x   Costs to organizations that must provide services to asylum-seekers who are eligible for
       EAD but have not received it;
   x   Costs to local, state, and federal governments in the form of lost tax revenue;
   x   Costs to the integrity of the asylum system, because eligible individuals are unable to obtain
       documents and assistance necessary for a fair adjudication of their asylum claims due to
       delays in obtaining lawful employment; and,
   x   Costs to fairness and consistency for individuals, families, and employers.

USCIS discounts some costs of the Proposed Rule as simply involving “transfers” from some
workers to others, but this is not true. USCIS considers only who will receive wages from a given
position, but other costs are involved. Workers with legal authorization who do not get a job can
apply for another job. Workers who are eligible for EAD but do not receive it due to long delays
cannot work at all, any can suffer profound economic and non-economic costs over and above lost
wages as financial and personal problems caused by unemployment accumulate. These hardships
can affect every aspect of a worker’s life and that of their family, and can cause them to require
assistance from charities and state and local government agencies which they otherwise would not
require.

USCIS failed to adequately explain its rejection of the 1994 rule

USCIS claims that the 30-day rule in place for 25 years is no longer practicable based on
changed circumstances. The department points to various facts that have changed in 25 years, but
fails to explain how they render adherence to the 30-day timeline, or any other timeline,
impossible. USCIS certainly does not establish that current circumstances make adherence to this
timeline dramatically more unreasonable that it was at any time in the past quarter century,
during which national security needs, migration flows, and agency resources have gone through
countless changes.

Moreover, the agency’s claim is counterfactual. USCIS claims that it is “unable” to meet any
timeline, let alone the 30-day timeline, but it has in fact met the 30-day deadline in virtually all
recent cases.

USCIS failed to explain its rejection of regulatory alternatives

It is also arbitrary and capricious for DHS to propose eliminating the well-grounded 30-day
timeline without proposing any alternative, reasonable timeline. The Administrative Procedure
Act and Executive Order 12866 require agencies to consider regulatory alternatives. “When




                                                                                        AR005305
considering revoking a rule, an agency must consider alternatives in lieu of a complete repeal.”9
USCIS states that it rejected both the alternatives of leaving the current 30-day rule in place, and
of a longer 90-day rule, because it is “unable to plan its workload and staffing needs with the
level of certainty that a binding timeframe may require.”10 Yet the “binding timeframe” has been
in place for 25 years, and to the extent that USCIS points to changed circumstances that could
conceivably justify a longer timeframe, it does not explain why these circumstances make any
timeframe impossible. USCIS already has tools at its disposal to exercise flexibility when
needed, such as the ability to toll the 30-day deadline while it collects additional information on
an application.

Similarly, USCIS claims that cannot adhere to any timeframe because it “has no way of
predicting what national security and fraud concerns may be or what procedures would be
necessary in the future.”11 It is a tautology that the agency cannot predict the future, but this is
not an argument against this rule any more than it is an argument against all rules. The future has
been unpredictable since at least 1994, and USCIS has not explained how its inability to predict
the future of human history is fundamentally different today than it was 25 years ago. Here too,
the agency has failed to provide a “reasoned analysis for the change.”

USCIS should withdraw the Proposed Rule

Because the 1994 rule has proven workable and beneficial, and because the agency has failed to
consider important costs of repeal or regulatory alternatives or otherwise adequately explain its
reversal, USCIS should withdraw the Proposed Rule and continue to implement the longstanding
30-day timeline.




9
  Becerra v. U.S. Dept. of the Interior, 381 F.Supp.3d 1151, 1169 (N.D. Cal. 2019). See also Public Citizen v. Steed,
733 F.2d 93, 103–05 (D.C.Cir.1984) (NHTSA suspension of tire-grading regulation was arbitrary and capricious
because agency failed to pursue available alternatives); ILGWU v. Donovan, 722 F.2d at 815–18 (failure to consider
less far-reaching choices than complete rescission of homework restrictions was arbitrary and capricious); Office of
Commc’n of United Church of Christ v. FCC, 707 F.2d 1413, 1440 (D.C. Cir. 1983) (FCC’s failure to give sufficient
consideration to modification, rather than elimination of programming log requirements was arbitrary and capricious);
Action on Smoking & Health v. CAB, 699 F.2d 1209 (D.C. Cir. 1983), opinion supplemented by 713 F.2d 795 (D.C.
Cir. 1983) (CAB’s failure to consider alternatives to rescission of certain restrictions on smoking in airplanes mandated
remand).
10
   84 F.R. 47167.
11
   Id.




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                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2606
      Comment Submitted by Milagros Cruz



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      Phone: 8607600422
      Fax: 8607606283


                                                      General Comment
      Please do not eliminate the 30 day processing provision for I-765 first time asylum seekers. On the one hand, we
      want anyone in the country who is working to work with authorization and to legitimately pay their taxes, On the
      other hand, the adding on of obstacles to achieve what we as US Citizens want (obstacles meaning eliminating
      processing deadlines and granting work authorizations) is not the American way. As a citizen I too want all
      people who work in the USA to Work legally, support yourself and your family. The Botton line is if someone is
      legally entitled to pursue protection from the United States Government--My government..then I want them to
      have legal work authorization as soon as possible so they can start contributing to the the United States
      Government --my government. The faster the asylum seeker is authorized the work the faster the eliminations of
      underground financial networks that most likely sprouted out of necessity to pay for basic sustenance.

      Lets make it easier for people to work and pay there taxes and make it all happen a lot faster. It is
      counterintuitive to slow this process down. Mostly, as a United States Citizen, I'd rather see immigrants getting
      acculturated to paying for services in the United States faster. The faster the better!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2607
      Comment Submitted by Charles Walker



                                                  Submitter Information
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      Email: cfwalker@ucdavis.edu
      Phone: 5302047563


                                                      General Comment
      Asylum seekers should be allowed to work as soon as possible. It's inhumane not to allow this.




                                                                                                               AR005308
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2608
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      This proposed regulation is harmful to everyone in the United States, regardless of status. There will be a
      significant loss in tax revenue if people are unable to legally work in the United States. Some may choose not to
      work or people may choose not to hire them. Further, while some people may not choose to work without a work
      permit or not hire someone without a work permit, some will work for employers who are willing to hire and,
      possibly, exploit asylum seekers. Government resources would have to expended to police and punish unfair
      working conditions.

      Individuals need to be able to work and support their family during the years it take to adjudicate an asylum case.
      If the applications don't have to be adjudicated in 30 days, it could it take six months to adjudicate them.
      Someone could not be able to work at all for over a year.

      This proposal is a backdoor attempt at discouraging asylum seekers from coming to the United States. Rather
      than the United States fix its asylum system, they are trying to demoralize and discourage asylum seekers. As
      demoralizing and discouraging as this may be, many of these people fear for their lives and will still apply for
      asylum.




                                                                                                               AR005309
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7c-d9ii
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2609
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Hello,
      I am against the removal of the 30-Day Processing provision for asylum applicants. Our immigration process is
      already slow and bogged down. Let's keep things moving and allow asylum seekers to work. Immigrants provide
      an economic boost to our economy and do a lot of necessary work.
      Thank you!




                                                                                                               AR005310
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7c-i93f
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2610
      Comment Submitted by Jane McKendry



                                                  Submitter Information
      Name: Jane McKendry
      Address:
        2240 Muir Woods Place
        Davis, 95616


                                                      General Comment
      Asylum seekers want to be productive residents, and we need their work. They should be allowed to work as
      soon as possible.




                                                                                                               AR005311
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2611
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      A timely issued (within 30 days) Employment Authorization Document (EAD) is essential to enabling asylees to
      support themselves and their families (thus not becoming a public charge), to integrate into the community (be
      engaging in gainful employment and meeting community members through employment), to contribute and give
      to the community that welcomes them. Asylum seekers greatly contribute to the United States when given the
      opportunity. I urge USCIS to reject this rule change and continue to process EADs for asylum applicants within
      30 days.




                                                                                                               AR005312
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2612
      Comment Submitted by Margaret Loeffelholz



                                                  Submitter Information
      Name: Margaret Loeffelholz
      Address: United States,
      Email: maggiecl@bu.edu
      Phone: 781-474-3505


                                                      General Comment
      Please see attached file.



                                                            Attachments
      Margaret Loeffelholz Comment DHS Docket No. USCIS-2018-0001




                                                                                                               AR005313
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2612.html[9/15/2020 4:15:18 PM]
Submitted online via www.regulations.gov

Department of Homeland Security
U.S. Citizenship and Immigration Services
Office of Policy and Strategy
Chief, Regulatory Coordination Division
20 Massachusetts Avenue, NW
Washington, D.C. 20529-2140

November 8, 2019

RE:        Removal of 30-Day Processing Provision for Asylum Applicant-Related Form I-765
           Employment Authorization Applications
           Docket Numbers: CIS No. 2617-18; DHS Docket No. USCIS-2018-0001

Dear Sir or Madam:

I am writing this comment in opposition to the proposed rule, “Removal of 30-Day Processing
Provision for Asylum Applicant-Related Form I-765 Employment Authorization Applications,”
DHS Docket No. USCIS-2018-0001.

As a student at Boston University School of Law, and in my prior work in education, I have
worked closely with individuals seeking asylum in the United States. For each of these
noncitizens, the ability to work while awaiting adjudication of their asylum claim enabled them
to provide basic necessities such as food and housing to their families, to pay for immigration
counsel, or even to afford to continue their education after graduating high school. To delay their
receipt of an Employment Authorization Document (“EAD”) would impose an unnecessary
burden not only on these individuals entitled to stay in the United States, but on their families
and communities who benefit from their participation in the workforce.

One of my former students, Francine,1 arrived in the United States as an 18-year old, fleeing
brutal violence in Burundi. After receiving housing support from a local church, she enrolled in
high school. Francine excelled. Her knowledge of English enabled her to participate in honors
classes, and she immediately became a leader within the school. One year after arriving in the
U.S., she submitted an asylum application. Around this time, Francine’s peers and guidance
counselors began discussing college options. Francine dreamed of attending college, but she was
met with harsh news: her immigration status made her ineligible for federal or state financial aid.
The only way she could afford tuition was to pay out of her own pocket. Thankfully, she
received her EAD the summer after graduating high school. She had just enough time to save
money for two classes at a community college, making her eligible for a local scholarship
providing funding for two more courses. Years would pass before Francine’s asylum was

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1
    Name changed to protect the privacy of this individual.


                                                                                                  1
                                                                                     AR005314
approved. Each semester, she worked hard to afford tuition on top of food and rent. However,
because she had access to work authorization, Francine was able to graduate three years later.

Unpredictable and lengthy delays in EAD processing times, such as those sanctioned under this
rule change, would have destroyed Francine’s path to college. And Francine’s story is not
unique. The delay of an EAD by even two or three more weeks can be a devastating setback,
particularly for young adults who are supporting themselves.
In my time at Boston University School of Law, I have worked with many asylum seekers
through my pro bono, clinical, and internship experiences. Each of these noncitizens has been
incredibly eager to work and to contribute to their families. Work has other benefits as well. The
workplace is where many asylum seekers learn English and successfully integrate into
communities across the United States. Working also provides a way to pay for immigration
counsel attorney, which is particularly crucial in regions where pro bono representation is scarce.
When noncitizens are banned from working, it strains the communities where they live. Cities
and states suffer from lost tax revenue and a shortage of workers. Furthermore, asylum seekers
unable to work to pay for housing and food are left to rely on the kindness of neighbors,
community organizations, and municipal funds. Many, including families, become homeless.
The simple solution to this cost is to promptly adjudicate applications for EADs for asylum
seekers, who are entitled by statute to work in the United States 180 days after applying for
asylum. This rule moves in the opposition direction.

Further delays in processing work permits are both unjustifiably detrimental to the livelihood of
asylum seekers in the United States, and unnecessary. There is a simpler, mutually beneficial
solution. Through the same notice and comment procedure, USCIS could propose to permit
asylum applicants to file a Form I-765, Application for Employment Authorization, concurrently
with their Form I-589, Application for Asylum and Withholding of Removal, or at an earlier
point in the asylum clock. By moving up the timeline for Form I-765 submissions, USCIS would
have sufficient time to receive, screen, and process applications and conduct the necessary
security-related processes undertaken for each EAD application.

As USCIS itself acknowledges, this rule change would impose an incredible cost upon asylum
seekers and the communities where they live. I strongly oppose this rule. It should be withdrawn,
or revised to maintain the 30-day processing time restriction and allow for earlier Form I-765
submissions.

Sincerely,


Margaret Loeffelholz
J.D. Candidate, Boston University School of Law
765 Commonwealth Avenue
Boston, MA 02215


                                                                                                  2
                                                                                     AR005315
                                                                                            As of: September 15, 2020
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2613
      Comment Submitted by Joanna Gaughan



                                                  Submitter Information
      Name: Joanna Gaughan


                                                      General Comment
      What is the point in making it take longer for people to get work authorization? Then either they have to work
      without authorization, or if they don't work, people will complain that they are not contributing, are freeloaders,
      etc.




                                                                                                               AR005316
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2614
      Comment Submitted by Elizabeth Letcher



                                                  Submitter Information
      Name: Elizabeth Letcher
      Address:
        check state bar address 172986
        CA, 94110
      Email: esl@elizabethletcher.com


                                                      General Comment
      Do not leave people in limbo. Process their applications in a timely fashion and keep the 30 day processing
      provision. Don't pay attention to the vapid bot-driven comments.




                                                                                                               AR005317
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2615
      Comment Submitted by Linda Sternberg



                                                  Submitter Information
      Name: Linda Sternberg
      Address:
        Davis, CA, 95616


                                                      General Comment
      Asylum seekers should be allowed to work as soon as possible.
      Not to allow asylum seekers to seek work as soon as possible is irrational, mean-spirited and illogical. We want
      asylum seekers to support themselves while they await a decision.




                                                                                                               AR005318
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2616
      Comment Submitted by Ella Rawls, Arizona Justice For Our Neighbors



                                                  Submitter Information
      Name: Ella Rawls
      Address:
        PO Box 11181
        Tucson, AZ, 85734
      Email: ella@azjfon.org


                                                      General Comment
      My name is Ella Rawls and I am the staff attorney at Arizona Justice For Our Neighbors, a non-profit legal
      services organization located in Tucson, Arizona. We offer immigration assistance to immigrants including
      asylum seekers needing assistance with employment authorization documents.

      If this proposed rule is put into effect, it will harm asylum seekers - those individuals who are trying to seek
      safety within the United States. This rule would create a decrease in taxable revenue to state government as well
      as the federal government. The increased delay to adjudication of the employment authorization applications
      means a greater national security risk, as it indicates a delay in the vetting of individuals already present within in
      the United States. Lastly, if what USCIS needs is merely more time to process the applications, why not allow
      for the applications to be submitted earlier, thus allowing additional time for adjudication?

      Harm to Asylum Seekers:
      These individuals show bravery, resilience and courage to stay alive and reach a place of safety - the United
      States. Even in the face of the terrible threats and harm they have faced in their home countries, they have a
      desire to contribute to the United States by paying taxes, and supporting the U.S. economy. By allowing this
      regulation to go forward, you deprive each asylum seeker from the potential for self-sufficiency. They do not
      WANT to become a public charge, but by removing the swift adjudication of the employment authorization
      application, they are unable to gain an income. This delay means they are FORCED to rely on the kindness of
      others and will be increasingly vulnerable to exploitation, trafficking, and underground economic risks. A lack of
      income means not being able to afford food, housing, medical treatment, health insurance, or legal
      representation.

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      Lost Tax Revenue for the Government:
      USCIS admits that all levels of government will lose tax revenue as a result of the proposed rule change. USCIS
      projects a loss of $39.15 million to $118.54 million per year because delayed work authorization will prevent
      asylum seekers and their employers from contributing to Medicare and social security. These losses in taxable
      revenue makes an impact on each state because it delays each asylum seeker's ability to obtain a social security
      card, then to obtain gainful employment, which means less taxable revenue for EVERY state.The asylum seekers
      I have met and worked with want to contribute back to the United States- the place that is granting them safety
      from their persecutors.

      Increased Delay Contrary to National Security Interests.
      In the notice, USCIS makes frequent reference to a rise in national security threats as a reason to spend more
      time and resources on each decision. However, USCIS has reported that it has been able to decide over 99% of
      EADs within the 30-day time-frame for over the past year. Therefore, USCIS has proven its ability to adequately
      vet the amount of requests in a timely fashion. Moreover, its argument regarding increased threats serves only to
      prompt the need for a speedier process to properly protect national security, rather than its request to delay the
      process further. This need for a speedier process is further compounded by the fact that the EAD applicants are
      asylum-seekers already residing in the United States. If vetting must be done to prevent security risks, then
      having unvetted people in the U.S. subjected to a potentially indefinite review period seems contrary to the
      departments stated interests.

      Proposed Alternative:
      As the law is currently written, asylum seekers must wait 180 days before they may be granted authorization to
      work. They are permitted to submit their application after 150 days, giving USCIS the 30-day timeframe in
      question to process the requests. If USCISs goal is to have more time to process each request in order to increase
      flexibility and free up resources to work on other applications, then it could easily shorten the waiting time
      before asylum-seekers are allowed to submit their application. If USCIS feels that a 60-day timeframe would be
      more beneficial, then it may allow applications to be submitted after 120 days, rather than 150. Allowing asylum-
      seekers to submit their applications earlier could allow the department to have up to 180 days to process and
      properly vet each individual while reducing the risk of harm to each applicant.

      Please consider who this rule will impact. Each asylum seeker I have worked with has a deep fear of returning to
      their home country because they face certain death if they return to their homeland. No one wants to leave the
      comfort and familiarity of their homeland for the unknown and uncertainty that seeking asylum/shelter/safety in
      a different country. This is a last resort in order to remain alive.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2617
      Comment Submitted by RD David



                                                  Submitter Information
      Name: RD David
      Address:
        2210 Muir Woods pl
        Davis, CA, 95616
      Email: Rf52rd@sbcglobal.net
      Phone: 530 758 8804


                                                      General Comment
      Asylum seekers should be able to work asap thank you




                                                                                                               AR005321
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2618
      Comment Submitted by Jordan Cunnings, Innovation Law Lab



                                                  Submitter Information
      Name: Jordan Cunnings
      Address:
        PO Box 8382
        5th Floor
        Portland, OR, 97207
      Email: jordan@innovationlawlab.org
      Phone: 9712772857


                                                      General Comment
      Please see the attached comment from Innovation Law Lab.



                                                            Attachments
      USCIS-2018-0001 Innovation Law Lab Comment




                                                                                                               AR005322
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2618.html[9/15/2020 4:15:19 PM]
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2619
      Comment Submitted by Mary O'Neill



                                                  Submitter Information
      Name: Mary O'Neill
      Address:
        6400 Gilmet Drive
        Presque Isle, MI, 49777
      Email: moneill16@excite.com
      Phone: 9895952448


                                                      General Comment
      There is no need for this change. We have the money to process these people fast and efficiently. This is just
      another Trump being Mean to Others! This is sick and Un-American period!




                                                                                                               AR005329
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2620
      Comment Submitted by Siobhan Waldron, Immigrant Legal Defense



                                                  Submitter Information
      Name: Siobhan Waldron
      Address:
        1322 Webster Street, Suite 300
        Oakland, CA, 94612
      Email: siobhan@immigrantlegaldefense.org
      Phone: 5104790972
      Fax: 5108903103


                                                      General Comment
      My name is Siobhan Waldron and I am a Managing Attorney and co-founder of Immigrant Legal Defense, a
      non-profit organization based in Oakland, California that specializes in removal defense. I am writing to oppose
      the proposed regulation to eliminate the 30-day adjudication period for initial EADs for asylum seekers. Timely
      and efficient adjudication of EADs for asylum seekers help ensure that non-citizens have an ability to obtain
      gainful employment and a means to safely, consistently, and confidently support themselves and their
      communities.




                                                                                                               AR005330
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2621
      Comment Submitted by Paul Hurst



                                                  Submitter Information
      Name: Paul Hurst


                                                      General Comment
      I'm writing to urge you to support President Trump's immigration reforms. I understand there is a comment
      period ending today.

      We need this for our nation's safety.




                                                                                                               AR005331
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2621.html[9/15/2020 4:15:19 PM]
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2622
      Comment Submitted by Todd Mildon, Central Washington Justice for Our Neighbors



                                                  Submitter Information
      Name: Todd Mildon
      Address:
        Central Washington Justice for Our Neighbors
        210 N Ruby St Suite 5
        Ellensburg, WA, 98926
      Email: todd@cwjfon.org
      Phone: (509) 899-9038


                                                      General Comment
      My name is Todd Mildon. I am the board president at Central Washington Justice for Our Neighbors
      (CWJFON).

      CWJFON welcomes immigrants by providing free, expert immigration legal services to low-income immigrants,
      refugees and asylum seekers. We also engage in advocacy for immigrant justice and offer education to
      communities of faith and to the public.

      Therefore, my CWJFON colleagues and I have extensive, first-hand experience with asylum seekers. We know
      the negative impact this proposed rule will have on the people we serve every day.

      Our asylum-seeking clients have very limited financial resources. Just like most of our low-income neighbors -
      both citizens and non-citizens - if they cannot work, they cannot survive.

      Any delay in permitting our clients to work will cause harm. Even a few days of delay means a few days without
      income. Anyone who has lived without savings and without income knows what this means: Hunger,
      homelessness, no access to doctors, fear, anxiety, and eventually hopelessness.

      The proposed rule is likely to cause long or indefinite delay. It will therefore cause extreme harm.

      Why would we cause this harm to our asylum-seeking sisters and brothers? Why would we cause this harm to
                                                                                                               AR005332
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      anyone? To do so is moral failure. It is a failure of our basic human responsibility to love others as we love
      ourselves. American can do better. American must do better.

      To prevent this suffering of asylum seekers and their families, all we need to do is reject this proposed rule.
      Reject the rule and keep processing claims for work authorization within 30 days. Our government is already
      doing this. Why stop? Why cause needless suffering?

      I urge our government to live up to its duty to our sisters and brothers. I urge our government to reject this
      proposed rule.

      Thank you,

      Todd Mildon
      Central Washington Justice for Our Neighbors
      Ellensburg, Washington




                                                                                                               AR005333
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                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7d-gsnh
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2623
      Comment Submitted by Daniel Costa, Economic Policy Institute



                                                  Submitter Information
      Name: Daniel Costa
      Email: dcosta@epi.org
      Organization: Economic Policy Institute


                                                      General Comment
      See attached file(s)



                                                            Attachments
      EPI_EAD_asylum_30-day_NPRM_2019_final




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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2624
      Comment Submitted by Amy Lee



                                                  Submitter Information
      Name: Amy Lee


                                                      General Comment
      This proposal is based on the false premise that asylum seekers are coming to the U.S. to work or as the Trump
      Administration would like people to believe, to take away jobs from citizens and to commit crimes. I work as a
      nonprofit immigration lawyer and my asylum clients are coming to the US to flee violence and persecution in
      their home country, not simply to work and certainly not to come crimes. In fact, many of these asylum seekers
      are children, but their parents need these work permits to survive in the U.S. While asylum seekers are waiting
      for their cases to be adjudicated, they need to be able to support themselves and their families. They have to pay
      for housing, food and basic necessities, just like the rest of us. Government assistance isn't available for these
      folks. Delaying the processing of work permits will make these asylum seekers more likely to be exploited in the
      underground economy, like human trafficking. This proposal will increase the likelihood of homelessness.
      Asylum seekers already have to wait 150 days to even apply for work permits. If USCIS is concern about the
      backlog and time it takes to process work permits, then they should allow asylum seekers to apply for work
      permits before 150 days, instead of making applicants wait to apply and then wait longer to receive their work
      permits.

      Asylum seekers with work permits work and contribute to the growth of our economy. They work in jobs that the
      majority of citizens do not want. They grow and pick our produce. They cook and serve our food. They watch
      our children. They clean our offices and homes. They are our neighbors and friends. They deserve to be treated
      with dignity. Let's stop issuing policies like these that are mean spirited and based on fear.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2625
      Comment Submitted by Gail Brandt



                                                  Submitter Information
      Name: Gail Brandt
      Address:
        4780 190th Street N
        Forest Lake, MN, 55025
      Email: Gbrandt4780@gmail.com
      Phone: 612-749-5131


                                                      General Comment
      Removing the deadline allows the agency to selectively deny an applicant by simply failing to take action. It a
      likely to lead to inconsistent decisions. If a longer timeline than 30 days is needed to process applications due to
      volume or verification, the administration should propose an appropriate timeline rather than eliminate it.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2626
      Comment Submitted by Annie McDermott



                                                  Submitter Information
      Name: Annie McDermott


                                                      General Comment
      My name is Annie and I am a law student who works with asylum seekers. My clients are good, resilient, and
      hard-working people who love the United States. They believe in the American Dream and want to contribute
      economically. So why increase barriers to strengthening our work-force?

      This proposed rule will hurt the United States economy. USCIS admits that all levels of government will lose tax
      revenue as a result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per
      year because delayed work authorization will prevent asylum seekers and their employers from contributing to
      Medicare and social security.

      I see many comments here about "illegals" when this proposed rule will undoubtedly lead to an increase in
      "illegal" work. Let us remember that these asylum seekers are trying not to work illegally as they are applying
      for work authorization. So why force unauthorized work or lost wages? Is that really what the American people,
      USCIS, and our government wants to encourage? Asylum seekers should be able to legally work and contribute
      economically to the United States with few roadblocks.




                                                                                                               AR005343
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2627
      Comment Submitted by Anna Winter



                                                  Submitter Information
      Name: Anna Winter


                                                      General Comment
      We are a sovereign nation an as American citizens we have the right to that. We also have the right to be
      protected by regulated immigration policies that do not allow for illegal immigrants to have the freedom of
      access to our country nor to the benefits that we as Americans are entitled to. Illegal immigrants are precisely
      that, they are illegal and criminal laws should apply to them. There should be appropriate time each each
      immigrant to be properly vetted before receiving entry to our country. Instead of trying to abolish our borders an
      our sovereignty, strengthen them.

      Thank You




                                                                                                               AR005344
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2628
      Comment Submitted by Sarah Wernsing



                                                  Submitter Information
      Name: Sarah Wernsing


                                                      General Comment
      It makes no sense to prevent asylum seekers from working while they wait for their cases to be decided and their
      claims to be processed!! This would just ensure that they are dependent on charity, relatives, or community
      handouts. It is much more financially beneficial to our whole economy if they can support themselves and their
      families while they wait. Also, under both U.S. and international law, seeking asylum is legal. This kind of rule
      change penalizes people for exercising their legal right to seek asylum.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2629
      Comment Submitted by Abigail Taylor



                                                  Submitter Information
      Name: Abigail Taylor


                                                      General Comment
      This new regulation will further delay work permit applications for asylum seekers, leaving many of the most
      vulnerable among us to be forced to work under the table for less money than they are worth. I heartily disagree
      with this new regulation and oppose this change.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2630
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      This is an immoral and unethical regulation.




                                                                                                               AR005347
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2631
      Comment Submitted by Johanna Torres



                                                  Submitter Information
      Name: Johanna Torres


                                                      General Comment
      They are going to work anyways. Allow them to work in a way that can effectively pay into our dying social
      security system and the IRS.




                                                                                                               AR005348
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2632
      Comment Submitted by Justin Talbott



                                                  Submitter Information
      Name: Justin Talbott
      Address:
        3370 23rd St
        San Francisco, CA, 94110
      Email: justin96talbott@gmail.com
      Phone: 4153781364


                                                      General Comment
      I am writing IN OPPOSITION to the proposed rule change regarding the Removal of 30- Day Processing
      Provision for Asylum Applicant- Related Form I-765 Employment Authorization Applications.

      This proposed rule change will irrevocably harm a population that is already vulnerable. Asylum seekers in the
      US are already some of the most vulnerable, in part because they have to wait six months to file for a work
      permit in the first place. Further delaying the time in which a work permit will come for these asylum seekers
      puts them at risk of predatory employers. Without a work permit, many asylum seekers are forced to work under
      the table to support themselves and their families. Often, they make less money than they are entitled to under
      federal law. Without timely receipt of work permits, these people may never get the opportunity to have stable
      employment and income.

      Asylum seekers are also in a vulnerable position because they are often recent arrivals to the US. Work permits
      allow them to receive stable work and begin to build their lives here in the US without having to worry about
      employment instability. This is crucial for their access to justice. With steady, reliable work, they can budget
      their income to pay for legal support in their cases. Stable income also gives them more control over their
      housing options. This allows them to pursue their cases without having to worry about USCIS sending notices to
      the wrong address or trying to change their asylum office/immigration court location.

      Finally, this regulation would further prevent asylum seekers from obtaining valuable identification
      documentation in the US. Often, asylum seekers fled their countries in haste and did not have time to arrange for
      identity documents such as passports or consular ID card to arrive. Thus, they arrive to the US with little in terms
                                                                                                               AR005349
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      of identification which prevents them from accessing basic services in the US like banks and airports. Work
      permits allow them to obtain a social security number and an identification card.

      In summary, this proposal puts asylum seekers in the US in further risk. As they adjust to life in the US, stable
      employment is a huge part of their new lives. It allows them to control their own income and provide for their
      families. Further delays in work permit processing times will only cause more uncertainty and vulnerability in
      the lives of asylum seekers at a very crucial stage of their lives. I oppose this change.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2633
      Comment Submitted by Jennifer Brown



                                                  Submitter Information
      Name: Jennifer Brown
      Address:
        Po Box 965
        Willamina, OR, 97396
      Email: jbrodies@icloud.com


                                                      General Comment
      30 Days for Venting is a Insult , And A Security Threat to the USA , I Support My President in this Mive to
      make this Time way Longer , Making it Mire Secure to THE AMERICA PEOPLE




                                                                                                               AR005351
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2634
      Comment Submitted by Kevin Wong



                                                  Submitter Information
      Name: Kevin Wong


                                                      General Comment
      Please DO NOT enact this regulation. This regulation would do more harm to the United States than benefit it.
      Asylum seekers are in this country because life is untenable in their native land. Further delaying work permits
      and not allowing them to work to earn a living while they await a ruling on their status is inhumane.
      Furthermore, it would incur a much higher societal cost as well as personal cost to asylum seekers in terms of
      dignity and well-being. Again, please do not enact this unhelpful regulation.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2635
      Comment Submitted by Rosie Hidalgo on behalf of Casa de Esperanza



                                                  Submitter Information
      Name: Rosie Hidalgo
      Address:
        Casa de Esperanza: National Latin@ Network for Healthy Families and Communities
        540 Fairview Ave. N
        St. Paul, MN, 55104
      Email: rhidalgo@casadeesperanza.org
      Phone: 651-646-5553


                                                      General Comment
      See attached file(s)



                                                            Attachments
      Asylum EAD 30 day rule 2019.11.8-OG




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file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2635.html[9/15/2020 4:15:21 PM]
November 8, 2019

Via Federal e-Rulemaking Portal
https://www.regulations.gov/docket?D=USCIS-2018-0001

Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services
Department of Homeland Security
20 Massachusetts Avenue NW, Mailstop #2140
Washington, DC 20529-2140

RE:    Request for Comments on Removal of 30-Day Processing Provision for Asylum Applicant-
       Related Form I-765 Employment Authorization Applications (Sept. 9, 2019) DHS Docket
       No. USCIS-2018-0001

Dear Ms. Deshommes,

On behalf of Casa de Esperanza, we are submitting comments in response to the Removal of 30-
Day Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization
Applications (September 9, 2019) (hereinafter, the Rule). Casa de Esperanza requests that USCIS
maintain the regulatory provision stating that USCIS has 30 days from the date an asylum
applicant files the initial Form I-765, Application for Employment Authorization (EAD application)
to grant or deny that initial employment authorization application. The proposed rule change
would reverse more than a century of immigration law, policy, and practice, making it more
difficult for asylum seekers to begin working and rebuilding their lives. Additionally, Casa de
Esperanza has grave concerns regarding the significant harm that the proposed rule change
would have on immigrant survivors of domestic violence, sexual assault, trafficking and other
gender-based violence.

Casa de Esperanza was founded in 1982 in Minnesota to provide emergency shelter and support
services for women and children experiencing domestic violence. Additionally, in 2009 Casa de
Esperanza launched the National Latino Network for Healthy Families and Communities, which is
a national resource center that provides training & technical assistance, research, and national
policy advocacy focused on addressing and preventing gender-based violence, primarily in Latino
and immigrant communities. Casa de Esperanza also serves on the Steering Committee of the
National Task Force to End Sexual and Domestic Violence and the Alliance for Immigrant
Survivors.

Our organization continues to work directly with immigrant victims of domestic and sexual
violence seeking services and safety. Additionally, our research staff has been involved in
community participatory research projects that highlight the experiences and needs of immigrant



                                                                                    AR005354
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women and their children. Based upon these experiences, we strongly oppose the proposed rule
change.

The EAD process will take longer: Eliminating the 30-day deadline for responding to an EAD
application, as the Rule proposes to do, will inevitably result in delays for asylum seekers in
obtaining their employment authorization in violation of the current statutory and regulatory
scheme. Asylum seekers have a right under U.S. law to apply for employment authorization once
their cases have been pending without a decision for at least 150 days. The 30 day deadline for
USCIS to respond to the application allows the asylum seeker to obtain employment
authorization as soon as 180 days has passed without a decision on her case, as provided for in
the Immigration and Nationality Act 1 and its implementing regulations. 2 This six month period
was a compromise carefully struck to balance the government’s goal of adjudicating claims
promptly with asylum seekers’ need to work to support themselves and their families. 3

Asylum seekers need to work as soon as possible to avoid economically precarious and socially
vulnerable situations: Asylum seekers are not entitled to most forms of social welfare benefits
and can support themselves only by working. Delaying their employment authorization beyond
the current six-month period puts them at even greater risk of hunger, potentially abusive living
situations, or homelessness, as well as trafficking and other coercive employment practices.
Most asylum-seekers have experienced trauma and harm either in their home country or on their
journey to safety. This is particularly the case for women asylum seekers as well as LGBTQ asylum
seekers. 4 As long as they not able to work, they remain in a highly vulnerable situation having to
rely on others, including individuals who may be harming them.

Asylum seekers, like survivors of gender-based violence, must be self-reliant given the
unavailability of social services: The sooner asylum seekers can begin to work, the sooner they
can be, and begin to feel, self-reliant. The Executive Committee of the Office of the United
Nations High Commissioner for Refugees, of which the United States is a member, has recognized
that asylum seekers are capable of attaining self-reliance if provided with an opportunity to do
so. 5 Providing asylum seekers with an early opportunity to work also recognizes the lack of social
services provided by the U.S. government to asylum seekers.

Employment can help asylum seekers move from dependence on others to contributing to
society: Once employed, an asylum seeker can become a contributing member of U.S. society,

1
  8 U.S.C. 1158(d)(2).
2
  8 C.F.R. 208.7(a)(1).
3
  See Migration Policy Institute, The U.S. Asylum System in Crisis: Charting a Way Forward, Sept. 2018.
4
  See UN High Commissioner for Refugees (UNHCR), Women on the Run: First-hand Accounts of Refugees Fleeing El
Salvador, Guatemala, Honduras, and Mexico, 26 October 2015, available at:
https://www.refworld.org/docid/56307e2a4.html [accessed 5 November 2019].
5 Executive Committee Conclusion No. 93 (LIII) 2002, in UN High Commissioner for Refugees (UNHCR), A Thematic

Compilation of Executive Committee Conclusions (7th Edition), June 2014, available at:
https://www.refworld.org/docid/5698c1224.html [accessed 1 November 2019].




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Page 3 of 3




and can take pride in providing for herself and her family. This sense of empowerment is
particularly important for women refugees and because it allows them to begin to heal from their
traumatic experiences and regain their confidence. 6

The current six month wait for employment authorization is difficult enough for asylum seekers.
The Rule’s proposal to eliminate the 30-day requirement will cause unnecessary suffering,
increase the vulnerability of an already traumatized population, and deprive the government of
the important skilled labor the asylum seeker can provide. We call upon USCIS to reject this
proposed Rule.

Thank you for the opportunity to submit comments. Please do not hesitate to contact Casa de
Esperanza to provide further information.

Respectfully submitted,




Rosemarie Hidalgo, J.D.
Senior Director of Public Policy

Casa de Esperanza: National Latin@ Network for Healthy Families and Communities
540 Fairview Ave. N
St. Paul, MN 55104
Tel: 651-646-5553




6
 Women’s Refugee Commission, Refugee women’s path to equality and self-reliance, March 7, 2019, available at
https://www.womensrefugeecommission.org/blog/3458-refugee-women-s-path-to-equality-and-self-reliance.




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                                                                                            Received: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2636
      Comment Submitted by Jordan Blimbaum



                                                  Submitter Information
      Name: Jordan Blimbaum
      Address:
        2066 Mackinnon Ave
        Cardiff by the Sea, California, 92007-1714
      Email: blimbaum@gmail.com
      Phone: 2169738934


                                                      General Comment
      We need our immigrants to work as soon as possible. My grandparents were refugees and they worked hard to
      build this country.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2637
      Comment Submitted by Virginie Bock



                                                  Submitter Information
      Name: Virginie Bock
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        2229 Shasta drive
        Davis, California, 95616
      Email: Virginie.bock@gmail.com


                                                      General Comment
      Asylum seekers should be able to work as soon as possible in order to be able to support themselves while
      waiting.

      Extending the authorized delay to be able to work is cruel, heartless and shameful!!

      Virginie Bock




                                                                                                               AR005358
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2638
      Comment Submitted by Diane Walker



                                                  Submitter Information
      Name: Diane Walker


                                                      General Comment
      The removal of the obligation to adjudicate the work permits to asylum seekers 30 days after a work
      authorization is more senseless cruelty from the Trump administration. It's part of the mythology the
      administration has concocted which says that asylum seekers aren't really fleeing horrible conditions in their own
      country, they're just coming to this country because they don't really like it at home, and if we make it tough for
      them, they'll turn around and go home.

      There's no empirical basis for this point of view, It's wishful thinking from an administration that wants to keep
      the country homogenized. Perhaps it's not even wishful thinking. but deliberate callousness as to whether people
      who don't look or speak like us live or die.

      Like most policies based on fear, it's also just dumb. Asylum seekers could be contributing to the economy and
      paying taxes, while they want for their status to be determined. Forcing them to live without income makes them
      more vulnerable to exploitation, crimes, and trafficking.

      The removal should not go into effect. It's just one more bad, heartless, brainless decision that will need to be
      reversed when the xenophobes currently in power are impeached or voted out.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2639
      Comment Submitted by Jordan Blimbaum



                                                  Submitter Information
      Name: Jordan Blimbaum
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        2066 Mackinnon Ave
        Cardiff by the Sea, California, 92007-1714
      Email: blimbaum@gmail.com
      Phone: 2169738934
      Government Agency Type: Federal
      Government Agency: USCIS


                                                      General Comment
      Commenting on USCIS-2018-0001: our asylum seekers need to begin working as soon as possible.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2640
      Comment Submitted by Elizabeth Smoyer



                                                  Submitter Information
      Name: Elizabeth Smoyer
      Address:
        4101 Glenellen Court 2A
        Mishawaka, IN, 46545
      Email: elizabethsmoyer@icloud.com


                                                      General Comment
      As a religious sister and believer that each of our immigrant brothers and sisters are human beings deserving of
      our respect and support, I strongly oppose the removal of the 30 day processing Provision for Asylum Seekers
      needing to secure work permits.
      I see this proposed change as a violation of the common good for which we each of us and our government are
      responsible to work for in the name of justice and decency.
      In hearing the stories of my sisters who have worked and continue to serve at our Southern border, our asylum
      seeking sisters and brothers' desire is to work and support their families. To delay their fulfilling this desire is a
      violation of their human rights.
      ANYTIME we violate the human dignity of another person, we are VIOLATING OUR OWN HUMAN
      DIGNITY

      Rulings such as these strike a knife in the heart of our democracy, our values and the survival of our nation.
      Changes such as this are punishment for people seeking good. These changes are actions that give expression to
      our sinful attitudes and blindness.Anytime any of us treats another without respect and with meanness we are
      doing the same to ourselves.

      On a more pragmatic note, how can we afford to turn down the taxes our working immigrant sisters and brothers
      will pay? Our national debt is already unsustainable and destructive of our life together on a national, state and
      local level.

      Please do not carry out this rule change.

                                                                                                               AR005361
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2641
      Comment Submitted by Linda Warren



                                                  Submitter Information
      Name: Linda Warren


                                                      General Comment
      I strongly OPPOSE this mean-spirited, inhumane proposal.

      There are already process deadlines in place for asylum seekers which make it difficult enough. Honestly these
      people wouldn't be seeking asylum if they were in good shape, but even under current laws, they have to wait
      150 days after filing their asylum application before they're eligible to apply for work authorization. After they
      apply for work authorization the USCIS has 30 days to process it.

      BUT NOW, the USCIS is failing to meet the 30 day deadline, quite often delaying the process for months! This
      creates a ridiculous hardship for those already down on their luck. In July 2018, a judge ordered that the USCIS
      must comply with the current 30-day timeline. SO, here comes this proposal, that would COMPLETELY
      REMOVE the 30-day processing deadline.

      Are the families and individuals seeking asylum supposed to just starve? This is completely amoral, & not in
      accordance with American values.

      NO to this proposal!




                                                                                                               AR005362
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2642
      Comment Submitted by Carl Bergquist, CHIRLA - Coalition for Humane Immigrant Rights



                                                  Submitter Information
      Name: Carl Bergquist
      Submitter's Representative: Isabel Sanchez on behalf of the Coalition for Humane Immigrant Rights
      (CHIRLA)
      Organization: CHIRLA - Coalition for Humane Immigrant Rights


                                                      General Comment
      On behalf of the Coalition for Humane Immigrant Rights (CHIRLA), we submit these comments in response and
      opposition to this Department of Homeland Security's Notice of Proposed Rulemaking (NPRM). CHIRLA calls
      on DHS to withdraw this NPRM, thus maintaining the crucial 30-Day processing provision for work permits for
      asylum seekers. Our full comments have been attached. Thank you.



                                                            Attachments
      USCIS-2018-0001 EAD Asylum CHIRLA Comment 8 November 2019




                                                                                                               AR005363
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                                                                    November 8, 2019
Samantha Deshommes, Chief
Regulatory Coordination Division
Office of Policy and Strategy,
US. Citizenship and Immigration Services,
Department of Homeland Security
20 Massachusetts Avenue NW, Mailstop #2140
Washington, D.C. 20529


RE: DHS Docket No. USCIS-2018-0001, RIN 1615-AC19
Removal of 30-Day Processing Provision for Asylum Seekers’ Initial
Employment Authorization Document Applications


Dear Chief Deshommes:

On behalf of the Coalition for Humane Immigrant Rights (CHIRLA), the
largest statewide immigrant rights organization in California, I write in
opposition to the Department of Homeland Security (DHS) proposed rule that
would eliminate the 30-day time frame within which U.S. Citizenship and
Immigration Services (USCIS) must adjudicate Applications for Employment
Authorization (EAD) Form I-765 for asylum seekers.
Working under the false and cynical assumption that most asylum claims are
fraudulent, this proposed rule is textbook collective punishment for the
overwhelming majority in the vein hope of catching the white whale of fraud.
California would be particularly hard hit by this rule. In FY 2015-17, the state
was the residence of nearly half of all immigrants who successfully filed for
affirmative asylum nationwide. DHS does not track defensive asylum applications
by state of residence, but it is fair to assume that many in this category also reside
in California. Annual Flow Report, DHS, Office of Immigration Statistics, March




                                                                               AR005364
2019. Delays in the lawful granting of work permits to these thousands of
immigrants mean lost income, tax revenue and suffering for their families, our
communities and the state as a whole.
Under current regulations, after a wait of a minimum of 180 days with no
decision or in the event of an affirmative grant, asylum seekers may apply for
employment authorization. While the regulations state that a decision must be
given within 30 days from filing this application, the Government has not always
abided by this. In 2018, in Rosario v. USCIS, a federal district court ordered that
the government comply with this timeframe, which it then did.
Until the Immigration and Nationality Act (INA) is revised to once again allow
concurrent filings for asylum and employment authorization, as was the case
before 1994, this is a compromise that addresses the needs of both the
government and more importantly, the asylum seeker.
With a growing backlog in the immigration courts, these EADs are more
important than ever for the asylum seekers and their families. As they wait for
their case to be adjudicated, it allows them to support their families, contribute to
the community and to integrate themselves into what may become their new
home. Crucially, EADs often also serve as the only government-issued
identification document for asylum seekers.
Making asylum seekers dependent on others for their income and unnecessarily
delaying their authorized entry into the labor market is highly counterproductive
to both the national interest of the United States and the individual well-being of
asylum seekers and their families.
Rather, and as others have suggested, USCIS could propose a rule allowing for
earlier submission of EAD applications. Currently, an asylum seeker must wait
150 days after filing for asylum to do so, and then the Government has 30 days to
adjudicate it. If the Government needs more time, it could allow for application




                                                                               AR005365
submissions after e.g. 120 days. This would then give it 60 days to adjudicate
while remaining within 180 day minimum before issuance.
This would be in the spirit of the law to extend work permits for those whose
cases, through no fault of their own, are mired in immigration court. Instead, this
proposed rule would create utter uncertainty for those individuals and their
families, and fail to hold the Government accountable at all.
As the Rosario Court highlighted, the Government per its own words is
bound to “adjudicate these applications. . .regardless of the merits of the
underlying asylum claim.” The rationale for doing so is that asylum seekers are
often “waiting - often for years - to have their asylum applications resolved.” That
was intolerable to the court, and we submit that eliminating the 30-day time frame
altogether will put countless asylum seekers back in a pre-Rosario limbo that is no
less tolerable. Gonzalez Rosario v. United States Citizenship & Immigration
Servs., 365 F. Supp. 3d 1156, 1160-61 (W.D. Wash. 2018).
Ultimately, this is not just a cruel rule, but it is shortsighted. What if in six
months asylees that meet this Administration increasingly restrictive eligibility
critieria appear? They too will see greater delays in processing EADs. Burying
this protection for those arriving today will impact those arriving tomorrow as
well.
We respectfully request that you rescind it forthwith.


Sincerely,


Angelica Salas
Executive Director, CHIRLA




                                                                              AR005366
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2643
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I am a Board Certified immigration attorney with 30 years of experience, 10 of which were as the staff attorney
      then supervising attorney at a non-profit that provided legal assistance to immigrants. Since then I have been a
      partner in a large well-respected immigration law firm for almost 15 years, and for the last five years the founder
      of my own well-respected immigration law firm.
      Over the years I have represented many immigrants who were asylum applicants, so Ive had the opportunity to
      observe my clients in terms of their need for employment authorization and their experiences in obtaining
      employment authorization, as well as the benefits to the United States in having such individuals be able to work.
      It is important for individuals who are applying for asylum to be able to work to support themselves and their
      families, pay taxes and social security to the government, and to prevent them from becoming public charges.
      Currently, applicants must wait 150 days after filing for asylum in order to apply for their work permits; then, the
      USCIS has 30 days to adjudicate the applications.
      It would be detrimental to our economy and to these asylum applicants and their families for them to be forced to
      wait over 180 days to be able to support themselves.
      If the concern is that 30 days does not give USCIS enough time to adjudicate these applications, then the
      regulations could be changed to allow asylum applicants to apply for employment authorization sooner than 150
      days, perhaps within 30 days after filing, and to give the USCIS 60 or 90 days in which to adjudicate the
      applications.
      When I began doing this work, there was no wait time for applying for an employment authorization document
      (EAD).
      The best solution would be for the Form I-765 to be filed concurrently with the I-589 and for the USCIS to be
      allowed 90 days (which is a reasonable amount of time) in which to adjudicate the I-765 application for
      employment authorization.
      There should be a solution where USCIS has a reasonable time to adjudicate (e.g. 90 days) and the applicants do
      not have to wait more than 90 days in which to obtain employment authorization.
      That would be a win-win for all, as applicants could begin supporting themselves much more quickly, taxes and
      social security would be paid sooner, and the USCIS could have more than the current 30 days in which to
                                                                                                               AR005367
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      adjudicate the I-765s.
      If the USCIS is not willing to cut the wait time of 150 days for filing (which has always seemed excessive and
      counterproductive to our economy and these families), then the 30 days should continue to be the processing
      time, since it is in the public interest for these applicants to become self-sufficient as quickly as possible.




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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2644
      Comment Submitted by Lisa Laurel Weinberg, De Novo Center for Justice and Healing



                                                  Submitter Information
      Name: Lisa Laurel Weinberg
      Address:
        De Novo Center for Justice and Healing
        47 Thorndike Street, SB-LL-1
        Cambridge, MA, 02141
      Email: lweinberg@denovo.org
      Phone: 6176611010
      Fax: 6176611011
      Submitter's Representative: Lisa Laurel Weinberg
      Organization: De Novo Center for Justice and Healing
      Government Agency Type: Local


                                                      General Comment
      Submitted online via the Federal eRulemaking Portal

      Department of Homeland Security
      U.S. Citizenship and Immigration Services
      Office of Policy and Strategy Chief
      Regulatory Coordination Division
      20 Massachusetts Avenue
      NW Washington, D.C. 20529-2140

      RE: Comments on Removal of 30-Day Processing Provision for Asylum Applicant Related Form I-765
      Employment Authorization Applications
      Docket Numbers: CIS No. 2617-18 DHS Docket No. USCIS-2018-0001

      My name is Lisa Laurel Weinberg. I am an immigration attorney at the non-profit organization De Novo Center
      for Justice and Healing (De Novo). De Novo is a 501(c)(3) non-profit organization that provides free civil legal
      aid and affordable mental health counseling in Cambridge, Massachusetts. At De Novo, we provide free legal
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      representation to low income individuals in their immigration, family law, housing, and disability cases. We also
      provide mental health counseling to low income individuals. In the immigration unit we have four immigration
      attorneys and one Department of Justice BIA accredited representative. We represent asylum seekers in
      affirmative and defensive asylum claims. Our clients are victims of human rights violations including political
      violence, torture, gender-based violence and other types of persecution.

      Work permits are critical to allow our clients to provide for themselves while their asylum claims are being
      adjudicated. The proposed changes will put our clients at risk of homelessness, hunger, mental health break
      downs, and personal danger while they wait for their claims to be adjudicated. Asylum seekers are legally
      permitted to be in the United States while their asylum claims are pending. Forcing people who are legally
      present in the United States to survive without a work permit or delaying their work permit is unconscionable
      and is contrary to the public interest.

      The time it takes for an asylum application to be adjudicated is extremely unpredictable. It could take months or
      years. During that time while asylum claims are pending, our clients rely on their work permits to become
      economically self-sufficient. This proposed rule change is at direct odds with the underlying intent of the statute
      allowing asylum seekers to work which is to allow and promote personal and economic self-sufficiency for
      individuals who are present in the United States under the color of law.

      Because this proposed rule change places a serious burden on the most vulnerable immigrants, we strongly
      oppose the proposed regulation and request that it be withdrawn. We respectfully request that USCIS continue
      processing asylum-based EAD applications pursuant to its current policy and practices that require adjudication
      within 30 days of filing.

      We appreciate your consideration and thank you for the opportunity to submit these comments. Please contact
      our Executive Director Mojdeh Rohani at mrohani@denovo.org should you have any questions about our
      comments or require further information.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2645
      Comment Submitted by Cecillia Joseph



                                                  Submitter Information
      Name: Cecillia Joseph
      Address:
        2307 Muir Woods
        Davis, CA, 95616
      Email: cmljoseph@yahoo.com


                                                      General Comment
      I for one would like asylum seekers to support themselves whenever possible while awaiting their chance to be
      heard. I do not want to have to support them any longer than the 180 days already required. Give them a chance
      to prove that they can be valuable citizens and contribute to the country.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2646
      Comment Submitted by Bettina Mok



                                                  Submitter Information
      Name: Bettina Mok
      Address:
        1868 Kahakai Dr.
        Honolulu, HI, (98614
      Email: bettinamok@yahoo.com


                                                      General Comment
      The proposed rule to remove the 30-day processing provision for Asylum application is dangerous and un-
      American. By removing the ability of asylum seekers to gain meaningful employment within a short and
      predictable timeframe, the federal administration effectively turns asylum seekers into the very public charges it
      seeks to exclude. Additionally, this policy change would make the work authorization process more
      unpredictable and inefficient by removing the ability to hold USCIS accountable to any deadline.

      Proposed Alternative: As the law is currently written, asylum seekers must wait 180 days before they may be
      granted authorization to work. They are permitted to submit their application after 150 days, giving USCIS the
      30-day timeframe in question to process the requests. If USCISs goal is to have more time to process each
      request in order to increase flexibility and free up resources to work on other applications, then it could easily
      shorten the waiting time before asylum-seekers are allowed to submit their application. If USCIS feels that a 60-
      day timeframe would be more beneficial, then it may allow applications to be submitted after 120 days, rather
      than 150. Allowing asylum-seekers to submit their applications earlier could allow the department to have up to
      180 days to process and properly vet each individual while reducing the risk of harm to each applicant.




                                                                                                               AR005372
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2647
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Worst government ever! You all hate anyone you perceive as different and try to make things harder for people!
      I dont get it! First you want immigrants to be able to provide for themselves and their families and then you want
      to put regulations and restrictions making it impossible for them to work! Something is wrong with this picture!
      Bunch of hypocrites! Drain the swamp-start with this administration! Out only to enrich yourselves and your
      families! MOST CORRUPT ADMINISTRATION EVER!! In the language this government understands BAD
      VERY BAD AND VERY SAD!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2648
      Comment Submitted by Allison Wilkinson



                                                  Submitter Information
      Name: Allison Wilkinson
      Address:
        864 President Street
        Apt. 4B
        Brooklyn, NY, 11215
      Email: awilkinson09@gmail.com


                                                      General Comment
      The proposed regulation will cause extreme and unnecessary hardship to vulnerable asylum seekers who require
      work authorization be approved in a timely fashion to allow them to meet their basic needs to survive. Work
      authorization means the difference between being able to obtain employment with a fair and legal wage and
      relying on shelters and food pantries to support oneself and one's children. Moreover, it makes already
      traumatized individuals more vulnerable to trafficking and the exploitative risks of the off-the-books economy.
      Failing to provide an EAD in a timely manner deprives asylum seekers of a means to obtain a lawful photo
      identification, depriving them of access to basic government buildings and services and exposing them to law
      enforcement harassment for lack of an ID. In locations where work authorization is needed to obtain a license
      and there is no viable public transportation, the lack of an EAD effectively strands asylum seekers with no means
      to travel to work, bring children to school, or live their daily lives.

      Removing this rule would make the provision of work authorization for asylum seekers a legal fiction, since the
      wait times to renew an asylum-based EAD or apply for an EAD on another basis are already unacceptable and
      can take nearly a year in some cases. This causes serious harm, including lost employment and forced
      dependency on charitable and government services. Moreover, this rule is self-harming, as it would deprive the
      government of hundreds of thousands of tax revenue according to the government's own calculations.




                                                                                                               AR005374
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2649
      Comment Submitted by Jason Baum



                                                  Submitter Information
      Name: Jason Baum


                                                      General Comment
      Stop this rule! It is antithetical to the foundation of our nation.




                                                                                                               AR005375
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2650
      Comment Submitted by Jennifer Nagda, Young Center for Immigrant Childrens Rights



                                                  Submitter Information
      Name: Jennifer Nagda


                                                      General Comment
      The Young Center for Immigrant Childrens Rights (Young Center) appreciates the opportunity to submit this
      comment on the Notice of Proposed Rulemaking (the NPRM or the proposed rule) on the Removal of the 30-Day
      Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization Applications (EAD
      application), published by the Department of Homeland Security (DHS) and the United States Citizenship and
      Immigration Services (USCIS) on September 9, 2019.
      As written, the proposed rule would undermine young peoples safety and well-being. It also fails to account for
      significant costs including those born by young people and the communities where they live, and lacks a
      reasoned justification given the significant impact on youth who may wait years for their asylum case to be
      heard. We therefore respectfully urge the Department to withdraw the proposed rule in its entirety, as outlined in
      more detail in the attached comment.



                                                            Attachments
      Young Center Comment Opposing NPRM Eliminating 30-Day EAD Processing




                                                                                                               AR005376
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Submitted via www.regulations.gov

November 8, 2019

Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services, Department of Homeland Security
20 Massachusetts Avenue NW
Mailstop #2140
Washington, D.C. 20529-2140

RE: DHS Notice of Proposed Rulemaking for Removal of 30-Day Processing Provision for
Asylum Applicant-Related Form I-765 Employment Authorization Applications, DHS
Docket No. USCIS-2018-0001

Dear Ms. Deshommes:

The Young Center for Immigrant Children’s Rights (“Young Center”) appreciates the
opportunity to submit this comment on the Notice of Proposed Rulemaking (“the NPRM” or “the
proposed rule”) on the Removal of the 30-Day Processing Provision for Asylum Applicant-
Related Form I-765 Employment Authorization Applications (“EAD application”), published by
the Department of Homeland Security (“DHS”) and the United States Citizenship and
Immigration Services (“USCIS”) on September 9, 2019. We respectfully urge the Department to
withdraw the proposed rule in its entirety, for the reasons outlined below.

I.         The Young Center’s Interest in this NPRM

The Young Center serves as the federally appointed, independent best interests guardian ad litem
(“Child Advocate”) for trafficking victims and other vulnerable unaccompanied children as
authorized by the Trafficking Victims Protection Reauthorization Act (“TVPRA”). 1 The role of
the Child Advocate is to advocate for the best interests of the child. Since 2004, Health and
Human Services’ Office of Refugee Resettlement (“ORR”) has appointed Young Center Child
Advocates for thousands of unaccompanied children in ORR custody. Many of these young
people—and particularly, teenagers—apply both for asylum and I-765 Employment
Authorization Applications. Thus, we have a particular interest in the proposed rule and insight
into its potential impact.

1
    See 8 U.S.C. § 1232(c)(6).


                                               1
                                                                                  AR005377
The ability to work during the prolonged asylum application process is a critical resource for
teenage asylum-seekers and their families. Meaningful employment provides teens and young
adults with the opportunity to develop skills, gain work experience, earn wages, and receive
employee benefits. With the money they earn, teens and young adult asylum-seekers can also
contribute to the economy and support local businesses in their communities. In turn, the federal
government benefits through the collection of federal income taxes. We therefore offer the
following comments urging the agency to withdraw the NPRM in its entirety to ensure that
asylum-seekers’ EAD applications are adjudicated quickly and effectively.

II. The proposed rule undermines young people’s safety and well-being, fails to account for
    significant costs including those born by young people and the communities where they
    live, and lacks a reasoned justification given the significant impact on youth who may
    wait years for their asylum case to be heard.

    A. The proposed rule will impact the safety and well-being of teenage asylum-seekers,
       including those served by the Young Center.

Under the proposed rule, teenage (and adult) asylum-seekers will have no certainty regarding
when they will receive permission to work. Work is a critical means of support for young
people. 2 Work also fosters stability, which is important to young people’s academic achievement
and mental health. 3 In our experience, most teenaged asylum-seekers EAD applications are
approved. In other words, these youth are eligible to work, and no one benefits from delayed
adjudication of their work authorization. The sooner teenage asylum-seekers work, the more they
are able to support themselves and contribute to their families while completing their education.
This is particularly critical when young people face considerable delays in the adjudication of
their claims for protection.

For the teenage asylum-seekers the Young Center serves, the ability to work during the asylum
application process is central to their financial, physical, and emotional well-being. Their
experiences exemplify how this rule could inject unnecessary instability into the lives of other
young people who fled violence in their home countries, who are committed to their education,
but who nevertheless depend on their ability to work in order to be safe.




2
  U.S. Department of Labor, Bureau of Labor Statistics, College enrollment and work activity of high school and
college graduates (Apr. 25, 2019), https://www.bls.gov/news.release/pdf/hsgec.pdf.
3
  See, e.g., Anna Sutherland, How Instability Affects Kids, Institute for Family Studies, (July 29, 2014),
https://ifstudies.org/blog/how-instability-affects-kids.


                                                        2
                                                                                                  AR005378
For example, the Young Center was appointed as independent Child Advocate for a teenage
asylum-seeker from Central America who’d been abandoned by her family and who was brutally
assaulted in her country. She fled to the United States seeking protection for herself and the baby
she had as a result of the assault. Having an EAD while waiting for her asylum hearing allows
her to take better care of herself and her child. She works at a store within her community and
reports that she feels both empowered and proud to be able to care for herself and her baby, and
to not have to rely constantly on others for help.

Another child survivor of sexual violence who came to the United States seeking protection as a
teenager filed a pro se claim for asylum and was released from custody shortly before her 18th
birthday. Her ability to work while her asylum application is pending will provide her with the
most basic necessities and allow her to rely on her small community of friends and family for
emotional rather than financial support.

These young people—who arrive as children and seek asylum based on past persecution or a
well-founded fear of persecution they experienced as children—are often squarely in between
childhood and adulthood. They are pursuing their education but live in communities where many
families struggle to make ends meet. Lawful employment brings much needed stability and
safety to a young person. Ending a policy of prompt EAD authorization is simply bad policy—
for these young people, their families, and the community at large.

    B. The proposed regulation fails to account for critical costs—including the costs to young
       people and the organizations who serve them.

Executive Orders 12866 (“Regulatory Planning and Review”) and 13563 (“Improving
Regulation and Regulatory Review”) direct agencies to assess the costs and benefits of available
alternatives and, if regulation is necessary, to select regulatory approaches that maximize net
benefits (including potential economic, environmental, public health and safety effects,
distributive impacts, and equity). Executive Order 13563 requires that, when engaging in
rulemaking, each agency must make a “reasoned determination that [a regulation’s] benefits
justify its costs.” 4 It also states that “each agency is directed to use the best available techniques
to quantify anticipated present and future benefits and costs as accurately as possible.” 5

The proposed rule fails to conduct a sufficient and reasoned cost-benefit analysis. DHS states in
the proposed rule that when examining the costs and benefits it measured the impacts of the rule
against a baseline assumption “of what would occur if the proposed rule is adopted.” 6 USCIS

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assumes that in the absence of a timeframe for adjudicating EAD applications, “adjudications
will align with DHS processing times achieved in FY 2017 (before the Rosario v. USCIS court
order).” 7 However, this assumption fails to account for “the historic asylum application
backlog” 8 that has increased over the past five years, which according to DHS is one of the
reasons cited for eliminating the 30-day deadline. Thus, DHS attempts to justify this rulemaking
with a cost-benefit analysis that relies on a flawed assumption.

The cost-benefit analysis also omits entirely any mention of the significant costs the rule would
impose on asylum-seekers’ family members and their communities. Although the proposed rule
discusses the lost compensation to asylum-seekers, it fails to include a discussion of additional
costs the proposed rule would impose on them. Without a timeframe for adjudicating EAD
applications and associated access to employment, asylum-seekers would experience difficulty
obtaining drivers’ licenses, banking services, health care, and legal counsel for their asylum
applications. Additionally, lost wages to asylum-seekers would likely result in losses to small
businesses in asylum-seekers’ communities.

The proposed rule also fails to mention the costs that would be imposed on organizations that
provide services to asylum-seekers as a result of the increase in time to adjudicate EAD
applications. If asylum-seekers are unable to obtain an EAD in a timely fashion, they are forced
to rely on other forms of support, including organizations that provide financial, housing, legal,
or other forms of assistance, which would burden and stretch the limited capacity of charities and
non-profit service providers. While the proposed rule states that “there may also be state and
local income tax losses that would vary according to the jurisdiction,” 9 it omits a discussion of
the costs of the loss of income tax revenue to local, state, and federal governments.

    C. The rule lacks a reasoned justification for abandoning a standard that benefits asylum-
       seekers and the communities in which they live, and is inconsistent with USCIS’s mission.

There is simply no evidence that DHS needs be exempted from the regulatory provision
requiring USCIS to grant or deny an initial EAD application within 30 days of when the asylum-
seekers filed the application. DHS justifies the elimination by stating that the regulatory deadline
does “not provide sufficient flexibility” 10 to the agency to address: (1) the “increased volume of
affirmative asylum applications and accompanying Applications for Employment




7
  Id.
8
  Id.
9
  Id. at 47,150.
10
   Id. at 47,155.


                                                 4
                                                                                      AR005380
Authorization;” 11 (2) “changes in intake and document production” 12 over the last two decades;
and (3) “the need to appropriately vet applicants for fraud and national security concerns.” 13

However, the changes identified by DHS in intake and document production have existed for
over a decade; the changes began in 1997 and were fully implemented by 2006. Additionally, the
fraud and national security vetting discussed in the proposed rule has been implemented since
September 11, 2001 and the Office of Fraud Detection and National Security was created in
2004.

USCIS is deciding over 99 percent of EAD applications within the 30-day processing timeline.
Thus, DHS is able to address fraud and security vetting concerns within the current 30-day
timeframe. 14 The proposed rule fails to provide a “reasoned explanation” for disregarding the
fact that even with the decades old production and vetting changes, USCIS has complied for over
a year with the July 2018 court order in Rosario, requiring the agency to process initial EAD
applications in 30-days. Further, if USCIS requires additional documentation from an applicant,
the agency could send a request for evidence and pause the 30-day timeframe until the requested
additional documentation was received.

The proposed rule also includes no reasoned explanation justifying DHS’ decision to propose no
alternative timeframe for replacing the 30-day timeframe for adjudicating EADs. In the proposed
rule, DHS states that the 90-day alternative “would not provide USCIS with the certainty and
flexibility it needs to fulfill its core mission.” 15 Yet, USCIS’ mission is to “efficiently and fairly
adjudicat[e] requests for immigration benefits.” 16 Removing the timeframe for adjudicating
EAD applications will only increase delays in adjudicating EAD applications.




11
   Id.
12
   Id. at 47,153.
13
   Id. at 47,155.
14
   U.S. Citizenship and Immigration Services, Defendants’ July 2019 Compliance Report (Aug. 26, 2019),
https://www.americanimmigrationcouncil.org/sites/default/files/litigation_documents/nirp_v_uscis_defendants_july
_2019_compliance_report.pdf.
15
   Id. at 47,167.
16
   U.S. Citizenship and Immigration Services, About Us (Mar. 6, 2018), https://www.uscis.gov/aboutus.


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III.   Conclusion

We urge DHS to withdraw the proposed rule in its entirety. As written, the proposed rule would
undermine young people’s safety and well-being. It also fails to account for significant costs
including those born by young people and the communities where they live, and lacks a reasoned
justification given the significant impact on youth who may wait years for their asylum case to
be heard.

Respectfully submitted,




Jennifer Nagda
Policy Director




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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2651
      Comment Submitted by Caddie Nath-Folsom



                                                  Submitter Information
      Name: Caddie Nath-Folsom


                                                      General Comment
      I am against the proposed rule and I urge DHS not to adopt it. The waiting period for asylum seekers to obtain an
      EAD is already built into the law. Asylum seekers must wait six months after filing the I-589 before they can
      qualify for work authorization. This is not the case for other types of status-pending EADs (for example (c)(9)).
      Therefore, failing to timely process (c)(8) EADs for asylum seekers would be unjust and unfair. In addition,
      asylum seekers are often newer arrivals to the US who desperately need documentation and social security
      numbers so that they can begin to stabilize their lives in the United States, not only by finding work, but also by
      enrolling children in school, securing housing and obtaining bank accounts. Asylum seekers, who are likely to
      have suffered trauma and severe upheaval in their flight from persecutors in their home countries, particularly
      need that stability and therefore warrant speedy processing of their EAD applications.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2652
      Comment Submitted by Lauren Brockett



                                                  Submitter Information
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      Email: laurenbrockettsphr@gmail.com
      Phone: 7705987106
      Organization: Friends of Refugees


                                                      General Comment
      My name is Lauren Brockett, SPHR. I attended Emory University, where I received my Bachelor of Arts in Int'l
      Economics and Sociology. I am seeking to become accredited by the DOJ Board of Immigrant Appeals as an
      immigration representative and am currently certified by the HR Certification Institute as a Senior Professional
      in HR Management (SPHR). Driven to alleviate global poverty through workforce development, I am currently
      the Director of Employment Services for Friends of Refugees through the Refugee Career Hub,
      anonprofitorganization providing wellbeing, educationandemployment to 6,000 refugee families per year. I have
      personally placed over 3,000 refugees in decent, living wage jobs around Atlanta, building partnerships with
      commercial warehousing facilities, major hotelsandother sectors. I am also one of the winners of the 2014
      Entrepreneur Award through Emory Business Schools social enterprise training to offer cultural competency,
      diversity and inclusion training to immigrants and corporate groups seeking to expand globally.

      Last year, my team and I placed 300 refugees and immigrants in jobs, generating more than $7.7 Million in new,
      annual wealth for the local Clarkston/Atlanta-based community.


      I believe that delays in asylum seekers getting their work authorization (Employment Authorization Document or
      "EAD") approval can lead to:

      Lost income to the asylum seeker and their family
      Food insecurity
                                                                                                               AR005384
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      Inability to secure a valid ID. A work permit and a social security number (SSN) are often necessary
      requirements to applications for a state ID.
      Risk of homelessness/housing insecurity
      Inability to access health insurance (most state ACA health exchanges require a SSN and work authorization
      materials to qualify)
      Vulnerability to exploitation, trafficking, and underground economy risks
      Lack of access to community service agencies, shelters, and social service programs (many of whom require
      some form of valid ID, proof of residency, or proof of income)
      Loss of ability to support themselves and their families
      Feelings of fear, desperation, and overall mental health concerns
      Sample Arguments

      Harm Caused to Asylum Seekers. Asylum seekers would lose wages and benefits as a result of delayed entry into
      the U.S. labor force, straining their ability to support themselves and their families. USCIS admits that lost
      compensation to asylum applicants ranges from $255.88 million to $774.76 million in taxable income per year.
      The loss of income to asylum-seekers will cause an outsized amount of harm to this already-vulnerable
      community. A lack of income means not being able to afford food, housing, medical treatment, health insurance,
      or legal representation. Furthermore, individuals will be unable to secure a valid ID (needed for many social
      services) and be increasingly vulnerable to exploitation, trafficking, and underground economic risks. The lack
      of ability to work and correlating lack of income also vastly increases the risk that people coming to the United
      States will become a public charge.
      Lost Tax Revenue for the Government. USCIS admits that all levels of government will lose tax revenue as a
      result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per year because
      delayed work authorization will prevent asylum seekers and their employers from contributing to Medicare and
      social security.
      Increased Delay Contrary to National Security Interests. In the notice, USCIS makes frequent reference to a rise
      in national security threats as a reason to spend more time and resources on each decision. However, USCIS has
      reported that it has been able to decide over 99% of EADs within the 30-day timeframe for over the past year.
      Therefore, USCIS has proven its ability to adequately vet the amount of requests in a timely fashion. Moreover,
      its argument regarding increased threats serves only to prompt the need for a speedier process to properly protect
      national security, rather than its request to delay the process further. This need for a speedier process is further
      compounded by the fact that the EAD applicants are asylum-seekers already residing in the United States. If
      vetting must be done to prevent security risks, then having unvetted people in the U.S. subjected to a potentially
      indefinite review period seems contrary to the departments stated interests.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2653
      Comment Submitted by Linda Stowell



                                                  Submitter Information
      Name: Linda Stowell


                                                      General Comment
      Please make immigration laws reasonable so we are kept safe. Time is needed for that to happen.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2654
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Asylum seekers do not come here for handouts. They come to provide a safe life for themselves and their
      families. Being able to work and provide for one's family is central to this safety. Currently in my community,
      asylum seeking mothers are literally prostituting themselves to so-called landlords in order to pay rent for
      themselves and their children. Fortunately at this point, I would say this is probably only occurring with less than
      20 percent of asylum seeking mothers that I am aware of in the community work I do. Why would we ever create
      a hardship that would cause more families to need to make this traumatic choice? Why would we ever force
      people to survive in our communities without any means by which to feed themselves and pay for a home?




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2655
      Comment Submitted by Emily Reber



                                                  Submitter Information
      Name: Emily Reber
      Address:
        98122
      Email: emilyreber@gmail.com
      Fax: 2068588098


                                                      General Comment
      Creating longer processing times for asylum seekers will not keep people from trying to file for asylum nor do
      delays make the system any more efficient. It will only create a larger burden on the system as it creates backlogs
      and make it more likely that the applicant will need public assistance.

      Asylum applicants already wait at least 150 days to become eligible for the benefit, which is about the amount of
      time that it would take to process the I765 if they could apply concurrently with the asylum application.
      Additionally, people need to support themselves and their families. People suffer while waiting for their EADs
      and additional wait times of several months unnecessarily puts peole at further risk of homelessness, etc.
      Potentially, they also unnecessarily are at risk of being a higher burden on health and welfare systems.

      The US is at near full employment and there are labor shortages for many jobs that only asylum and other
      immigrants will do. This policy will also cause harm to the economies that rely on this labor.

      This policy is counter productive and should not be implemented.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2656
      Comment Submitted by Sue Hecht



                                                  Submitter Information
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        POB 584
        Marina, CA, 93933
      Email: newswriter@yahoo.com
      Phone: 702-225-8206


                                                      General Comment
      Stop discriminating against asylum seekers, innocent folks who are coming here due to VIOLENCE and
      criminals attacking them and their families. people come here for SAFETY for themselves and their families.
      They deserve to be here. IT IS LEGAL AND CONSTITUTIONAL. STOP THE HATRED AND RACISM.
      Thank you. 3rd generation American, me. WE ARE ALL IMMIGRANTS.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2657
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      As a nation of immigrants, its hypocritical to not treat asylum seekers with compassion. We must do the right
      thing and follow the existing law.. The xenophobic policies of this administration are not serving us well. The
      30-day rule should not be removed. Our diversity makes us stronger.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2658
      Comment Submitted by Anonymous Deich



                                                  Submitter Information
      Name: Anonymous DEICH


                                                      General Comment
      I oppose this rule change. Asylum seekers should have access to employment. This rule penalizes asylum
      seekers, contrary to our nation's moral history. Do not penalize legitimate refugees from access to our great
      nation built on the backs of immigrants.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2659
      Comment Submitted by Paul Schaafsma



                                                  Submitter Information
      Name: Paul Schaafsma


                                                      General Comment
      The United States of America has been condemned around the world for its treatment of refugees under this
      President. It is outrageous to add to what are already a long list of grave crimes against humanity being carried
      out by this administration by eliminating the requirement that Employment Authorization Applications be
      processed within 30 days.

      Most of the comments in favor of this move were made by people who thought the rule in question required
      deciding whether to grant asylum in 30 days. IT HAS NOTHING TO DO WITH ASYLUM REQUESTS. This
      rule is about authorizing employment. I think most of the commenters would say if refugees are in this country
      they would like them to support themselves. That will be impossible if processing of this form ceases to occur in
      a timely fashion, the only possible result of this rule change.

      Crimes this administration has committed in the name of discouraging refugees from Central America include:

      1) Tearing children as young as 4 months from the arms of their parents. 2) Caging children and ignoring the
      cries of infants, forcing other children to try to comfort them 3) Crowding refugees into for profit detention
      centers at 9 times the maximum capacity of the buildings, denying them soap, showers, room on the floor to
      sleep and medical care, even when refugees are known to have HIV or cancer, then charging by the head at rates
      so high it would be cheaper to house refugees in Trump Hotel suites

      These policies don't serve the purpose former Chief of Staff John Kelly invoked to justify them. Kelly said in
      internal communications that have since been reported in the media that family separation and other abuses of
      refugees were necessary because they were fleeing for their lives and to deter them policies would have to create
      a trauma great enough to override their survival impulse and stop them from coming here. Well, all that
      happened is that refugees came in GREATER numbers. All we are achieving is the coarsening of Republican
      voters who tune out reports of these crimes because they don't want to believe their President is responsible for
      pointless atrocities.
                                                                                                               AR005392
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      Delaying applications for authorization to seek employment will only rob refugees of a legal way to support
      themselves. The comments in favor of this change simply do not comprehend that.




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                                                                                            Posted: November 12, 2019
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2660
      Comment Submitted by Nancy Sulfridge



                                                  Submitter Information
      Name: Nancy Sulfridge
      Address:
        1408 Adams Drive
        Fort Washington, 20744
      Email: nesulfridge@gmail.com
      Phone: 3012046146


                                                      General Comment
      The Proposed Rule: Removal of 30-Day Processing Provision for Asylum Applicant-Related Form I-765
      Employment Authorization Applications will be detrimental to asylum seekers, the communities in which they
      reside, and the United States. It should not be approved.

      Catholic social teaching holds that work is an essential element of human life, in fact, a defining element. Pope
      John Paul wrote "From the beginning therefore he (man) is called to work. Work is one of the characteristics that
      distinguish man from the rest of creatures, whose activity for sustaining their lives cannot be called work. Only
      man is capable of work, and only man works, at the same time by work occupying his existence on earth. Thus
      work bears a particular mark of man and of humanity, the mark of a person operating within a community of
      persons. And this mark decides its interior characteristics; in a sense it constitutes its very nature." (Laborem
      Exercens) To deny people the right to work is to deny them a significant part of their humanity, and that is a
      great injustice.

      In addition to denying asylum seekers the dignity of working to support themselves and their families, this rule
      would make them dependent on others for support while waiting for their cases to be decided, and this will put a
      great strain on community organizations that endeavor to provide for the needs of immigrants, whose resources
      are already stretched to the limit.

      Finally, delaying or denying asylum seekers the opportunity to work while awaiting decision of their case will
      cost the United States a significant amount of tax revenue. USCIS estimates that lost revenue could range from
      $39.15 million to $118.54 million per year in payments not made to Medicare and social security.
                                                                                                               AR005394
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      As a teacher of adult education classes in Maryland for over 20 years, I have come to know many immigrants in
      all stages of the naturalization process. In my experience, they have all been eager to contribute to society, to
      work hard to support themselves and their families, and even to become taxpayers in the United States. It harms
      us all when their contributions of work are not welcomed.




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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2661
      Comment Submitted by Anonymous Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I strongly OPPOSE this proposal. By completely eliminating the existing 30-day deadline for processing work
      authorizations so asylum seekers can support themselves and in some case, their families, you're depriving them
      of the basic necessities of LIFE. That's immoral in and of itself ... but what's more it makes no sense on so many
      other levels.

      USCIS itself confesses that our government will lose tax dollars as a result of this proposed rule change ... to the
      tune of a projected $39 - $118 million per year because delaying work authorization will make it impossible for
      asylum seekers & their employers from contributing to Medicare & Social Security.

      It doesn't make sense either morally or economically!

      Leave the existing 30-day deadline in place, and what's more, USCIS should OBIDE by the existing rules, even
      if it requires hiring more people.

      OPPOSE OPPOSE - these are people risking everything to escape dire conditions - the proposal makes me
      nauseous.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2662
      Comment Submitted by James Low



                                                  Submitter Information
      Name: James Low


                                                      General Comment
      Be supportive of President Trump's immigration reforms. Thirty days isn't sufficient for the massive number of
      immigrants from multiple countries.Some cultures fail to integrate into U.S.




                                                                                                               AR005397
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2663
      Comment Submitted by Melissa Crow, Southern Poverty Law Center



                                                  Submitter Information
      Name: Melissa Crow
      Address:
        Southern Poverty Law Center
        1101 17th Street, NW, Suite 705
        Washington, DC, 20036
      Email: melissa.crow@splcenter.org
      Phone: 202-355-4471
      Fax: 404-221-5857


                                                      General Comment
      Attached please find comments from the Southern Poverty Law Center (SPLC) in response to the Department of
      Homeland Securitys Notice of Proposed Rulemaking, Removal of 30-Day Processing Provision for Asylum
      Applicant-Related Form I-765 Employment Authorization Applications. We strongly oppose elimination of the
      30-day deadline for adjudicating applications for employment authorization documents (EADs) submitted by
      asylum seekers. For the reasons discussed in the attached document, we request that the Proposed Rule be
      withdrawn because it limits asylum seekers ability to support themselves and their families; abandons the
      agencys prior position without reasonable explanation; deters asylum seekers from seeking protection in the
      United States; and is unnecessary to achieve USCISs stated goals.



                                                            Attachments
      SPLC Comment on Removal of 30-Day Processing Deadline for Asylum EADs.FIN




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November 8, 2019

Via Federal e-Rulemaking Portal

Ms. Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services, Department of Homeland Security
20 Massachusetts Avenue, NW
Mailstop #2140
Washington, DC 20529-2140

       Re:     DHS Docket No. USCIS-2018-0001, RIN 1615-AC19, Notice of Proposed
               Rulemaking: Removal of 30-Day Processing Provision for Asylum Applicant-
               Related Form I-765 Employment Authorization Applications

Dear Ms. Deshommes:

       I am writing on behalf of the Southern Poverty Law Center (SPLC) in response to the
Department of Homeland Security’s Notice of Proposed Rulemaking, “Removal of 30-Day
Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization
Applications.” We strongly oppose elimination of the 30-day deadline for adjudicating
applications for employment authorization documents (EADs) submitted by asylum seekers.

         Founded in 1971, the SPLC is a civil rights organization dedicated to litigation and
advocacy that makes equal justice and equal opportunity a reality for all. SPLC’s Immigrant
Justice Project represents low-income immigrants in employment and civil rights cases
across the Southeast and on issues of national importance. To achieve its mission, SPLC
operates a number of programs, including the Southeast Immigrant Freedom Initiative (SIFI),
which provides pro bono direct legal representation for noncitizens, including asylum
seekers, in five immigration detention centers in George and Louisiana. SIFI represents
clients in removal proceedings and custody proceedings before the Executive Office of
Immigration Review and the Board of Immigration Appeals, as well as in parole requests
before Immigration and Customs Enforcement. When our asylum-seeking clients are
released, obtaining employment authorization is of paramount concern.

         We request that the Proposed Rule be withdrawn because it limits asylum seekers’
ability to support themselves and their families; abandons the agency’s prior position without
reasonable explanation; deters asylum seekers from seeking protection in the United States;
and is unnecessary to achieve USCIS’s stated goals.


                                                                              AR005399
1.     The Proposed Rule Would Harm Asylum Seekers By Limiting Their Ability to
       Support Themselves and Their Families.

        Eliminating the 30-day processing deadline for EAD applications would severely
jeopardize asylum seekers’ ability to support themselves and their families. Under existing
regulations, asylum-seeking individuals must already wait 150 days after filing their asylum
applications before they may apply for work authorization. 8 C.F.R. § 208.7(a). The
proposed rule would likely delay the adjudication of their EAD applications for more than 30
days. 1 This delay would unnecessarily postpone asylum seekers’ entry into the U.S. labor
force and result in the loss of desperately needed wages and benefits. 2
        This loss of income to asylum-seekers would cause disproportionate harm to this
already-vulnerable community, who would be unable to afford food, housing, medical
treatment, health insurance, or legal representation. Affected individuals would also be
unable to secure valid identification (needed for many social services) and become
increasingly vulnerable to exploitation, trafficking, and underground economic risks. The
lack of ability to work and correlating lack of income also vastly increases the risk that
people coming to the United States would become a public charge.
2.     The Proposed Rule Would Be an Arbitrary and Capricious Exercise of
       Authority
        If adopted, the Proposed Rule would be an arbitrary and capricious exercise of
authority by the Department of Homeland Security. Such an action would violate the
Administrative Procedure Act, which requires the government to provide a well-reasoned,
evidence-based justification for proposed rulemaking, including rescission of a prior
regulation. 3 When an agency’s “prior policy has engendered serious reliance interests . . . [i]t
would be arbitrary or capricious to ignore such matters.” 4 In such cases, “a reasoned
explanation is needed for disregarding facts and circumstances that underlay or were
engendered by the prior policy.” 5


1
  In 2017, USCIS took over 121 days – in addition to the 150-day waiting period – to
adjudicate 10,103 applications. See Gonzalez Rosario v. USCIS, 365 F.Supp.3d 1156, 1162
(W.D. Wash. 2018) (citing SAR at 90).
2
  USCIS admits that lost compensation to asylum applicants ranges from $255.88 million to
$774.76 million in taxable income per year.
3
  “[A]n agency changing its course by rescinding a rule is obligated to supply a reasoned
analysis for the change beyond that which may be required when an agency does not act in
the first instance.” Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
463 U.S. 29, 42 (1983). See also Dept. of Commerce v. New York, 139 S.Ct. 2551, 2567
(2019): “The Administrative Procedure Act embodies a ‘basic presumption of judicial
review,’” Abbott Laboratories v. Gardner, 387 U.S. 136, 140 (1967), and instructs reviewing
courts to set aside agency action that is “arbitrary, capricious, an abuse of discretion, or
otherwise not in accordance with law,” 5 U. S. C. § 706(2)(A).
4
  F.C.C. v. Fox Television Stations, Inc., 556 U.S. 502, 515–16 (2009).
5
  Id. at 516.
                                                2
                                                                                 AR005400
         The Proposed Rule provides no such reasoned explanation. In justifying the Proposed
Rule, the government claims that its purpose is “to ensure USCIS has sufficient time to
receive, screen, and process applications” and to “reduce opportunities for fraud and protect
the security-related processes undertaken for each EAD application.” Neither of these
justifications provides a reasoned explanation for ignoring the concerns about the pressing
need for work authorization that underlie the existing regulation.

        The 1997 regulations properly adopted a 30-day processing deadline—providing
adequate time for USCIS to review and process applications, while ensuring that asylees
were not forced to wait longer than necessary to receive work-authorization. One of the
“chief purposes” for adopting the 30-day processing deadline was “to ensure that bona fide
asylees are eligible to obtain employment authorization as quickly as possible,” 62 Fed. Reg.
at 10,318 (1997). Indeed, the government consciously set a 30-day deadline due to concern
over the length of the 150-day waiting period. 50 Fed. Reg. at 14,780. While hoping that
most applicants would have their applications adjudicated before that time, the government
set the 150-day limit because it was a period “beyond which it would not be appropriate to
deny work authorization to a person whose claim has not been adjudicated.” Id. Thus, as
explained by the judge in Rosario, “the purpose of promulgating the 30-day deadline on top
of that 150-day waiting period was to cabin what was already—in the agency's view—an
extraordinary amount of time to wait for work authorization.” See Gonzalez Rosario v.
United States Citizenship & Immigration Servs., 365 F. Supp. 3d 1156, 1160–61 (W.D.
Wash. 2018).

       The government’s prior concerns about expeditious work authorization are only
heightened in the current context of significant backlogs in the adjudication of asylum
applications. For individuals in removal proceedings, there is a current backlog of over one
million active cases. 6 This backlog results in significant delays. Over 650,000 individuals in
immigration proceedings are in courts where the average wait time for an individual’s next
hearing is three or four years. 7 And for many of these individuals, their next hearing is
merely a scheduling (“master calendar”) hearing, leading to even more waiting before their
asylum case is finally adjudicated on its merits. 8

        The government’s stated justifications that the 30-day deadline does not provide
sufficient processing time or allow for security-related processes are not supported by the
evidence. There is no reason why expanding processing time must conflict with expedient
adjudication of asylum seekers’ applications for work authorization. Indeed, USCIS has been
able to decide 99% of EADs within the 30-day timeframe for over the past year. 9 There is no
better proof of the agency’s capacity to appropriately review and adjudicate applications in a
reasonable timeframe.



6
   See TRAC Immigration, Crushing Immigration Judge Caseloads and Lengthening Hearing
Wait Times (Oct. 25, 2019), https://trac.syr.edu/immigration/reports/579/.
7
   Id.
8
   Id.
9
  https://www.americanimmigrationcouncil.org/sites/default/files/litigation_documents/nirp_v
_uscis_defendants_july_2019_compliance_report.pdf.
                                               3
                                                                                AR005401
        Nor does the government’s purported concern about “fraud” justify the rescission of
the previous regulation. In passing the original regulation, the government explicitly
determined that it would “adjudicate [asylum seekers’] applications for work authorization
within 30 days of receipt, regardless of the merits of the underlying asylum claim.” 50 Fed.
Reg. at 14,780 (1994). As the court in Rosario explained, the government thus considered the
possibility of unsuccessful asylum applications and nevertheless chose the “elevation of the
30-day deadline above the merits of the underlying asylum claim.” Gonzalez Rosario v.
United States Citizenship & Immigration Servs., 365 F. Supp. 3d at 1160–61.

3.     The Proposed Rule Is Part of the Trump Administration’s Systematic Effort to
       Deter Asylum Seekers.

        The Trump administration has enacted policy after policy aimed at eviscerating the
legal rights of people seeking asylum and creating the harshest conditions possible for them,
with the stated goal of deterring others through the suffering of migrants who have already
made the journey. This proposed rule change is part and parcel of the administration’s efforts
to make the United States a hostile destination for individuals fleeing persecution in their
countries of origin. These efforts include the administration’s metering policy, which
dramatically reduces the number of asylum seekers who are inspected and processed at ports
of entry along the U.S.-Mexico border, as well as the “Remain in Mexico” policy and the
third-country transit rule.

        In addition to preventing asylum seekers from obtaining meaningful employment
within a short and predictable timeframe, the proposed rule would remove the ability to hold
USCIS accountable to any deadline for adjudicating asylum seekers’ EAD applications. This
lack of accountability could be especially devastating in the current context of asylum
adjudication, in which asylum seekers in removal proceedings may wait over four years for
their cases to be heard in immigration court. 10

        The government must take care that it implements its regulations in a manner that
does not violate the United States’ commitment to facilitate the protection of asylum
seekers. 11 By sabotaging the asylum system, the Trump administration has made a mockery
of the United States’ international reputation as a country that respects human rights and the
rule of law.

4.     USCIS Can Achieve Its Goals Without Eliminating the 30-Day Deadline.

       Under existing law, asylum seekers must wait 180 days before they may be granted
work authorization. They are permitted to submit their applications after 150 days, giving
USCIS the 30-day timeframe in question to process the requests. If USCIS’s goal is to have
more time to process each request in order to increase flexibility and free up resources to
work on other applications, then it could shorten the 150-day waiting period before asylum-


10
   See TRAC Immigration, Crushing Immigration Judge Caseloads and Lengthening
Hearing Wait Times (Oct. 25, 2019), https://trac.syr.edu/immigration/reports/579/.
11
   See United Nations High Commission for Refugees, 1951 Convention Relating to the
Status of Refugees, 30–31, available at http://www.unhcr.org/en-us/3b66c2aa10.
                                               4
                                                                               AR005402
seekers can submit their application. For example, if USCIS feels that a 60-day timeframe for
EAD adjudication would be preferable, then it could allow applications to be submitted after
120 days, rather than 150. Allowing asylum-seekers to submit their EAD applications earlier
would give USCIS up to 180 days to process and properly vet each individual while reducing
the risk of harm to asylum seekers and their families.


                                            *****
       For the foregoing reasons, USCIS should reject the proposed rule and retain the 30-
day deadline for adjudication of asylum-related EAD applications. Please do not hesitate to
contact me at melissa.crow@splcenter.org if you have questions regarding SPLC’s
comments. Thank you for your consideration.
                                                    Respectfully submitted,

                                                    Melissa Crow
                                                    Senior Supervising Attorney




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                                                                              AR005403
                                                                                            As of: September 15, 2020
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2664
      Comment Submitted by Leslie Warren



                                                  Submitter Information
      Name: Leslie Warren


                                                      General Comment
      This proposed regulation change removing the 30-day requirement would 1. put asylum seekers unable to
      support themselves, risking that they will become public charges; 2. result in loss of tax revenue; and 3. result in
      having unvetted people in the country for an indefinite review period. What's the matter with allowing these
      folks to get work while they wait? At least they can be contributing to our economy. I therefore oppose removing
      this processing provision for asylum seeking applicants.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2665
      Comment Submitted by Anonymous Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      It's pretty obvious that this is part of a systematic effort to deter asylum seekers, but guess what, it doesn't work.
      When people are facing death, starvation, or torture in their home country, they're going to risk everything to
      save themselves and their families.

      I strongly OPPOSE this proposal to eliminate the existing 30-day deadline for processing work authorization
      applications because - it won't work as a deterrent, it's immoral, it delays their contribution to Medicare & Social
      security (costing our govt. millions in lost revenue), AND it effectively turns asylum seekers into the very public
      charges that they're seeking to exclude.

      This proposal is wrong on every single level, the least of which is that it treats humans like animals.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2666
      Comment Submitted by Raj Balasubramanian



                                                  Submitter Information
      Name: Raj Balasubramanian


                                                      General Comment
      Stop punishing lawful asylum seekers.

      Don't make it harder for them to work and get aid.

      End detentions for non-felons. Stop separating families.

      Kick the ICE staff out of their buildings and put them to work as border guards.

      If ICE and CBP did their job, nobody would be crossing the border without papers.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2667
      Comment Submitted by Elizabeth Skokan



                                                  Submitter Information
      Name: Elizabeth Skokan


                                                      General Comment
      Immigration is at the core of this country. This is just another blatant attempt against humanity and the right of
      others to seek for the betterment of their lives. Asylum is a human right!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2668
      Comment Submitted by Anwen Hughes, Human Rights First



                                                  Submitter Information
      Name: Anonymous Anonymous
      Submitter's Representative: Anwen Hughes
      Organization: Human Rights First


                                                      General Comment
      Please find attached Human Rights First's comments on this proposed rule.



                                                            Attachments
      Human Rights First Comments on EAD Processing Rule




                                                                                                               AR005408
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                                                 November 8, 2019

Submitted via www.regulations.gov

Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy,
US. Citizenship and Immigration Services,
Department of Homeland Security
20 Massachusetts Avenue NW, Mailstop #2140
Washington, D.C. 20529

RE:      DHS Docket No. USCIS-2018-0001, RIN 1615-AC19
         Comment in Response to Proposed Rulemaking:
         Removal of 30-Day Processing Provision for Asylum Seekers’ Initial
         Employment Authorization Document Applications

Dear Ms. Deshommes:

Human Rights First submits these comments in response to the Department of Homeland
Security’s Notice of Proposed Rulemaking published in the Federal Register on
September 9, 2019, by which DHS proposes to do away with the regulatory mandate that
initial applications for employment authorization by asylum applicants be adjudicated
within 30 days of filing.

Human Rights First strongly opposes this proposal. Eliminating any time limit on the
processing of first-time work authorization for asylum seekers who are already required
to wait 150 days or more to become eligible to apply for such authorization would
impose multiple serious forms of harm on an already vulnerable population. The Notice
of Proposed Rulemaking does not reflect any consideration of the human toll of this
proposal, which would represent a significant departure from longstanding policy and
practice. As a partial justification for the agency’s unwillingness to process employment
authorization documents for these asylum seekers according to any set timeframe, the
Notice of Proposed Rulemaking invokes national security and fraud concerns that are
divorced from the employment authorization application process applicable to asylum
seekers specifically. If U.S. Citizenship and Immigration Services (“USCIS”) genuinely
needs more time to process these work permit applications, it has an obvious alternative
solution which the Notice of Proposed Rulemaking, again, fails even to consider: allow
asylum applicants to file their applications for employment authorization together with
their applications for asylum, and adjudicate the application for employment
authorization on the 180th day thereafter, in accordance with federal law.



Refugee Representation   |   New York   |   Washington   |   Houston   |   Los Angeles   |   humanrightsfirst.org   |   1/6
                                                                                                           AR005409
Human Rights First and its Interest in this Issue

For over 40 years, Human Rights First has worked to ensure protection of the rights of
refugees, including the right to seek and enjoy asylum. Human Rights First grounds its
work on refugee protection in the international standards of the 1951 Convention relating
to the Status of Refugees and its 1967 Protocol and other international human rights
instruments, and we advocate adherence to these standards in U.S. law and policy.
Human Rights First operates one of the largest and most successful pro bono asylum
representation programs in the country. With the assistance of volunteer attorneys, we
provide legal representation, without charge, to hundreds of refugees each year. This
extensive experience dealing directly with refugees seeking protection in the United
States is the foundation for our advocacy work and informs the comments that follow.

The Proposed Regulation Would Impose Serious Material and Psychological Harm
on an Already Vulnerable Population

Since 1995, applicants for asylum in the United States have been unable to apply for
employment authorization unless their applications for asylum have been pending for 150
days. 59 Fed. Reg. 62284, 62290 (Dec. 5, 1994) (codified as amended at 8 C.F.R. §
208.7). Since 1997, this waiting period has been statutory. Current section 208(d)(2) of
the Immigration and Nationality Act provides that an asylum seeker may not be issued
employment authorization prior to 180 days after the date of filing of the application for
asylum. This 180-day period includes the 150-day waiting period of the pre-existing
regulation, plus the 30-day processing deadline that 1994 regulation also imposed.

That initial period—from the time of arrival in the United States until a person is granted
employment authorization—is the most vulnerable phase in the experience of an asylum
seeker in the United States. During this period, the United States government provides
asylum seekers neither with financial support or housing, nor with the right to support
themselves through employment. As a result, asylum seekers during this period are
forced to turn to friends, relatives, or even chance acquaintances for support. As the
months wear on, even those lucky enough to have local support networks begin to
exhaust those sources of support. One Human Rights First client, an older man and a
survivor of torture with no family in the United States, spent the first several months of
our representation sleeping under the kitchen table of a member of his community who
took pity on his plight. But as the asylum process dragged on, he found himself unable to
impose further, and for much of the remainder of that process he was spending his nights
on the public transit system. Once he finally obtained work authorization, he found
employment, and was able to house himself in more dignified conditions. He was
subsequently granted asylum, but that early experience took a lasting toll on him.

Other asylum seekers, unable to house themselves because they are not allowed to work
and have no income and resources, find themselves forced into living situations that are



                                                                                            2/6

                                                                                 AR005410
actively abusive. Another Human Rights First client, a survivor of rape in her home
country who was suffering from the continuing medical consequences of that trauma, had
to beg for hospitality in the United States from people she did not know, ending up in a
household where she was again sexually assaulted. She was granted asylum shortly after
applying, and became work-authorized at that point, enabling her to extricate herself from
this nightmarish living situation and attain self-sufficiency.

These difficulties are particularly acute for asylum seekers who are able to flee to the
United States with their families: it is one thing to ask for hospitality from a friend for
oneself, and quite another to ask for housing, for months on end, for a family of four with
no income. Human Rights First has represented many parents, all desperate to be
working, who due to the legal delays obtaining work authorization were forced into
homeless shelters with their children.

For those who are forced to work without employment authorization during the long
current waiting period, some end up working in unsafe and exploitative conditions from
which they feel little protection due to their lack of legal status. Human Rights First has
found clients who were being paid far less than the minimum wage, or in some cases not
paid at all, by employers who were well aware that these employees lacked work
authorization, and who exploited that fact. When these same asylum seekers are already
highly traumatized by their experiences of persecution in their home countries, this kind
of exploitation becomes all the easier to effect and harder to remedy. Many asylum
seekers are also deeply uncomfortable with the notion of working without authorization,
because they do not want to be breaking the law, but find that the asylum system and
their need for physical survival leave them little choice.

Moreover, the practical difficulties associated with the lack of a work permit go far
beyond an inability legally to work. For non-citizens who are not permanent residents of
the United States, an employment authorization document is critical not just as a work
permit but as form of legally valid identification, necessary for everything from domestic
travel (including to attend immigration court hearings), to obtaining a driver’s license in
most states, to getting married, to accessing many government facilities. In addition, for
non-citizens in this situation, an employment authorization document is a prerequisite to
being issued a social security number, which is a critical facilitator of essential services
even for children and the elderly who are not seeking to join the labor force. Asylum
seekers while they lack employment authorization, ineligible for public health coverage
in most states, are also unable to purchase health insurance under the Affordable Care
Act. They also face difficulties opening bank accounts and find it impossible to enter
into a lease for rented housing in many markets even when they can afford it.

The existing delays in access to employment authorization also affect asylum seekers’
ability to secure legal representation to assist them in applying for asylum. This creates a
vicious circle: refugees needing help in properly filing an application for asylum are
delayed in doing so by lack of resources, which in turn delays their ultimate access to the



                                                                                               3/6

                                                                                  AR005411
work permit that would put them in a better position to afford legal representation. As an
organization dedicated to providing free legal services to refugees unable to afford
competent counsel, Human Rights First deals with clients who typically arrived in the
United States with very little or have nearly exhausted what they brought with them, but
the broader reality is that few refugees are independently wealthy and that even those
who can scrounge the fees for a private lawyer can often only do so by a narrow margin.
Extending the period of ineligibility for employment would only exacerbate this problem,
with particularly severe effects on asylum seekers who find themselves in parts of the
country where free or reduced-cost legal services providers are few and far between.

Beyond all these practical and legal obstacles, the inability to work legally also takes a
psychological toll on asylum seekers. Those who are here with their spouses and/or
children suffer severely at their inability to support them and create for them some
semblance of normalcy in the first year or so of their experience as refugees. This affects
both those who in their home countries were doing very well economically and providing
their families with a comfortable existence, and those who in their countries of origin
lived much more modest lives but derived a sense of purpose and dignity from
succeeding in providing for their children’s needs. Those asylum seekers who were
forced to leave their families behind also suffer from their sense of powerlessness and
depression when they find themselves unable to meet the needs of their loved ones,
particularly when they are already suffering emotionally from their separation. Human
Rights First has seen clients panicked at their inability to send money to close relatives
suffering a medical emergency, to pay school fees in order to avoid having their own
exile derail their children’s education, or simply to provide regular support for the daily
needs of family members from whom they are now separated for an indefinite period.

In addition, working—even in a job that is below an asylum-seeker’s ultimate
qualifications—helps the asylum seeker feel that his or her life is moving forward; that he
or she is now a real person, with identification, a place in this new society, and an ability
to engage in routine transactions. It can be a helpful distraction from a sense of exile and
loss, and an encouragement to future planning. And in fact, Human Rights First regularly
sees asylum applicants, even those still waiting for their asylum claims to be approved,
moving actively up the economic scale from the point when they obtain employment
authorization.1


1
  In this connection, we would note that DHS’s estimates of the loss in asylum applicants’ earnings—
basically the only loss to asylum applicants from this regulation on which this Notice of Proposed
Rulemaking spends any time—are premised on the assumption that asylum seekers’ wage growth remains
flat. Our experience is the opposite: our clients’ earnings rarely remain unchanged over time, and their
movement is typically upward. Even during the period when their asylum claims are pending, most asylum
seekers become oriented to the U.S. job market, acquire English skills, and in some cases convert the
educational or professional credentials they have, or acquire new ones, or new vocational skills. All this
tends to set the stage for upward economic movement. In other words, DHS’s calculations of lost wages
for asylum seekers may be significantly underestimated, and so too the estimates of lost tax revenue that
derive from them.



                                                                                                         4/6

                                                                                              AR005412
It is troubling that the Notice of Proposed Rulemaking, in assessing the likely impact of
its proposal on a population whose vulnerabilities the United States has bound itself by
treaty to respect, gives no attention the human toll of this proposal on those it would most
immediately affect.

The Security and Vetting Concerns Invoked in the Notice of Proposed Rulemaking
Are Out of Sync With Current Realities

The Department of Homeland Security asserts that it “has been unable to meet the 30-day
processing timeframe in certain cases due to changes to the agency’s vetting procedures
and increased background checks, which resulted from the Government’s response to the
September 11, 2001 terror attacks.” Human Rights First is reassured by its own
awareness that the Government in fact responded rather promptly to the September 11,
2001 terror attacks, and that the various security improvements discussed in this portion
of the Notice of Proposed Rulemaking were implemented some 15 years ago, as the
Notice indeed acknowledges. For all that time, these security and vetting procedures
have been coexisting with the 30-day processing timeline for initial employment
authorization documents for asylum seekers. Yes, U.S. Citizenship & Immigration
Services has since 9/11 “implemented changes in the collection of biographic and
biometrics information” for benefits including the employment authorization document.
But in the case of employment authorization that is based on a pending application for
asylum, that biometric and biographic data collection is already done in connection with
the application for asylum. Applicants for asylum, when they file an initial application
for employment authorization, have by definition already undergone a biometrics
appointment in connection with their application for asylum—months earlier, in most
cases—and do not need to undergo further biometrics appointments in connection with
their application for a work permit. Security and background checks based on that
biometric and biographic data go through speedily in the overwhelming majority of
cases, so that this issue can hardly justify moving from a 30-day processing window to an
entirely limitless wait for all asylum applicants.

To the Extent USCIS Actually Needs More Time to Process Initial Applications for
Employment Authorization for Asylum Seekers, Another Less Harmful Solution is
Available

The Notice of Proposed Rulemaking indicates that DHS considered moving from a 30-
day processing time window to a 90-day one, but rejected this in favor of eliminating any
time limit on processing of work permits, on the grounds that imposing any regulatory
limit would “unnecessarily constrict adjudication workflows.” The Notice of Proposed
Rulemaking posits a state of radical uncertainty about work and life generally (“USCIS . .
. has no way of predicting what national security and fraud concerns might be or what
procedures would be necessary in the future”), and offers this as a reason to refuse to
commit to any deadlines at all.




                                                                                           5/6

                                                                                  AR005413
If USCIS feels constrained by the 30-day processing deadline for asylum seekers who
have already suffered through a 150-day waiting period, an alternative solution, rather
than either extending or eliminating the processing time allowed for applications for
employment authorization filed after the 150-day waiting period, would be simply to
allow asylum seekers to file for employment authorization at the same time they file for
asylum. The asylum seekers would complete a biometrics appointment applicable to
both applications—as they do now—and their asylum applications would proceed down
the path to adjudication. Their applications for employment authorization could also be
processed during those 150 days, and be required to be adjudicated on the 180th day after
filing, as the Immigration and Nationality Act requires.2 This would allow USCIS a
leisurely period to process the applications for employment authorization, without
imposing additional hardships on asylum seekers. This change would also reduce costs
to legal services providers and asylum seekers, by allowing both the I-589 Application
for Asylum and Withholding of Removal and the I-765 Application for Employment
Authorization to be finalized in a single appointment.

Conclusion

For the reasons described here, Human Rights First would urge DHS to withdraw the
portion of this proposed regulation that would eliminate the 30-day time limit on
processing of first-time employment authorization documents for asylum applicants.
Human Rights First has no quarrel with the proposal to eliminate the regulatory
requirement that renewal applications for employment authorization be filed 90 days
prior to the expiration of the existing document, as the concern underlying that
requirement is better addressed by the automatic 180-day extension of the validity of a
work permit upon filing of the renewal application. With respect to this second aspect of
the Notice of Proposed Rulemaking, however, Human Rights First would recommend
that DHS adopt a regulatory timeframe (of less than 180 days) for adjudicating renewals,
to reduce the number of instances where asylum seekers who file timely applications for
renewal nonetheless face interruptions in their ability to work or access valid
identification due to processing delays stretching beyond the 180-day extension.

We appreciate your consideration of these comments.

                                                        Sincerely,



                                                        Anwen Hughes
                                                        Deputy Legal Director



2
 If adopted, this alternative should apply to applications for asylum filed on or after the date of
implementation of the new regulation.



                                                                                                           6/6

                                                                                                      AR005414
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
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                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2669
      Comment Submitted by Hank Fung



                                                  Submitter Information
      Name: Hank Fung


                                                      General Comment
      The 30 day rule is an important backstop to prevent asylum seekers from staying in limbo while USCIS slow
      walks the necessary background checks. If DHS needs additional time, it should identify the amount of time and
      ask for that rather than asking for an infinite amount of time. This violates due process.

      Note that the individuals are already physically in the United States. As the law is currently written, asylum
      seekers must wait 180 days before they may be granted authorization to work. They are allowed to submit their
      application after 150 days, giving USCIS the 30-day timeframe in question to process the requests. If USCISs
      goal is to have more time to process each request in order to increase flexibility and free up resources to work on
      other applications, then it could easily shorten the waiting time before asylum-seekers are allowed to submit their
      application. If USCIS feels that a 60-day timeframe would be more beneficial, then it may allow applications to
      be submitted after 120 days, rather than 150. Also, in the 180 days, the asylum seeker is usually tracked and does
      not "disappear" in the system as it is not in their interests to do so. There could be more vetting occurring in the
      180 day period, rather than have asylum seekers relying from friends, family, and charity for months or possibly
      years at a time.

      Thank you for your consideration.




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       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2670
      Comment Submitted by Joby Thoyalil, Maine Equal Justice



                                                  Submitter Information
      Name: Anonymous Anonymous
      Submitter's Representative: Joby Thoyalil
      Organization: Maine Equal Justice


                                                      General Comment
      Please find attached comments from Maine Equal Justice on Docket ID: USCIS-2018-0001.



                                                            Attachments
      Maine Equal Justice Comments on Docket ID USCIS-2018-0001




                                                                                                               AR005416
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126 Sewall Street
Augusta, ME 04330-6822                                                                                          Joby Thoyalil
TTY/Voice: (207) 626-7058                                                                                     Senior Policy Analyst
Fax: (207) 621-8148                                                                                          (207) 626-7058 x207
www.mejp.org                                                                                                   jthoyalil@mejp.org




     November 8, 2019


     To Whom it May Concern at U.S. Citizenship and Immigration Services:

     I am submitting these comments on behalf of Maine Equal Justice on the U.S. Citizenship and
     Immigration Services (USCIS) Proposed Rule: Removal of 30- Day Processing Provision for Asylum
     Applicant- Related Form I-765 Employment Authorization Applications (DHS Docket No. USCIS-
     2018-0001).

     Maine Equal Justice is a nonprofit civil legal services organization based in Augusta, Maine. Through
     policy advocacy, education, and legal representation, we work to increase economic security,
     opportunity, and equity for people throughout Maine. For years, we have provided direct legal
     assistance and community education to asylum seekers who have needed help meeting their basic
     needs. We strongly oppose the proposed rule, which we believe would cause significant harm to
     individuals and families fleeing persecution and seeking refuge in the U.S. We also believe that the
     proposal would have a significantly negative impact on Maine communities and on our state’s
     economy and businesses.

     People seeking asylum seek the help of anti-poverty organizations like ours because they are not
     allowed to work for at least 180 days after submitting an application for asylum. After this period, they
     begin to support themselves, and thus begin to rebuild their lives in earnest. The proposed rule would
     postpone their ability to do that, which would likely keep people stuck in a state of extreme instability
     for many more months. Those impacted by this instability would include families with small children,
     who would be at risk of having to depend on insufficient food and housing resources that are needed to
     ensure healthy child development. When children experience housing instability, their health and
     ability to learn can be severely diminished. Children who are hungry are significantly more likely than
     others to receive special education services, to repeat a grade in school and to have received mental
     health counseling.1 Indeed, the impact of hunger can have lifelong consequences for children. 2

     1
       American Psychological Association. (n.d.). Effects of Poverty, Hunger and Homelessness on Children and Youth.
     Retrieved November 8, 2019 from http://www.apa.org/pi/families/poverty.aspx
     2
       Hartline-Grafton, H., & Dean, O. (December 2017). Hunger & Health: Impact of Poverty, Food Insecurity, and Poor
     Nutrition. Food Research & Action Center. Retrieved November 8, 2019 from http://frac.org/wp-content/uploads/hunger-
     health-impact-poverty-food-insecurity-health-well-being.pdf



                                                                                                       AR005417
Postponing asylum seekers’ ability to be self-sufficient would not only negatively impact the asylum
seekers themselves, but also Maine employers and businesses – many of whom have greatly benefitted
from the economic participation of asylum seekers in recent decades. A report from the New American
Economy found that in 2016, immigrants in the metro Portland area contributed $1.2 billion to the
metro area’s GDP. Immigrants contributed $62 million in state and local taxes in 2016. While they
made up 4.6 percent of the Portland metro area population in that year, they were 7.8 percent of
entrepreneurs. Finally, it’s estimated that immigrants in the Portland region created or preserved
“1,117 local manufacturing jobs that would have otherwise vanished or moved elsewhere.” This data
represents just a fraction of the economic benefit immigrants are bringing to our state. 3

A report by Maine Development Foundation and the Maine State Chamber of Commerce noted that
while immigrants are 3.5 percent of our workforce, they are 10.1 percent of our advanced degree
workers, include 12.9 percent of our physicians, and include 25.3 percent our graduates from STEM
(science, technology, engineering, and math) programs. The same report found that immigrants in
Maine have higher levels of educational attainment than the national average for immigrants, and the
percentage of immigrants in our state with bachelor’s, graduate, and professional degrees is higher
than the state average overall.4

Economists, business leaders, and experts in our workforce have repeatedly named immigration as a
key solution to Maine’s workforce challenges. Amanda Rector, our State Economist, has stated: “Even
if we kept all of our young people here, we simply do not have enough of them in the state now to
replace the retiring baby boomers. We must attract more workers to the state if we are going to have
enough people to fill the jobs that will open up as the older workers retire, and we'll have to attract
even more if we want businesses to be able to grow.”5 But immigrants can help address this
demographic challenge. A 2016 report found that the population of foreign-born individuals grew by
23 percent from 2000 to 2013 while Maine’s native-born population grew just 4 percent. Moreover,
immigrants are doing more than growing and diversifying our workforce; they are bringing valuable
skills, education, expertise, and experience to our state.6

Across Maine, current and former asylum seekers have built new lives for their families, and Maine
communities and our economy are stronger as a result. Immigrants from nations across the world have
helped weave the fabric of our state. Those who are making their homes here today are bringing just as
much vitality, leadership, and economic growth for our state as the French Canadian, Irish, and other

3
  New American Economy. (n.d.). New Americans in Portland, ME: A Snapshot of the Demographic and Economic
Contributions of Immigrants in the Metro Area. Retrieved November 8, 2019 from
https://www.newamericaneconomy.org/wp-content/uploads/2018/08/G4G_Portland.pdf
4
  Maine Development Foundation and Maine State Chamber of Commerce. (2016). Maine's Labor Shortage: New Mainers
and Diversity
5
  Mainebiz. (September 2016). Report: Immigrants key to addressing Maine's workforce woes. Retrieved November 8,
2019 from https://www.mainebiz.biz/article/report-immigrants-key-to-addressing-maines-workforce-woes
6
  Coastal Enterprise Institute (CEI). (March 2016). BUILDING MAINE’S ECONOMY How Maine Can Embrace
Immigrants and Strengthen the Workforce
                                                        2

                                                                                              AR005418
immigrants of our past. Ensuring that asylum seekers have the firm financial footing they need to have
a strong start here is vitally important to Maine’s future. For these reasons, we urge you to withdraw
this proposed rule.

Thank you for considering our comments. Please contact me at 207-626-7058 x207 or at
jthoyalil@mejp.org if you have any questions about our comments or would like to discuss this
further.


Sincerely,

Joby Thoyalil
Senior Policy Analyst
Maine Equal Justice




                                                  3

                                                                                      AR005419
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
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                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2671
      Comment Submitted by Sharon Nichols



                                                  Submitter Information
      Name: Sharon Nichols
      Address:
        12775 Fairbrook Rd.
        San Diego, CA, 92131
      Email: shashka42@gmail.com


                                                      General Comment
      I oppose this rule change because it makes no sense. Both we and asylum seekers benefit by them being able to
      work while waiting to be heard, and paying taxes accordingly. I have interacted with numerous asylum seekers
      and they wish to work; and I have employed immigrants and know what hard workers they are. I stand in strong
      opposition to this change.




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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2672
      Comment Submitted by Diana Chaikin



                                                  Submitter Information
      Name: Diana Chaikin
      Address:
        105 14th Ave
        Seattle, 98122


                                                      General Comment
      Hello,

      Asylum processing and preventing asylum seekers from employment in the US is detrimental to our economy.
      We are almost at full employment, meaning there are jobs in lower skilled and often dangerous, unglamorous
      fields that benefit from an influx of workers. This benefits asylum seekers by allowing them to contribute to our
      economy almost immediately. There is no rational reason to make this process more difficult and it actually
      harms our economy to prevent these positions from being filled by asylum seekers, especially since they are not
      being filled by the people who reflexively express xenophobic sentiment towards asylum seekers.

      Thank you for your time and attention.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2673
      Comment Submitted by Leslie Sinclair



                                                  Submitter Information
      Name: Leslie Sinclair


                                                      General Comment
      I am Leslie Sinclair, one person who is outraged that those seeking asylum in America are purposely being put to
      further risk by the intention covered in this rule: Removal of 30-day Processing Provision for Asylum Applicant-
      Related Form I-765 Employment Authorization Applications if this proposed Rule is enacted.

      Persons seeking asylum are victims fleeing violence. I consider the Rule's furthering of hunger and homelessness
      and lack of health care a fierce type of violence the wealthiest nation on earth seeks to foist upon asylum seekers.

      Do not decide to take our country down this pernicious road. We are better than that. Do better. Be better. Vote
      with integrity not greed.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2674
      Comment Submitted by Barbara Bales



                                                  Submitter Information
      Name: Barbara Bales
      Address:
        533 Darby Glen Lane
        Durham, NC, 27713
      Email: barbtries@gmail.com
      Phone: 9199730244


                                                      General Comment
      Stop this incessant cruelty toward immigrants!




                                                                                                               AR005423
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2675
      Comment Submitted by Duffy Trager



                                                  Submitter Information
      Name: Duffy Trager


                                                      General Comment
      This proposed rule will lead to millions of dollars in lost tax revenue because it will significantly delay the
      adjudication of many asylum applicants work authorization. In so doing it will prevent many asylum seekers
      from obtaining employement when they otherwise would seek out opportunities. As an immigration lawyer who
      regularly works with asylum seekers I can attest that many desire to work and positively contribute to this
      country while their asylum applications are pending.




                                                                                                               AR005424
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                                                                                            Posted: November 12, 2019
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2676
      Comment Submitted by Katherine Quinn



                                                  Submitter Information
      Name: Katherine Quinn


                                                      General Comment
      The public should be understanding of the workload the Department of Homeland Security and United States
      Customs and Immigration Service faces in processing the historic backlog of asylum cases. With the backlog
      standing at just over 325,000 as of January 2019, the amount of time and resources it will take to give each
      application the adequate review needed to ensure the applicant's legitimacy is beyond those currently available.
      DHS is responsible for national security and is within their rights to vet each asylum applicant as thoroughly as
      necessary to ensure that security for American citizens. However, removal of the 30-day EAD adjudication will
      neither benefit national security nor will it address the backlog itself. Additionally, there will be serious
      implications for the welfare of legitimate asylum seekers with this proposed change and little evidence to support
      such a measure is warranted.

      To date, DHS has yet to conduct any official investigation, research, or measurement into the extent of fraud in
      the asylum system. Given the none-to-callous claim of national security being at stake, investigating the extent of
      the issue is a necessity is essential to effectively addressing the problem. According to a GAO report published
      under the Obama Administration, only 374 asylum statuses were terminated for fraud between 2010-2014. In the
      same timeframe, well over 400,000 people fleeing war, disaster, political upheaval and imminent crisis were
      admitted to the United States to establish themselves for a better life and opportunity. Concerns over fraud seem
      to be overstated for the benefit of political rhetoric rather than actual security concerns.

      Removing the 30-day adjudication deadline means that all asylum seekers may risk their work authorization not
      being adjudicated in a timely manner, creating undue hardship and the potential for deportation more immediate.
      This may entice some asylum seekers to choose illegal employment and pathways into the country because they
      have no indication of how long they may way for work authorization to be approved. For individuals facing life
      or death situations in their countries of origin, it is important that decisions be made efficiently and effectively.

      In the proposed rule change summary, USCIS mentions that while only 50% of EAD applications were
      adjudicated by USCIS within the 30-day timeframe nearly 78% were adjudicated within 60 days. Instead of
                                                                                                               AR005425
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      removing the timeline entirely and incentivizing illegal entry into the country, DHS should consider creating an
      extended deadline of 90-days in order to meet the vetting standards required for USCIS to make adjudication
      decisions. DHS and USCIS will still need to devote more resources and funding to processing the backlog of
      asylum applicants and in order to effectively meet any new timeline set forth.

      In conclusion, it should be clear that the proposed rule change is ill-advised if national security is the most
      important factor in the proposal. Additionally, DHS and USCIS should consider the social welfare impacts on the
      vast number of legitimate asylum seekers who will be adversely effected by the policy change.




                                                                                                               AR005426
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2677
      Comment Submitted by Lacy Panyard



                                                  Submitter Information
      Name: Lacy Panyard


                                                      General Comment
      There is no legitimate public interest served by not allowing asylum seekers to work while their applications are
      pending. Allowing them to become productive members of society is what we all can benefit from. Most
      importantly, denying them the chance to work severely limits their access to counsel (since they cannot work to
      Pay counsel) which will result in an infringement on their due process rights.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2678
      Comment Submitted by Hayley Landman, American Constitution Society, U.C. Berkeley School of Law Chapter



                                                  Submitter Information
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      Email: hayley.landman@berkeley.edu
      Phone: 636-373-3037
      Submitter's Representative: Hayley N Landman
      Organization: American Constitution Society, U.C. Berkeley School of Law Chapter


                                                      General Comment
      Please see the attached.



                                                            Attachments
      DHS Comment -- ACS Berkeley Law




                                                                                                               AR005428
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Nov. 8, 2019

Submitted online via the Federal eRulemaking Portal
Department of Homeland Security
U.S. Citizenship and Immigration Services
Office of Policy and Strategy
Chief, Regulatory Coordination Division
20 Massachusetts Avenue, NW Washington, D.C. 20529-2140

RE: Comments on Removal of 30-Day Processing Provision for Asylum Applicant- Related
Form I-765 Employment Authorization Applications
Docket Numbers:
CIS No. 2617-18
DHS Docket No. USCIS-2018-0001


To whom it may concern:

        The American Constitution Society Chapter at U.C. Berkeley School of Law opposes
these rule changes.


On Trump Admin’s Stated Goals
         There is an inherent contradiction between the Trump Administration’s stated goals of
reducing reliance on public assistance of immigrants seeking legal status and prohibiting asylum
applicants from gaining legal work status. The removal of a 30 day turnaround for work
authorization would increase the amount of asylum applicants forced to rely on public assistance
while they wait for permission to work legally. If the Administration wants to have a strong
immigrant workforce, it should make an effort to allow these asylum seekers to work legally.
         It is apparent from this proposed regulation that the Administration wants to increase the
financial burden on the public and on individual asylum seekers to curtail immigration.
However, not even the Trump Administration’s most egregious policies of child kidnapping and
detainment camps have effectively slowed the entrance of asylum seekers. This policy will only
inflict pain on individuals and on the economy, without any benefits.

DHS Failed to Consider Cost Impacts to Employers
         USCIS failed to consider the cost impacts on employers of hiring new employees. USCIS
states that “there may be some unmonetized costs such as additional opportunity costs to
employers that would not be captured in [the] monetized estimates [of the impacts of the rule].”
USCIS’s failure to adequately calculate these costs renders the economic analysis of the rule
insufficient and the resulting regulation inherently flawed.
         Per Executive Order 12866, DHS must consider the costs and benefits of available
regulatory alternatives. In their summary of proposed impacts, USCIS acknowledges that “there
may be additional opportunity costs to employers such as additional search costs,” but they did
“not include additional costs to business for lost profits and opportunity costs.”




                                                                                     AR005429
         From the rule: “These companies would incur a cost, as they would be losing the
productivity and potential profits the asylum applicant would have provided had the asylum
applicant been in the labor force earlier. Companies may also incur opportunity costs by having
to choose the next best alternative to immediately filling the job the asylum applicant would have
filled. USCIS does not know what this next best alternative may be for those companies. As a
result, USCIS does not know the portion of overall impacts of this rule that are transfers or costs.
If companies can find replacement labor for the position the asylum applicant would have filled,
this rule would have primarily distributional effects in the form of transfers from asylum
applicants to others already in the labor market (or workers induced to return to the labor
market). USCIS acknowledges that there may be additional opportunity costs to employers such
as additional search costs. However, if companies cannot find reasonable substitutes for the labor
the asylum applicants would have provided, this rule would primarily be a cost to these
companies through lost productivity and profits.”
         DHS needs to undertake economic analysis and provide some projections for how this
rule will impact the availability of labor. If the labor market remains tight and unemployment
remains low, there will be fewer people seeking work able to fill these roles. If the economy
enters recession and unemployment rises, then finding replacement labor will present another
financial burden.

The Trump Administration cannot create a crisis and then respond to that crisis by placing
burdens on asylum seekers’ Fifth Amendment rights.
         The length of time applicants wait before a decision on their applications is increasing to
nearly two years.
https://trac.syr.edu/phptools/immigration/court_backlog/apprep_backlog_avgdays.php The
Administration’s policies have not addressed or solved this problem, but instead seem to
exacerbate the issue. Asylum seekers are extremely vulnerable populations and to create this rule
means that only very rich individuals can get through the asylum process. This undercuts the
entire purpose of allowing employment authorization for these groups. The policy will not
effectively support the people who need the most help.
         The Administration addresses in Footnote 11 that the original goal of this 30-day time
constraint had nothing to do with caseload and instead served humanitarian goals of allowing
asylum-seekers to obtain work as soon as possible. Thus, the burden was originally on the courts
to accommodate this caseload. The proposed rule shifts the burden onto the asylum-seekers who
will have to wait an indefinite period of time before they receive authorization.
         Courts have long held that dates and deadlines are essential parts of regulations, without
which the regulations are meaningless. The current Administration should be familiar with this
jurisprudence, as a number of its policies have been struck down in the context of delaying
implementation dates. See, e.g., Air Alliance Houston v. EPA, 906 F.3d 1049 (D.C. Cir. 2018).
Eliminating the 30-day decision period in effect eliminates the right to a work authorization,
period. This tramples the property rights of asylum seekers. The U.S. government has created a
property interest in the right to lawfully work to support oneself while awaiting asylum, and
cannot deprive asylum-seekers of that right without due process.


Sincerely,

American Constitution Society, Berkeley Law Chapter



                                                                                      AR005430
AR005431
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2679
      Comment Submitted by Mary Cunningham



                                                  Submitter Information
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      Email: mary.cunningham99@gmail.com


                                                      General Comment
      I am deeply concerned that, without the 30-day processing requirement, EAD applications from asylum seekers
      will be delayed indefinitely. Without access to work authorization, asylum seekers will not have the ability to
      support themselves and their families, build their lives, and contribute to our local economies. My clients will
      lack government-issued identification that helps them integrate into life in the United States. The right to seek
      safety and protection in the United States is unequivocal. By decreasing access to the tools that allow asylum
      applicants to meet their basic needs while waiting for decisions on their claims, the proposed rule is undercutting
      that fundamental right. Because this proposed rule change places a serious burden on the most vulnerable
      immigrants, we strongly oppose the proposed regulation and request that it be withdrawn.

      I respectfully request that USCIS continue processing asylum-based EAD applications pursuant to its current
      policy and practices that require adjudication within 30 days of filing.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2680
      Comment Submitted by Tiffany Roman



                                                  Submitter Information
      Name: Tiffany Roman


                                                      General Comment
      I argue against the removal of the 30 day processing provision for asylum applicants, as there are severe
      repercussions for those who must wait indefinitely for processing times. To me, this proposed change is intended
      to deter asylum seekers and aligns to previous measures put forth by the administration, including the public
      charge rule, the Migrant Protection Protocols, and the third-country transit bar. From an economic perspective,
      delaying individuals the right to work also delays contributions to Medicare and social security by workers and
      their employers. Without the ability to work, asylum seekers lose potential income that they can use to support
      themselves and their families, thus increasing the risk that the individuals would be become a public charge.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2681
      Comment Submitted by John KIngery



                                                  Submitter Information
      Name: John KIngery


                                                      General Comment
      Samantha Deshommes
      Chief, Regulatory Coordination Division
      Office of Policy and Strategy
      U.S. Citizenship and Immigration Services, Department of Homeland Security
      20 Massachusetts Avenue NW
      Mailstop #2140
      Washington, D.C. 20529-2140

      DHS Docket No. USCIS-2018-0001
      84 F.R. 47148

      November 8, 2019

      To Whom It May Concern:

      I am submitting my statement in opposition to Department of Homeland Securitys Notice of Proposed
      Rulemaking on Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765
      Employment Authorization Applications, DHS Docket No. USCIS-2018-0001, issued September 9, 2019.

      I have been involved in supporting immigrants and refugees for the past three years. Last year, I met a woman
      and her son from Honduras. They were fleeing from persecution in their home country and were for the
      completion of the asylum process. It is a process that can take 6 months to several years.

      Only after completing that process can they begin to integrate fully into American society. Removing the
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications would delay that integration to the determinate of the mother and child. That is a
                                                                                                               AR005434
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      single case that is applicable to other asylum seekers.

      Detailed reasons for my opposition are:
      DHS has proposed no alternative timeline - although it considered proposing a 90-day timeframe to replace the
      30-day timeframe for adjudicating EADs (see p. 47166-47167 of the Notice), which would already be three times
      the current timeframe, DHS proposes to instead remove a timeframe entirely, suggesting that the agency
      anticipates these applications being significantly delayed.
      DHS already has the ability to stop the clock on the 30-day processing timeframe if they need to request
      additional documentation from an applicant.
      DHS reports that it is now deciding over 99% of EADs within the 30-day processing timeline, demonstrating that
      DHS is generally able to address fraud and security concerns within the current timeframe and process.
      The Rule would cause significant financial hardship to asylum applicants who are unable to work and to those
      who depend on them financially - destabilizing the financial (and therefore health, housing, etc.) situation of
      persons already traumatized by the threats and persecution that led them to apply for asylum.
      Without an EAD and associated access to employment, asylum-seekers will have difficulty obtaining drivers
      licenses, banking services, healthcare, and legal counsel for their asylum applications.
      Without an ability to lawfully work, asylum seekers cannot afford legal counsel and are thus significantly less
      likely to win relief. Nationwide, fewer than 3% of families without lawyers are successful in securing asylum,
      with thousands receiving deportation orders despite having strong claims.
      The Rule would burden and stretch the capacity of charities and non-profit service providers: if asylum-seekers
      are unable to obtain an EAD in a timely manner, they are forced to rely on other forms of support, including
      organizations that provide financial, housing, legal, or other forms of assistance.
      Local, state, and federal governments will lose income tax revenue from asylum-seekers who are delayed in
      entering the job market or forced to work in the shadow economy. DHS estimates that the annual Medicare and
      social security revenue loss to the government to be between $39.15 to $118.54 million dollars. DHS estimates
      the rule will cause asylum-seekers to annually lose $255.88 to $774.76 million in income.
      DHS voiced concern about fraud and national security should favor prompt decisions on EADs. If DHS has a
      concern about an individual, then it should quickly vet the application, rather than delay.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2682
      Comment Submitted by Tanya Kane-Parry



                                                  Submitter Information
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        Los Angeles, CA, 90032
      Email: tkanepa@calstatela.edu
      Phone: 323-346684


                                                      General Comment
      Asylum seekers should be permitted to work as soon as possible! They are refugees who should be treated with
      respect, kindness and caring. They are not entering illegally, but are seeking legal protection from harm and the
      opportunity to begin new lives in this country. They want to work, to support themselves and their families, pay
      taxes and contribute to their communities. Do not extend the delay in providing them work permits. Let them get
      to work right away!




                                                                                                               AR005436
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2683
      Comment Submitted by Yael Schacher, Refugees International



                                                  Submitter Information
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      Phone: 860 816 4473


                                                      General Comment
      See attached file(s)



                                                            Attachments
      RI Comment on Proposed Work Authorization Rule USCIS-2018-0001




                                                                                                               AR005437
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November 8, 201

Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services, Department of Homeland Security
20 Massachusetts Avenue NW
Mailstop #2140
Washington, D.C. 20529-2140


RE: DHS Docket No. USCIS-2018-0001: Comment to Notice of Proposed Rulemaking by U.S.
Citizenship and Immigration Services


Dear Ms. Deshommes:

Refugees International respectfully submits this comment on the September 9, 2019, Notice of
Proposed Rulemaking for “Removal of 30-Day Processing Provision for Asylum Applicant-
Related Form I-765 Employment Authorization Applications.” The government seeks to remove
the 30-day processing requirement for a work authorization document. If finalized, the Proposed
Rule would allow U.S. Citizenship and Immigration Services [USCIS] to indefinitely delay the
adjudication of work authorization requests, which would leave asylum seekers without access to
identification, employment opportunities, services and legal counsel that are critical to their
ability to pursue their asylum claims and to their safety while they do so.

Refugees International is a non-governmental organization that advocates for lifesaving
assistance and protection for displaced people in parts of the world impacted by conflict,
persecution, and forced displacement. We do not accept government or United Nations funding,
which helps ensure that our advocacy is impartial and independent. Each year, Refugees
International conducts approximately twenty field missions to identify displaced people’s needs
for basic services such as food, water, healthcare, housing, access to education and protection
from harm. Refugees International advocates for the importance of labor market access for
refugees and asylum seekers all over the world, including in the United States.




                                                                                  AR005438
In sending the Protocol to the U.N. Convention Relating to the Status of Refugees to the U.S.
Senate for ratification in 1968, President Lyndon Johnson wrote of the importance of enabling
asylum seekers “to become self-supporting members of free societies, living under conditions of
dignity and self- respect.”1 In the late 1980s, a federal court ruled that delaying the issuance of
work authorization to asylum seekers could “compel an applicant to abandon his or her asylum
application.”2 In 1994, the Department of Justice believed that the ability to apply for asylum and
an employment authorization document simultaneously created a magnet for possible fraud but
also recognized the hardships imposed on asylum applicants who were unable to support
themselves or their families absent work authorization. 1994 regulations reflected a compromise:
an asylum seeker whose case had not been completed at the 150-day mark could file for work
authorization. The INS was then obligated to process the work authorization application within
30 days.3 More than two decades later, the court in Rosario v. USCIS reiterated the importance
of this principle when it ordered USCIS to comply with the 30-day processing requirement. In
doing so, the court remarked that it was “abundantly clear” that a lengthy asylum process
demands prompt adjudication of work authorization applications so asylum seekers can support
themselves. Ending this 30 day requirement will remove an important safeguard for asylum
seekers eager to be self-sufficient and assimilate into our American economy.

Refugees International is well aware of what happens in other countries when work authorization
for asylum seekers is restricted or delayed. Without access to work authorization, asylum
seekers in Turkey have been pushed into an abusive underground labor market.4 Studies have
shown that waiting periods for work authorization for asylum seekers in Europe have very long
term negative impacts on the ability of asylum seekers to find employment.5 Preventing asylum
seekers from working metes out a terrible human toll, depriving them of purpose and motivation,
making them feel powerless to support their families and to move forward in their lives.

Asylum seekers are among the most vulnerable noncitizens in the United States. The U.S.
government does not provide asylum seekers with housing, stipends, or government appointed
counsel. Asylum seekers forced to wait longer periods for work authorization may turn to
exploitative work underground (with increased risk of trafficking) and they and their children
could fall into sickness and homelessness. Asylum seekers without work authorization have
difficulty obtaining healthcare and medical treatment, identification documents such as drivers’
licenses,6 and affording legal counsel for their underlying asylum applications, making it much

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?
  Work authorization documents are often the only proof of lawful residence asylum-seekers can provide.
Unaccompanied children need them to receive Social Security Numbers, which are common prerequisites
for accessing long-term educational opportunities, qualifying for vocational and technical programs,
obtaining health insurance, and receiving preventative care. 



                                                                                                   AR005439
less likely that they will prevail on their applications. If this rule goes into effect, asylum seekers
without means of support may be forced to abandon their claims. This rule, like the Remain in
Mexico policy and many other recently implemented policies, aim to make seeking asylum so
difficult and full of suffering in order to inhibit people from applying and pursuing their claims,
which is a clear violation of the Refugee Act of 1980.

The rule would not only negatively affect asylum seekers and their families. Charities and
service providers will be forced to expend limited resources to help asylum seekers with
subsistence while they wait longer for the ability to support themselves through work. Without a
work permit and thus an ID, asylum seekers will hesitate to call the police if they or someone
they know are victims of a crime, thus making neighborhoods and communities less safe.

The notice of the proposed rulemaking does not provide sufficient reasons for WKHUXOH nor
consider better alternatives. The notice states that USCIS needs more time to adjudicate asylum
work authorization applications because of changes to vetting procedures and increased
background checks resulting from the U.S. government’s response to the September 11, 2011
terror attacks (“9/11”). Yet, these changes have been in place since 2004 with the creation of the
Office of Fraud Detection and National Security (FDNS). USCIS has had well over a decade to
implement post-9/11 enhanced vetting and security checks and has been vetting asylum
applicants with these criteria for fifteen years. If USCIS hired more officers and trained them,
within a few months there would be more trained officers who could adjudicate work
authorization applications expeditiously. DHS instead rejects out of hand the possibility of
hiring more officers, and does not even provide an estimate of the cost of hiring more officers,
nor does it engage in an economic analysis of the cost of hiring new officers as compared to the
loss to the tax base by preventing asylum seekers from working lawfully and paying taxes.
(Even DHS admits in the rule that asylum seekers would lose annual salary wages and benefits
totaling between $255.88 million to $774.76 million.) If USCIS genuinely needs more time to
process work permit applications, it has an alternative solution which the notice fails to
consider: allow asylum applicants to file their applications for employment authorization
together with their applications for asylum (as they did before 1994) and adjudicate the
application for employment authorization on the 180th day thereafter, in accordance with
federal law.

#%'&%&#"&.Refugees International urges the withdrawal of the Proposed Rule.

Sincerely,
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2684
      Comment Submitted by Melissa Albin



                                                  Submitter Information
      Name: Melissa Albin


                                                      General Comment
      It is inhumane to force asylum seekers and their families to go without a paycheck, and by extension, without
      food, shelter, and access to healthcare and other services. Please reject the Trump administrations proposed
      regulation that says that asylum seekers must wait 30 days to work.

      The world is watching as we collectively decide if we will let the bully in the White House carry out every
      conceivable form of human cruelty. Please consider the imprint you will be making on history as you weigh your
      decision on this issue.




                                                                                                               AR005441
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2685
      Comment Submitted by Megan Hope



                                                  Submitter Information
      Name: Megan Hope
      Address:
        4123 Kalamath St.
        Denver, CO, 80211
      Email: meganelpaso@yahoo.com
      Phone: 7202561967


                                                      General Comment
      To support this proposed rule runs entirely counter to American values of (1) protecting people fleeing countries
      where they are denied freedom, including freedom from fear and persecution and (2) providing opportunities for
      people to work to support themselves and contribute to the national economy. It is both cruel and nonsensical.
      Asylum seekers deserve the chance to work; we ALL deserve to have asylum seekers be able to work.




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       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d7g-8e61
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2686
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      that is a very bad rule, will lead to economic loss, people distress, work disruption. please do not approve this
      rule




                                                                                                               AR005443
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2687
      Comment Submitted by Michael Gonen



                                                  Submitter Information
      Name: Michael Gonen
      Address:
        115 Winchester road
        Merion Station, PA, 19066
      Email: Gonenusmc@gmail.com
      Phone: 7326105286


                                                      General Comment
      This is madness. Why make them wait at all? If theyre here they might as well work to keep themselves fed
      instead of being either a public charge or a burden on the Charity of others.




                                                                                                               AR005444
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2688
      Comment Submitted by indivisible Ventu.ra



                                                  Submitter Information
      Name: indivisible Ventu.ra


                                                      General Comment
      The administration has created an entire fictional world in which asylum seekers are supposedly useless,
      freeloaders who sit around waiting for free food and services to be handed to them. And to force that to happen,
      they literally prevent some of the hardest working people on the planet from working, people who were literally
      willing to walk a thousand miles to save their families from imminent danger.

      Why make them wait so long? To make their kids hungry at night? To force them to join exploitative situations
      to feed their families. To catch them working illegally so as to deport them? To force them to accept charity so as
      to become "public charges" against their will?

      The administration also tells the whopper that despite being forced to sit idle for 150 days within our borders,
      that these people still pose such as security risk that the 30 day work permit period is untenable. How many days
      must they exist without income to prove that they are safe neighbors? If vetting must be done to prevent security
      risks, then having unvetted people in the U.S. subjected to a potentially indefinite review period seems contrary
      to the departments stated interests.

      How many of our forebears walked down gangplanks into New York and picked up jobs in short order and
      started their lives anew?

      If USCIS feels that a 60-day timeframe would be more beneficial, then it may allow applications to be submitted
      after 120 days, rather than 150. Allowing asylum-seekers to submit their applications earlier could allow the
      department to have up to 180 days to process and properly vet each individual while reducing the risk of harm to
      each applicant.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2689
      Mass Mail Campaign 9: Comment Submitted by Michael Rodriguez, Ropes & Gray LLP (Total as of
      11/13/2019: 14)



                                                  Submitter Information
      Name: Michael Rodriguez
      Address:
        Boston, MA, 02118
      Email: dalton.rodriguez@ropesgray.com


                                                      General Comment
      November 8, 2019

      Submitted Via Federal e-Rulemaking Portal

      Samantha Deshommes
      Chief, Regulatory Coordination Division
      Office of Policy and Strategy
      U.S. Citizenship and Immigration Services, Department of Homeland Security
      20 Massachusetts Avenue NW
      Mailstop #2140
      Washington, D.C. 20529-2140

      RE: Opposition to Proposed Federal Rule Removal of 30-Day Processing Provision for Form I-765 (c)(8)
      Employment Authorization Applications, DHS Docket No. USCIS-2018-0001

      Dear Ms. Deshommes,

      I, through my employer Ropes & Gray LLP, have provided pro bono legal services to indigent asylum seekers.
      For all of these clients, we submitted Employment Authorization Document (EAD) applications. I submit these
      comments in opposition to the Proposed Rule Removal of 30-Day Processing Provision for Form I-765 (c)(8)
      Employment Authorization Applications (Sep. 9, 2019), DHS Docket No. USCIS-2018-0001 (hereinafter, the
      Rule). The Rule would eliminate the requirement that DHS adjudicate initial requests for employment
                                                                                                               AR005446
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      authorization by asylum applicants within 30-days of filing.

      The Rule will have significant and long-lasting negative effects on the ability of my asylum clients to support
      themselves and their loved ones while they are waiting for their claims to be heard. By definition, an asylum
      seeker is an individual who has suffered grave harm, including torture and sexual violence on account of a
      statutory protected ground, and who flees his or home country with very few possessions and little support or
      financial resources. Asylum seekers turn to the U.S. for a safe haven and protection. This rule to eliminate the
      30-day processing time for work authorization will undermine asylum seekers abilities to sustain themselves.
      The proposed rule change will allow DHS to have unlimited time to decide if and when asylum seekers will be
      issued work authorization, during which time asylum seekers would have no means of supporting themselves and
      be forced to wait and survive on the charity of others. The Rule will only compound the devastating delays that
      many asylum seekers face. DHS, which suffers backlogs in almost every benefit category, will have no incentive
      to issue a prompt decision.

      Further, the Rule is not in the economic interest of the United States which benefits greatly from the
      contributions of refugees and asylum seekers. It compounds the impact of the already lengthy 180-day waiting
      period before asylum seekers are eligible for work authorization and is unnecessary given that DHS has shown
      itself capable of near complete compliance with the 30-day adjudication requirement. DHSs argument that the
      proposed rule is due in part to fraud concerns is contradictory since DHS should want to expedite EAD
      determinations and quickly vet applications, as it currently does, to detect and investigate any concerns about
      applications rather than create extensive delays.

      I am deeply concerned that, without the 30-day processing requirement, EAD applications from asylum seekers
      will be delayed indefinitely. Without access to work authorization, asylum seekers will not have the ability to
      support themselves and their families, build their lives, and contribute to our local economies. My clients will
      lack government-issued identification that helps them integrate into life in the United States. The right to seek
      safety and protection in the United States is unequivocal. By decreasing access to the tools that allow asylum
      applicants to meet their basic needs while waiting for decisions on their claims, the proposed rule is undercutting
      that fundamental right. Because this proposed rule change places a serious burden on the most vulnerable
      immigrants, we strongly oppose the proposed regulation and request that it be withdrawn.

      I respectfully request that USCIS continue processing asylum-based EAD applications pursuant to its current
      policy and practices that require adjudication within 30 days of filing.

      Sincerely,

      M. Dalton Rodriguez




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2690
      Mass Mail Campaign 11: Comment Submitted by Aleyda Borja, ACLU of Arizona (Total as of 11/13/2019: 11)



                                                  Submitter Information
      Name: Aleyda Borja


                                                      General Comment
      My name is Yvette and I work at the ACLU of Arizona. Arizona is a border state that will be affected by this
      proposed rule.

      Asylum seekers would lose wages and benefits as a result of delayed entry into the U.S. labor force, straining
      their ability to support themselves and their families. USCIS admits that lost compensation to asylum applicants
      ranges from $255.88 million to $774.76 million in taxable income per year. The loss of income to asylum-
      seekers will cause an outsized amount of harm to this already-vulnerable community. A lack of income means
      not being able to afford food, housing, medical treatment, health insurance, or legal representation. Furthermore,
      individuals will be unable to secure a valid ID (needed for many social services) and be increasingly vulnerable
      to exploitation, trafficking, and underground economic risks. The lack of ability to work and correlating lack of
      income also vastly increases the risk that people coming to the United States will become a public charge.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2691
      Mass Mail Campaign 12: Comment Submitted by Eileen Falk, Ropes & Gray, LLP (Total as of 11/13/2019: 11)



                                                  Submitter Information
      Name: Eileen Falk
      Address:
        2099 Pennsylvania Ave, NW
        Washington, DC, 20006
      Email: eileen.falk@ropesgray.com
      Phone: 202-508-4721
      Organization: Ropes & Gray, LLP


                                                      General Comment
      I submit these comments in opposition to the Proposed Rule Removal of 30-Day Processing Provision for Form
      I-765 (c)(8) Employment Authorization Applications (Sep. 9, 2019), DHS Docket No. USCIS-2018-0001, and
      respectfully request that USCIS continue processing asylum-based EAD applications pursuant to its current
      policy and practices that require adjudication within 30 days of filing.

      Please see attached file for full commentary.



                                                            Attachments
      EAD Opposition Comment




                                                                                                               AR005449
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November 8, 2019

Submitted Via Federal e-Rulemaking Portal

Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services, Department of Homeland Security
20 Massachusetts Avenue NW
Mailstop #2140
Washington, D.C. 20529-2140

RE:    Opposition to Proposed Federal Rule “Removal of 30-Day Processing Provision for
       Form I-765 (c)(8) Employment Authorization Applications,” DHS Docket No.
       USCIS-2018-0001

Dear Ms. Deshommes,

For a year, I, through my employer Ropes & Gray LLP, have provided pro bono legal services to
indigent asylum seekers. I have personally represented four asylum applicants, all of whom have
received asylum. For all of these clients who are adults, we submitted Employment
Authorization Document (EAD) applications. I submit these comments in opposition to the
Proposed Rule “Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment
Authorization Applications” (Sep. 9, 2019), DHS Docket No. USCIS-2018-0001 (hereinafter,
the Rule). The Rule would eliminate the requirement that DHS adjudicate initial requests for
employment authorization by asylum applicants within 30-days of filing.

The Rule will have significant and long-lasting negative effects on the ability of my asylum
clients to support themselves and their loved ones while they are waiting for their claims to be
heard. By definition, an asylum seeker is an individual who has suffered grave harm, including
torture and sexual violence on account of a statutory protected ground, and who flees his or
home country with very few possessions and little support or financial resources. Asylum seekers
turn to the U.S. for a safe haven and protection. This rule to eliminate the 30-day processing time
for work authorization will undermine asylum seekers’ abilities to sustain themselves. The
proposed rule change will allow DHS to have unlimited time to decide if and when asylum
seekers will be issued work authorization, during which time asylum seekers would have no
means of supporting themselves and be forced to wait and survive on the charity of others. The
Rule will only compound the devastating delays that many asylum seekers face. DHS, which
suffers backlogs in almost every benefit category, will have no incentive to issue a prompt
decision.

Further, as described below, the Rule is not in the economic interest of the United States which
benefits greatly from the contributions of refugees and asylum seekers. It compounds the impact
of the already lengthy 180-day waiting period before asylum seekers are eligible for work




                                                                                     AR005450
authorization and is unnecessary given that DHS has shown itself capable of near complete
compliance with the 30-day adjudication requirement. DHS’s argument that the proposed rule is
due in part to fraud concerns is contradictory since DHS should want to expedite EAD
determinations and quickly vet applications, as it currently does, to detect and investigate any
concerns about applications rather than create extensive delays.

   1. Preventing asylum-seekers from securing lawful employment is not in the United
      States’ economic interest

Ensuring that asylum seekers can secure lawful employment as soon as possible is in the
economic interest of the United States. According to the Department of Health and Human
Services, refugees and their family members contributed more than $343 billion in revenue to
federal, state and local coffers. On balance, refugees contributed $63 billion more than they
received in benefits from various programs. The U.S. economy benefits greatly from this
population that works so hard when given a chance and permission to work. According to the
Brookings Institute, refugees and asylum seekers engage in entrepreneurship at much higher
rates than U.S. born individuals. In the U.S., for example, while immigrants are 15 percent of the
population, they represent 25 percent of entrepreneurs. Small businesses and the jobs they create
are the engines of growth, innovation, and economic stability of the United States.

Given the fact that asylum seekers are fleeing persecution in their home countries, the vast
majority do not have sufficient resources to support themselves and their families for the
duration of their immigration proceedings. The rule to eliminate the 30-day adjudication
requirement would impose additional hardship on asylum seekers because they would face
uncertainty and inconsistency in DHS processing. The proposed Rule would prevent asylum
seekers from being able to support themselves and their loved ones through lawful employment.

   2. Eliminating the 30-day adjudication requirement would result in extensive waiting
      periods for asylum seekers to be issued employment authorization

Asylum seekers already bear the burden of government back-logs and adjudication delays. Even
with a return to the Asylum Office’s processing of First in, First out, asylum applicants face great
difficulties in getting their cases heard. When a decision on an asylum seekers case is delayed, it
negatively impacts their ability to provide for themselves, support family, and build a life here in
the United States. Many asylum seekers wait months, if not years, for their cases to be heard and
then adjudicated.

Asylum seekers are already required to wait a lengthy period of 180-days before they are eligible
for work authorization. During this time, as mentioned above, they rely on others for support to
survive. Removing the 30-day processing time requirement would cause significant harm to
already vulnerable individuals. Without a time limit for processing initial applications, DHS
would have no incentive to adjudicate these cases in a timely manner and asylum seekers who
are statutorily eligible to work would be unable to do so for an unknowable period of time.

We already see asylum seekers face significant barriers while waiting for the employment
documents to be renewed. Eliminating the 30-day processing requirement would place initial




                                                                                     AR005451
EAD eligible asylum seekers in the same uncertain waiting period as renewal applicants, but it
would be far worse for asylum seekers who were applying for work authorization for the first
time as they would not have the ability to sustain themselves. At least for asylum seekers who
are renewing work authorization, they have the benefit of the 180-day auto-extension while DHS
manages its backlog and processing delays.

   3. DHS’s near complete compliance with Rosario demonstrates that it is capable of
      adjudicating these applications within 30 days of filing

In July 2018, the U.S. District Court for the Western District of Washington ruled that USCIS
must adjudicate asylum seekers’ initial applications for employment authorization within 30
days, as is specified at 8 C.F.R. 208.7(a)(1). As part of the ruling, USCIS was ordered to submit
status reports indicating compliance with the 30-day adjudication requirement. In December
2018, DHS reported adjudicating 96.3% of asylum-seekers’ initial applications for employment
authorization within 30 days.

DHS’s near complete compliance with the order and its ability to adjudicate over 90% of initial
EAD applications by asylum-seekers proves that DHS is able to successfully comply with the
30-day adjudication requirement set forth in 8 C.F.R. 208.7(a)(1). See, Rosario v. USCIS, Case
No. C15-0813JLR (W.D. Wash. July 26, 2018), at 10-11 (noting that DHS’s “achieved a 96.3%
compliance rate with 8 C.F.R. 208.7(a)(1) in December 2018, and an average compliance rate of
92.7% for the final quarter of 2018.”).

   4. DHS’s concerns related to asylum fraud are unfounded given its robust system of
      security checks and fraud detection

DHS voiced concern about fraud and national security related to the adjudication of EADs based
on asylum applications. However, DHS currently has a robust system of security checks and
experienced officers trained in detecting fraud. If DHS has a concern about an individual, then it
should quickly process and investigate the application, rather than create delays. As mentioned
above, DHS currently decides over 90% of the EAD applications within the 30-day processing
timeline, demonstrating that DHS is able to address fraud and security concerns within the
current timeframe and process.

   5. My opposition to the proposed change to Eliminate the 30-day processing
      requirement

I am deeply concerned that, without the 30-day processing requirement, EAD applications from
asylum seekers will be delayed indefinitely. Without access to work authorization, asylum
seekers will not have the ability to support themselves and their families, build their lives, and
contribute to our local economies. My clients will lack government-issued identification that
helps them integrate into life in the United States. The right to seek safety and protection in the
United States is unequivocal. By decreasing access to the tools that allow asylum applicants to
meet their basic needs while waiting for decisions on their claims, the proposed rule is
undercutting that fundamental right. Because this proposed rule change places a serious burden




                                                                                      AR005452
on the most vulnerable immigrants, we strongly oppose the proposed regulation and request that
it be withdrawn.

I respectfully request that USCIS continue processing asylum-based EAD applications pursuant
to its current policy and practices that require adjudication within 30 days of filing.

Sincerely,

Eileen M. Falk




                                                                                 AR005453
                                                                                            As of: September 15, 2020
                                                                                            Received: November 07, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 13, 2019
                                                                                            Tracking No. 1k3-9d6i-qwu3
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2692
      Comment Submitted by Kevin Kocher



                                                  Submitter Information
      Name: Kevin kocher


                                                      General Comment
      Do whats right support the president
      Mission




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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2693
      Comment Submitted by Jason James



                                                  Submitter Information
      Name: Jason James


                                                      General Comment
      Please help President Trump secure Americas safety by removing this arbitrary bureaucratic timeline.




                                                                                                               AR005455
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2694
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I am an immigration attorney and I work with asylum seekers every day. This rule is detrimental not only to
      asylum seekers, but to the people of the United States.

      Asylum seekers would lose wages and benefits as a result of delayed entry into the U.S. labor force, straining
      their ability to support themselves and their families. USCIS admits that lost compensation to asylum applicants
      ranges from $255.88 million to $774.76 million in taxable income per year. The loss of income to asylum-
      seekers will cause an outsized amount of harm to this already-vulnerable community. A lack of income means
      not being able to afford food, housing, medical treatment, health insurance, or legal representation. Furthermore,
      individuals will be unable to secure a valid ID (needed for many social services) and be increasingly vulnerable
      to exploitation, trafficking, and underground economic risks. The lack of ability to work and correlating lack of
      income also vastly increases the risk that people coming to the United States will become a public charge.

      This proposed rule change is part and parcel of this administrations effort to make the U.S. a hostile destination
      for individuals fleeing persecution in their countries of origin. This is evidenced by this rule change as well as the
      third-country transit bar, the proposed wide-sweeping public charge rule, and the institution of the so-called
      Migrant Protection Protocols. By removing the ability of asylum seekers to gain meaningful employment within
      a short and predictable timeframe, the Trump Administration effectively turns asylum seekers into the very
      public charges it seeks to exclude. Additionally, this policy change would make the work authorization process
      more unpredictable and inefficient by removing the ability to hold USCIS accountable to any deadline.




                                                                                                               AR005456
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2695
      Comment Submitted by Bud Frei



                                                  Submitter Information
      Name: Bud Frei


                                                      General Comment
      Please help President Trump to secure America's safety by removing the arbitrary bureaucratic timeline for
      asylum seekers.




                                                                                                               AR005457
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2696
      Comment Submitted by Patricia Love



                                                  Submitter Information
      Name: Patricia Love


                                                      General Comment
      I am writing to urge you to support President Trumps immigration reforms by giving the authorities more time to
      complete their jobs of researching all applicants applications. Currently they are cutting corners and allowing
      some immigrants into America making our country unsafe.




                                                                                                               AR005458
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2697
      Comment Submitted by Marilyn Woodhouse



                                                  Submitter Information
      Name: Marilyn Woodhouse


                                                      General Comment
      It is important to be thorough in vetting asylum seekers. The safety os US ciczens is at stake. Don't cut corners!




                                                                                                               AR005459
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2698
      Comment Submitted by Paul Bell



                                                  Submitter Information
      Name: Paul Bell


                                                      General Comment
      Our president needs your support to remove the ridiculous timelines that jeopardize our safety and security in the
      United States. Please support our President and the American people. Its time to put politics aside!




                                                                                                               AR005460
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2699
      Comment Submitted by Michael Everett



                                                  Submitter Information
      Name: Michael Everett


                                                      General Comment
      Stop illegal immigration




                                                                                                               AR005461
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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2700
      Comment Submitted by Eileen Gendreau



                                                  Submitter Information
      Name: Eileen Gendreau


                                                      General Comment
      What has happened to our Democratic Party? I used to be a Democrat but this is not the Democratic Party
      platform I voted for, Kennedy was the last Democrat that had some sanity. The Democrats of today are trying to
      destroy our country, They are trying to turn it into a socialist country and end our sovereignty and our great
      nation. Please return to the party you once were and agree to keep our country safe and secure from all that are
      trying to destroy and take over our country.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2701
      Comment Submitted by Linda Krawiecki



                                                  Submitter Information
      Name: Linda Krawiecki


                                                      General Comment
      We need to be able to do a complete back ground check, on their back grounds before they can just be allowed to
      just arrive.

      I don't want just anyone to come saying they want asylum we need to know who they are, where they really
      came from, and I certainly am tired of all the hand outs for them




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2702
      Comment Submitted by Annette Losik



                                                  Submitter Information
      Name: Annette Losik


                                                      General Comment
      Sufficient time must be allowed to evaluate asylum cases. Especially when the Government is overwhelmed with
      applications. So once asylum applicants are safe, many months should be allowed for processing, with extensions
      if the workload is excessive.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2703
      Comment Submitted by Michael Johnson



                                                  Submitter Information
      Name: Michael Johnson


                                                      General Comment
      Please help President Trump secure America's safety
      by removing the arbitrary bureaucratic timeline
      for vetting asylum seekers.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2704
      Comment Submitted by Rita Rodriguez



                                                  Submitter Information
      Name: Rita Rodriguez


                                                      General Comment
      Tell Washington to support President Trumps Immigration Reforms!!




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2705
      Comment Submitted by Michele Pollock Rich, CDWBA The Legal Project



                                                  Submitter Information
      Name: Anonymous Anonymous
      Submitter's Representative: CDWBA The Legal Project
      Organization: CDWBA The Legal Project


                                                      General Comment
      See attached file(s)



                                                            Attachments
      Proposal to Remove Processing Time Aylum Seeker EAD




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